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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA


                                      CIVIL MINUTES – GENERAL

 Case No.     LA ML19-02905 JAK (FFMx)                                       Date   February 9, 2022
 Title        In Re: ZF-TRW Airbag Control Units Products Liability Litigation




 Present: The Honorable            JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                T. Jackson-Terrell                                        Not Reported

                   Deputy Clerk                                    Court Reporter / Recorder


           Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:

                     Not Present                                           Not Present


 Proceedings:            (IN CHAMBERS) ORDER RE DEFENDANTS’ JOINT MOTION TO DISMISS
                         PURSUANT TO F.R.C.P. 12(b)(6) (DKT. 208); ZF DEFENDANTS’ MOTION
                         TO DISMISS (DKT. 209); MITSUBISHI DEFENDANTS’ MOTION TO
                         DISMISS (DKT. 212); HONDA DEFENDANTS’ MOTION TO DISMISS (DKT.
                         213); TOYOTA DEFENDANTS’ MOTION TO DISMISS (DKT. 214);
                         HYUNDAI-KIA DEFENDANTS’ MOTION TO DISMISS (DKT. 219); MOBIS
                         DEFENDANTS’ MOTION TO DISMISS (DKT. 220); FCA DEFENDANTS’
                         MOTION TO DISMISS (DKT. 230); STMICRO DEFENDANTS’ MOTION TO
                         DISMISS (DKT. 241)

I.       Introduction

On August 8, 2019, this multi-district litigation (“MDL”) was established and transferred to this Court.
Dkt. 1. The MDL, which encompasses 20 member cases, concerns airbag control units (“ACUs”) that
are allegedly defective because they contain a specific component part that is vulnerable to electrical
overstress (“EOS”). The alleged defect (“Alleged Defect”) can result in the failure of airbags in a vehicle
to deploy during a collision.

On July 27, 2020, ZF Active Safety and Electronics US LLC, ZF Passive Safety Systems US Inc., ZF
Automotive Inc., ZF TRW Automotive Holdings Corp., and ZF North America, Inc., ZF Friedrichshafen
AG, and ZF Holdings B.V. (collectively, the “ZF Defendants”) filed a Motion to Dismiss (the “ZF
Motion”). Dkt. 209. Plaintiffs opposed the ZF Motion on September 25, 2020 (Dkt. 283) and the ZF
Defendants replied on November 9, 2020 (Dkt. 296).

On July 27, 2020, Mitsubishi Motors North America, Inc. and Mitsubishi Motors Corp. (together, the
“Mitsubishi Defendants” or “Mitsubishi”) filed a Motion to Dismiss (the “Mitsubishi Motion”). Dkt. 212.
Plaintiffs opposed the Mitsubishi Motion on September 25, 2020 (Dkt. 288) and the Mitsubishi
Defendants replied on November 9, 2020 (Dkt. 294).
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On July 27, 2020, Honda Motor Co., Ltd., American Honda Motor Co., Inc., Honda of America Mfg.,
Inc., Honda R&D Co., Ltd., and Honda R&D Americas, Inc. (“Honda R&D Americas”) 1 (collectively, the
“Honda Defendants” or “Honda”) filed a Motion to Dismiss (the “Honda Motion”). Dkt. 213. Plaintiffs
opposed the Honda Motion on September 25, 2020 (Dkt. 287) and the Honda Defendants replied on
November 9, 2020 (Dkt. 295).

On July 27, 2020, Toyota Motor Sales U.S.A. Inc., Toyota Motor Engineering & Manufacturing North
America, Inc., Toyota Motor North America, Inc., and Toyota Motor Corporation (“Toyota Motor Corp.”)
(collectively, the “Toyota Defendants” or “Toyota”) filed a Motion to Dismiss (the “Toyota Motion”). Dkt.
214. 2 Plaintiffs opposed the Toyota Motion on September 25, 2020 (Dkt. 289) and the Toyota
Defendants replied on November 9, 2020 (Dkt. 297).

On July 27, 2020, Hyundai Motor Company, Ltd., Hyundai Motor America, Inc., Kia Motors Corporation,
and Kia Motors America, Inc. (collectively, the “Hyundai-Kia Defendants” or “Hyundai-Kia”) filed a
Motion to Dismiss (the “Hyundai-Kia Motion”). Dkt. 219. Plaintiffs opposed the Hyundai-Kia Motion on
September 25, 2020 (Dkt. 285) and the Hyundai-Kia Defendants replied on November 9, 2020 (Dkt.
303).

On July 27, 2020, Hyundai Mobis Co. Ltd. and Mobis Parts America, LLC (collectively, the “Mobis
Defendants” or “Mobis”) filed a Motion to Dismiss (the “Mobis Motion”). Dkt. 220. Plaintiffs opposed the
Mobis Motion on September 25, 2020 (Dkt. 286) and the Mobis Defendants replied on November 9,
2020 (Dkt. 298).

On August 10, 2020, FCA US LLC and Fiat Chrysler Automobiles N.V. (collectively, the “FCA
Defendants” or “FCA”) filed a Motion to Dismiss (the “FCA Motion”). Dkt. 230. Plaintiffs opposed the
FCA Motion on September 25, 2020 (Dkt. 290) and the FCA Defendants replied on November 9, 2020
(Dkt. 302).

On August 17, 2020, STMicroelectronics, Inc., STMicroelectronics, N.V., and STMicroelectronics
International, N.V. (collectively, the “STMicro Defendants” or “STMicro”) filed a Motion to Dismiss (the
“STMicro Motion”). Dkt. 241. 3 Plaintiffs opposed the STMicro Motion on September 25, 2020 (Dkt. 284)
and the STMicro Defendants replied on November 9, 2020 (Dkt. 301).

In addition to their individual motions to dismiss, all Defendants filed a Joint Motion to Dismiss (the
“Joint Motion”) on July 27, 2020. Dkt. 208. Plaintiffs opposed the Joint Motion on September 25, 2020
(Dkt. 281) and Defendants replied on November 9, 2020 (Dkt. 299). Finally, on August 3, 2021, the

1 Defendants state that Honda R&D Americas, Inc. “changed its corporate composition” on April 1, 2020, and “is
now Honda R&D Americas, LLC.” Dkt. 213 at 15 n.2. All further references in this Order to “Honda R&D
Americas” are to both corporate entities.
2 Toyota Motor Corporation provisionally joined the Toyota Motion pending resolution of its Rule 12(b)(2)

challenge. See Dkt. 214 (Toyota Motor Corporation’s Motion to Dismiss for Lack of Personal Jurisdiction Pursuant
to Rule 12(b)(2) and Toyota Defendants’ Motion to Dismiss Pursuant to 12(b)(6)).
3 On September 25, 2020, the STMicro Defendants filed an unredacted STMicro Motion pursuant to the

September 14, 2020 Order. Dkt. 264. All references to the STMicro Motion in this Order relate to the unredacted
version (Dkt. 280).
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Toyota Defendants filed a Notice of Supplemental Authority. Dkt. 362.

All nine motions to dismiss (collectively, the “Motions”) -- the Joint Motion, the ZF Motion, the Mitsubishi
Motion, the Honda Motion, the Toyota Motion, the Hyundai-Kia Motion, the Mobis Motion, the FCA
Motion, and the STMicro Motion -- were heard on January 25, 2021, and were taken under submission.

For the reasons stated in this Order, the Motions are decided as stated in this Order.

II.         Background

            A.    The Parties

There are 66 Plaintiffs, who collectively reside in 29 different states, and who purchased or leased
vehicles from the Vehicle Manufacturer Defendants identified below. The purchases were made
between February 2009 and March 2019. Consolidated Class Action Complaint (“CAC”), Dkt. 278 ¶¶
72-138. 4

ZF Friedrichshafen AG; ZF Holdings B.V.; and the ZF Defendants (collectively, “ZF” or “ZF TRW”)
allegedly manufacture and design ACUs. Id. ¶¶ 26-29.

Defendants STMicroelectronics, Inc.; STMicroelectronics N.V.; and STMicroelectronics International
N.V. (collectively, “STMicro”) allegedly manufacture and sell semiconductors and electronic chips. Id.
¶¶ 37-38.

The following defendants constitute the “Vehicle Manufacturer Defendants,” which are alleged to be
“companies that make and sell completed vehicles and their affiliates”:

      1. The Toyota Defendants: Toyota Motor Sales U.S.A. Inc., Toyota Motor Engineering &
         Manufacturing North America, Inc., Toyota Motor North America, Inc., and Toyota Motor
         Corporation;
      2. The Honda Defendants: Honda Motor Co., Ltd.; American Honda Motor Co., Inc.; Honda of
         America Mfg., Inc.; Honda R&D Co., Inc.; and Honda R&D Americas;
      3. The Hyundai-Kia Defendants: Hyundai Motor America, Inc.; Hyundai Motor Co.; Kia Motors
         Corporation; and Kia Motors America, Inc.;
      4. The Mitsubishi Defendants: Mitsubishi Motors Corp. and Mitsubishi Motors North America Inc.;
         and
      5. The FCA Defendants: FCA US LLC and Fiat Chrysler Automobiles N.V.

Id. ¶¶ 41, 52.

It is alleged that the Mobis Defendants are affiliates of Hyundai-Kia. Id. ¶ 42. Mobis allegedly
“manufactures, supplies, and distributes automotive parts to [Hyundai-Kia], including some of the
defective ZF TRW ACUs.” Id. ¶ 50. Mobis Parts America, LLC, allegedly “imports, supplies, and
4The CAC initially was filed on May 26, 2020. Dkt. 120. Pursuant to a September 14, 2020 Order (Dkt. 264), an
unredacted version of the CAC was filed on September 23, 2020. Dkt. 278.

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provides logistical support for automotive parts for Hyundai and Kia-branded vehicles that are either
imported into, or manufactured in, the United States.” Id. ¶ 51.

         B.    Putative Classes

Plaintiffs have brought this action on behalf of a putative class (the “Nationwide Class”) and subclasses.
Dkt. 278 ¶¶ 547-48. The Nationwide Class includes “[a]ll persons in the United States who purchased
or leased a Class Vehicle.” Id. In addition, “Plaintiffs . . . plead state subclasses within the Nationwide
Class, each defined based on purchases or leases of the Class Vehicles within each state.” Id. ¶ 548.

The Hyundai-Kia Plaintiffs bring this action on behalf of a putative nationwide subclass (the “Hyundai-
Kia Class”) that is defined as: “All persons in the United States who purchased or leased a Hyundai-Kia
Class Vehicle.” Id. ¶ 549. Plaintiffs assert that “[s]imilar subclasses exist on a statewide basis for all
persons in the United States who purchased or leased a Hyundai-Kia Class Vehicle in each state.” Id.

The FCA Plaintiffs bring this action on behalf of a putative nationwide subclass (the “FCA Class”) that is
defined as: “All persons in the United States who purchased or leased a FCA Class Vehicle.” Id. ¶ 550.
Plaintiffs assert that “[s]imilar subclasses exist on a statewide basis for all persons in the United States
who purchased or leased a FCA Class Vehicle in each state.” Id.

The Toyota Plaintiffs bring this action on behalf of a putative nationwide subclass (the “Toyota Class”)
that is defined as: “All persons in the United States who purchased or leased a Toyota Class Vehicle.”
Id. ¶ 551. Plaintiffs assert that “[s]imilar subclasses exist on a statewide basis for all persons in the
United States who purchased or leased a Toyota Class Vehicle in each state.” Id.

The Honda Plaintiffs bring this action on behalf of a putative nationwide subclass (the “Honda Class”)
that is defined as: “All persons in the United States who purchased or leased a Honda Class Vehicle.”
Id. ¶ 552. Plaintiffs assert that “[s]imilar subclasses exist on a statewide basis for all persons in the
United States who purchased or leased a Honda Class Vehicle in each state.” Id.

The Mitsubishi Plaintiffs bring this action on behalf of a putative nationwide subclass (the “Mitsubishi
Class”) that is defined as: “All persons in the United States who purchased or leased a Mitsubishi Class
Vehicle.” Id. ¶ 553. Plaintiffs assert that “[s]imilar subclasses exist on a statewide basis for all persons
in the United States who purchased or leased a Mitsubishi Class Vehicle in each state.” Id.

         C.    Allegations in the Complaint

ZF allegedly manufactures ACUs for use in motor vehicles, including vehicles made by the Vehicle
Manufacturer Defendants. Dkt. 278 ¶¶ 8, 22. ACUs, which are typically installed in the passenger
compartment of a vehicle, are connected by electrical wiring to crash sensors located on the front of the
vehicle. Id. ¶¶ 8, 271-72. The crash sensors detect activity in the front of the vehicle and send
corresponding electrical signals to the ACU, which receives and interprets these signals. Id. When
certain thresholds are met, the ACU issues a command to the vehicle’s safety system to deploy the
airbags and tighten the seatbelts to protect passengers from an imminent collision. Id. ¶¶ 8, 270, 272.
Within the ACU, the application-specific integrated circuit (“ASIC”) processes the signal from the crash
sensors and activates the airbags and seatbelts. Id. ¶ 9. “[A]s has been common knowledge in the auto
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industry for decades,” a vehicle crash can cause large bursts of electrical energy to discharge in the
front of the vehicle and move through the wiring that connects the crash sensors to the ACU. Id. ¶¶ 10,
273. Because these bursts (“transients” or “transient electricity”) can damage ASICs, “ACUs (and the
ASICs within them) must be sufficiently protected from transient electrical currents to ensure they will
function during a crash.” Id. ¶¶ 10, 274. Thus, “a properly designed ACU has sufficient protections
against the levels of transient electricity that could result from a car accident.” Id.

The “Class Vehicles” in this action are comprised of “all vehicles equipped with a ZF TRW ACU
containing a DS84 [ASIC]” (the “DS84 ASIC”). Id. ¶¶ 7 n.3, 262, 265. It is alleged that no ACU
manufacturer other than ZF uses the DS84 ASIC. Id. ¶ 9. “Historically, ZF TRW ACUs” allegedly
“included two separate ASICs to manage the dual [safety] functions” of “receiv[ing] information from the
crash sensors” and “trigger[ing] the airbags and seatbelt pretensioners after a crash is detected.” Id. ¶
275.

In February 2005, STMicro and ZF allegedly began developing a “new ASIC” that would “combine
these two functionalities in one, consolidated chip, thereby reducing its size.” Id. ¶¶ 276-77. It is alleged
that ZF “wanted to reduce the size of the ASICs to reduce the costs of mass manufacturing the
components.” Id. ¶ 277. STMicro allegedly custom-designed a specialized microchip, the DS84 ASIC,
in close collaboration with ZF. Id. ¶ 278. STMicro and ZF allegedly “approved the new DS84 ASIC for
production” and ZF began producing ACUs containing the DS84 ASIC by August 2008. Id. ¶ 279.
These ACUs allegedly “also used different technology for managing signals from the front crash
sensors than other prior ZF TRW ACUs.” Id.

It is alleged that all ACUs that contain the DS84 ASIC (the “Defective ACU”) are defective due to their
particular vulnerability to a phenomenon called “electrical overstress” (“EOS”). Id. ¶¶ 10-11. Specifically,
transient electricity caused by collisions has allegedly overheated and “rendered useless” the DS84
ASIC in ZF ACUs “[i]n many crashes over the last ten years.” Id. ¶ 11. The Alleged Defect, i.e., the
vulnerability of the DS84 ASIC to damage from transient electricity caused by a collision, can prevent
deployment of the airbags and seatbelts during a collision. Id.5 Defendants allegedly knew of the
Alleged Defect “for at least a decade” but “conspired to conceal [it]” from the National Highway Traffic
Safety Administration (“NHTSA”) and consumers, and “pushed to market and delayed recalling vehicles
with the defective ACUs.” Id. ¶¶ 12, 14; see id. ¶¶ 301-18.

The alleged vulnerability of the DS84 ASIC to EOS is due to its combination of “the previously separate
functions of handling sensor signals and activating safety restraints.” Id. ¶ 281. It is alleged that “ACUs
made by other manufacturers do not have the same vulnerabilities to transient electricity as the
defective ZF TRW ACUs,” and that “predecessor ZF TRW ACUs that used two different ASICs to
perform the jobs of the DS84 ASIC can also withstand much stronger electrical surges than the
defective ZF TRW ACUs.” Id. ¶¶ 287-88. It is also alleged that “other contemporaneous ZF TRW ACUs
that do not use the DS84 ASIC are” “more resistant to electrical surges than” the Defective ACUs. Id. ¶
289. The former ACUs use the MS84 ASIC, which uses “ ‘PSI-5’ technology” for crash sensor
communications rather than the “ ‘DSI’ technology” used in the DS84. Id. ZF allegedly has “suggested
that this difference may explain the relative weakness of ACUs with the DS84 ACU.” Id.


5It is alleged that “EOS can also cause other failures of the ACU, including inadvertent airbag deployments
and/or loss of recorded data about a crash and the ACU’s responses thereto.” Id. ¶ 262.
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It is alleged that “[a]dding protective components . . . to restrain the flow of electricity to the defective ZF
TRW ACU does not appear to fix the defect.” Id. ¶ 290. Moreover, it is alleged that, “[a]lthough
Defendants have downplayed the scope of the defect by blaming observed cases of ASIC EOS on []
purported vehicle-specific variations in wiring around the ACU and crash sensors, the defective ZF
TRW ACU is the root cause.” Id. ¶ 291. It is also alleged that “[i]t is simply not plausible that the many
different vehicles that were recalled due to the ACU’s vulnerability to ASIC EOS all coincidentally had
similarly flawed wiring layouts, despite the lack of coordination among Defendants as to wiring layout
and other elements of vehicle design.” Id. ¶ 291.

On March 16, 2018, NHTSA opened an investigation concerning ZF ACUs installed in Hyundai and Kia
vehicles. Id. ¶ 358. A resume opening the Preliminary Evaluation published by NHTSA’s Office of
Defects Investigation (“ODI”) includes the following statement:

         On February 27, 2018, Hyundai filed a defect information report leading to NHTSA Recall
         No. 18V-137. Hyundai indicates that the DIR stemmed from post-collision inspections of
         the [ACUs] showing that [EOS] of an ACU electronic component occurred in three of the
         crashes, and that the fourth ACU is under evaluation for the same concern. Hyundai has
         not identified a remedy for this recall, and states that the cause of the EOS is being
         investigated with the ACU supplier, ZF-TRW. ODI’s current understanding is that the
         above Kia products also use similar ACUs supplied by ZF-TRW. Additionally, ODI is aware
         of a prior recall, 16V-668 where EOS appeared to be a root cause of air bag non-
         deployment in significant frontal crashes in certain Fiat Chrysler vehicles.

         Under the investigation, ODI will evaluate the scope of Hyundai’s recall, confirm Kia’s use
         of the same or similar ZF-TRW ACU, review the root cause analysis of all involved parties,
         and review and evaluate pertinent vehicle and/or ACU factors that may be contributing to,
         or causing EOS failures. Additionally, ODI will determine if any other vehicle
         manufacturers used the same or similar ACUs, as supplied by ZF-TRW, and if so, evaluate
         whether the field experience of these vehicles indicates potentially related crash events.

NHTSA ODI Resume for PE 18-003 (“PE ODI Resume”), https://static.nhtsa.gov/odi/inv/2018/INOA-
PE18003-9810.PDF.

On April 19, 2019, NHTSA “upgraded” the investigation to an “Engineering Analysis,” which
“expand[ed] the scope of the investigation to include the Tier-one supplier [i.e., ZF] and any
manufacturers who installed [the subject ZF ACU] in production vehicles.” Dkt. 278 ¶ 495; ODI Resume
for NHTSA EA 19-001 (“EA ODI Resume”), https://static.nhtsa.gov/odi/inv/2019/INOA-EA19001-
2536.PDF (stating that ODI “plans to evaluate the susceptibility of the subject ACU designs to electrical
signals, as well as other vehicle factors that can either lead to, or reduce the likelihood of, an EOS
event” and “evaluate whether an unreasonable risk exists that requires further field action”). The
Engineering Analysis, which allegedly “covers more than 12 million vehicles,” “remains open and
ongoing.” Dkt. 278 ¶¶ 264, 283. As of May 26, 2020, Plaintiffs allege that “NHTSA and the Vehicle
Manufacturer Defendants have publicly linked at least eight fatalities to apparent failures of the ZF TRW
ACUs.” Id. ¶ 283.


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Although it is alleged that “more than 15 million vehicles” are equipped with the Defective ACU, the
Vehicle Manufacturer Defendants allegedly have “failed to recall approximately 9 million” of these
vehicles. Id. ¶¶ 7, 20. “Between September 2016 and July 2018, FCA, Hyundai, and Kia” allegedly
“recalled millions of vehicles based on the common defect.” Id. ¶ 263. It is alleged that Toyota’s
January 17, 2020 ongoing “recall of nearly 3 million vehicles with defective ZF TRW ACUs” resulted
from the expansion of the NHTSA investigation into an Engineering Analysis. Id. ¶¶ 264 & n.7, 431. It is
alleged that Hyundai-Kia, FCA and Toyota have failed to include in their respective recalls vehicles that
also contain defective ZF TRW ACUs. Id. ¶¶ 381, 418-19, 431. It is alleged that each of these Vehicle
Manufacturer Defendants “conspired [with ZF] to exclude [the unrecalled] Class Vehicles from the recall
by concealing the true scope of vehicles equipped with defective ZF TRW ACUs and misleadingly
assuring NHTSA and consumers that [the] unrecalled [] Class Vehicles were safe.” Id. ¶¶ 381-83, 420,
472-73. Moreover, the “partial recalls” conducted by Hyundai-Kia and FCA allegedly have “failed to
provide an adequate remedy to consumers who paid for vehicles” covered by the recalls. Id. ¶¶ 380,
421. It is alleged that “the remedy offered by Toyota under its partial recall does not repair the defective
nature of the ZF TRW ACUs” and “merely adds a noise filter ‘between the airbag control module and its
wire harness.’ ” Id. ¶ 473.

         D.     Requested Relief

Plaintiffs seek the following remedies: (1) an injunction barring the Vehicle Manufacturing Defendants
from continuing to use allegedly deceptive distribution, sales and leasing practices; (2) compensatory,
punitive, and treble damages, as well as statutory penalties; (3) repurchase of the Class Vehicles; (4) a
fund for losses and expenses; (5) disgorgement of profits or full restitution; and (6) attorney’s fees. See
Dkt. 278 at 581-83 (“Prayer for Relief”).

II.      Requests for Judicial Notice

The Honda Defendants seek judicial notice of the following seven exhibits:

      1. Warranty Booklet for the 2012 Honda Civic (Ex. 1 to Declaration of Andrew T. Stevenson
         (“Stevenson Decl.”), Dkt. 211-2);
      2. Warranty Booklet for the 2013 Honda Accord (Ex. 2 to Stevenson Decl., Dkt. 211-3);
      3. Warranty Booklet for the 2013 Honda Civic Hybrid (Ex. 3 to Stevenson Decl., Dkt. 211-4);
      4. Warranty Booklet for the 2014 Honda CR-V (Ex. 4 to Stevenson Decl., Dkt. 211-5);
      5. Warranty Booklet for the 2014 Honda Civic (Ex. 5 to Stevenson Decl., Dkt. 211-6);
      6. Warranty Booklet for the 2015 Honda Civic (Ex. 6 to Stevenson Decl., Dkt. 211-7);
      7. Warranty Booklet for the 2015 Acura TLX (Ex. 7 to Stevenson Decl., Dkt. 211-8) (together with
         the preceding exhibits, the “Honda Warranty Booklets”).

Dkt. 211 (“Honda Request for Judicial Notice”).

The FCA Defendants seek judicial notice (“FCA Request for Judicial Notice”) of the following 11
exhibits:

      1. Warranty Booklet for model-year 2013 Jeep vehicles (Ex. B to FCA Request for Judicial Notice
         (“FCA RFN”), Dkt. 231-2);
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    2.  Warranty Booklet for model-year 2012 Jeep vehicles (Ex. C to FCA RFN, Dkt. 231-3);
    3.  Warranty Booklet for model-year 2014 Jeep vehicles (Ex. D to FCA RFN, Dkt. 231-4);
    4.  Warranty Booklet for model-year 2016 Jeep Gas vehicles (Ex. E to FCA RFN, Dkt. 231-5);
    5.  Warranty Booklet for model-year 2017 Jeep Gas vehicles (Ex. F to FCA RFN, Dkt. 231-6);
    6.  Warranty Booklet for model-year 2015 Jeep vehicles (Ex. G to FCA RFN, Dkt. 231-7);
    7.  Warranty Booklet for model-year 2010 Dodge (Ex. H to FCA RFN, Dkt. 231-8);
    8.  Warranty Booklet for model-year 2011 Ram Truck 1500/2500/3500 Gas vehicles (Ex. I to FCA
        RFN, Dkt. 231-9);
    9. Warranty Booklet for model-year 2015 Fiat vehicles (Ex. J to FCA RFN, Dkt. 231-10);
    10. Warranty Booklet for model-year 2013 Fiat 500 vehicles (Ex. K to FCA RFN, Dkt. 231-11)
        (together with the preceding exhibits, the “FCA Warranty Booklets”);
    11. NHTSA EA ODI Resume (Ex. A to FCA RFN, Dkt. 231-1).

Dkt. 231.

“Although generally the scope of review on a motion to dismiss for failure to state a claim is limited to
the Complaint, a court may consider evidence on which the complaint necessarily relies if: (1) the
complaint refers to the document; (2) the document is central to the plaintiff[‘s] claim; and (3) no party
questions the authenticity of the copy attached to the 12(b)(6) motion.” Daniels-Hall v. Nat’l Educ.
Ass’n, 629 F.3d 992, 998 (9th Cir. 2010) (internal quotation marks and citations omitted).

Fed. R. Evid. 201(b) permits judicial notice of a fact that is “not subject to reasonable dispute because
it: (1) is generally known within the trial court’s territorial jurisdiction; or (2) can be accurately and readily
determined from sources whose accuracy cannot reasonably be questioned.”

Government publications and other matters of public record are properly subject to judicial notice. See
Daniels-Hall, 629 F.3d at 998-999 (taking judicial notice of information on the websites of two school
districts because they were government entities); Paralyzed Veterans of Am. v. McPherson, No. C 06-
4670, 2008 WL 4183981, *5 (N.D. Cal. Sept. 8, 2008) (“Information on government agency websites []
have often been treated as proper subjects for judicial notice”). Therefore, judicial notice of the NHTSA
EA ODI Resume is appropriate.

Judicial notice of warranty contracts has been approved in other product liability cases when they were
expressly identified in the complaint and their authenticity was not disputed. See, e.g., Loo v. Toyota
Motor Sales, USA, Inc., No. 8:19-cv-00750-VAP (ADSx), 2019 WL 7753448, at *6 n.1 (C.D. Cal. Dec.
20, 2019); Keegan v. Am. Honda Motor Co., 838 F. Supp. 2d 929, 936 n.38 (C.D. Cal. 2012);
Barakezyan v. BMW of N. Am., LLC, No. 16-CV-00173-SJO, 2016 WL 2840803, at *6 n.3 (C.D. Cal.
Apr. 7, 2016). The CAC expressly refers to the express warranties of the Vehicle Manufacturer
Defendants. See, e.g., Dkt. 278 ¶ 862. Plaintiffs have not objected to either the Honda or FCA Request
for Judicial Notice, nor have they disputed the authenticity of the documents for which the Honda and
FCA Defendants seek judicial notice.

For the foregoing reasons, the Honda and FCA Requests for Judicial Notice (Dkts. 211, 231) are
GRANTED.



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III.      Procedural Issues

          A.    Plaintiffs Added in the CAC

Defendants argue in support of the Joint Motion that Plaintiffs included in the CAC new plaintiffs (“New
Plaintiffs”) who were not parties to any of the underlying cases transferred to this Court for centralized
pretrial proceedings. Dkt. 208 at 71. Defendants contend that it was improper to do so. Id. Although
Plaintiffs have disputed that including the New Plaintiffs for the first time in the CAC was procedurally
improper, on September 25, 2020, they stated their intention to address this issue by filing a new case
on behalf of the New Plaintiffs against Defendants in the United States District Court for the Eastern
District of Michigan. Dkt. 282 at 20. Defendants did not object to this plan.

The New Plaintiffs6 filed a complaint in that District on October 2, 2020, which was transferred to this
Court on October 26, 2020 for inclusion in this action. It was docketed as Barry Adams, et al. v. ZF
Active Safety and Elecs. US LLC, et al., No. 20-cv-09668 JAK (C.D. Cal.). See CV 20-9668 Dkts. 1, 8.
Therefore, the New Plaintiffs are deemed properly added as parties to this action. Defendants’
argument that they were improperly added is MOOT. See Dkt. 208 at 71-73.

IV.       Analysis

          A.    Fed. R. Civ. P. 12(b)(2) Motion

                1.      Legal Standards: Personal Jurisdiction

                        a)      Overview

A party may move to dismiss for lack of personal jurisdiction pursuant to Fed. R. Civ. P. 12(b)(2). The
party asserting jurisdiction bears the burden of establishing it. Mattel, Inc. v. Greiner & Hausser GmbH,
354 F.3d 857, 862 (9th Cir. 2003). If the court does not require an evidentiary hearing, a plaintiff need
make only a prima facie showing of personal jurisdiction. Boschetto v. Hansing, 539 F.3d 1011, 1015
(9th Cir. 2008). Uncontroverted allegations in the complaint must be taken as true, and “[c]onflicts
between parties over statements contained in affidavits must be resolved in the plaintiff’s favor.”
Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 800 (9th Cir. 2004); Boschetto, 539 F.3d at
1015. However, a court “may not assume the truth of allegations in a pleading which are contradicted
by affidavit.” Mavrix Photo, Inc. v. Brand Techs., Inc., 647 F.3d 1218, 1223 (9th Cir. 2011) (quoting
Data Disc, Inc. v. Sys. Tech. Assocs., Inc., 557 F.2d 1280, 1284 (9th Cir 1977)).


6 The New Plaintiffs are: Barry Adams (“Adams”), Larae Angel (“Angel”), Bobbi Jo Birk-LaBarge (“Birk-LaBarge”),

John Colbert (“Colbert”), Brian Collins (“Collins”), Dorothy Cooks (“Cooks”), Gersen Damens (“Damens”), Joy
Davis (“Davis”), James Dean (“Dean”), Dylan DeMoranville (“DeMoranville”), Tiffany Ecklor (“Ecklor”), Tatiana
Gales (“Gales”), Ricky Gerischer (“Gerischer”), Constanza Gonzalez (“Gonzalez”), Lawrence Graziano
(“Graziano”), Paul Huitzil (“Huitzil”), Danny Hunt (“Hunt”), Richard Kintzel (“Kintzel”), James Kneup (“Kneup”),
Steve Laveaux (“Laveaux”), Deloras McMurray (“McMurray”), Carl Miller (“Miller”), Ravichandran Namakkal
(“Namakkal”), Michael Nearing (“Nearing”), Burton Reckles (“Reckles”), John Robinson (“Robinson”), Donna
Ronan (“Ronan”), Remigiusz Rundzio (“Rundzio”), John Sancomb (“Sancomb”), Dan Sutterfield (“Sutterfield”),
and Lore VanHouten (“VanHouten”).
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To establish personal jurisdiction, a party must show both that the long-arm statute of the forum state
confers personal jurisdiction over an out-of-state defendant, and that the exercise of jurisdiction would
be consistent with federal due process requirements. Gray & Co. v. Firstenberg Mach. Co., 913 F.2d
758, 760 (9th Cir. 1990). Personal jurisdiction may be exercised over a nonresident party who has
“minimum contacts” with the forum state, such that the exercise of jurisdiction “does not offend
traditional notions of fair play and substantial justice.” Int’l Shoe Co. v. Washington, 326 U.S. 310, 316
(1945) (internal quotation marks omitted). Depending on the nature of the contacts between such a
party and the forum state, personal jurisdiction may be general or specific.

                       b)      General Jurisdiction

General jurisdiction is established when a defendant’s contacts with the forum state are “ ‘so
continuous and systematic’ as to render [it] essentially at home in the forum state.” Daimler AG v.
Bauman, 571 U.S. 117, 139 (2014) (quoting Goodyear Dunlop Tires Operations, S.A. v. Brown, 564
U.S. 915, 919 (2011)). “The paradigmatic locations where general jurisdiction is appropriate over a
corporation are its place of incorporation and its principal place of business.” Ranza v. Nike, Inc., 793
F.3d 1059, 1069 (9th Cir. 2015) (citing Daimler, 571 U.S. at 137). “The exercise of general jurisdiction is
not limited to these forums; in an ‘exceptional case,’ a corporate defendant’s operations in another
forum ‘may be so substantial and of such a nature as to render the corporation at home in that State.’ ”
BNSF Ry. Co. v. Tyrrell, 137 S. Ct. 1549, 1558 (2017) (quoting Daimler, 571 U.S. at 139 n.19). Where
there is general jurisdiction, a party may “be haled into court in the forum state to answer for any of its
activities anywhere in the world.” Schwarzenegger, 374 F.3d at 801.

                       c)      Specific Jurisdiction

A person who is not subject to general jurisdiction may still be subject to jurisdiction in actions that arise
from the specific, forum-related activities of that person. Rano v. Sipa Press, Inc., 987 F.2d 580, 588
(9th Cir. 1993). The Ninth Circuit has established a three-part test for determining specific jurisdiction:

   (1) the defendant must purposefully avail himself of the privilege of conducting activities in the
       forum and invoking the benefits and protections of its laws;
   (2) the claim must arise out of or result from the defendant’s forum-related activities; and
   (3) exercise of jurisdiction must be reasonable.

Id.; see also Burger King Corp. v. Rudzewicz, 471 U.S. 462, 475–76 (1985). The party asserting
jurisdiction bears the burden of satisfying the first two prongs of this test. Schwarzenegger, 374 F.3d at
802. If it does so, then the burden shifts to the party contesting jurisdiction to “present a compelling
case” that the third prong of reasonableness has not been satisfied. Id.

The first element of the test for specific jurisdiction may be satisfied “by either purposeful availment or
purposeful direction, which, though often clustered together under a shared umbrella, ‘are, in fact, two
distinct concepts.’ ” Brayton Purcell LLP v. Recordon & Recordon, 606 F.3d 1124, 1128 (9th Cir. 2010)
(quoting Pebble Beach Co. v. Caddy, 453 F.3d 1151, 1155 (9th Cir. 2006)). Courts generally apply the
purposeful availment analysis in connection with contract claims and the purposeful direction analysis
in tort actions. Schwarzenegger, 374 F.3d at 802. “Evidence of availment is typically action taking place
in the forum that invokes the benefits and protections of the laws in the forum. Evidence of direction
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generally consists of action taking place outside the forum that is directed at the forum.” Pebble Beach,
453 F.3d at 1155 (citation omitted).

Where, as here, a court decides a motion to dismiss for lack of personal jurisdiction without an
evidentiary hearing, the plaintiff need only make a prima facie showing of jurisdictional facts to
withstand the motion to dismiss. Ballard v. Savage, 65 F.3d 1495, 1498 (9th Cir. 1995); Doe v. Unocal
Corp., 27 F. Supp. 2d 1174, 1181 (C.D. Cal. 1998), aff’d, 248 F.3d 915 (9th Cir. 2001). Plaintiff’s
version of the facts is taken as true for purposes of the motion if not directly controverted, and conflicts
between the parties’ evidentiary submissions must be resolved in favor of the party asserting
jurisdiction for purposes of deciding whether a prima facie case for jurisdiction has been established.
AT&T v. Compagnie Bruxelles Lambert, 94 F.3d 586, 588 (9th Cir. 1996); Unocal, 27 F. Supp. 2d at
1181.

Purposeful direction is evaluated under the three-part “effects” test set forth in Calder v. Jones, 465
U.S. 783 (1984). See Brayton Purcell, 606 F.3d at 1128; Schwarzenegger, 374 F.3d at 803. “Under this
test, ‘the defendant allegedly must have (1) committed an intentional act, (2) expressly aimed at the
forum state, (3) causing harm that the defendant knows is likely to be suffered in the forum state.’ ”
Brayton Purcell, 606 F.3d at 1128 (quoting Yahoo! Inc. v. La Ligue Contre Le Racisme Et
L'Antisemitisme, 433 F.3d 1199, 1206 (9th Cir. 2006) (en banc) (internal quotations omitted)). The
defendant need not have any physical contacts with the forum. See Schwarzenegger, 374 F.3d at 803

                       d)      Bristol-Meyers Squibb Co. v. Superior Court

In Bristol-Meyers, 137 S. Ct. 1773 (2017), a nationwide group of consumers brought a products liability
action in the San Francisco Superior Court against a prescription drug manufacturer. 137 S. Ct. at
1777. Plaintiffs there asserted state law claims based on injuries allegedly caused by a drug produced
and sold by the manufacturer. Id. The manufacturer, which was incorporated in Delaware and
headquartered in New York, argued that the Superior Court lacked specific jurisdiction as to the claims
of non-resident plaintiffs. Id. The Superior Court concluded that it had such specific jurisdiction, and the
California Court of Appeal and California Supreme Court affirmed. Id. at 1778. In its opinion, the
California Supreme Court applied a “sliding scale approach” to specific jurisdiction, in which “the more
wide ranging the defendant’s forum contacts, the more readily is shown a connection between the
forum contacts and the claim.” Id.

The matter was then reviewed by the United States Supreme Court. It rejected the approach of the
California Supreme Court and concluded that the Superior Court lacked specific jurisdiction over the
claims of the non-resident plaintiffs. The Court concluded that there was no “connection between the
forum and the specific claims at issue.” Id. at 1781. It also explained that there was no “adequate link”
between California and the claims of the nonresidents when “the nonresidents were not prescribed
Plavix in California, did not purchase Plavix in California, did not ingest Plavix in California, and were
not injured by Plavix in California.” Id. at 1781. That other plaintiffs “were prescribed, obtained, and
ingested Plavix in California -- and allegedly sustained the same injuries as did the nonresidents” -- was
not a sufficient basis for California to “assert specific jurisdiction over the nonresidents’ claims.” Id.

Bristol-Meyers expressly states it “concerns the due process limits on the exercise of specific
jurisdiction by a State” and that it “leave[s] open the question of whether the Fifth Amendment imposes
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the same restrictions on the exercise of personal jurisdiction by a federal court.” Id. at 1783-84.

                        e)      RICO Nationwide Service Provision

18 U.S.C. § 1965(b) provides:

         In any action under section 1964 of this chapter in any district court of the United States
         in which it is shown that the ends of justice require that other parties residing in any
         other district be brought before the court, the court may cause such parties to be
         summoned, and process for that purpose may be served in any judicial district of the
         United States by the marshal thereof.

Section 1964 is part of the Racketeer Influenced and Corrupt Organizations Act (“RICO”) statute. The
purpose of the “ends of justice” provision is “to enable plaintiffs to bring all members of a nationwide
RICO conspiracy before a court in a single trial.” Butcher's Union Local No. 498 v. SDC Inv., Inc., 788
F.2d 535, 539 (9th Cir.1986). “The right to nationwide service in RICO suits is not unlimited, however,
and the act of merely naming persons in a RICO complaint does not, in itself, make them subject to
section 1965(b)'s nationwide service provisions.” Rocawear Licensing LLC v. Pacesetter Apparel Grp.,
No. CV 06-3093 CJC (CWx), 2007 WL 5289737, at *5 (C.D. Cal. Sept. 12, 2007) (citing Butchers
Union, 788 F.2d at 539). “In order to demonstrate that a Court has jurisdiction over defendants under §
1965(b), the plaintiff must establish (1) that they have sufficiently alleged a multidistrict conspiracy that
encompasses the defendants; (2) that the court has personal jurisdiction over at least one of the
participants in the alleged multidistrict conspiracy; and (3) that there is no other district in which a court
will have personal jurisdiction over all of the alleged co-conspirators.” Id. (citing Butchers Union, 788
F.2d at 539). “Once the defendant has challenged the exercise of personal jurisdiction, the plaintiff
bears the burden of showing that the court has jurisdiction.” Butcher’s Union, 788 F.2d at 538.

                        f)      Personal Jurisdiction Under Fed. R. Civ. P. 4(k)(2)

“In a narrow class of ‘federal question’ cases, the jurisdictional reach of the court is extended by Rule
4(k)(2), ‘which functions as a sort of federal long-arm statute.’ ” In re Lupron Mktg. and Sales Pracs.
Litig., 245 F. Supp. 2d 280, 288 (D. Mass. 2003) (quoting United States v. Swiss Am. Bank, Ltd., 191
F.3d 30, 36 (1st Cir.1999)). Rule 4(k) provides as follows:

         (2) Federal Claim Outside State-Court Jurisdiction. For a claim that arises under federal
         law, serving a summons or filing a waiver of service establishes personal jurisdiction
         over a defendant if:

         (A) the defendant is not subject to jurisdiction in any state's courts of general jurisdiction;
         and

         (B) exercising jurisdiction is consistent with the United States Constitution and laws.

Fed. R. Civ. P. 4(k)(2).



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Rule 4(k)(2) has been deemed sufficient to provide personal jurisdiction over foreign defendants in
RICO cases, even where the nationwide service provision of 18 U.S.C. § 1965(b) did not apply to those
defendants. See, e.g., Dale v. Banque Alliance S.A., No. 02 Civ. 3592 RCCKNF, 2004 WL 2389894, at
*7 n.3, at (S.D.N.Y. Oct. 22, 2004) (Although the RICO statute “does not authorize service of process to
be effected abroad, it does not prohibit such service . . . and, therefore, the RICO statute is not
inconsistent with the provisions of Fed. R. Civ. P. 4(k)(2).”).

If the foreign defendant opposing personal jurisdiction in the United States is subject to jurisdiction in
any court in the United States, then Rule 4(k)(2) does not apply:

         [A] defendant who wants to preclude use of Rule 4(k)(2) has only to name some other
         state in which the suit could proceed. Naming a more appropriate state would amount to
         a consent to personal jurisdiction there.... If, however, the defendant contends that he
         cannot be sued in the forum state and refuses to identify any other where suit is
         possible, then the federal court is entitled to use Rule 4(k)(2). This procedure makes it
         unnecessary to traipse through the 50 states, asking whether each could entertain the
         suit.

Holland Am. Line Inc. v. Wartsila N. Am., Inc., 485 F.3d 450, 461 (9th Cir. 2007).

                2.     Application

                       a)      Whether Bristol-Myers Applies in This MDL Proceeding

Cabrera v. Bayer Healthcare, LLC, held that Bristol-Myers does not apply in the context of a class
action brought in a federal court. No. LA CV17-08525 JAK, 2019 WL 1146828, at *8 (C.D. Cal. Mar.
2019). Thus, whether the putative class may have members who do not reside in the forum state was
not deemed to be material. The weight of recent district court authority in this Circuit and District is
consistent with Cabrera. See Burchfield v. Prestige Consumer Healthcare, Inc., 534 F.Supp.3d 1192,
1208 (C.D. Cal. 2021); Carranza v. Terminix Int’l Co. Ltd. P’ship, 529 F. Supp. 3d 1139, 1146 (S.D. Cal.
2021); Schertzer v. Bank of Am., N.A., 445 F. Supp. 3d 1058, 1081 (S.D. Cal. 2020); Sousa v. 7-
Eleven, Inc., No. 19-CV-2142 JLS, 2020 WL 6399595, at *3 (S.D. Cal. Nov. 2, 2020); Vallarta v. United
Airlines, Inc., 497 F.Supp.3d 790, 803 (N.D. Cal. Oct. 26, 2020); Lacy v. Comcast Cable Commc’ns,
LLC, No. 3:19-cv-05007-RBL, 2020 WL 1469621, at *2 (W.D. Wash. Mar. 26, 2020); Choi v. Kimberly-
Clark Worldwide, Inc., No. SA CV 19-0468-DOC (ADSx), 2019 WL 4894120, at *5 (C.D. Cal. Aug. 28,
2019); Pascal v. Concentra, Inc., No. 19-cv-02559-JCS, 2019 WL 3934936, at *5 (N.D. Cal. Aug. 20,
2019); McCurley v. Royal Seas Cruises, Inc., No. 17-cv-00986-BAS-AGS, 2019 WL 3006469, at *7
(S.D. Cal. July 10, 2019); Benitez v. Powerline Funding, LLC, No. 8:19-cv-00098-JLS, 2019 WL
4284520, at *2 (C.D. Cal. June 6, 2019); Sotomayor v. Bank of Am., N.A., 377 F. Supp. 3d 1034, 1037-
38 (C.D. Cal. 2019); Zuehlsdorf v. FCA US LLC, No. EDCV 18-1877 JGB, 2019 WL 4422673, at *6
(C.D. Cal. Aug. 7, 2019).

Two circuit courts have been presented with the same issue addressed in Cabrera. Molock v. Whole
Foods Mkt. Grp., Inc., 952 F.3d 293 (D.C. Cir. 2020), did not expressly reach the question whether
Bristol-Myers applies to class actions. However, it found that putative class members are not parties to
an action, and “[m]otions to dismiss nonparties for lack of personal jurisdiction are . . . premature” prior
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to class certification. 952 F.3d at 298. Mussat v. IQVIA, Inc., 953 F.3d 441 (7th Cir. 2020), concluded
that “a major change in the law of personal jurisdiction and class actions” is “not warranted by the
Supreme Court’s decision in Bristol-Myers,” because absent members of a putative class are “more like
nonparties, and thus there is no need to locate each and every one of them and conduct a separate
personal-jurisdiction analysis of their claims.” 953 F.3d at 448.

Defendants rely on Carpenter v. Petsmart, Inc., 441 F. Supp. 3d 1028 (S.D. Cal. 2020), which held that
Bristol-Myers barred the claims of unnamed, non-resident plaintiffs in a putative nationwide class
action. See Dkt. 208 at 53; 441 F. Supp. 2d at 1037. However, more persuasive is the conclusion
reached by the majority of other courts that have considered Carpenter, i.e., that it is unnecessary to
reach the question whether there is “personal jurisdiction over putative claims brought by putative class
members who are not yet parties to [an] action.” Noohi v. Kraft Heinz Co., No. CV-19-10658-DSF, 2020
WL 5554255, at *5 (C.D. Cal. July 20, 2020); see Bugarin v. All Nippon Airways Co., 513 F. Supp. 3d
1172, 1188 (N.D. Cal. 2021); Carranza, 529 F. Supp. 3d at 1146; Massaro v. Beyond Meat, Inc., No. 3-
20-CV-00510-AJB, 2021 WL 948805, at *11 (S.D. Cal. Mar. 12, 2021); but see Goldstein v. Gen.
Motors LLC, 445 F. Supp. 3d 1000, 1012 (S.D. Cal. 2020). Further, there is force to the position that
“where a federal court presides over federal litigation, the interstate sovereignty questions raised by
Bristol-Myers—which involved California state court litigation—are not present.” Carranza, 529 F. Supp.
3d at 1146 (citing Sloan v. Gen. Motors LLC, 287 F. Supp.3d 840, 859 (N.D. Cal. 2018)); see Massaro,
2021 WL 948805, at *11 (citing Sloan, 287 F. Supp. 3d at 859) (“[T]he due process concerns relating to
whether a state court can hail an out-of-state defendant into its court does not exist in a purely federal
case.”). They also expressly have held that Bristol-Myers does not apply to class actions. Id.

Defendants have not cited other cases to support a finding that Bristol-Myers applies to both class
actions brought in a federal court and also to federal, multidistrict litigation. The few courts to have
considered the issue in the context of MDL litigation have not applied Bristol-Myers. As one recognized,
to do so in an MDL action would “implicate very different federalism concerns than those presented” in
Bristol-Myers. In re Delta Dental Antitrust Litig., 509 F. Supp. 3d 1377, 1380 (J.P.M.L. 2020) (citation
omitted); see In re McKinsey & Co., Inc., Nat'l Prescription Opiate Consultant Litig., No. MDL 2996,
2021 WL 2351628, at *2 n.6 (J.P.M.L. June 7, 2021) (declining to revisit In re Delta Dental Antitrust
Litig., 2020 WL 7382602, at *2); In re Takata Airbag Prod. Liab. Litig., 396 F. Supp. 3d 1101, 1137
(S.D. Fla. 2019).

Applying Bristol-Myers to federal MDL proceedings would “unravel[] more than forty years of MDL
jurisprudence.” In re Delta Dental Antitrust Litig., 509 F. Supp. 3d at 1380. Requiring personal
jurisdiction over all absent nationwide class members also would “significantly limit[]” “the potential
transferee fora for a given MDL.” Id. at 1381. For some “multi-defendant MDLs,” “it may be that no
district has personal jurisdiction over all parties,” in which case, “[i]f all parties and actions cannot be
coordinated within an MDL, the efficiency benefits of the MDL may be severely curtailed. Such a
profound change in practice is not warranted by Bristol-Myers . . .” Id.

For the foregoing reasons, Bristol-Myers does not apply in this MDL proceeding. The argument that this
Court lacks personal jurisdiction over the claims of putative nationwide class members is premature.

                        b)      Hyundai-Kia Defendants

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                                (1)     HMA and KMA

Plaintiffs contend that Hyundai Motor America, Inc. (“HMA”) and Kia Motors America, Inc. (“KMA”) are
subject to general jurisdiction in California. Dkt. 278 ¶ 144. The Hyundai-Kia Defendants do not
challenge this position. See Dkt. 219 at 17-19.

Fed. R. Civ. P. 12(h)(1)(B) provides that if a party fails to raise in a Rule 12 motion a defense that is
within Rule 12(b)(2)-(5), it waives that defense. One of those defenses is “lack of personal jurisdiction.”
Fed. R. Civ. P. 12(b)(2). The Hyundai-Kia Defendants raised this defense only as to Hyundai Motor
Company, Ltd. (“HMC”) and Kia Motors Corporation (“KMC”). Dkt. 219 at 17. Because they did not
raise it as to HMA or KMA, they have waived their defense as to these two parties. See Thompson v.
Transamerica Life Ins. Co., No. 2:18-cv-05422-CAS, 2018 WL 6790561, at *7 (C.D. Cal. Dec. 26, 2018)
(citing Fed. R. Civ. P. 12(h) and (g)) (defendant “waived its personal jurisdiction defense with respect
to” one of plaintiff’s claims “because it omitted this defense in its motion to dismiss”); Agasino v. Am.
Airlines Inc., No. 19-CV-03243-LB, 2019 WL 3387803, at *3 (N.D. Cal. July 26, 2019) (citing Fed. R.
Civ. P. 12(g)(2), (h)(1)(A) (because defendant “moved to dismiss for improper venue but did not move
to dismiss for lack of personal jurisdiction,” it “waived any personal-jurisdiction arguments and is subject
to personal jurisdiction here with respect to this case”); AT&T Corp. v. Teliax, Inc., No. 16-CV-01914-
WHO, 2016 WL 4241910, at *2 (N.D. Cal. Aug. 11, 2016) (citing Fed. R. Civ. P. 12(h)) (“A party waives
a defense based on lack of personal jurisdiction by omitting it from its first Rule 12(b) motion.”).

For the foregoing reasons, it is appropriate to exercise personal jurisdiction over HMA and KMA.
Therefore, the Hyundai-Kia Motion is DENIED as to HMA and KMA.

                                (2)     HMC and KMC

                                        (a)     Personal Jurisdiction Under 18 U.S.C. § 1965(b).

Plaintiffs argue that there is specific personal jurisdiction over HMC and KMC under 18 U.S.C. §
1965(b). Dkt. 282 at 9; Dkt. 285 at 28. Section 1965(b) provides that, in a civil RICO enforcement action
brought under 18 U.S.C. § 1964 in any United States district court, if “it is shown that the ends of justice
require that other parties residing in any other district be brought before the court, the court may cause
such parties to be summoned, and process for that purpose may be served in any judicial district of the
United States by the marshal thereof.” 18 U.S.C. § 1965(b). The purpose of this portion of the statute is
“to enable plaintiffs to bring all members of a nationwide RICO conspiracy before a court in a single
trial.” Butcher’s Union, 788 F.2d at 539.

“In order to establish personal jurisdiction under Section 1965(b), Plaintiffs must show: (1) the Court
has personal jurisdiction over at least one of the participants in the action; (2) ‘there is no other district
in which a court will have personal jurisdiction over the alleged co-conspirators[’;] and (3) the facts
show a single nationwide RICO conspiracy exists.” Gilbert v. Bank of Am., No. C 13-01171, 2014 WL
4748494, at *4 (N.D. Cal. Sept. 23, 2014) (citing Butcher’s Union, 788 F.2d at 539).

For the reasons stated below, Plaintiffs have failed to state a claim for RICO conspiracy as to HMC and
KMC. “[M]erely naming persons in a RICO complaint does not, in itself, make them subject to section
1965(b)'s nationwide service provisions.” Butcher’s Union, 788 F.2d at 539. Further, even if there were
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sufficient allegations that HMC and KMC engaged in a RICO conspiracy with the other Hyundai-Kia
Defendants -- ZF TRW and STMicro -- Plaintiffs have not alleged a single nationwide RICO conspiracy.
This makes inadequate their argument that there is specific personal jurisdiction under 18 U.S.C. §
1965(b) as to HMC and KMC.

Butcher’s Union is consistent with this conclusion. There, the plaintiffs alleged “a nationwide conspiracy
created and carried out by defendant lawyers with the four separate employers” that were named as
defendants, as well as “four individual conspiracies between the defendant lawyers, a defendant
employer, and [] agents” of a union. 788 F.2d at 537. “The district court properly concluded that the
complaint did not allege a single nationwide RICO conspiracy” and instead had alleged four separate
conspiracies. Id. at 538-39. Alleging four separate conspiracies did not provide a sufficient basis under
section 1965(b) for personal jurisdiction over the two defendant employers, notwithstanding that each
was alleged to have been part of one of the four conspiracies. Id. at 539.

District courts have reached the same outcome. See, e.g., Gilbert, 2014 WL 4748494, at *1. In Gilbert,
plaintiffs named three separate groups of entities as defendants. Plaintiffs alleged that all of these
defendants were engaged in a RICO enterprise. Id. at *2. Two groups of defendants challenged
personal jurisdiction. Id. Gilbert concluded that plaintiffs “fail[ed] to allege any connection between
[those two groups]” and “[a]t best” their “allegations might show two separate conspiracies.” Id. at *5.
Because plaintiffs “failed to allege a single RICO conspiracy,” there was no personal jurisdiction under
section 1965(b). Id. Accord Doe v. Walmart Inc., No. 18-CV-02125-LHK, 2019 WL 499754, at *7 (N.D.
Cal. Feb. 8, 2019) (Although the plaintiffs had argued that they had alleged a single nationwide
conspiracy, they “at best allege[d] multiple conspiracies . . . , not one unified conspiracy amongst all the
Defendants.”)

Plaintiffs have not alleged a single conspiracy among all Defendants. Rather, they expressly have
alleged that there are several RICO enterprises, and then tie their RICO conspiracy claims to these
enterprises. Plaintiffs have not alleged any relationship between or among any Defendants with respect
to these enterprises. Instead, they have alleged that each Defendant participated in a distinct
enterprise, and not that there is a single nationwide conspiracy among all Defendants. Thus, even
assuming that Plaintiffs have stated a claim for RICO conspiracy as to each of the separate, alleged
enterprises, that would not be sufficient to establish personal jurisdiction under section 1965(b). That
statute requires “a single nationwide RICO conspiracy.” Butcher’s Union, 788 F.2d at 539.

Because Plaintiffs have not alleged a single nationwide conspiracy among Defendants, section 1965(b)
does not provide a proper basis for personal jurisdiction over any Defendant.

                                       (b)     Personal Jurisdiction Under Fed. R. Civ. P. 4(k)(2)

Plaintiffs argue that, under Rule 4(k)(2), there is personal jurisdiction over HMC and KMC. Dkt. 295 at
85; see Dkt. 282 at 10. As noted, “[r]eferred to as the federal long-arm statute, Rule 4(k)(2) applies
when (1) the claim against the defendant arises under federal law; (2) the defendant is not subject to
the personal jurisdiction of any state court of general jurisdiction; and (3) the federal court's exercise of
personal jurisdiction comports with due process. In re Volkswagen "Clean Diesel" Mktg., Sales Pracs.,
& Prod. Liab. Litig., MDL No. 2672 CRB, 2017 WL 4890594, at *17 (N.D. Cal. Oct. 30, 2017) (citing
Holland Am. Line, 485 F.3d at 461 (9th Cir. 2007)); see Pebble Beach, 453 F.3d at 1159.
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Defendants argue that the stipulation by the foreign Defendants to accept service of process without
the formalities of service under the Hague Service Convention (the “Stipulation” (Dkt. 123)) precludes
Plaintiffs from asserting that there is personal jurisdiction over the foreign Defendants under Rule
4(k)(2). Dkt. 300 at 13. This argument is unpersuasive. The Stipulation simply places Defendants in the
same position as if service had been effected properly under the Hague Service Convention. Therefore,
it does not foreclose Plaintiffs’ argument that there is personal jurisdiction over the foreign Defendants
under Rule 4(k)(2). Nor does the Stipulation estop Defendants from contesting such an argument.

Defendants do not challenge that Plaintiffs have satisfied the first and second requirements of Rule
4(k)(2). See Dkt. 300 at 12-14. Plaintiffs’ claims against the foreign Defendants arise under RICO. See
Hungerstation LLC v. Fast Choice LLC, 857 F. App’x 349, 351 (9th Cir. 2021) (“The first element is
uncontested because [the plaintiff] brings several claims that arise under federal statutes.”). Moreover,
Defendants have not asserted that personal jurisdiction is proper in any state. See Holland Am. Line,
485 F.3d at 461 (9th Cir. 2007) (citing ISI Int’l, Inc., v. Borden Ladner Gervais LLP, 256 F.3d 548, 552
(7th Cir. 2001)) (“holding that ‘[a] defendant who wants to preclude use of Rule 4(k)(2) has only to
name some other state in which the suit could proceed’ ” (alteration in original)); Hungerstation, 857 F.
App’x at 351 (The second element of Rule 4(k)(2) is satisfied because neither defendant “identifies a
state where they are subject to general jurisdiction.” (citing Holland Am. Line, 485 F.3d at 461)).
Therefore, the open issue is the third requirement, i.e., that the exercise of personal jurisdiction
comports with due process. Dkt. 300 at 13-14; Dkt. 303 at 8-10.

“The due process analysis under Rule 4(k)(2) is nearly identical to traditional personal jurisdiction
analysis with one significant difference: rather than considering contacts between the [defendant]
entities and the forum state, [the court] consider[s] contacts with the nation as a whole.” Holland Am.
Line, 485 F.3d at 462 (citing Pebble Beach, 453 F.3d at 1159).

Courts apply a three-part test to determine whether a defendant has sufficient “minimum contacts” with
a forum to justify the exercise of specific jurisdiction:

         (1) The non-resident defendant must purposefully direct his activities or consummate some
         transaction with the forum or resident thereof; or perform some act by which he purposefully
         avails himself of the privilege of conducting activities in the forum, thereby invoking the benefits
         and protections of its laws;

         (2) the claim must be one which arises out of or relates to the defendant’s forum-related
         activities; and

         (3) the exercise of jurisdiction must comport with fair play and substantial justice, i.e., it must be
         reasonable.

Freestream Aircraft (Bermuda) Ltd. v. Aero Law Grp., 905 F.3d 597, 603 (9th Cir. 2018) (citation
omitted); Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 802 (9th Cir. 2004). “If any of the
three requirements is not satisfied, jurisdiction in the forum would deprive the defendant of due process
of law.” Pebble Beach, 453 F.3d at 1155 (citing Omeluk v. Langsten Slip & Batbyggeri A/S, 52 F.3d
267, 270 (9th Cir. 1995)).
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A plaintiff bears the burden of satisfying the first two prongs of the test. Id. The burden then shifts to the
party contesting jurisdiction to “present a compelling case” that the exercise of jurisdiction would not be
reasonable. Schwarzenegger, 371 F.3d at 802. “Personal jurisdiction must exist for each claim asserted
against a defendant.” Action Embroidery Corp. v. Atl. Embroidery, Inc., 368 F.3d 1174, 1180 (9th Cir.
2004).

                                               (i)     Purposeful Direction

The first prong of the specific jurisdiction test may be satisfied with facts sufficient to show either
“purposeful availment or purposeful direction, which, though often clustered together under a shared
umbrella, ‘are, in fact, two distinct concepts.’ ” Brayton Purcell, 606 F.3d at 1128 (quoting Pebble
Beach, 453 F.3d at 1155). “[A] purposeful direction analysis naturally applies in suits sounding in tort
where the tort was committed outside the forum state.” Freestream Aircraft, 905 F.3d at 605 (citations
omitted); Pakootas v. Teck Cominco Metals, Ltd., 905 F.3d 565, 577 (9th Cir. 2018); Schwarzenegger,
374 F.3d at 802.

Purposeful direction is measured by the tripartite “effects test” in Calder v. Jones, 465 U.S. 783 (1984),
which requires that the defendant “(1) committed an intentional act, (2) expressly aimed at the forum
state, (3) causing harm that the defendant knows is likely to be suffered in the forum state.” Picot v.
Weston, 780 F.3d 1206, 1214 (9th Cir. 2015) (quoting Schwarzenegger, 374 F.3d at 803); see
Hungerstation, 857 F. App’x at 351 (citing Dole Food, 303 F.3d at 1111). The test focuses on the
defendant’s “contacts with the forum state itself, not the defendant’s contacts with persons who reside
there.” Walden v. Fiore, 571 U.S. 277, 285 (2014).

With respect to the first prong of Calder, an intentional act is one committed with the “intent to perform
an actual, physical act in the real world.” Picot, 780 F.3d at 1214. Consideration of the act is limited to
whether an “external manifestation of the actor’s will” is reflected, and “does not include any of [the
act’s] results, even the most direct, immediate, and intended.” Schwarzenegger, 374 F.3d at 806.

With respect to the second prong of Calder, “express aiming” requires “something more” than a “foreign
act with foreseeable effects in the forum state.” Wash. Shoe v. A-Z Sporting Goods Inc., 704 F.3d 668,
675 (9th Cir. 2012), abrogated on other grounds by Axiom Foods, Inc. v. Acerchem Int’l, Inc., 874 F. 3d
1064 (9th Cir. 2017). More recent cases have “reinforced the traditional understanding that our
personal jurisdiction analysis must focus on the defendant’s contacts with the forum state, not the
defendant's contacts with the resident of the forum.” Picot, 780 F.3d at 1214; see Walden, 571 U.S. at
279-80.

With respect to the third prong of Calder, the inquiry centers on the foreseeability of harm. Brayton
Purcell, 606 F.3d at 1131 (citing Yahoo! Inc., 433 F.3d at 1206; Bancroft & Masters, Inc. v. Augusta
Nat'l, Inc., 223 F.3d 1082, 1087 (9th Cir. 2000)). This requirement is met even if the “bulk of the harm”
occurs outside the forum. Id.

Plaintiffs argue that purposeful direction is established based on the direct contacts HMC and KMC
each had with the United States, as well as the contacts of their U.S.-based subsidiaries. Dkt. 285 at
31. They argue that, “[i]n addition to direct contacts between a foreign defendant and a forum, . . . ‘a

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corporation can purposefully avail itself of a forum by directing its agents or distributors to take action
there.’ ” Dkt. 282 at 15 (citing Daimler, 571 U.S. at 135 n.13).

Daimler AG v. Bauman concluded that general jurisdiction over a parent company cannot be
established based on an agency relationship with its subsidiary. 571 U.S. at 139. However, it “left open
the question of whether an agency relationship might justify the exercise of specific jurisdiction.”
Williams v. Yamaha Motor Co. Ltd., 851 F.3d 1015, 1023 (9th Cir. 2017) (emphasis added) (citing
Daimler, 571 U.S. at 135 n.13). 7 Daimler made clear that the “agency analysis” set forth in Doe v.
Unocal Corp. (“Unocal”), 248 F.3d 915 (9th Cir. 2001), is “irreconcilable” with “Daimler’s reasoning.”
Williams, 851 F.3d at 1024. The Unocal test “ask[ed] whether the subsidiary ‘performs services that are
sufficiently important to the foreign corporation that if it did not have a representative to perform them,
the corporation's own officials would undertake to perform substantially similar services.’ ” Id. (quoting
Unocal, 248 F.3d at 928). Williams explained that, in light of Daimler’s rejection of Doe’s standard for
assessing an agency relationship, “[a]ssuming . . . that some standard of agency continues to be
‘relevant to the exercise of specific jurisdiction,’ ” establishing an agency relationship requires that the
“the parent company . . . have the right to substantially control its subsidiary’s activities.” Id. at 1024-
1025 (citations omitted).

In light of the foregoing, the appropriate standard for assessing an agency relationship under Williams
is “substantial control.” Applying that standard, Williams concluded that the appellants “neither allege[d]
nor otherwise show[ed] that [a Japanese company] had the right to control [its U.S.-based subsidiary’s]
activities in any manner at all,” and consequently failed to establish specific jurisdiction. Id. at 1025

Plaintiffs argue that “HMC and KMC . . . exercise substantial control over HMA and KMA.” Dkt. 285 at
31. This position is supported by several allegations in the CAC, including the following:

      •     HMC and KMC “have the power to appoint board members to [HMA and KMA], respectively.
            They have exercised this power to appoint board members to these subsidiaries that they
            believe will manage the subsidiaries with the principal goal of benefiting them.” Dkt. 278 ¶ 188.
      •     HMC “reportedly maintains a ‘Global Command and Control Center’ in Korea,” which constantly
            “monitors every operating line at all Hyundai plants in the world, in real time.” Id. ¶ 190. Further,
            HMA employees “report on quality issues to [HMC].” Id.
      •     “Senior Korean executives at [HMC] visit Hyundai plants in the United States.” Id. ¶ 192.
      •     “Korean speaking ‘coordinators’ reportedly work at [HMA] and [KMA] and report on their
            activities to Korean executives at [HMC] and [KMC], respectively, every business day.” Id. ¶
            193.
      •     HMC and HMA “share common executives. For example, Jose Munoz is the current Global
            Chief Operating Officer of [HMC] as well as the President and CEO of Hyundai Motor North
            America and the President and CEO of [HMA].” Id. ¶ 194.

7 The Toyota Defendants state that Williams “h[olds] that the agency theory of specific jurisdiction did not survive”
Daimler. Dkt. 297 at 17 (citing Williams, 851 F.3d at 1023-24). However, Williams expressly recognized that
Daimler “left” this question “open.” 851 F.3d at 1023 (citing Daimler, 571 U.S. at 135 n.13); see
Heber v. Toyota Motor Sales U.S.A., Inc., No. SACV-16-01525 AG, 2018 WL 3104612,
at *2 (C.D. Cal. June 11, 2018) (citing Williams, 851 F.3d at 1024) (“The Ninth Circuit has left open the question of
whether an agency relationship between a parent and a subsidiary might impute the subsidiary's forum contacts
to the parent.”).
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Although the present proceedings under Rule 12 do not involve the resolution of facts, the Hyundai-Kia
Defendants do not dispute the substance of these allegations. See generally Declaration of Dongjune
Song in Support of the Hyundai-Kia Motion, Dkt. 219-1; Declaration of Seul Young Lee in Support of
the Hyundai-Kia Motion, Dkt. 219-2.

Plaintiffs’ allegations are sufficient to establish that HMC substantially controls the activities of HMA,
because they show that the relationship between those entities goes beyond the “normal oversight of a
parent over a subsidiary.” In re Cal. Gasoline Spot Mkt. Antitrust Litig., No. 20-CV-03131-JSC, 2021 WL
4461199, at *2 (N.D. Cal. Sept. 29, 2021). However, the allegations presented to show an agency
relationship between KMC and KMA are summary ones that, if established, would not be sufficient to
show such a relationship. Although Plaintiffs allege that KMC closely monitors KMA, “closely monitoring
is not controlling.” Id.

Plaintiffs have sufficiently alleged that HMC substantially controls HMA, and they are in an agency
relationship. Consequently, the allegations as to the forum-related activities of HMA can be imputed to
HMC for the purpose of assessing personal jurisdiction. The CAC includes many allegations that HMA
targeted the United States with its conduct. For example, it alleges that HMA “makes and/or sells
automobiles in the United States.” Dkt. 278 ¶ 45. To facilitate such U.S.-based sales, it is alleged that
HMA has “[a]ffix[ed] misleading certification labels assuring compliance with safety requirements to the
Hyundai . . . Class Vehicles and ship[ed] the Hyundai . . . Class Vehicles to dealerships throughout the
United States.” Id. ¶ 595(d). It is further alleged that HMA has [p]articipat[ed] in the creation of
Monroney labels that stated the Hyundai . . . Class Vehicles were equipped with Occupant Restraint
Systems but did not disclose the related defect in the ACU.” Id. ¶ 595(e). The CAC also alleges that
HMA has “[p]articipat[ed] in the creation of misleading advertising for the Hyundai . . . Class Vehicles
that stressed the safety of [those] vehicles and omitted material facts.” Id. ¶ 595(f). Finally, it is alleged
that HMA engaged in extensive efforts to conceal the Alleged Defect from American consumers and
NHTSA. Id. ¶ 595(g)-(l).

When these allegations are considered together with the allegations as to HMC’s own direct contacts
with the United States, they are sufficient to show purposeful direction aimed at the United States. The
CAC alleges that HMC submitted applications to the U.S. Environmental Protection Agency (“EPA”)
and registered for federal trademarks, thereby facilitating the sale of Hyundai vehicles in the United
States. Dkt. 278 ¶¶ 189, 191. It further alleges that HMC met with ZF TRW at least four times to discuss
the Alleged Defect, and determine what should be communicated about it to NHTSA. Id. ¶ 197; cf.
Zakikhan, 2021 WL 4805454, at *4 (“[T]he FAC alleges that HMC and KMC were intimately involved
with the decisions to track vehicle malfunctions, determine the cause of the problem, and ultimately to
disclose that information to NHTSA and initiate recall efforts. . . . Plaintiffs have adequately alleged that
Defendants HMC and KMC have purposefully directed their conduct to the forum.”). Therefore,
Plaintiffs have sufficiently alleged that HMC’s forum-related activities go beyond “[t]he placement of a
product into the stream of commerce.” Holland Am. Line, 485 F.3d at 459 (citing Asahi Metal Indus. Co.
v. Superior Court, 480 U.S. 102, 112 (1987)).

The allegations in the CAC as to KMC’s direct contacts with the United States, are insufficient, by
themselves, to establish purposeful direction. The CAC alleges that KMC, like HMC, “regularly
submitted applications to the EPA to obtain certification necessary for the sale of [its] vehicles in the
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United States.” Dkt. 278 ¶ 189. It further alleges that KMC “registered and maintained registrations with
the United States government for trademarks associated with its vehicles and parts.” Id. ¶ 191. Finally,
it alleges that KMC, along with HMC, met with ZF TRW “in Korea at least four times for the purpose of
discussing the problems with ZF TRW ACUs in Hyundai-Kia Class Vehicles and what to tell NHTSA.”
Id. ¶ 197. Considered independently, these allegations are insufficient to establish purposeful direction
by KMC.

                                              (ii)    Relatedness

Courts have “rel[ied] on a ‘but for’ test to determine whether a particular claim arises out of forum-
related activities and thereby satisfies the second requirement for specific jurisdiction.” Ballard, 65 F.3d
at 1500 (citation omitted). The issue presented is whether, but for the defendant’s alleged tortious
conduct, the injury to the plaintiffs would not have occurred. Harris Rutsky & Co. Ins. Servs., Inc. v. Bell
& Clements Ltd., 328 F.3d 1122, 1132 (9th Cir. 2003).

The Supreme Court recently held that this is only one aspect of the specific jurisdiction inquiry. Ford
Motor Co. v. Mont. Eighth Jud. Dist. Ct., 141 S. Ct. 1017, 1026 (2021) (“None of our precedents has
suggested that only a strict causal relationship between the defendant's in-state activity and the
litigation will do.”). After Ford Motor Co., “courts must give real consideration to claims that ‘relate to’
the defendant's forum contacts,” even if those contacts are not the ‘but for’ cause of the dispute. Clarke
v. Dutton Harris & Co., No.: 2:20-cv-00160-JAD-BNW, 2021 WL 1225881, at *4 (D. Nev. Mar. 31,
2021); see also Nomad Glob. Commc’n Sols., Inc. v. Hoseline, Inc., CV 20–138–M–DLC, 2021 WL
1400983, at *4 (D. Mont. Apr. 14, 2021) (“[T]he impact of Ford Motor Co. on personal jurisdiction
jurisprudence is the invalidation of the Ninth Circuit's but-for test for determining relatedness.”); James
Lee Constr., Inc. v. Gov’t. Emps. Ins. Co., No. CV 20-68-M-DWM, 2021 WL 1139876, at *2 (D. Mont.
Mar. 25, 2021) (“[A]s the Supreme Court just made clear, such a ‘causation-only approach’ improperly
narrows the inquiry”). Ford Motor Co. did not vacate the but-for test as a basis for assessing
relatedness; instead, it created an additional basis for doing so. See 141 S. Ct. at 1026.

Plaintiffs have shown that, but for HMA’s forum-related activities, which can be imputed to HMC,
Plaintiffs’ alleged injuries would not have occurred. This remains sufficient to address the relatedness
inquiry. It is alleged that, but for HMA’s concealment of the Alleged Defect from consumers and NHTSA
and its misleading certification labels, Monroney labels and advertising, Plaintiffs would not have
purchased or leased the Hyundai Class Vehicles and suffered the resulting, alleged injuries. See, e.g.,
Dkt. 278 ¶ 86 (“Plaintiff would not have purchased the Class Vehicle, or would have paid less for it, if
Hyundai, Hyundai MOBIS, ZF TRW, and/or STMicro did not conceal material information regarding the
vehicle’s defective ACU.”); ¶ 1452 (“The Hyundai and Kia Defendants and Hyundai MOBIS’s scheme
and concealment of the ACU defect and true characteristics of the Occupant Restraint Systems in the
Class Vehicles were material to [] Plaintiffs and [] Class members, as the Hyundai and Kia Defendants
and Hyundai MOBIS intended. Had they known the truth, [] Plaintiffs and [] Class members would not
have purchased or leased the Class Vehicles, or would have paid significantly less for them.”).

Because HMA’s forum-related conduct is alleged to be the but-for cause of Plaintiffs’ injuries, the
relatedness requirement is satisfied.

                                              (iii)   Reasonableness

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Once a “plaintiff succeeds in satisfying both of the first two prongs” of the minimum contacts test, “the
burden then shifts to the defendant ‘to present a compelling case’ that the exercise of jurisdiction would
not be reasonable.” Schwarzenegger, 374 F.3d at 802 (citing Burger King Corp. v. Rudzewicz, 471 U.S.
462, 476-78 (1985)). Defendants have not challenged the reasonableness of exercising specific
jurisdiction over HMC.

Courts balance the following factors to evaluate whether the exercise of personal jurisdiction would be
reasonable:

         (1) the extent of the defendant's purposeful interjection into the forum state's affairs; (2) the
         burden on the defendant of defending in the forum; (3) the extent of conflict with the sovereignty
         of the defendant's state; (4) the forum state's interest in adjudicating the dispute; (5) the most
         efficient judicial resolution of the controversy; (6) the importance of the forum to the plaintiff's
         interest in convenient and effective relief; and (7) the existence of an alternative forum.

Freestream Aircraft, 905 F.3d at 607 (citing Paccar Int’l, Inc. v. Com. Bank of Kuwait, S.A.K., 757 F.2d
1058, 1064 (9th Cir. 1985)).

HMC’s direct contacts with the United States are “attenuated.” See Core-Vent Corp. v. Nobel Indus.
AB, 11 F.3d 1482, 1488 (9th Cir. 1993). For example, it does not “have offices or other physical
presence in the forum.” Falco v. Nissan N. Am. Inc., 96 F. Supp. 3d 1053, 1060 (C.D. Cal. 2015).
These facts weigh against a finding of reasonableness.

The “burden on the defendant” factor is considered “in light of the corresponding burden on the
plaintiff.” Sinatra v. Nat’l Enquirer, Inc., 854 F.2d 1191, 1199 (9th Cir. 1988) (citing Brand v. Menlove
Dodge, 796 F.2d 1070, 1075 (9th Cir. 1986)). Because HMC has agents based in the United States,
this “translate[s] into less of a litigation burden than if [they] maintained no physical presence or agent
in the United States.” Id. at 1199. In addition, it is alleged that “[s]enior Korean executives at [HMC] visit
Hyundai plants in the United States.” Dkt. 278 ¶ 192; cf. Harris Rutsky, 328 F.3d at 1132-33 (no undue
burden on the defendant to litigate in California where its employees “frequently travel to California on
business”). Another mitigating factor is that Jose Munoz, the current Global Chief Operating Officer of
HMC, is also alleged to be the current President and CEO of Hyundai Motor North America and of
HMA. Dkt. 278 ¶ 194. It is also alleged that HMC routinely files applications with the EPA and registers
trademarks with the United States. Id. at ¶¶ 189, 191. This warrants the inference that it has some
familiarity with the legal system in the United States, and likely has counsel here. It also has retained
counsel who are based here. Cf. Wargaming.net Ltd. v. Blitzteam LLC, No.: CV-20-02763 CJC, 2021
WL 3619956, at *5 (C.D. Cal. Jan. 20, 2021). As a large corporation with activities throughout the world,
the burden on HMC in litigating outside of Korea is limited. See Core-Vent Corp., 11 F.3d at 1489. In
contrast, the burden on Plaintiffs, who are individuals, of litigating in South Korea, where HMC is based,
would be significant. None of the Hyundai-Kia Plaintiffs is alleged to have any connection to that forum.
Given these different burdens, this factor weighs substantially in favor of exercising personal
jurisdiction.

Neither party has presented any arguments about “the extent to which the exercise of jurisdiction would
conflict with the sovereignty of the defendants’ state.” Core-Vent Corp., 11 F.3d at 1489. “[L]itigation
against an alien defendant creates a higher jurisdictional barrier than litigation against a citizen from a
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sister state because important sovereignty concerns exist.” Sinatra, 854 F.2d at 1199 (citations
omitted). However, HMC has not presented any evidence that South Korea has an interest in this
litigation. In contrast, the United States has an interest given that the alleged harm occurred here,
affects residents here, and involves an industry that is subject to federal regulation. See Quokka
Sports, Inc. v. Cup Int'l Ltd., 99 F. Supp. 2d 1105, 1113 (N.D. Cal. 1999); Hassen v. Nahyan, No. CV-
09-01106 DMG, 2010 WL 9538408, at *12 (C.D. Cal. Sept. 17, 2010) (citing Fed. R. Civ. P. 4(k)(2);
Pebble Beach, 453 F.3d at 1159) (in considering reasonableness of specific jurisdiction under Rule
4(k)(2), the United States has an interest in the outcome of litigation because “the relevant forum is the
United States, and it is undisputed that Plaintiff is a United States citizen and current resident”). Further,
“there is no conflict with the sovereignty of” a foreign country where the plaintiffs “bring [their] case for
conduct that was specifically targeted at the United States, based on [the defendant’s] alleged violation
of U.S. law.” Volkswagen “Clean Diesel,” 2017 WL4890594, at *18; cf. Ayla, LLC v. Alya Skin Pty. Ltd.,
11 F. 4th 972, 984 (9th Cir. 2021) (“[T]he resolution of [the plaintiff’s] claims will unlikely undermine
Australian sovereignty” because it “seeks only the determination and enforcement of its rights under
United States trademark law and California unfair competition law and challenges [the defendant’s]
sales only in the United States.”).

The remaining factors also weigh in favor of jurisdiction. To “consider which forum could most efficiently
resolve [a] dispute,” courts “focus on the location of the evidence and witnesses.” Harris Rutsky, 328
F.3d at 1133 (citing Caruth v. Int’l Psychoanalytical Ass'n, 59 F.3d 126, 129 (9th Cir. 1995)).
Presumably, many witnesses are located in the United States. However, “this factor is ‘no longer
weighed heavily given the modern advances in communication and transportation.’ ” Id.
(citing Panavision Int’l v. Toeppen, 141 F.3d 1316, 1323 (9th Cir. 1998)). Nevertheless, “[b]ecause
[Plaintiffs’] claims rest on the law of California and the United States,” as well as the law of several
other states, “the United States would provide ‘the most efficient judicial resolution of the controversy,’
as well as provide [the plaintiff] ‘convenient and effective relief.’ ” Ayla, LLC, 11 F. 4th at 984 (citing
Freestream Aircraft, 905 F.3d at 607).

When claims are brought under domestic law, “even if a foreign court were available to hear [the]
litigation, it would be forced to interpret U.S. law.” Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd.,
243 F. Supp. 2d 1073, 1094 (C.D. Cal. 2003). Plaintiffs’ claims arise under federal and state law. “This
fact alone militates heavily in favor of this Court's assertion of jurisdiction.” Batzel v. Smith, No. CV 00-
9590 SVW, 2001 WL 1893843, at *4 (C.D. Cal. June 6, 2001).

Considering all of the factors, Defendants have failed to show that the exercise of jurisdiction over HMC
would be unreasonable. Because the other two elements of the minimum contacts test also weigh in
favor of the exercise of specific personal jurisdiction over HMC, doing so under Rule 4(k)(2) is
warranted.

                                       (c)     Pendent Personal Jurisdiction

Plaintiffs argue that, “[o]nce personal jurisdiction is established over Plaintiffs’ RICO claims under . . .
Rule 4(k)(2), the Court can exercise pendent personal jurisdiction over Plaintiffs’ non-RICO claims.”
Dkt. 285 at 30.

Under the doctrine of pendent personal jurisdiction, “a court may assert pendent personal jurisdiction
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over a defendant with respect to a claim for which there is no independent basis of personal jurisdiction
so long as it arises out of a common nucleus of operative facts with a claim in the same suit over which
the court does have personal jurisdiction.” Action Embroidery, 368 F.3d at 1180 (citations omitted). It “is
typically found where one or more federal claims for which there is nationwide personal jurisdiction are
combined in the same suit with one or more state or federal claims for which there is not nationwide
personal jurisdiction.” Id. 1180-1181. Whether to grant pendent personal jurisdiction “in a particular
case is within the discretion of the district court,” which may consider “judicial economy, convenience
and fairness to litigants.” Id. (citing Oetiker v. Jurid Werke, G.m.b.H., 556 F.2d 1, 5 (D.C. Cir. 1977))
(quotation marks omitted).

Applying Action Embroidery, other district courts in California have elected to exercise pendent
personal jurisdiction over state-law claims after finding there is specific personal jurisdiction as to the
asserted federal claims. See Facebook, Inc., v. 9 Xiu Network (Shenzhen) Tech. Co., Ltd., No. 19-cv-
01167-JST, 2021 WL 5707741, at *5 (N.D. Cal. Oct. 21, 2021), report and recommendation adopted,
2021 WL 5707740 (N.D. Cal. Nov. 16, 2021); WhatsApp Inc. v. NSO Grp. Techs. Ltd., 472 F. Supp. 3d
649, 678 (N.D. Cal. 2020) (citing Action Embroidery, 368 F.3d at 1180), aff'd on other grounds, 17 F.4th
930 (9th Cir. 2021); In re Chrysler-Dodge-Jeep Ecodiesel Mktg., Sales Pracs., & Prod. Liab. Litig.
(“Chrysler-Dodge-Jeep Ecodiesel”), 295 F. Supp. 3d 927, 1030 (N.D. Cal. 2018); In re Packaged
Seafood Prod. Antitrust Litig., 338 F. Supp. 3d 1118, 1173 (S.D. Cal. 2018); Apollo Educ. Grp., Inc. v.
Somani, No. C-15-1056 EMC, 2015 WL 4880646, at *2, 5 (N.D. Cal. Aug. 13, 2015); Hill v. Opus Corp.,
No. CV 10-04806-MMM, 2011 WL 13272268, at *12 (C.D. Cal. Apr. 7, 2011).

Because personal jurisdiction over HMC is appropriate as to Plaintiffs’ federal claims under Rule
4(k)(2), pendent personal jurisdiction over HMC as to the state-law claims is also warranted. There is a
common nucleus of operative facts between these claims and those advanced under RICO.

                              *                      *                      *

For the foregoing reasons, the Hyundai-Kia Motion is GRANTED WITHOUT PREJUDICE, i.e., with
leave to amend, as to KMC, and it is DENIED as to HMC.

                       c)     Mobis Defendants

                              (1)     MPA

                                      (a)     General Jurisdiction

Plaintiffs assert that Mobis Parts America, LLC (“MPA”) is subject to general jurisdiction in California.
Dkt. 278 ¶ 144. The Mobis Defendants concede general jurisdiction over the claims against MPA that
were filed in this District and then transferred to this MDL. Dkt. 220 at 21. However, they argue that
there is no general jurisdiction over the claims against MPA that were originally filed outside of this
District, and then transferred here through the MDL process. Id. at 21-22.

The parties agree that MPA is incorporated in Delaware and that its principal place of business is in
California. Dkt. 278 ¶ 49; Dkt. 208-3 at 2. Because MPA is “at home” in California, Daimler, 571 U.S. at
139, California courts would have general jurisdiction over it. However, in an MDL proceeding, the
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transferee court “is entitled to exercise personal jurisdiction over each defendant only to the same
degree that the original transferor court could have.” In re JUUL Labs, Inc., Mktg., Sales Pracs., & Prod.
Liab. Litig. (“JUUL Labs”), 497 F. Supp. 3d 552, 674 (N.D. Cal. 2020) (citing In re Dynamic Random
Access Memory (Dram), No. C 02-1486 PJH, 2005 WL 2988715, at *2 (N.D. Cal. Nov. 7, 2005)). Thus,
there is general jurisdiction over the claims against MPA that were filed in this District and then
transferred to this MDL. However, that determination does not apply with respect to those claims
against MPA that were filed in the Eastern District of Michigan or the Southern District of Florida and
then transferred to this MDL. Because there was no general jurisdiction over MPA in those districts,
there is none here.

For these reasons, there is general jurisdiction only over the claims against MPA that were filed in this
District before being transferred to this MDL. This includes the claims against MPA brought by the
following plaintiffs: Michael Hernandez (“Hernandez”), Bonnie Dellatorre (“Dellatorre”), Amanda
Swanson (“Swanson”), Kenneth Ogorek (“Ogorek”), Joseph Fuller, Tina Fuller and Diana King.

                                        (b)     Specific Jurisdiction

As to Plaintiffs’ claims against MPA that were not initially filed in this District, Plaintiffs assert that there
is specific personal jurisdiction over MPA here because there was such jurisdiction in the transferor
courts. Dkt. 286 at 25. Defendants challenge this assertion as to whether there was jurisdiction where
the cases were filed, arguing that “MPA does not sell or lease motor vehicles anywhere in the U.S.” so
its “business operations have no relevance to the claims being asserted[,] and none of Plaintiffs’ claims
arise from or relate to such activities.” Dkt. 220 at 22 (citation omitted); see Dkt. 298 at 7-8.

The three-step minimum contacts test for assessing specific personal jurisdiction is discussed above.
Plaintiffs’ claims against MPA that were not initially filed in this District were first filed in either the
Eastern District of Michigan or the Southern District of Florida. Therefore, whether there is specific
personal jurisdiction over MPA here as to those claims depends on whether MPA is subject to specific
personal jurisdiction in Michigan or Florida, respectively. See JUUL Labs, 497 F. Supp. 3d 552, 674
(N.D. Cal. 2020) (citing In re Dynamic Random Access Memory (Dram), 2005 WL 2988715, at *2) (the
transferee court in an MDL “is entitled to exercise personal jurisdiction over each defendant only to the
same degree that the original transferor court could have”).

Plaintiffs, as the party asserting jurisdiction, bear the burden of establishing it. Mattel, 354 F.3d at 862.
Plaintiffs have not made any allegations in the CAC to show that MPA conducted activities that targeted
or affected Michigan or Florida. See Dkt. 278 ¶¶ 142-53. Therefore, Plaintiffs have presently failed to
carry their burden of the establishing specific personal jurisdiction over MPA in Michigan or Florida.

The claims against MPA brought by the following plaintiffs, all of whom brought their claims in the
Eastern District of Michigan or the Southern District of Florida, are DISMISSED WITHOUT
PREJUDICE, i.e., with leave to amend, for lack of personal jurisdiction: Bobbi Jo Birk-LaBarge, Brian
Collins, Burton Reckles, Carl Miller, Carl Paul Maurilus (“Maurilus”), Dan Sutterfield, Deloras McMurray,
Diana King (“King”), Dylan DeMoranville, Gersen Damens, John Colbert, Larae Angel, Lawrence
Graziano, Lore VanHouten, Richard Kintzel and Ricky Gerischer.

The rulings as to personal jurisdiction over MPA are summarized in the following table:
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                                                     Claims Against MPA
                                                                                    General           Specific
            Plaintiff               Class                        Originally Filed
                                                                                    jurisdiction      jurisdiction

            Amanda Swanson          Illinois State Class         C.D. Cal.          Yes.              N/A

            Bobbi Jo Birk-LaBarge   Minnesota State Class        E.D. Mich.*        No.               No.

            Bonnie Dellatorre       California State Class       C.D. Cal.          Yes.              N/A

            Brian Collins           Illinois State Class         E.D. Mich.*        No.               No.

            Burton Reckles          Texas State Class            E.D. Mich.*        No.               No.

            Carl Miller             Indiana State Class          E.D. Mich.*        No.               No.

            Carl Paul Maurilus      Florida State Class          S.D. Fla.          No.               No.

            Dan Sutterfield         Missouri State Class         E.D. Mich.*        No.               No.

            Deloras McMurray        Tennessee State Class        E.D. Mich.*        No.               No.

            Diana King              Maryland State Class         C.D. Cal.          Yes.              N/A

            Dragan Jagnjic 8        Washington State Class       C.D. Cal.          Yes.              N/A

            Dylan DeMoranville      Massachusetts State Class    E.D. Mich.*        No.               No.

            Gersen Damens           New Jersey State Class       E.D. Mich.*        No.               No.

            John Colbert            Florida State Class          E.D. Mich.*        No.               No.

            Joseph Fuller           Maryland State Class         C.D. Cal.          Yes.              N/A

            Kenneth Ogorek          Indiana State Class          C.D. Cal.          Yes.              N/A

            Larae Angel             Pennsylvania State Class     E.D. Mich.*        No.               No.

            Lawrence Graziano       Florida State Class          E.D. Mich.*        No.               No.

            Lore VanHouten          California State Class       E.D. Mich.*        No.               No.

            Michael Hernandez       California State Class       C.D. Cal.          Yes.              N/A

            Richard Kintzel         Pennsylvania State Class     E.D. Mich.*        No.               No.

            Ricky Gerischer         Illinois State Class         E.D. Mich.*        No.               No.


8   This Plaintiff voluntarily dismissed his claims. Dkt. 291.
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         Tina Fuller                 Maryland State Class            C.D. Cal.            Yes.               N/A

* The asterisk next to “E.D. Mich.” denotes a “direct-file” plaintiff who initially brought his or her claims as part of the CAC but
later filed them separately in the Eastern District of Michigan, from which they then were transferred to the MDL. See Dkt. 208-
4; Dkt. 301 at 9-10. These plaintiffs are deemed to have originally filed their claims in the Eastern District of Michigan, which is
thus considered the transferor court for jurisdictional purposes.

                                     (2)       Hyundai MOBIS

The CAC alleges that Hyundai MOBIS Co., Ltd. (“Hyundai MOBIS”) is a Korean corporation whose
principal place of business is South Korea. Dkt. 278 ¶ 48. Plaintiffs assert that there is specific personal
jurisdiction over Hyundai MOBIS in this District under 18 U.S.C. § 1965(b) and Rule 4(k)(2). Dkt. 286 at
26.

As discussed above, Plaintiffs have not alleged a single, multidistrict conspiracy as required under
section 1965(b). Therefore, section 1965(b) does not provide a basis for exercising personal jurisdiction
over Hyundai MOBIS.

Plaintiffs’ assertion of specific personal jurisdiction over Hyundai MOBIS under Rule 4(k)(2) also fails.
As noted, “Rule 4(k)(2) applies when (1) the claim against the defendant arises under federal law; (2)
the defendant is not subject to the personal jurisdiction of any state court of general jurisdiction; and (3)
the federal court’s exercise of personal jurisdiction comports with due process.” Volkswagen “Clean
Diesel,” 2017 WL 4890594, at *17 (N.D. Cal. Oct. 30, 2017) (citing Holland Am. Line, 485 F.3d at 461).

It is not clear from the allegations of the CAC that Plaintiffs have brought a RICO claim against Hyundai
MOBIS. “Nationwide Count 2” for violation of RICO is brought against “the ZF TRW, STMicro, and
Hyundai-Kia Defendants.” Dkt. 278 ¶ 588. One section of the CAC discusses Hyundai MOBIS together
with the Hyundai-Kia Defendants. See id. ¶¶ 42-51. In another, it is alleged that “Hyundai MOBIS Co.
Ltd. and Mobis Parts America, LLC are the Hyundai MOBIS Defendants (together, ‘Hyundai
MOBIS’). Id. ¶ 43. The Hyundai-Kia Defendants are Hyundai, Kia, and Hyundai MOBIS.” Id. However,
the paragraph above that one alleges, “Although Hyundai MOBIS Co. Ltd. and Mobis Parts America,
LLC are not Vehicle Manufacturer Defendants, Plaintiffs discuss them in this section given their close
relationship with Hyundai Motor Co., Ltd.; Hyundai Motor America, Inc.; Kia Motors Corporation; and
Kia Motors America.” Id. ¶ 42. Furthermore, the allegations under the heading for “Nationwide Count 2”
exclusively identify and discuss “ZF TRW, STMicro, Hyundai, and Kia,” which is consistent with the
conclusion that the claim is not brought against Hyundai MOBIS. See id. ¶¶ 589-95, 598-609.

Even assuming that Plaintiffs have brought a RICO claim against Hyundai MOBIS, they have failed to
make sufficient allegations that Hyundai MOBIS purposefully directed its conduct toward the United
States. As noted, this is required to establish specific personal jurisdiction under Rule 4(k)(2). See
Holland Am. Line, 485 F.3d at 461-62.

Most of the allegations that support a finding that HMC and KMC purposefully directed their activities
toward the United States do not refer to Hyundai MOBIS. See Dkt. 278 ¶¶ 183, 186-87, 189-94. The
allegations that Hyundai MOBIS directed its activities toward the United States are sparse. See id. ¶¶
185, 188, 196-98. The most relevant one states that, “[b]etween October 2015 and July of 2016, ZF
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TRW met with Hyundai Motor Co., Ltd., Kia Motors Corporation, Hyundai MOBIS Co., Ltd. in Korea at
least four times for the purpose of discussing the problems with ZF TRW ACUs in Hyundai-Kia Class
Vehicles and what to tell NHTSA.” Id. ¶ 197. There is no allegation that Hyundai MOBIS communicated
with NHTSA or any other U.S. Government agency. In contrast, there are allegations that HMC and
KMC filed applications with the EPA, and registered trademarks with the United States. The allegations
of the CAC do not state more than that Hyundai MOBIS placed its products into the stream of
commerce such that they may have entered the United States. However, “without more, [this] is not an
act purposefully directed toward a forum state.” Holland Am. Line, 485 F.3d at 459 (citing Asahi Metal
Indus., 480 U.S. at 112).

Because the CAC does not adequately state a RICO claim against Hyundai MOBIS and does not
sufficiently allege that Hyundai MOBIS purposefully directed its activities toward the United States,
there has not been a sufficient showing of specific personal jurisdiction over that defendant under Rule
4(k)(2). Therefore, the MOBIS Motion is GRANTED WITHOUT PREJUDICE, i.e., with leave to amend,
for lack of personal jurisdiction as to Hyundai MOBIS.

                       d)      Toyota Defendants

                               (1)    TMNA and TMS

Plaintiffs assert that Toyota Motor North America, Inc. (“TMNA”) and Toyota Motor Sales, U.S.A., Inc.
(“TMS”) are subject to general jurisdiction in California. Dkt. 278 ¶ 144. The Toyota Defendants do not
challenge this assertion, and move to dismiss only Toyota Motor Corporation (“TMC”). See Dkt. 214 at
27-39.

Fed. R. Civ. P. 12(h)(1)(B) provides that a party that fails to raise in a Rule 12 motion a defense listed in
Rule 12(b)(2)-(5) waives that defense. One such defense is “lack of personal jurisdiction.” Fed. R. Civ.
P. 12(b)(2). The Toyota Defendants raise this defense only as to TMC. Dkt. 214 at 27. Because they do
not raise it as to TMNA or TMS, they have waived their defense. See Thompson, 2018 WL 6790561, at
*7 (citing Fed. R. Civ. P. 12(h) and (g)) (defendant “waived its personal jurisdiction defense with respect
to” one of plaintiff’s claims “because it omitted this defense in its motion to dismiss); Agasino, 2019 WL
3387803, at *3 (citing Fed. R. Civ. P. 12(g)(2), (h)(1)(A) (because defendant “moved to dismiss for
improper venue but did not move to dismiss for lack of personal jurisdiction,” it “waived any personal-
jurisdiction arguments and is subject to personal jurisdiction here with respect to this case”); AT&T
Corp. v. Teliax, Inc., 2016 WL 4241910, at *2 (citing Fed. R. Civ. P. 12(h)) (“A party waives a defense
based on lack of personal jurisdiction by omitting it from its first Rule 12(b) motion.”).

Accordingly, personal jurisdiction can be exercised over TMNA and TMS. For that reason, the Toyota
Motion is DENIED as to TMNA and TMS.

                               (2)    TMEM

Plaintiffs assert that Toyota Motor Engineering & Manufacturing North America, Inc. (“TMEM”) is




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subject to personal jurisdiction in California. Dkt. 278 ¶¶ 150-51. 9 The Toyota Defendants do not
challenge this assertion, but move to dismiss only Toyota Motor Corporation (“TMC”). See Dkt. 214 at
27-39.

As noted, Fed. R. Civ. P. 12(h)(1)(B) provides that a party that fails to raise in a Rule 12 motion a
defense listed in Rule 12(b)(2)-(5) waives that defense. One such defense is “lack of personal
jurisdiction.” Fed. R. Civ. P. 12(b)(2). The Toyota Defendants raise this defense only as to TMC. Dkt.
214 at 27. Because they do not raise it as to TMEM, they have waived its defense. See Thompson,
2018 WL 6790561, at *7 (citing Fed. R. Civ. P. 12(h) and (g)) (defendant “waived its personal
jurisdiction defense with respect to” one of plaintiff’s claims “because it omitted this defense in its
motion to dismiss”); Agasino, 2019 WL 3387803, at *3 (citing Fed. R. Civ. P. 12(g)(2), (h)(1)(A)
(because defendant “moved to dismiss for improper venue but did not move to dismiss for lack of
personal jurisdiction,” it “waived any personal-jurisdiction arguments and is subject to personal
jurisdiction here with respect to this case”); AT&T Corp. v. Teliax, Inc., 2016 WL 4241910, at *2 (citing
Fed. R. Civ. P. 12(h)) (“A party waives a defense based on lack of personal jurisdiction by omitting it
from its first Rule 12(b) motion.”).

Accordingly, personal jurisdiction can be exercised over TMEM. For that reason, the Toyota Motion is
DENIED as to TMEM.

                                   (3)     TMC

Plaintiffs assert that there is specific personal jurisdiction over TMC with respect to Plaintiffs’ RICO
claims against that party, citing 18 U.S.C. § 1965(b) or Rule 4(k)(2). Dkt. 289 at 29-30. They assert in
the alternative that there is specific personal jurisdiction over TMC under the traditional minimum
contacts analysis. Id. at 30-33.

As discussed above, Plaintiffs have failed to establish personal jurisdiction under section 1965(b)
because the CAC does not allege a single nationwide conspiracy. See Butcher’s Union, 788 F.2d at
539.

Whether there is specific personal jurisdiction under Rule 4(k)(2) or through application of the traditional
minimum contacts analysis depends on whether Plaintiffs have shown that TMC purposefully directed
its activities toward either: (i) the United States, which is the relevant forum for Rule 4(k)(2) analysis; or
(ii) Michigan, Florida and/or California, which are the relevant fora for traditional, respective minimum
contacts analyses.

                                           (a)      Purposeful Direction Under Fed. R. Civ. P. 4(k)(2)

                                                    (i)      Whether the Conduct of the Subsidiaries of TMC
                                                             Can Be Imputed to It Under an Agency Theory

Plaintiffs argue that “TMC’s pervasive contacts” with the United States, “both directly and through its

9It is not clear whether Plaintiffs assert only specific jurisdiction, or both specific and general jurisdiction, over
TMEM. See Dkt. 278 ¶¶ 150-51. However, because the Toyota Defendants have waived any challenge to
personal jurisdiction as a defense, it is unnecessary to resolve this issue.
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wholly-owned U.S. subsidiaries TMS, TEMA, and TMNA” may be considered in assessing purposeful
direction. Dkt. 289 at 30-31 (emphasis added); see also Dkt. 282 at 15 (citing Williams, 851 F.3d at
1024-25). Defendants disagree. They argue that the only way that the contacts of a subsidiary may be
imputed to its parent company for the purpose of assessing specific jurisdiction is if “the parent
exercises ‘pervasive control over the subsidiary,’ ” and Plaintiffs have not shown that here. Dkt. 300 at
18 (citation omitted); see Dkt. 214 at 36.

Plaintiffs have not made sufficient allegations that, if established, would show that TMC substantially
controls its subsidiaries. Plaintiffs attempt to show that TMC “direct[s] and control[s] the actions of its
U.S. subsidiaries,” Dkt. 289 at 31 (internal citations omitted), by relying on the following allegations:

   •     “Toyota’s 2019 Corporate Governance Report confirms TMC’s exercise of tight control over its
         U.S. subsidiaries.” Dkt. 289 at 31-32 (citing Dkt. 278 ¶ 226).
   •     “TMC has the power to appoint board members of TMNA, TEMA, and TMA, and it has
         exercised such power to appoint members who will manage the subsidiaries in furtherance of
         the principal goal of benefitting TMC.” Id. at 32 (citing Dkt. 278 ¶ 220).
   •     “The business unit and regional heads of TMC’s North American division report to TMC’s global
         HQ in Japan, and TMC’s Chief Risk Officer supervises the North American Division’s Chief Risk
         Officer.” Id. (citing Dkt. 278 ¶¶ 215, 224).
   •     “TMC . . . authored and enforces a Code of Conduct that employees of all TMC subsidiaries
         must follow.” Id. (citing Dkt. 278 ¶ 223).
   •     “Each year, TMC conducts inspections of subsidiary management by each department.” Id.
         (citing Dkt. 278 ¶ 225).

The CAC also alleges that “[TMC] and its American subsidiaries share many key executives.” Dkt. 278
¶ 227.

These allegations, if established, would not show that TMC exercised substantial control over its U.S.-
based subsidiaries at the relevant time. Rather, they would “demonstrate[] normal oversight of a parent
over a subsidiary rather than control such that the subsidiary . . . was merely doing the bidding of
the parent and therefore the subsidiary’s contacts with the forum may be attributed to the parent to
establish personal jurisdiction.” In re Cal. Gasoline Spot Mkt. Antitrust Litig., 2021 WL 4461199, at *2.
“The existence of a parent-subsidiary relationship is insufficient, on its own, to justify imputing one
entity’s contacts with a forum state to another for the purpose of establishing personal jurisdiction.”
Ranza, 793 F.3d at 1070 (9th Cir. 2015) (citing Unocal, 248 F.3d at 925-26). Although “the veil
separating affiliated corporations may . . . be pierced to exercise personal jurisdiction over a foreign
defendant in certain limited circumstances,” Id. (citations omitted), they are not present here. One such
circumstance is when a parent corporation exerts substantial control over its subsidiary. But “closely
monitoring is not controlling,” In re Cal. Gasoline Spot Mkt. Antitrust Litig., 2021 WL 4461199, at *2.
Plaintiffs have not demonstrated that the parent-subsidiary relationship at issue involves more than
close monitoring.

More substantial allegations of control than those made in the CAC have been deemed insufficient to
establish an agency relationship. Aliign Activation Wear, LLC v. lululemon athletica inc., No. 2:20-cv-
03339-SVW-JEM, 2020 WL 5790418 (C.D. Cal. Aug. 24, 2020), held that the plaintiff failed to show
substantial control by a parent company over its subsidiary by alleging the following: (1) the subsidiary
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is wholly owned by the parent; (2) “the two companies jointly benefit from the transactions separately
entered into by each of them;” (3) the subsidiary “holds the intellectual property of [the parent] for the
sole purpose of shielding the intellectual property rights from [the parent’s] wrongdoing;” (4) the parent’s
“resources are used to support [the subsidiary’s] procurement of intellectual property;” and (5) “the two
companies share officers, facilities, personnel, and financial resources” and (6) “have interlocking
directors and officers.” Id. at *2.

TMC has responded as follows to Plaintiffs’ assertion that it substantially controls TMA: “TMC does not
control the distribution of vehicles in the continental United States;” “TMC does not directly own any of
the stock of TMS or TEMA;” and “TMC, TMS, TMNA, and TEMA are separate and independent legal
entities.” Declaration of Hiromitsu Godo in Support of the Toyota Motion (“Godo Decl.”), Dkt. 214-3 ¶¶
14, 18-19. TMC also states that the three entities (1) have “[s]eparate books, financial records, and
bank accounts,” (2) “maintain their own board of directors, separate from that of TMC,” and (3)
“maintain their own work force separate from that of TMC.” Id. ¶¶ 20-22. After considering similar
evidence, Payvovi v. LG Chem America, Inc., 491 F. Supp. 3d 597 (N.D. Cal. 2020), found that the
plaintiff had failed to establish an agency relationship between a Korean company, LGC Ltd., and its
American subsidiary, LGC America. 491 F. Supp. 3d at 601, 603. LGC America argued that the two are
“separate legal entities, that LGC America has its own corporate officers, that LGC Ltd. does not pay
any of LGC America's employees or expenses, and that LGC Ltd. does not manage the day-to-day
activities of LGC America.” Id. The circumstances here are parallel.

Similarly, Heber v. Toyota Motor Sales U.S.A., Inc., rejected a claimed agency relationship between
TMC and TMA. No. CV 16-01525, 2018 WL 3104612, at *3 (C.D. Cal. June 11, 2018), aff’d in part and
rev’d in part on other grounds, 823 Fed. App’x 512 (9th Cir. 2020). (internal citation omitted). There, the
plaintiffs argued that TMC is “ ‘responsible for the overall design and developmental testing’ of Toyota
vehicles and that the vehicles are ‘manufactured and assembled by various Toyota entities in
accordance with’ [TMC’s] design and engineering specifications.” Id. (internal citations omitted). The
plaintiffs also argued that TMC’s “ ‘control over its subsidiary is implicit’ in their parent-subsidiary
relationship and that [TMA] is [TMC’s] ‘authorized importer and distributor' of Toyota vehicles.” Id.
(internal citations omitted). In response, TMC “submit[ted] evidence that it does not market or sell
vehicles in the United States or California, that it does not conduct business in California, that it does
not ship vehicles to be sold directly into California, and that it does not control the distribution of
vehicles [in the] United States.” Id. In light of the “[p]laintiffs’ minimal unsupported agency allegations
and [TMC’s] significant evidence to the contrary,” it was determined there was not an agency
relationship between TMC and TMA and that there was not personal jurisdiction over TMC. Id.

Although Plaintiffs have presented more than the “minimal unsupported agency allegations”, given
TMC’s “significant evidence to the contrary,” id., TMA’s allegations do not go beyond the traditional
parent-subsidiary relationship to show substantial control. TMC has stated that it “does not import
Toyota motor vehicles into the continental United States,” and that it does not “market or distribute” or
“design or manufacture” “Toyota motor vehicles” here. Dkt. 214-3 ¶¶ 4-5, 12. It also has asserted that
“Toyota vehicles that are manufactured in Japan and sold in the continental United States are imported
by [TMS].” Id. ¶ 4. Finally, it has stated that it “does not maintain a sales force within the continental
United States,” “does not engage in advertising or promotion of vehicles in the continental United
States,” “does not target specific marketing at continental United States citizens,” and “does not own or
lease any real estate in the continental United States.” Id. ¶¶ 7-10.
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For the foregoing reasons, Plaintiffs have not shown that TMC substantially controls its subsidiaries.
Thus, the activities of TMC’s subsidiaries cannot presently be imputed to it for purposes of establishing
personal jurisdiction.

                                               (ii)   Whether TMC Purposefully Directed Its Own
                                                      Conduct Toward the United States

Plaintiffs also assert that TMC’s direct contacts with the United States are sufficient to establish
personal jurisdiction. The CAC includes the following allegations with respect to TMC purposefully
directing its activities toward the United States:

   •     TMC includes a “division for North America.” Dkt. 278 ¶ 215.
   •     TMC “regularly submitted applications to obtain certification from the EPA that was necessary
         for the sale of Toyota vehicles in the United States.” Id. ¶ 221.
   •     TMC “has registered and maintained registrations with the U.S. government for trademarks
         associated with its vehicles and parts.” Id. ¶ 228.

These allegations are not sufficient to show purposeful direction. Although Plaintiffs have established
that TMC placed its vehicles into the stream of commerce with the expectation that they would move to
the United States, this is not enough to establish purposeful direction. “The placement of a product into
the stream of commerce, without more, is not an act of the defendant purposefully directed toward the
forum State.” Asahi Metal, 480 U.S. at 112 (O'Connor, J., plurality opinion). Plaintiffs have not met their
burden of providing more facts to show that TMC targeted the United States.

Asahi explained that one example of “[a]dditional conduct of the defendant [to] indicate an intent or
purpose to serve the market in the forum State” is “marketing the product through a distributor who has
agreed to serve as the sales agent in the forum State.” Id. However, Williams made clear that, unless
the activities of a subsidiary can be imputed to the parent, that the parent merely sent products to its
subsidiary for distribution in the United States is not sufficient to establish purposeful direction. 851 F.3d
at 1023-24. In that case, the defendants were “YMC, which designed and manufactured [motors] in
Japan, and YMC's wholly owned subsidiary, YMUS, which imported and marketed them in California.”
Id. at 1019. Before assessing whether there was an agency relationship between YMC and YMUS,
Williams found that the appellants “submitted unrebutted evidence in support of their Rule 12(b)(2)
motion that YMC does not conduct any activities within the state of California, nor does it target
California via marketing or advertising.” Id. at 1023. Thus, “[t]he only connection Appellants identif[ied]
between YMC and California is via YMUS,” which prompted an assessment of whether there was an
agency relationship between them. Id. Were the fact that YMC manufactured motors in Japan that were
then sold in California by YMUS sufficient to establish purposeful direction in California, an agency
analysis would have been unnecessary in Williams.

Similarly, Huber found that Plaintiffs had not established purposeful direction by TMC merely by
showing that TMS was TMC’s “ ‘authorized importer and distributor’ of Toyota vehicles.” 2018 WL
3104612, at *3. Because such an allegation was insufficient, Huber then assessed whether there was
an agency relationship between those defendants, and found that there was not. Id.


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The circumstances here are very similar. It has been established that the vehicles designed and
manufactured by TMC are imported and sold in the United States by TMA. See Dkt. 214-3 ¶¶ 4-6.
However, that TMC placed its vehicles into the stream of commerce with the expectation that they
would be imported to the United States, in part, by providing those vehicles to TMA to import and
distribute them in the United States, is insufficient to establish purposeful direction in the absence of an
agency relationship between TMC and TMA.

For the foregoing reasons, Plaintiffs have not presently shown that TMC purposefully directed its
conduct toward the United States. Therefore, the Toyota Motion is GRANTED WITHOUT PREJUDICE,
i.e., with leave to amend, for lack of personal jurisdiction as to TMC.

                       e)      Honda Defendants

                               (1)    American Honda and Honda R&D Americas

Plaintiffs assert that American Honda Motor Co., Inc. (“American Honda”) and Honda R&D Americas,
LLC (“Honda R&D Americas”) are subject to general jurisdiction in California. Dkt. 278 ¶ 144. The
Honda Defendants have not challenged this claim. See Dkt. 213 at 15-19.

Fed. R. Civ. P. 12(h)(1)(B) provides that a party that fails to raise in a Rule 12 motion a defense listed in
Rule 12(b)(2)-(5) waives that defense. One such defense is “lack of personal jurisdiction.” Fed. R. Civ.
P. 12(b)(2). The Honda Defendants raise this defense only as to Honda Motor Co., Ltd. (“HMC”) and
Honda R&D Co., Ltd. (“Honda R&D”). Dkt. 213 at 15-19. Because they do not raise it as to American
Honda or Honda R&D Americas, they have waived their defense. See Thompson, 2018 WL 6790561,
at *7 (citing Fed. R. Civ. P. 12(h) and (g)) (defendant “waived its personal jurisdiction defense with
respect to” one of plaintiff’s claims “because it omitted this defense in its motion to dismiss”); Agasino,
2019 WL 3387803, at *3 (citing Fed. R. Civ. P. 12(g)(2), (h)(1)(A) (because defendant “moved to
dismiss for improper venue but did not move to dismiss for lack of personal jurisdiction,” it “waived any
personal-jurisdiction arguments and is subject to personal jurisdiction here with respect to this case”);
AT&T Corp. v. Teliax, Inc., 2016 WL 4241910, at *2 (citing Fed. R. Civ. P. 12(h)) (“A party waives a
defense based on lack of personal jurisdiction by omitting it from its first Rule 12(b) motion.”).

Accordingly, personal jurisdiction is appropriate as to American Honda and Honda R&D Americas. The
Honda Motion is DENIED as to American Honda and Honda R&D Americas.

                               (2)    Honda of America Manufacturing

Plaintiffs assert that Honda of America Manufacturing, Inc. (“Honda Manufacturing”) is subject to
personal jurisdiction in California. Dkt. 278 ¶¶ 152-53. The Honda Defendants do not challenge this
assertion. See Dkt. 213 at 15-19.

As noted, Fed. R. Civ. P. 12(h)(1)(B) provides that a party that fails to raise in a Rule 12 motion a
defense listed in Rule 12(b)(2)-(5) waives that defense. One such defense is “lack of personal
jurisdiction.” Fed. R. Civ. P. 12(b)(2). The Honda Defendants raise this defense only as to HMC and
Honda R&D. Dkt. 213 at 15-19. Because they did not do so as to Honda Manufacturing, it has been
waived as to that party. See Thompson, 2018 WL 6790561, at *7 (citing Fed. R. Civ. P. 12(h) and (g))
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(defendant “waived its personal jurisdiction defense with respect to” one of plaintiff’s claims “because it
omitted this defense in its motion to dismiss”); Agasino 2019 WL 3387803, at *3 (citing Fed. R. Civ. P.
12(g)(2), (h)(1)(A) (because defendant “moved to dismiss for improper venue but did not move to
dismiss for lack of personal jurisdiction,” it “waived any personal-jurisdiction arguments and is subject to
personal jurisdiction here with respect to this case”); AT&T Corp. v. Teliax, Inc., 2016 WL 4241910, at
*2 (citing Fed. R. Civ. P. 12(h)) (“A party waives a defense based on lack of personal jurisdiction by
omitting it from its first Rule 12(b) motion.”).

Accordingly, there is personal jurisdiction over Honda Manufacturing, and the Honda Motion is DENIED
as to Honda Manufacturing.

                         f)      Honda Motor Co. and Honda R&D Co.

Plaintiffs contend that there is specific personal jurisdiction over Honda Motor Co. and Honda R&D Co.
with respect to Plaintiffs’ RICO claims against these parties, citing 18 U.S.C. § 1965(b) or Rule 4(k)(2).
Dkt. 287 at 31-32. They contend that, in the alternative, there is specific personal jurisdiction over these
Defendants under the traditional minimum contacts analysis. Id. at 32.

As discussed above, Plaintiffs have failed to establish personal jurisdiction under section 1965(b)
because the CAC does not allege a single nationwide conspiracy. See Butcher’s Union, 788 F.2d at
539.

Whether there is specific personal jurisdiction under Rule 4(k)(2) or through the application of the
traditional minimum contacts analysis depends on whether Plaintiffs have shown that Honda Motor Co.
and Honda R&D purposefully directed their activities toward either: (i) the United States, the relevant
forum for analysis under Rule 4(k)(2); or (ii) Michigan, Florida and/or California, which are the relevant
fora for the traditional, respective minimum contacts analyses.

                                         (a)      Purposeful Direction Under Fed. R. Civ. P. 4(k)(2)

                                                  (i)     Whether the Conduct of the Subsidiaries of Honda
                                                          Motor Co. and Honda R&D Co. Can Be Imputed to
                                                          Them Under an Agency Theory

Plaintiffs argue that Honda Motor Co. “exercise[s] substantial control over” its U.S.-based subsidiaries.
Dkt. 287 at 33. 10 Plaintiffs have not made sufficient allegations to support this position. They are far

10 In their opposition to the Honda Motion, Plaintiffs refer frequently to the “Foreign Honda Defendants,” see, e.g.,
Dkt. 287 at 30, but do not define that term. Based on the context in which “Foreign Honda Defendants” is used, it
appears to include HMC and Honda R&D. See Dkt. 287 at 32 n.17. Although Plaintiffs provide a general
discussion of “the pervasive purposeful contacts” of the “Foreign Honda Defendants”, see id. at 32, all of their
specific examples of such contacts apply only to HMC. Accordingly, references by Plaintiffs to the “Foreign Honda
Defendants” in the portion of their opposition to the Honda Motion discussing specific personal jurisdiction, Dkt.
287 at 32-35, are construed as referring to HMC unless the specific discussion makes clear that it is referring to
both HMC and Honda R&D. Because Plaintiffs’ allegations to show substantial control and purposeful direction by
HMC are insufficient, the much less substantial allegations as to Honda R&D necessarily fail to meet the relevant
standards.
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less detailed than those made by Plaintiffs as to substantial control by TMC. Because the allegations as
to TMC have been found to be insufficient as to the other, related parties, those as to Honda Motor Co.
necessarily fail to show substantial control as to the allegedly related Honda entities. Compare Dkt. 287
at 33, with Dkt. 289 at 31-32. Therefore, the conduct of the subsidiaries of Honda Motor Co. cannot be
imputed to it in assessing personal jurisdiction.

                                              (ii)   Whether Honda Motor Co. or Honda R&D Co. Each
                                                     Purposefully Directed Its Conduct Toward the
                                                     United States

Plaintiffs have not alleged facts materially different from those deemed insufficient as to TMC in support
of the claim of purposeful direction of conduct toward the United States by either Honda Motor Co. or
Honda R&D Co. Compare Dkt. 287 at 32-35, and Dkt. 289 at 31-33.

                              *                      *                      *

For the foregoing reasons, the Honda Motion is GRANTED WITHOUT PREJUDICE, i.e., with leave to
amend, for lack of personal jurisdiction as to Honda Motor Co. and Honda R&D.

                       g)     Mitsubishi Defendants

                              (1)     MMNA

Plaintiffs assert that Mitsubishi Motors North America, Inc. (“MMNA”) is subject to general jurisdiction in
California. Dkt. 278 ¶ 144. The Mitsubishi Defendants do not contest such jurisdiction. Dkt. 212 at 15-
19. Fed. R. Civ. P. 12(h)(1)(B) provides that a party that fails to raise in a Rule 12 motion a defense
listed in Rule 12(b)(2)-(5) waives that defense. One such defense is “lack of personal jurisdiction.” Fed.
R. Civ. P. 12(b)(2). The Mitsubishi Defendants raise this defense only as to Mitsubishi Motors
Corporation (“MMC”). Dkt. 212 at 15-19. Because they do not raise it as to MMNA, they have waived
their defense as to this party. See Thompson, 2018 WL 6790561, at *7 (citing Fed. R. Civ. P. 12(h) and
(g)) (defendant “waived its personal jurisdiction defense with respect to” one of plaintiff’s claims
“because it omitted this defense in its motion to dismiss”); Agasino 2019 WL 3387803, at *3 (citing Fed.
R. Civ. P. 12(g)(2), (h)(1)(A) (because defendant “moved to dismiss for improper venue but did not
move to dismiss for lack of personal jurisdiction,” it “waived any personal-jurisdiction arguments and is
subject to personal jurisdiction here with respect to this case”); AT&T Corp. v. Teliax, Inc., 2016 WL
4241910, at *2 (citing Fed. R. Civ. P. 12(h)) (“A party waives a defense based on lack of personal
jurisdiction by omitting it from its first Rule 12(b) motion.”).

For these reasons, it is appropriate to exercise personal jurisdiction over MMNA. Therefore, the
Mitsubishi Motion is DENIED as to MMNA.

                              (2)     MMC

Plaintiffs assert that there is specific personal jurisdiction over MMC with respect to Plaintiffs’ RICO
claims against that party, citing 18 U.S.C. § 1965(b) and Rule 4(k)(2). Dkt. 288 at 31. They assert in the
alternative that there is specific personal jurisdiction over MMC under the traditional minimum contacts

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analysis. Id. at 31-32.

For the reasons stated earlier, Plaintiffs have failed to establish personal jurisdiction under section
1965(b) because they have not sufficiently alleged a single nationwide conspiracy. See
Butcher’s Union, 788 F.2d at 539.

Whether there is specific personal jurisdiction under Rule 4(k)(2) or through application of the traditional
minimum contacts analysis depends on whether Plaintiffs have shown that MMC purposefully directed
its activities toward either: (i) the United States, which is the relevant forum for Rule 4(k)(2) analysis; or
(ii) Michigan, Florida and/or California, which are the relevant fora for traditional, respective minimum
contacts analyses.

                                       (a)     Purposeful Direction Under Fed. R. Civ. P. 4(k)(2)

                                               (i)     Whether the Conduct of the MMC Subsidiary Can
                                                       Be Imputed to MMC Under an Agency Theory

Plaintiffs argue that “MMC’s contacts with and control over its U.S. subsidiary, MMNA, provide sufficient
minimum contacts.” Dkt. 288 at 31-32. Defendants disagree. They argue that the contacts of a
corporate subsidiary can be imputed to its parent company when assessing specific jurisdiction only
when “the parent exercises ‘pervasive control over the subsidiary,’ ” and that Plaintiffs have not made
that showing. Dkt. 300 at 18 (citation omitted); see Dkt. 294 at 13-15.

Plaintiffs have not made sufficient allegations to show that MMC substantially controls MMNA. Those
allegations are far less detailed than those made by Plaintiffs as to substantial control by TMC.
Because the allegations as to TMC have been found to be insufficient as to the other, related parties,
those as to MMC necessarily fail to show substantial control as to MMNA. Compare Dkt. 288 at 32 with
Dkt. 289 at 31-32. Therefore, the conduct of MMNA cannot be imputed to MMC in assessing personal
jurisdiction.

                                               (ii)    Whether MMC Purposefully Directed Its Own
                                                       Conduct Toward the United States

Plaintiffs have not alleged facts materially different from those deemed insufficient as to TMC in support
of the claim of purposeful direction of conduct toward the United States by MMC. Compare Dkt. 288 at
31-33 with Dkt. 289 at 31-33

                               *                      *                       *

For the foregoing reasons, the Mitsubishi Motion is GRANTED WITHOUT PREJUDICE, i.e., with leave
to amend, for lack of personal jurisdiction as to MMC.




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                        h)       ZF Defendants

                                 (1)     Domestic ZF Defendants

                                         (a)     General Jurisdiction

The parties agree that the ZF Defendants based in the United States (the “Domestic ZF Defendants”)
are subject to general jurisdiction in Michigan. See Dkt. 278 ¶¶ 27-31; Dkt. 209 at 19; Dkt. 283 at 28. 11
Plaintiffs contend that this Court “stands in the shoes of the transferor district in Michigan” and that
there is general jurisdiction here over the Domestic ZF Defendants just as there is in the Eastern
District of Michigan. Dkt. 283 at 28. The Domestic ZF Defendants respond that, by assuming the role of
the Michigan court, there is general jurisdiction in this District only over the claims against them that
were originally filed in the Eastern District of Michigan and then transferred to this MDL. Dkt. 209 at 19.

In an MDL proceeding, the transferee court “is entitled to exercise personal jurisdiction over each
defendant only to the same degree that the original transferor court could have.” JUUL Labs, 497 F.
Supp. 3d at 674 (citing In re Dynamic Random Access Memory (Dram), 2005 WL 2988715, at *2).
Thus, there is general jurisdiction here over the claims against the Domestic ZF Defendants that were
filed in the Eastern District of Michigan and then transferred to this MDL. However, the analysis differs
with respect to those claims against the Domestic ZF Defendants that were filed in this District or the
Southern District of Florida and then transferred to this MDL. As to those claims, because the transferor
courts could not have exercised general jurisdiction over the Domestic ZF Defendants, assuming the
role of those transferor courts does not change this outcome.

For these reasons, there is general jurisdiction only over the claims against the Domestic ZF
Defendants that were filed in the Eastern District of Michigan before being transferred to this MDL. This
includes the claims against the Domestic ZF Defendants brought by the following plaintiffs: Barry
Adams, Bobbi Jo Birk-LaBarge, Brian Collins, Burton Reckles, Carl Miller, Constanza Gonzalez, Dan
Sutterfield, Danny Hunt, Deloras McMurray, Desiree Meyer (“Meyer”), Donna Ronan, Dorothy Cooks,
Dylan DeMoranville, Gary Samouris (“Samouris”), Gersen Damens, James Dean, John Colbert, John
Robinson, John Sancomb, Joy Davis, Larae Angel, Lawrence Graziano, Lore VanHouten, Michael
Nearing, Paul Huitzil, Ravichandran Namakkal, Remigiusz Rundzio, Richard Kintzel, Ricky Gerischer,
Steve Keister (“Keister”), Steve Laveaux, Tatiana Gales and Tiffany Ecklor. Because there is general
jurisdiction over these claims, the ZF Motion is DENIED as to them.




11 Defendants refer to “the domestic ZF entities,” Dkt. 209 at 19, and Plaintiffs to “the Domestic ZF Defendants,”

Dkt. 283 at 29, but neither defines those terms. In context, it appears that Plaintiffs are referring to a group
comprised of those Defendants that are classified as both “ZF TRW Defendants” and “Domestic Defendants” in
the CAC. See Dkt. 278 ¶¶ 26, 142. These are: ZF Active Safety and Electronics US LLC (“ZF Active Safety”); ZF
Passive Safety Systems US Inc. (“ZF Passive Safety”); TRW Automotive Inc. (“TRW Automotive”); ZF TRW
Automotive Holdings Corp. (“ZF TRW Automotive Holdings”); and ZF North America, Inc. (“ZFNA”) (collectively,
“Domestic ZF Defendants”). See id.
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                                       (b)     Specific Jurisdiction

As to the claims against the Domestic ZF Defendants that initially were filed in this District or the
Southern District of Florida, because there is no general jurisdiction here, Plaintiffs must show that
there is specific jurisdiction.

To establish specific jurisdiction over the claims against the Domestic ZF Defendants that initially were
filed in this District, Plaintiffs must show that there is such specific jurisdiction in California under the
applicable legal standards. As for those claims that initially were filed in the Southern District of Florida
before being transferred to this MDL, Plaintiffs must show that there is specific jurisdiction in Florida.
See JUUL Labs, 497 F. Supp. 3d at 674 (citing In re Dynamic Random Access Memory (Dram), 2005
WL 2988715, at *2) (the transferee court in an MDL proceeding “is entitled to exercise personal
jurisdiction over each defendant only to the same degree that the original transferor court could have”).
Plaintiffs have not made such a showing as to jurisdiction in California or Florida.

Because this action involves allegations of tortious conduct, the first element of the test for specific
jurisdiction is satisfied by a showing of purposeful direction. Schwarzenegger, 374 F.3d at 802.
Plaintiffs have not pleaded any facts, which if established, would show that the Domestic ZF
Defendants purposefully directed relevant conduct toward California or Florida. See Dkt. 278 ¶¶ 158-
168.

Plaintiffs’ arguments to the contrary are not persuasive. Plaintiffs begin by asserting that the Domestic
ZF Defendants had “direct involvement in investigating crashes in Class Vehicles throughout the U.S.,
including crashes in California, Florida, and Arizona,” Dkt. 283 at 30. However, this does not support a
showing of sufficient minimum contacts with those states. The exercise of personal jurisdiction over a
defendant in a state is improper if its contacts with that state are “ ‘random,’ ‘fortuitous,’ or
‘attenuated.’ ” Burger King, 471 U.S. at 475 (1985) (citing Keeton v. Hustler Mag., Inc., 465 U.S. 770,
774 (1984); World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 299 (1980)). The CAC alleges
that “ZF TRW,” which is an undifferentiated amalgam of all ZF Defendants, occasionally investigated a
crash in Florida or California. See, e.g., Dkt. 278 ¶¶ 332-34. Such sporadic contact is insufficient under
Burger King. Consequently, Plaintiffs have failed to establish purposeful direction, or the corresponding
sufficient minimum contacts, by the Domestic ZF Defendants.

Plaintiffs next argue:

         [T]he Domestic ZF Defendants had an active role in the Vehicle Manufacturer Defendants’ and
         NHTSA’s investigation of the ACU defect, as well as the concealment of that defect in every
         forum. For example, the Goodwin Declaration admits that the domestic ZF entities “are
         responsible for communicating with NHTSA concerning purported electrical overstress issues in
         the ACUs,” and “have also made certain filings with NHTSA related to the ACUs,” including a
         Part 573 Safety Recall Report that was part of a recall targeted at Class Vehicles in every state.

Dkt. 283 at 30 (citing Dkt. 209-4 ¶ 10).

This refers to the Declaration of Emanuel Goodman in Support of the ZF Defendants’ Motion to Dismiss
(the “Goodman Declaration” (Dkt. 209-4)). Emanuel Goodman (“Goodman”), a “Senior Technical
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Specialist for ZF Active Safety and Electronics US LLC,” declares generally that “ZF’s domestic entities
. . . are responsible for communicating with NHTSA concerning purported electrical overstress issues in
the ACUs.” Dkt. 209-4 ¶ 10. That the Domestic ZF Defendants have communicated generally with a
national federal regulatory agency does not support a finding that those Defendants purposefully
directed their activities at California or Florida. Moreover, Plaintiffs specifically refer to the “Part 573
Safety Recall Report” that is discussed in the Goodman Declaration. Dkt. 283 at 30 (citing Dkt. 209-4 ¶
10). Goodman refers to, and provides a URL for, such a report (the “Report”) that was filed by TRW
Automotive Inc. That is the former name of ZF Automotive U.S. Inc. Dkt. 209-4 ¶ 10; see id. ¶ 2. The
contents of the Report do not support the claim of jurisdiction.

The Report states:

         ZF is submitting this report based on the recall of vehicles by HMA and KMA that incorporate
         ACUs supplied by ZF. The ASIC in the ACUs may experience EOS damage caused by negative
         transient voltages generated in the vehicle environment that are outside the vehicle
         manufacturer's specification during particular front impact events.

“Part 573 Safety Recall Report,” NHTSA (Aug. 15, 2018), https://static.nhtsa.gov/odi/rcl/2018/RCLRPT-
18E043-6125.PDF. Other than citing the California addresses of HMA and KMA, the Report does not
refer to California or Florida. Nor does it show contacts with those states by any of the Domestic ZF
Defendants.

Further, even if the Report were construed as establishing purposeful direction toward Florida or
California by the corporate predecessor of ZF Automotive U.S., the second prong of the minimum
contacts test would not be satisfied. It requires that Plaintiffs’ “claim . . . be one which arises out of or
relates to the defendant’s forum-related activities.” Freestream Aircraft, 905 F.3d at 603. If the forum-
related activities of ZF Automotive U.S. were contacting NHTSA about the recall of the Defective ACUs,
none of Plaintiffs’ claims arises out of such activities. Rather, their claims arise from the alleged
concealment of such a defect. The Report does not reflect concealment. Instead, it shows that one of
the Domestic ZF Defendants publicly acknowledged to NHTSA that “[t]he ACUs in the recalled vehicles
incorporate a certain application specific integrated circuit (ASIC) that may experience electrical
overstress (EOS) damage caused by negative transient voltages generated in the vehicle environment
that are outside the vehicle manufacturer's specification,” which appears to be precisely the defect that
Defendants are alleged to have concealed. “Part 573 Safety Recall Report,” NHTSA.

Plaintiffs have not shown purposeful direction by the Domestic ZF Defendants toward California or
Florida. Accordingly, they have not shown sufficient minimum contacts to allow the exercise of specific
jurisdiction over Plaintiffs’ claims against those Defendants that initially were filed in this District or the
Southern District of Florida. Because there is no specific jurisdiction over such claims, the ZF Motion is
GRANTED WITHOUT PREJUDICE, i.e., with leave to amend, as to them.




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The rulings as to personal jurisdiction over the Domestic ZF Defendants are summarized in the
following table:

                                          Claims Against the Domestic ZF Defendants
                                                              Does this       Does this       Disposition of the ZF
                                              Transferor      Court have      Court have      Motion as to this plaintiff’s
 Plaintiff             Class
                                              Court           general         specific        claims against the
                                                              jurisdiction?   jurisdiction?   Domestic ZF Defendants?
                                                                                              GRANTED WITHOUT
 Amanda Swanson        Illinois State Class   C.D. Cal.       No              No
                                                                                              PREJUDICE
                                                                                              GRANTED WITHOUT
 Angela Bowens         Texas State Class      C.D. Cal.       No              No
                                                                                              PREJUDICE
                       Virginia State
 Ann Harland 12                               C.D. Cal.       No              No              VOLUNTARILY DISMISSED
                       Class
                       Montana State
 Barry Adams                                  E.D. Mich.*     Yes             N/A             DENIED
                       Class
 Bobbi Jo Birk-        Minnesota State
                                              E.D. Mich.*     Yes             N/A             DENIED
 LaBarge               Class
                       California State                                                       GRANTED WITHOUT
 Bonnie Dellatorre                            C.D. Cal.       No              No              PREJUDICE
                       Class
                                                                                              GRANTED WITHOUT
 Brent DeRouen         Texas State Class      C.D. Cal.       No              No              PREJUDICE

                       Florida State                                                          GRANTED WITHOUT
 Brian Chaiken                                S.D. Fla.       No              No              PREJUDICE
                       Class

 Brian Collins         Illinois State Class   E.D. Mich.*     Yes             N/A             DENIED


 Burton Reckles        Texas State Class      E.D. Mich.*     Yes             N/A             DENIED

                       Indiana State
 Carl Miller                                  E.D. Mich.*     Yes             N/A             DENIED
                       Class
                       Florida State                                                          GRANTED WITHOUT
 Carl Paul Maurilus                           S.D. Fla.       No              No              PREJUDICE
                       Class
                       Minnesota State                                                        GRANTED WITHOUT
 Carolyn Nelson                               C.D. Cal.       No              No              PREJUDICE
                       Class
 Constanza             North Carolina
                                              E.D. Mich.*     Yes             N/A             DENIED
 Gonzalez              State Class
                       Missouri State
 Dan Sutterfield                              E.D. Mich.*     Yes             N/A             DENIED
                       Class

 Danny Hunt            Texas State Class      E.D. Mich.*     Yes             N/A             DENIED

                       Washington State                                                       GRANTED WITHOUT
 Dee Roberts                                  C.D. Cal.       No              No
                       Class                                                                  PREJUDICE

12   This Plaintiff voluntarily dismissed her claims. Dkt. 291.
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                       Tennessee State
 Deloras McMurray                            E.D. Mich.*    Yes             N/A             DENIED
                       Class
                       South Dakota
 Desiree Meyer                               E.D. Mich.     Yes             N/A             DENIED
                       State Class
                       Maryland State                                                       GRANTED WITHOUT
 Diana King                                  C.D. Cal.      No              No
                       Class                                                                PREJUDICE
                       California State
 Donna Ronan                                 E.D. Mich.*    Yes             N/A             DENIED
                       Class
                       Florida State
 Dorothy Cooks                               E.D. Mich.*    Yes             N/A             DENIED
                       Class
                       Washington State
 Dragan Jagnjic 13                           C.D. Cal.      No              No              VOLUNTARILY DISMISSED
                       Class
 Dylan                 Massachusetts
                                             E.D. Mich.*    Yes             N/A             DENIED
 DeMoranville          State Class
                       New York State                                                       GRANTED WITHOUT
 Eric Fishon                                 C.D. Cal.      No              No
                       Class                                                                PREJUDICE
                                                                                            GRANTED WITHOUT
 Evan Green            Texas State Class     C.D. Cal.      No              No
                                                                                            PREJUDICE
 Fredericka            Florida State                                                        GRANTED WITHOUT
                                             C.D. Cal.      No              No
 McPherson             Class                                                                PREJUDICE
                       Nevada State
 Gary Samouris                               E.D. Mich.     Yes             N/A             DENIED
                       Class
                       California State                                                     GRANTED WITHOUT
 Gaylynn Sanchez                             C.D. Cal.      No              No
                       Class                                                                PREJUDICE
                       New Jersey State
 Gersen Damens                               E.D. Mich.*    Yes             N/A             DENIED
                       Class
                       Oklahoma State
 James Dean                                  E.D. Mich.*    Yes             N/A             DENIED
                       Class
                       Florida State                                                        GRANTED WITHOUT
 Jan Freyman                                 C.D. Cal.      No              No
                       Class                                                                PREJUDICE
                       Florida State
 John Colbert                                E.D. Mich.*    Yes             N/A             DENIED
                       Class

 John Robinson 14      Texas State Class     E.D. Mich.*    Yes             N/A             DENIED

                       Wisconsin State
 John Sancomb                                E.D. Mich.*    Yes             N/A             DENIED
                       Class
                       Maryland State                                                       GRANTED WITHOUT
 Joseph Fuller                               C.D. Cal.      No              No
                       Class                                                                PREJUDICE

 Joy Davis             Texas State Class     E.D. Mich.*    Yes             N/A             DENIED



13   This Plaintiff voluntarily dismissed his claims. Dkt. 291.
14   This Plaintiff voluntarily dismissed his claims as to the FCA Defendants. Dkt. 228.
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                     Indiana State                                                  GRANTED WITHOUT
Kenneth Ogorek                              C.D. Cal.     No        No              PREJUDICE
                     Class
                     California State                                               GRANTED WITHOUT
Kevin Burns                                 C.D. Cal.     No        No              PREJUDICE
                     Class
                     Michigan State                                                 GRANTED WITHOUT
Kinyata Jones                               C.D. Cal.     No        No              PREJUDICE
                     Class
                     Pennsylvania
Larae Angel                                 E.D. Mich.*   Yes       N/A             DENIED
                     State Class
Lawrence             Florida State
                                            E.D. Mich.*   Yes       N/A             DENIED
Graziano             Class
                     California State
Lore VanHouten                              E.D. Mich.*   Yes       N/A             DENIED
                     Class
                     California State                                               GRANTED WITHOUT
Mark Altier                                 C.D. Cal.     No        No              PREJUDICE
                     Class
Maximillian          Florida State                                                  GRANTED WITHOUT
                                            C.D. Cal.     No        No              PREJUDICE
Accetta              Class
Michael              California State                                               GRANTED WITHOUT
                                            C.D. Cal.     No        No              PREJUDICE
Hernandez            Class
                     South Carolina                                                 GRANTED WITHOUT
Michael Hines                               S.D. Fla.     No        No              PREJUDICE
                     State Class
                     Colorado State
Michael Nearing                             E.D. Mich.*   Yes       N/A             DENIED
                     Class
                     Florida State                                                  GRANTED WITHOUT
Moises Senti                                C.D. Cal.     No        No
                     Class                                                          PREJUDICE
                     Connecticut State
Paul Huitzil                                E.D. Mich.*   Yes       N/A             DENIED
                     Class
Ravichandran         New York State
                                            E.D. Mich.*   Yes       N/A             DENIED
Namakkal             Class
Remigiusz            California State
                                            E.D. Mich.*   Yes       N/A             DENIED
Rundzio              Class
                     Pennsylvania
Richard Kintzel                             E.D. Mich.*   Yes       N/A             DENIED
                     State Class

Ricky Gerischer      Illinois State Class   E.D. Mich.*   Yes       N/A             DENIED

                     Florida State                                                  GRANTED WITHOUT
Sam Choc                                    S.D. Fla.     No        No
                     Class                                                          PREJUDICE
                     Minnesota State
Steve Keister                               E.D. Mich.    Yes       N/A             DENIED
                     Class
                     California State
Steve Laveaux                               E.D. Mich.*   Yes       N/A             DENIED
                     Class
                     Florida State
Tatiana Gales                               E.D. Mich.*   Yes       N/A             DENIED
                     Class


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                       California State
 Tiffany Ecklor                               E.D. Mich.*         Yes               N/A                DENIED
                       Class
                       Maryland State                                                                  GRANTED WITHOUT
 Tina Fuller                                  C.D. Cal.           No                No
                       Class                                                                           PREJUDICE
                       North Carolina                                                                  GRANTED WITHOUT
 Tonya McNeely                                C.D. Cal.           No                No
                       State Class                                                                     PREJUDICE

* The asterisk next to “E.D. Mich.” denotes a “direct-file” plaintiff who initially brought his or her claims as part of the CAC but
later filed them separately in the Eastern District of Michigan, from which they then were transferred to the MDL. See Dkt. 208-
4; Dkt. 301 at 9-10.

                                     (2)       Foreign ZF Defendants

Plaintiffs assert that there is specific personal jurisdiction over the Foreign ZF Defendants with respect
to the RICO claims against those parties, citing 18 U.S.C. § 1965(b) or Rule 4(k)(2). Dkt. 283 at 29. In
the alternative they argue that there is specific personal jurisdiction over the Foreign ZF defendants
based on the application of the traditional minimum contacts analysis. Id. at 31-32.

As discussed above, Plaintiffs have failed to establish personal jurisdiction under section 1965(b)
because the CAC does not allege a single nationwide conspiracy. See Butcher’s Union, 788 F.2d at
539.

Whether there is specific personal jurisdiction under Rule 4(k)(2) or through application of the traditional
minimum contacts analysis depends on whether Plaintiffs have shown that the Foreign ZF Defendants
purposefully directed their activities toward either: (i) the United States, which is the relevant forum for
Rule 4(k)(2) analysis; or (ii) Michigan, Florida and/or California, which are the relevant fora for
traditional, respective minimum contacts analyses.

                                               (a)        Purposeful Direction Under Fed. R. Civ. P. 4(k)(2)

                                                          (i)     Whether the Conduct of the Subsidiaries of the
                                                                  Foreign ZF Defendants Can Be Imputed to Them
                                                                  Under an Agency Theory

Plaintiffs argue that the contacts of the subsidiaries of the Foreign ZF Defendants can be imputed to
those Defendants. Dkt. 282 at 31-33.

Plaintiffs have not made sufficient allegations that, if established, would show that the Foreign ZF
Defendants substantially control their subsidiaries. ZF Holdings B.V. is “the direct parent and 100%
owner of ZF North America, Inc.,” Dkt. 278 ¶ 32; Declaration of Michael Way in Support of the ZF
Defendants’ Motion to Dismiss (“Way Decl.”), Dkt. 209-5 ¶ 9. With respect to ZF Holdings B.V.,
Plaintiffs’ allegations are far less detailed than those made by Plaintiffs as to substantial control by
TMC. Compare Dkt. 283 at 32-33 with Dkt. 289 at 31-32. Because the allegations as to TMC have been
found to be insufficient as to the other, related parties, those as to ZF Holdings B.V. necessarily fail to
show substantial control as to ZF North America, Inc. Therefore, the conduct of ZF North America, Inc.,
cannot be imputed to ZF Holdings B.V. in assessing personal jurisdiction.

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With respect to ZF Friedrichshafen AG, it is alleged to be “the direct parent and 100% owner of ZF
Holdings B.V.” Dkt. 278 ¶ 33; Way Decl., Dkt. 209-5 ¶ 10. However, it is not alleged that this subsidiary,
ZF Holdings B.V., had any direct contacts with the United States. Thus, even assuming that Plaintiffs
could establish that ZF Friedrichshafen AG substantially controls ZF Holdings B.V., with the latter’s
contacts with the United States imputed to the former, doing so would not support the claim of specific
jurisdiction over the parent. Moreover, whether the subsidiary of ZF Holdings B.V. has engaged in
conduct directed at the United States does not affect the jurisdictional analysis as to ZF Friedrichshafen
AG. Plaintiffs have not asserted, and the relevant case law does not support, that the activities of a
subsidiary of one entity can be imputed to the parent of that entity, i.e., the “grandparent” of the
subsidiary.

For the foregoing reasons, Plaintiffs have not presently shown that the Foreign ZF Defendants
substantially control their subsidiaries. Therefore, the agency theory does not support a showing of
purposeful direction.

                                             (ii)    Whether the Foreign ZF Defendants Purposefully
                                                     Directed Their Own Conduct Toward the United
                                                     States

Plaintiffs also argue that they have shown purposeful direction by the Foreign ZF Defendants toward
the United States, because their “allegations detail the Foreign ZF Defendants’ role in the design,
development, manufacture, and testing of the ZF ACUs, and the placement of the ZF ACUs in the
stream of commerce with the intention of causing sales and leases of Class Vehicles with ZF
component parts in the transferor jurisdictions.” Dkt. 283 at 31 (citing Dkt. 278 ¶¶ 7, 12, 275-279, 283;
id. ¶¶ 158-59). The cited allegations do not include such statements. To the extent these allegations
discuss the “design, development, manufacture, . . . testing” and distribution of the ACUs, they
consistently attribute such activities to “ZF TRW.” See Dkt. 278 ¶¶ 12, 276-79. Alleging that “ZF TRW,”
which is comprised of seven distinct corporate entities, took part in designing, manufacturing and
distributing a product, without specifying whether those activities took place in, or were directed toward
the United States, falls short of establishing purposeful direction by any one of those entities. Such an
allegation is particularly deficient given that elsewhere the CAC alleges that one of the seven “ZF TRW”
entities, ZF Active Safety Electronics US, “designed the ACUs in Illinois and manufactured them in
Michigan.” Dkt. 209-4 ¶ 5. Thus, a reasonable inference can be drawn that, when Plaintiffs allege that
“ZF TRW” was involved in designing, manufacturing and distributing the Defective ACUs, they are
referring to ZF Active Safety Electronics US, and not to any of the Foreign ZF Defendants.

Plaintiffs have not presently shown that the Foreign ZF Defendants purposefully directed their conduct
toward the United States. Therefore, they have failed to establish personal jurisdiction as to these
entities.

                             *                      *                      *

For the foregoing reasons, the ZF Motion is GRANTED WITHOUT PREJUDICE, i.e., with leave to
amend, as to ZF Friedrichshafen AG and ZG Holdings B.V.



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                        i)      FCA Defendants

                                (1)     FCA US LLC

                                        (a)     General Jurisdiction

Plaintiffs assert that FCA US LLC (“FCA US”) is subject to general jurisdiction in Michigan.
Consequently, they contend that there is general jurisdiction in the District to which the case was
transferred. Dkt. 278 ¶ 144. The FCA Defendants respond that, by assuming the role of the Michigan
court, this Court may find and apply general jurisdiction only over the claims against FCA US LLC that
were originally filed in the Eastern District of Michigan before being transferred to this MDL. Dkt. 230 at
21-23; Dkt. 302 at 7.

The parties agree that FCA US is a corporation incorporated in Delaware whose principal place of
business is in Michigan. Dkt. 278 ¶ 54; Dkt. 208-3 at 2. Because FCA US is “at home” in Michigan,
Daimler AG, 571 U.S. at 138-139, Michigan courts would be able to exercise general jurisdiction over it.

In an MDL proceeding, the transferee court “is entitled to exercise personal jurisdiction over each
defendant only to the same degree that the original transferor court could have.” JUUL Labs, 497 F.
Supp. 3d at 674 (citing In re Dynamic Random Access Memory (Dram), No. C 02-1486 PJH, 2005 WL
2988715, at *2 (N.D. Cal. Nov. 7, 2005)). Thus, there is general jurisdiction in this District over the
claims against FCA US LLC that were filed in the Eastern District of Michigan and then transferred to
this MDL. However, that determination does not apply with respect to those claims against FCA US
LLC that were filed in this District or the Southern District of Florida and then transferred to this MDL.
Because there was no general jurisdiction over FCA US in those districts, there is none here.

For these reasons, there is general jurisdiction only over the claims against FCA US that were filed in
the Eastern District of Michigan before being transferred to this MDL. This includes the claims against
FCA US brought by the following plaintiffs: Barry Adams, Constanza Gonzalez, Desiree Meyer, James
Dean, James Kneup, Remigiusz Rundzio, Steve Keister and Steve Laveaux. 15 Therefore, the FCA
Motion is DENIED as to FCA US, but only with respect to the claims brought by Adams, Gonzalez,
Meyer, Dean, Kneup, Robinson, Rundzio, Keister and Laveaux.

                                        (b)     Specific Jurisdiction

There are several remaining plaintiffs -- Fishon, Accetta and Senti -- who brought claims against FCA
US in this District. There is no general jurisdiction here over FCA US with respect to such claims. To
establish personal jurisdiction in California over FCA US as to these claims requires the application of
the traditional minimum contacts test.

Plaintiffs argue that “FCA US . . . admits that it ‘designed, tested, assembled, marketed, distributed and
sold’ FCA Class Vehicles that were sold in California, which demonstrates that it has minimum contacts
with the transferor jurisdiction of California.” Dkt. 290 at 29 (internal citations omitted). Defendants


15 The claims against FCA US brought by Robinson would be included in this category if he had not voluntarily
dismissed those against the FCA Defendants. See Dkt. 229 at 2.
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respond that, as to Fishon, Accetta and Senti, Plaintiffs cannot satisfy the requirement for specific
jurisdiction, i.e., that the plaintiff’s alleged injury arise from the defendant’s alleged forum-related
conduct, because “[t]here is simply no connection to anything FCA US did in California for” these
plaintiffs, “who all purchased their vehicles outside of California.” Dkt. 302 at 8; see Dkt. 230 at 22-23.

Moreover, contrary to Plaintiffs’ assertion, FCA US contends that it “does not design, manufacture, or
assemble any motor vehicles in the state of California.” Declaration of James Bielenda in Support of the
FCA Motion (“Bielenda Decl.”), Dkt. 230-3 ¶ 3. Although FCA US concedes that it operates in
California, it contends that its “operations in . . . California are limited to two facilities (a single parts
distribution center and a single business center) which, together, employ less than 200 employees (i.e.,
less than .31% of its total United States workforce of 63,000+ employees).” Id. ¶ 4.

Assuming, without deciding, that these contacts with California demonstrate purposeful direction by
FCA US, Plaintiffs have not met their burden of showing that the claims of Fishon, Accetta and Senti
are related to these California-based contacts. Accetta and Senti purchased their Class Vehicles in
Florida, and Fishon purchased his in New York. Dkt. 278 ¶¶ 102, 104, 107. Plaintiffs have not provided
any evidence to show that the alleged injuries of Accetta, Senti and Fishon relate to any contacts of
FCA US with California. Absent such a showing, Plaintiffs cannot establish specific jurisdiction over
FCA US in California with respect to these claims.

This case is distinguishable from Ford Motor Co. It arose from two accidents involving Ford vehicles,
one in Montana and the other in Minnesota; Ford was sued separately in those two states. 141 S. Ct. at
1023. “Ford moved to dismiss the two suits for lack of personal jurisdiction,” arguing that “the state
court (whether in Montana or Minnesota) had jurisdiction only if [Ford’s] conduct in the State had given
rise to the plaintiff ’s claims.” Id. Ford argued that the requisite “causal link existed . . . only if the
company had designed, manufactured, or—most likely—sold in the State the particular vehicle involved
in the accident,” which was not alleged in either case. Id. Ford had designed each of the vehicles in
Michigan and manufactured one in Kentucky and the other in Canada. Id. In addition, the vehicles had
been originally sold by Ford in Washington and North Dakota.” Id.

Ford argued that, it “sold the specific cars involved in these crashes outside” Minnesota and Montana,
“with consumers later selling them to the States’ residents,” so “the plaintiffs’ claims ‘would be precisely
the same if Ford had never done anything in Montana and Minnesota.’ ” Id. at 1029. According to Ford,
this showed that its contacts with the forum states were not related to the plaintiffs’ claims. Id.

Ford Motor Co. explained that it is “far from clear” “that without the company’s Montana or Minnesota
contacts the plaintiffs’ claims would be just the same.” Id. It then stated:

         For the owners of these cars might never have bought them, and so these suits might never
         have arisen, except for Ford’s contacts with their home States. Those contacts might turn any
         resident of Montana or Minnesota into a Ford owner—even when he buys his car from out of
         state. He may make that purchase because he saw ads for the car in local media. And he may
         take into account a raft of Ford's in-state activities designed to make driving a Ford convenient
         there: that Ford dealers stand ready to service the car; that other auto shops have ample
         supplies of Ford parts; and that Ford fosters an active resale market for its old models.”

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Id. Although “jurisdiction in cases like these” should not “ride on the exact reasons for an individual
plaintiff’s purchase, . . . “the possibilities listed above—created by the reach of Ford’s Montana and
Minnesota contacts—underscore the aptness of finding jurisdiction here, even though the cars at issue
were first sold out of state.” Id.

In this case, there is no suggestion that FCA US ever engaged in any contacts with New York or
Florida. It is not alleged that Fishon, Senti or Accetta had any relationship with the forum state of
California. Thus, unlike in Ford Motor Co., it actually is safe to assume that, without FCA US’s
California contacts, “the plaintiffs’ claims would be just the same.” Those contacts have no bearing on
the decisions by Fishon, Senti and Accetta, made in Florida and New York, respectively, to buy FCA
Class Vehicles. For that reason, Plaintiffs cannot show that the claims of Fishon, Senti and Accetta
“arise out of or relate to” FCA US’s contacts with California. Id. at 1025 (citing Bristol-Myers, 137 S. Ct.
at 1780)).

Therefore, the FCA Motion is GRANTED WITHOUT PREJUDICE, i.e., with leave to amend, as to FCA
US, but only with respect to the claims brought by Fishon, Accetta and Senti.

The rulings as to personal jurisdiction over FCA US are summarized in the following table:


                                                      Claims Against FCA US
                                        Where were                            Have Plaintiffs      Disposition of the FCA
                                                         Have Plaintiffs
                                        these                                 demonstrated the     Motion as to this
                                                         demonstrated the
 Plaintiff             Class            claims                                Court has specific   plaintiff’s claims
                                                         Court has general
                                        originally                            jurisdiction?        against FCA US?
                                                         jurisdiction?
                                        filed?
                       Virginia State                                                              VOLUNTARILY
 Ann Harland 16                         C.D. Cal.        N/A                  N/A
                       Class                                                                       DISMISSED
                       Montana State
 Barry Adams                            E.D. Mich.*      Yes                  N/A                  DENIED
                       Class
 Constanza             North Carolina
                                        E.D. Mich.*      Yes                  N/A                  DENIED
 Gonzalez              State Class
                       South Dakota
 Desiree Meyer                          E.D. Mich.       Yes                  N/A                  DENIED
                       State Class
                       New York                                                                    GRANTED WITHOUT
 Eric Fishon                            C.D. Cal.        No                   No
                       State Class                                                                 PREJUDICE
                       Oklahoma
 James Dean                             E.D. Mich.*      Yes                  N/A                  DENIED
                       State Class
                       Arizona State
 James Kneup                            E.D. Mich.*      Yes                  N/A                  DENIED
                       Class
                       Florida State                                                               VOLUNTARILY
 Jan Freyman 17                         C.D. Cal.        N/A                  N/A
                       Class                                                                       DISMISSED


16   This Plaintiff voluntarily dismissed her claims. Dkt. 291.
17   This Plaintiff voluntarily dismissed his claims. Dkt. 333.
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                       Texas State
 John Robinson 18                            E.D. Mich.*         Yes                N/A                    DENIED
                       Class
 Maximillian           Florida State                                                                       GRANTED WITHOUT
                                             C.D. Cal.           No                 No
 Accetta               Class                                                                               PREJUDICE
                       Florida State                                                                       GRANTED WITHOUT
 Moises Senti                                C.D. Cal.           No                 No
                       Class                                                                               PREJUDICE
 Remigiusz             California
                                             E.D. Mich.*         Yes                N/A                    DENIED
 Rundzio               State Class
                       Minnesota
 Steve Keister                               E.D. Mich.          Yes                N/A                    DENIED
                       State Class
                       California
 Steve Laveaux                               E.D. Mich.*         Yes                N/A                    DENIED
                       State Class

* The asterisk next to “E.D. Mich.” denotes a “direct-file” plaintiff who initially brought his or her claims as part of the CAC but
later filed them separately in the Eastern District of Michigan, from which they then were transferred to the MDL. See Dkt. 208-
4; Dkt. 301 at 9-10.

                                       (2)       FCA NV

Plaintiffs argue that there is specific personal jurisdiction over FCA NV under 18 U.S.C. § 1965(b). Dkt.
282 at 9; Dkt. 290 at 30. As discussed above, because Plaintiffs have failed to allege a single
nationwide conspiracy, the assertion of personal jurisdiction under section 1965(b) necessarily fails.

Plaintiffs argue in the alternative that there is specific personal jurisdiction over FCA NV under Rule
4(k)(2) or through the traditional minimum contacts analysis. Dkt. 290 at 31-34. This depends on
whether Plaintiffs have shown that the Foreign ZF Defendants purposefully directed their activities at
the United States, the relevant forum for Rule 4(k)(2) analysis, or Michigan and California, the relevant
fora for traditional minimum contacts analysis.

                                                 (a)       Purposeful Direction Under Fed. R. Civ. P. 4(k)(2)

                                                           (i)         Whether the Conduct of FCA US Can Be Imputed
                                                                       to FCA NV Under an Agency Theory

Plaintiffs argue that the contacts of FCA US with the United States can be imputed to FCA NV. Dkt. 290
at 32; Dkt. 282 at 32-33. The FCA Defendants’ response is limited: “[c]ourts no longer recognize
agency as a basis for jurisdiction in the parent/subsidiary context,” because the “ ‘alter ego’ test” should
be applied instead. Dkt. 302 at 6 (citing Anwar v. Dow Chem. Co., 876 F.3d 841, 847 (6th Cir. 2017);
Williams, 851 F.3d at 1024).

Williams expressly stated that Daimler “left open the question of whether an agency relationship might
justify the exercise of specific jurisdiction.” 851 F.3d at 1023 (citing Daimler, 571 U.S. at 134 n.13); see
Heber v. Toyota Motor Sales U.S.A., Inc., No. SA-CV-16-01525 AGJ, 2018 WL 3104612,
at *2 (C.D. Cal. June 11, 2018) (citing Williams, 851 F.3d at 1024) (“The Ninth Circuit has left open the

18   This Plaintiff voluntarily dismissed his claims against the FCA Defendants. Dkt. 229.
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question of whether an agency relationship between a parent and a subsidiary might impute the
subsidiary's forum contacts to the parent.”). Williams explained that the effect of Daimler was to
invalidate the “agency analysis” of the Ninth Circuit from Unocal. Williams, 851 F.3d at 1024 (discussing
Unocal, 248 F.3d at 928). Going forward, “under any standard for finding an agency relationship, the
parent company must have the right to substantially control its subsidiary's activities.” Id. (citations
omitted). Thus, since Williams, the standard for whether an agency relationship between parent and
subsidiary is a basis for personal jurisdiction is whether the principal substantially controls its
subsidiary. See Wood v. N. Am. Van Lines, Inc., No. 8-20-CV-02092-JLS, 2021 WL 3124155, at *4
(C.D. Cal. July 22, 2021) (applying “substantial control” standard); Aliign Activation Wear, 2020 WL
5790418, at *2 (same); AirWair Int’l Ltd. v. Pull & Bear Espana SA, No. 19-CV-07641-SI, 2020 WL
2113833, at *4 (N.D. Cal. May 4, 2020) (same); Essex Cap. Corp. v. Garipalli, No. CV-17-04055-BRO,
2017 WL 11634362, at *7 (C.D. Cal. Aug. 18, 2017) (same).

Plaintiffs have made several allegations that FCA NV substantially controls FCA US, and that this
warrants imputing the contacts of the latter to the former. The CAC alleges that FCA NV, “together with
FCA US LLC and its other subsidiaries, operates and holds itself out to the public as a single ‘Group’
whose day to day operations is managed by a team called the Group Executive Council, which is
comprised of employees from both [FCA] N.V. and FCA US LLC.” Dkt. 278 ¶ 203. It further alleges that
FCA NV “operates a website on behalf of the ‘Group,’ with a web address that references the ‘Group’:
www.fcagroup.com.” Id. ¶ 205. On this website, it is alleged that FCA NV “advertises . . . that

         Fiat Chrysler Automobiles (FCA) designs, engineers, manufactures and sells vehicles and
         related parts, services and production systems worldwide. The Group operates over 100
         manufacturing facilities and over 40 R&D centers; and it sells through dealers and distributors in
         more than 130 countries.

Id.

The CAC also alleges that this website “illustrates the unity of identity among the ‘Group’ by referring to,
among other things, ‘our people, throughout all FCA facilities worldwide,’ ‘our production processes,’
and ‘our teams,’ ” and “contains a section entitled ‘Our Plants,’ which lists 18 plants in the United
States.” Id. Finally, the CAC alleges that FCA NV “exercises ultimate control over FCA US LLC
marketing and advertising through, among other things, [FCA NV’s] Commercial Committee, which
oversees matters related to sales and marketing.” Id. ¶ 213.

In Plaintiffs’ opposition to the FCA Motion, they contend for the first time that FCA NV and FCA US
have the same chief executive officer, Michael Manley. Dkt. 290 at 32. The FCA Defendants do not
dispute this allegation. Dkt. 302 at 6.

The FCA Defendants do, however, dispute Plaintiffs’ contention that FCA NV substantially controls FCA
US. They contend that “FCA US LLC . . . is an indirect subsidiary of Fiat Chrysler Automobiles N.V.
FCA US has one member, FCA North America Holdings LLC, a Delaware limited liability company.
FCA North America Holdings LLC in turn has one member, FCA Holdco B.V., a Netherlands company.
FCA Holdco B.V. is in turn wholly owned by Fiat Chrysler Automobiles, N.V.” Declaration of Giorgio
Fossati in Support of the FCA Motion (“Fossati Decl.”), Dkt. 230-2 ¶ 7. They then state:

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         Fiat Chrysler Automobiles N.V. is solely a holding company. It has no sales or production. It
         does not design, test, manufacture, market, sell, purchase or distribute any vehicles or their
         component parts. Its activities consist primarily of owning an interest in other entities, various
         finance and executive management functions, approving major strategic transactions, managing
         relationships with public shareholders, issuing and receiving dividends, paying taxes, and
         supporting legal functions.

Id. ¶ 8. “While performing high-level functions such as those listed above, Fiat Chrysler Automobiles
N.V. does not direct or control the day-to-day business activities of FCA US.” Id. ¶ 9. Finally, the FCA
Defendants aver that “[FCA NV] and FCA US observe corporate formalities,” “do not commingle
assets,” and “maintain separate bank accounts, books and financial statements.” Id. ¶ 10.

Although Plaintiffs have presented substantial allegations to support the claim that FCA NV
substantially controls FCA US, the FCA Defendants have presented competing evidence through a
declaration that disputes many of Plaintiffs’ key allegations of jurisdictional facts. On a motion to
dismiss, “[u]ncontroverted allegations in the complaint must be taken as true, and “[c]onflicts between
parties over statements contained in affidavits must be resolved in the plaintiff's favor.”
Schwarzenegger, 374 F.3d at 800; Boschetto, 539 F.3d at 1015. However, a court “may not assume
the truth of allegations in a pleading which are contradicted by affidavit.” Mavrix Photo, 647 F.3d at
1223.

Plaintiffs request that they be granted leave to conduct jurisdictional discovery “if the [C]ourt has any
doubt over its jurisdiction over any defendant.” Dkt. 282 at 20. Jurisdictional discovery is “appropriately
granted where pertinent facts bearing on the question of jurisdiction are controverted or where a more
satisfactory showing of the facts is necessary.” Boschetto, 539 F.3d at 1020 (quoting Data Disc, Inc. v.
Sys. Tech. Assoc., Inc., 557 F.2d 1280, 1285 n.1 (9th Cir. 1977)). Consequently, Plaintiffs have shown
that it would be appropriate to permit focused, jurisdictional discovery.

Therefore, a ruling on the FCA Motion as to FCA NV is DEFERRED. On or before February 21, 2022,
the parties shall meet and confer regarding jurisdictional discovery and shall complete this discovery
within 45 days; provided, however, this is without prejudice to an application to extend the deadline for
jurisdictional discovery for good cause shown. Disputes as to the scope or timing of discovery shall be
presented to Magistrate Judge Abrams. The parties shall comply with Judge Abrams’s rules for
discovery motions, available at https://www.cacd.uscourts.gov/honorable-paul-l-abrams.

                        j)     STMicro Defendants

                               (1)     STMicroelectronics Inc.

                                       (a)    General Jurisdiction

Defendants argue, and Plaintiffs do not contest, that there is no general jurisdiction over STMicro Inc.
Dkt. 280 at 19-20; Dkt. 284 at 25-26. This is correct. It is undisputed that STMicro Inc. is a Delaware
corporation whose principal place of business is in Texas. Dkt. 278 ¶ 40; Dkt. 280 at 20. Therefore, any
general jurisdiction would be in Delaware and Texas. None of the claims in this action was filed in either
of these states.
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Plaintiffs assert in the CAC that there is general jurisdiction in this District over STMicro Inc., because
there would have been general jurisdiction in Texas had STMicro Inc. hypothetically been sued there.
Dkt. 278 ¶ 148. This position lacks merit. General jurisdiction over a defendant cannot be established
simply because that defendant could have been sued in a state where there is such jurisdiction, with
that hypothetical case then potentially transferred by the JPML to the MDL. A transferee court “is
entitled to exercise personal jurisdiction over each defendant only to the same degree that the original
transferor court could have.” JUUL Labs, 497 F. Supp. 3d at 674 (citing In re Dynamic Random Access
Memory (Dram), 2005 WL 2988715, at *2. This is not the same as assuming the jurisdiction that would
have applied to a hypothetical transferor court. Cf. Picot v. Weston, 780 F.3d 1206, 1215 n.3 (9th Cir.
2015) (“A plaintiff may not create personal jurisdiction over one claim by arguing that jurisdiction might
be proper over a different, hypothetical claim not before the court.”) (citations omitted).

                                      (b)     Specific Jurisdiction

Plaintiffs filed claims against STMicro Inc. in this District, the Eastern District of Michigan and the
Southern District of Florida, which were transferred to this MDL. Therefore, Plaintiffs have the burden of
establishing that there is specific jurisdiction over STMicro Inc. in Michigan as to the claims filed there,
in Florida as to the claims filed there, and in California as to the claims filed here. See JUUL Labs, 497
F. Supp. 3d at 674 (citing In re Dynamic Random Access Memory (Dram), 2005 WL 2988715, at *2).

Plaintiffs have failed to establish specific jurisdiction in Florida. Plaintiffs do not allege any contacts
between STMicro Inc. and Florida beyond that STMicro Inc. manufactured and placed into the stream
of commerce a product that foreseeably could end up there. Dkt. 278 ¶ 147. This is an insufficient basis
for establishing specific jurisdiction, which requires purposeful direction. See Schwarzenegger, 374
F.3d at 802. “The placement of a product into the stream of commerce, without more, is not an act
purposefully directed toward a forum state.” Holland Am. Line Inc., 485 F.3d at 459 (citing Asahi Metal
Indus., 480 U.S. at 112).

The CAC includes one material allegation connecting STMicro Inc. to California: “STMicro’s website
lists 12 offices in the United States through which it conducts sales and other business, including one in
Santa Clara, California.” Dkt. 278 ¶ 177. The STMicro Defendants do not deny this. Instead, they argue
that “Plaintiffs do not explain how [STMicro’s California-based offices or activities] have anything to do
with their claims here.” Dkt. 280 at 23.

Plaintiffs have not established that there is a relationship between their claims and the location of an
STMicro Inc. office in California. It is alleged that STMicro Inc. manufactured the DS84 ASIC, Dkt. 278
¶ 146, in Michigan. There is no parallel allegation about conduct in California that could be linked to
Plaintiffs’ alleged injuries.

A review of the current allegations does not show that it is plausible that STMicro Inc.’s limited
California-based activities have any relationship to Plaintiffs’ alleged injuries. The CAC alleges that the
DS84 ASIC is a “component part of the ACU” that STMicro Inc. “custom-manufactured . . . for ZF
TRW.” Id. ¶ 9. ZF TRW is alleged to have been the only manufacturer to use the DS84 ASIC. Id.
Plaintiffs assert that “ZF” has “state[d] that it purchased the DS84 ASICs from STMicro’s Michigan
office.” Dkt. 284 at 27 (citing Dkt. 209-4 ¶ 4). ZF Active Safety and Electronics US then allegedly used
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the DS84 ASIC to make ACUs for installation in the Class Vehicles, Goodman Decl., Dkt. 209-4 ¶ 6.
These ACUs were “designed . . . in Michigan and manufactured . . . in Illinois.” Id. ¶ 5. There is no
reference to California, or conduct here, in this discussion of those causal events that allegedly resulted
in the DS84 ASIC being installed in the Defective ACUs. Therefore, it is reasonable to conclude that
STMicro Inc.’s California-based activities, to the extent they constitute purposeful direction, are not
related to Plaintiffs’ claims.

Because Plaintiffs have not established general or specific jurisdiction over STMicro Inc. in California or
Florida, there is no personal jurisdiction over STMicro with respect to the claims against it that were
filed initially in this District or the Southern District of Florida and subsequently transferred to this MDL.
See JUUL Labs, 497 F. Supp. 3d at 674 (citing In re Dynamic Random Access Memory (Dram), 2005
WL 2988715, at *2). For that reason, the STMicro Motion is GRANTED WITHOUT PREJUDICE, i.e.,
with leave to amend, as to STMicro Inc., but only with respect to the claims of the following plaintiffs:
Swanson, Bowens, Dellatorre, DeRouen, Chaiken, Maurilus, Nelson, Roberts, King, Fishon, Green,
McPherson, Sanchez, Fuller, Ogorek, Burns, Jones, Altier, Accetta, Hernandez, Hines, Senti, Choc,
Fuller and McNeely.

With respect to the claims that initially were filed in the Eastern District of Michigan, Plaintiffs have
established purposeful direction by STMicro Inc. toward Michigan. The CAC alleges that STMicro Inc.
“has a permanent office in Livonia, Michigan,” and that this office is listed “as the address for the
manufacturer of the DS84 ASIC contained in the ZF TRW ACUs at issue in this litigation.” Dkt. 278 ¶
40; see also Dkt. 284 at 25. It also alleges that “STMicro custom-manufactured the DS84 ASIC for ZF
TRW,” and that component is “the brain of the ZF TRW ACUs at issue in this litigation.” Dkt. 278 ¶ 9.

The STMicro Defendants have not contested that STMicro Inc. manufactured the DS84 ASIC in
Michigan. See Dkt. 280 at 23; Dkt. 301 at 12. The STMicro Defendants did not present any evidence on
behalf of STMicro Inc., but only did so for STMicroelectronics N.V. and STMicroelectronics International
N.V. See generally Declaration of Denise Tuinfort in Support of the STMicro Motion (“Tuinfort Decl.”),
Dkt. 241-1; Declaration of Claudio Elia in Support of the STMicro Motion (“Elia Decl.”), Dkt. 241-2.

Establishing a permanent office in a state, and manufacturing a product there, constitutes purposeful
direction for the purpose of establishing specific jurisdiction in that state. “The placement of a product
into the stream of commerce, without more, is not an act purposefully directed toward a forum state.”
Holland Am. Line Co., 485 F.3d at 459 (citing Asahi Metal Indus., 480 U.S. at 112). However, by
establishing that STMicro Inc. had a permanent office in Michigan and manufactured a product there,
Plaintiffs have shown “more” than the mere “placement of a product into the stream of commerce.”
Asahi, 480 U.S. at 112. Plaintiffs’ allegations of STMicro Inc.’s activities in Michigan satisfy the required
showing of the kind of “[a]dditional conduct” that “indicate[s] an intent or purpose to serve the market”
there. Id.

Plaintiffs also have satisfied the relatedness requirement. After Ford Motor Co., establishing but-for
causation is no longer strictly necessary. However, Plaintiffs here have done so. The CAC alleges that
the DS84 ASIC is an integral part of what makes the subject ZF TRW ACUs defective, and that “ZF
TRW ACUs with the DS84 ASIC” are “much more vulnerable to bursts of electricity than are other
ACUs, including other ZF TRW ACUs that do not include the DS84 ASIC.” Dkt. 278 ¶ 10; see also id. ¶
146. Therefore, the Alleged Defect, which is advanced as the cause of Plaintiffs’ claimed injuries, would
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not exist but for STMicro Inc.’s manufacturing of the DS84 ASIC, which is alleged to have been
performed for ZF TRW, in Michigan. For these reasons, Plaintiffs have established that STMicro Inc.’s
Michigan-related contacts are sufficiently tied to Plaintiffs’ claims.

Because Plaintiffs have satisfied “both of the first two prongs” of the minimum contacts test, the burden
shifted to Defendants “ ‘to present a compelling case’ that the exercise of jurisdiction would not be
reasonable.” Schwarzenegger, 374 F.3d at 802 (citing Burger King, 471 U.S. at 476-78). Defendants
have not presented any evidence or arguments to support such a position as to the reasonableness of
exercising specific jurisdiction over STMicro Inc.

The seven-factor balancing test for evaluating reasonableness weighs in favor of establishing specific
jurisdiction over STMicro Inc. Its “purposeful interjection” in Michigan is substantial. Freestream Aircraft,
905 F.3d 597, 607 (9th Cir. 2018) (citing Paccar Int’l, 757 F.2d at 1064-65). STMicro Inc. has a
permanent presence there. Cf. Falco, 96 F. Supp. 3d at 1060 (“[T]he purposeful interjection . . . does
not appear to be particularly strong” where the defendant “does not, for example, have offices or other
physical presence in the forum state.”). The burden on STMicro Inc. of defending against litigation in
Michigan is minimal. STMicro has a permanent office and some operations there. Michigan has a
significant interest in adjudicating a dispute arising from an alleged defect in a product that is
manufactured there. See Burger King, 471 U.S. at 473 (“A State generally has a ‘manifest interest’ in
providing its residents with a convenient forum for redressing injuries inflicted by out-of-state actors.”
(citing McGee v. International Life Insurance Co., 78 S.Ct. 199, 201 (1957))). Adjudicating this dispute
in Michigan, where witnesses and evidence are likely to be located, would be efficient. See Harris
Rutsky, 328 F.3d at 1133 (to “consider which forum could most efficiently resolve [a] dispute,” courts
“focus on the location of the evidence and witnesses.” (citing Caruth, 59 F.3d at 129)).

Considering all of these factors, it would not be unreasonable to exercise jurisdiction over STMicro Inc.
Because the other two elements of the minimum contacts test also weigh in favor of establishing
personal jurisdiction, specific jurisdiction exists over Plaintiffs’ claims against STMicro Inc. in Michigan.
Therefore, there is specific jurisdiction over those claims in this proceeding.

For the foregoing reasons, the STMicro Motion is DENIED as to STMicro Inc. with respect to the claims
of the following plaintiffs: Adams, Birk-LaBarge, Collins, Reckles, Miller, Gonzalez, Sutterfield, Hunt,
McMurray, Meyer, Ronan, Cooks, DeMoranville, Samouris, Damens, Dean, Colbert, Robinson,
Sancomb, Davis, Angel, Graziano, VanHouten, Nearing, Huitzil, Namakkal, Rundzio, Kintzel,
Gerischer, Keister, Laveaux, Gales and Ecklor.

The rulings as to personal jurisdiction over STMicro Inc. are summarized in the following table:

                                             Claims Against STMicro Inc.
                                     Where were
                                                   Have Plaintiffs         Have Plaintiffs      Disposition of the
                                     these
                                                   demonstrated the        demonstrated the     STMicro Motion as to
 Plaintiff         Class             claims
                                                   Court has general       Court has specific   this plaintiff’s claims
                                     originally
                                                   jurisdiction?           jurisdiction?        against STMicro Inc.?
                                     filed?
                   Illinois State                                                               GRANTED WITHOUT
 Amanda Swanson                      C.D. Cal.     No                      No
                   Class                                                                        PREJUDICE


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                       Texas State                                                      GRANTED WITHOUT
 Angela Bowens                           C.D. Cal.      No            No
                       Class                                                            PREJUDICE
                       Virginia State                                                   VOLUNTARILY
 Ann Harland 19                          C.D. Cal.      N/A           N/A
                       Class                                                            DISMISSED
                       Montana State
 Barry Adams                             E.D. Mich.*    No            Yes               DENIED
                       Class
 Bobbi Jo Birk-        Minnesota
                                         E.D. Mich.*    No            Yes               DENIED
 LaBarge               State Class
                       California                                                       GRANTED WITHOUT
 Bonnie Dellatorre                       C.D. Cal.      No            No
                       State Class                                                      PREJUDICE
                       Texas State                                                      GRANTED WITHOUT
 Brent DeRouen                           C.D. Cal.      No            No
                       Class                                                            PREJUDICE
                       Florida State                                                    GRANTED WITHOUT
 Brian Chaiken                           S.D. Fla.      No            No
                       Class                                                            PREJUDICE
                       Illinois State
 Brian Collins                           E.D. Mich.*    No            Yes               DENIED
                       Class
                       Texas State
 Burton Reckles                          E.D. Mich.*    No            Yes               DENIED
                       Class
                       Indiana State
 Carl Miller                             E.D. Mich.*    No            Yes               DENIED
                       Class
                       Florida State                                                    GRANTED WITHOUT
 Carl Paul Maurilus                      S.D. Fla.      No            No
                       Class                                                            PREJUDICE
                       Minnesota                                                        GRANTED WITHOUT
 Carolyn Nelson                          C.D. Cal.      No            No
                       State Class                                                      PREJUDICE
 Constanza             North Carolina
                                         E.D. Mich.*    No            Yes               DENIED
 Gonzalez              State Class
                       Missouri State
 Dan Sutterfield                         E.D. Mich.*    No            Yes               DENIED
                       Class
                       Texas State
 Danny Hunt                              E.D. Mich.*    No            Yes               DENIED
                       Class
                       Washington                                                       GRANTED WITHOUT
 Dee Roberts                             C.D. Cal.      No            No
                       State Class                                                      PREJUDICE
                       Tennessee
 Deloras McMurray                        E.D. Mich.*    No            Yes               DENIED
                       State Class
                       South Dakota
 Desiree Meyer                           E.D. Mich.     No            Yes               DENIED
                       State Class
                       Maryland                                                         GRANTED WITHOUT
 Diana King                              C.D. Cal.      No            No
                       State Class                                                      PREJUDICE
                       California
 Donna Ronan                             E.D. Mich.*    No            Yes               DENIED
                       State Class
                       Florida State
 Dorothy Cooks                           E.D. Mich.*    No            Yes               DENIED
                       Class
                       Washington                                                       VOLUNTARILY
 Dragan Jagnjic 20                       C.D. Cal.      N/A           N/A
                       State Class                                                      DISMISSED
 Dylan                 Massachusetts
                                         E.D. Mich.*    No            Yes               DENIED
 DeMoranville          State Class
                       New York                                                         GRANTED WITHOUT
 Eric Fishon                             C.D. Cal.      No            No
                       State Class                                                      PREJUDICE
                       Texas State                                                      GRANTED WITHOUT
 Evan Green                              C.D. Cal.      No            No
                       Class                                                            PREJUDICE
 Fredericka            Florida State                                                    GRANTED WITHOUT
                                         C.D. Cal.      No            No
 McPherson             Class                                                            PREJUDICE

19   This Plaintiff voluntarily dismissed her claims. Dkt. 291.
20   This Plaintiff voluntarily dismissed his claims. Dkt. 291.
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                       Nevada State
 Gary Samouris                           E.D. Mich.    No                   Yes               DENIED
                       Class
                       California                                                             GRANTED WITHOUT
 Gaylynn Sanchez                         C.D. Cal.     No                   No
                       State Class                                                            PREJUDICE
                       New Jersey
 Gersen Damens                           E.D. Mich.*   No                   Yes               DENIED
                       State Class
                       Oklahoma
 James Dean                              E.D. Mich.*   No                   Yes               DENIED
                       State Class
                       Florida State                                                          VOLUNTARILY
 Jan Freyman 21                          C.D. Cal.     N/A                  N/A
                       Class                                                                  DISMISSED
                       Florida State
 John Colbert                            E.D. Mich.*   No                   Yes               DENIED
                       Class
                       Texas State
 John Robinson 22                        E.D. Mich.*   No                   Yes               DENIED
                       Class
                       Wisconsin
 John Sancomb                            E.D. Mich.*   No                   Yes               DENIED
                       State Class
                       Maryland                                                               GRANTED WITHOUT
 Joseph Fuller                           C.D. Cal.     No                   No
                       State Class                                                            PREJUDICE
                       Texas State
 Joy Davis                               E.D. Mich.*   No                   Yes               DENIED
                       Class
                       Indiana State                                                          GRANTED WITHOUT
 Kenneth Ogorek                          C.D. Cal.     No                   No
                       Class                                                                  PREJUDICE
                       California                                                             GRANTED WITHOUT
 Kevin Burns                             C.D. Cal.     No                   No
                       State Class                                                            PREJUDICE
                       Michigan State                                                         GRANTED WITHOUT
 Kinyata Jones                           C.D. Cal.     No                   No
                       Class                                                                  PREJUDICE
                       Pennsylvania
 Larae Angel                             E.D. Mich.*   No                   Yes               DENIED
                       State Class
 Lawrence              Florida State
                                         E.D. Mich.*   No                   Yes               DENIED
 Graziano              Class
                       California
 Lore VanHouten                          E.D. Mich.*   No                   Yes               DENIED
                       State Class
                       California                                                             GRANTED WITHOUT
 Mark Altier                             C.D. Cal.     No                   No
                       State Class                                                            PREJUDICE
 Maximillian           Florida State                                                          GRANTED WITHOUT
                                         C.D. Cal.     No                   No
 Accetta               Class                                                                  PREJUDICE
 Michael               California                                                             GRANTED WITHOUT
                                         C.D. Cal.     No                   No
 Hernandez             State Class                                                            PREJUDICE
                       South Carolina                                                         GRANTED WITHOUT
 Michael Hines                           S.D. Fla.     No                   No
                       State Class                                                            PREJUDICE
                       Colorado State
 Michael Nearing                         E.D. Mich.*   No                   Yes               DENIED
                       Class
                       Florida State                                                          GRANTED WITHOUT
 Moises Senti                            C.D. Cal.     No                   No
                       Class                                                                  PREJUDICE
                       Connecticut
 Paul Huitzil                            E.D. Mich.*   No                   Yes               DENIED
                       State Class
 Ravichandran          New York
                                         E.D. Mich.*   No                   Yes               DENIED
 Namakkal              State Class
 Remigiusz             California
                                         E.D. Mich.*   No                   Yes               DENIED
 Rundzio               State Class
                       Pennsylvania
 Richard Kintzel                         E.D. Mich.*   No                   Yes               DENIED
                       State Class

21   This Plaintiff voluntarily dismissed his claims. Dkt. 333.
22   This Plaintiff voluntarily dismissed his claims as to the FCA Defendants. Dkt. 228.
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                                        CENTRAL DISTRICT OF CALIFORNIA


                                               CIVIL MINUTES – GENERAL

 Case No.         LA ML19-02905 JAK (FFMx)                                                     Date     February 9, 2022
 Title            In Re: ZF-TRW Airbag Control Units Products Liability Litigation

                       Illinois State
 Ricky Gerischer                           E.D. Mich.*         No                   Yes                    DENIED
                       Class
                       Florida State                                                                       GRANTED WITHOUT
 Sam Choc                                  S.D. Fla.           No                   No
                       Class                                                                               PREJUDICE
                       Minnesota
 Steve Keister                             E.D. Mich.          No                   Yes                    DENIED
                       State Class
                       California
 Steve Laveaux                             E.D. Mich.*         No                   Yes                    DENIED
                       State Class
                       Florida State
 Tatiana Gales                             E.D. Mich.*         No                   Yes                    DENIED
                       Class
                       California
 Tiffany Ecklor                            E.D. Mich.*         No                   Yes                    DENIED
                       State Class
                       Maryland                                                                            GRANTED WITHOUT
 Tina Fuller                               C.D. Cal.           No                   No
                       State Class                                                                         PREJUDICE
                       North Carolina                                                                      GRANTED WITHOUT
 Tonya McNeely                             C.D. Cal.           No                   No
                       State Class                                                                         PREJUDICE

* The asterisk next to “E.D. Mich.” Denotes a “direct-file” plaintiff who initially brought his or her claims as part of the CAC but
later filed them separately in the Eastern District of Michigan, from which they then were transferred to the MDL. See Dkt. 208-
4; Dkt. 301 at 9-10.

                                     (2)       STMicroelectronics N.V. and STMicroelectronics International
                                               N.V.

Plaintiffs assert that there is specific personal jurisdiction over STMicroelectronics N.V. and
STMicroelectronics International N.V. with respect to Plaintiffs’ RICO claims against those parties, citing
18 U.S.C. § 1965(b) and Rule 4(k)(2). Dkt. 284 at 26, 28-29. In the alternative, they contend that there
is specific personal jurisdiction over these Defendants under the traditional minimum contacts analysis.
Id. at 26, 29-31.

For the reasons stated earlier, Plaintiffs have failed to establish personal jurisdiction under section
1965(b) because they have not sufficiently alleged a single nationwide conspiracy. See
Butcher’s Union, 788 F.2d at 539.

Whether there is specific personal jurisdiction under Rule 4(k)(2) or through application of the traditional
minimum contacts analysis depends on whether Plaintiffs have shown that these Defendants
purposefully directed its activities toward either: (i) the United States, which is the relevant forum for
Rule 4(k)(2) analysis; or (ii) Michigan, Florida and/or California, which are the relevant fora for
traditional, respective minimum contacts analyses.

                                               (a)       Purposeful Direction Under Rule 4(k)(2)

                                                         (i)        Whether the Conduct of STMicro Inc. Can Be
                                                                    Imputed to STMicro N.V. and STMicro International
                                                                    N.V. Under an Agency Theory


Plaintiffs argue that STMicro Inc.’s contacts with the United States can be imputed to STMicro N.V. and
STMicro International N.V. because those entities “exert substantial control” over STMicro Inc. Dkt. 284
at 29-30; see Dkt. 282 at 15-16.
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Plaintiffs have not made sufficient allegations to show that that STMicro N.V. and STMicro International
N.V. substantially control STMicro Inc. Those allegations are far less detailed than those made by
Plaintiffs as to substantial control by TMC. Because the allegations as to TMC have been found to be
insufficient as to the other, related parties, those as to STMicro N.V. and STMicro International N.V.
necessarily fail to show substantial control as to STMicro Inc. Compare Dkt. 284 at 29-31 with Dkt. 289
at 31-32. Therefore, the conduct of STMicro Inc. cannot be imputed to STMicro N.V. and STMicro
International N.V. in assessing personal jurisdiction.

                                              (ii)   Whether STMicro N.V. and STMicro International
                                                     N.V Purposefully Directed Their Own Conduct
                                                     Toward the United States

Plaintiffs have not alleged any facts to show that STMicro N.V. and STMicro International N.V.
purposefully directed their own activities toward the United States. The CAC alleges that
“STMicroelectronics N.V., either directly or through its wholly owned subsidiaries, designs, develops,
manufactures, markets, and sells a broad range of products, including ASICs, throughout the world,
including in the United States, this District, and Transferor Jurisdictions.” Dkt. 278 ¶ 171. This
allegation, if deemed true, establishes that STMicro N.V. places its products into the stream of
commerce “with the expectation that they will be purchased by consumers in the” United States. World-
Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 298 (1980). However, “[t]he placement of a product
into the stream of commerce, without more, is not an act of the defendant purposefully directed toward
the forum State.” Asahi, 480 U.S. at 112. Moreover, STMicro N.V. disputes this allegation, and claims
that it “does not make, market, distribute, or sell products or services in the United States of America.”
Tuinfort Decl. ¶ 5.

The CAC also alleges that “STMicro[] N.V.’s 2019 Annual Report states that it had 761 employees in
the United States in 2019.” Dkt. 178 ¶ 178. STMicro N.V. nevertheless contends that it “has no
employees in California, Michigan, Florida, New York, Washington, Alabama, or anywhere else in the
United States.” Tuinfort Decl., Dkt. 241-1 ¶ 11. As a court “may not assume the truth of allegations in a
pleading which are contradicted by affidavit,” Mavrix Photo, 647 F.3d at 1223, Plaintiffs’ allegation that
STMicro N.V. has employees in the United States does not establish purposeful direction.

Plaintiffs have not made sufficient allegations to establish that STMicro N.V. or STMicro International
N.V. purposefully directed its conduct toward the United States.

                              *                      *                      *

For the foregoing reasons, the STMicro Motion is GRANTED WITHOUT PREJUDICE, i.e., with leave
to amend, as to STMicro N.V. and STMicro International N.V.




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         B.    Fed. R. Civ. P. 12(b)(6) Motion

               1.      Legal Standards

                       a)      Failure to State a Claim

Fed. R. Civ. P. 8(a) provides that a “pleading that states a claim for relief must contain . . . a short and
plain statement of the claim showing that the pleader is entitled to relief.” The pleading that states a
claim must state facts sufficient to show that a claim for relief is plausible on its face. See Bell Atl. Corp.
v. Twombly, 550 U.S. 544, 570 (2007). The complaint need not include detailed factual allegations but
must provide more than a “formulaic recitation of the elements of a cause of action.” Id. at 555. “The
plausibility standard is not akin to a ‘probability requirement,’ but it asks for more than a sheer
possibility that a defendant has acted unlawfully. Where a complaint pleads facts that are ‘merely
consistent with’ a defendant’s liability, it stops short of the line between possibility and plausibility of
entitlement to relief.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Twombly, 550 U.S. at 557)
(internal quotation marks and citations omitted).

Fed. R. Civ. P. 12(b)(6) permits a party to move to dismiss a cause of action that fails to state a claim. It
is appropriate to grant such a motion only where the complaint lacks a cognizable legal theory or
sufficient facts to support one. See Mendiondo v. Centinela Hosp. Med. Ctr., 521 F.3d 1097, 1104 (9th
Cir. 2008) (citing Balistreri v. Pacifica Police Dep’t., 901 F.2d 696, 699 (9th Cir. 1900). In considering a
motion to dismiss, the allegations in the challenged complaint are deemed true and must be construed
in the light most favorable to the non-moving party. See Cahill v. Liberty Mut. Ins. Co., 80 F.3d 336,
337-38 (9th Cir. 1996). However, a court need not “accept as true allegations that contradict matters
properly subject to judicial notice or by exhibit. Nor is the court required to accept as true allegations
that are merely conclusory, unwarranted deductions of fact, or unreasonable inferences.” In re Gilead
Sciences Sec. Litig., 536 F.3d 1049, 1055 (9th Cir. 2008) (citing Sprewell v. Golden State Warriors, 266
F.3d 979, 988 (9th Cir. 2001)).

If a motion to dismiss is granted, the court should “freely give leave [to amend] when justice so
requires.” Fed. R. Civ. P. 15(a)(2). Although this policy is to be applied “with extreme liberality,” Owens
v. Kaiser Found. Health Plan, Inc., 244 F.3d 708, 712 (9th Cir. 2001) (quoting Morongo Band of Mission
Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir. 1900), allowing leave to amend is inappropriate in
circumstances where litigants have failed to cure previously identified deficiencies, or where an
amendment would be futile. See Foman v. Davis, 371 U.S. 178, 182 (1962); Allen v. City of Beverly
Hills, 911 F.2d 367, 374 (9th Cir. 1990).

                       b)      Applicable State and Federal Law

When a case is transferred under 28 U.S.C. § 1404(a), “the transferee court must follow the choice-of-
law rules of the transferor court.” Muldoon v. Tropitone Furniture Co., 1 F.3d 964, 965 (9th Cir. 1993)
(citing Van Dusen v. Barrack, 376 U.S. 612 (1964)); see § 9:18. Choice of law in the transferee court,
Multidistrict Lit Man § 9:18 (“The [Judicial] Panel [on Multidistrict Litigation] has recognized that the
transferee court will be obligated to apply the law the transferor forum would apply.”).



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                2.      Application

                        a)      RICO Claims

Plaintiffs bring six claims alleging violations of RICO, 18 U.S.C. §§ 1961 et seq. Dkt. 278 ¶¶ 566-699.
These “[n]ationwide” RICO claims are as follows:

     •   Nationwide Count 1: Violation of RICO, on behalf of the Nationwide Class against the ZF TRW
         and STMicro Defendants;
     •   Nationwide Count 2: Violation of RICO, on behalf of the “Hyundai-Kia Subclass” against the ZF
         TRW, STMicro and Hyundai-Kia Defendants;
     •   Nationwide Count 3: Violation of RICO, on behalf of the “FCA Subclass” against the ZF TRW,
         STMicro and FCA Defendants;
     •   Nationwide Count 4: Violation of RICO, on behalf of the “Toyota Subclass” against the ZF TRW,
         STMicro and Toyota Defendants;
     •   Nationwide Count 5: Violation of RICO, on behalf of the “Honda Class” against the ZF TRW,
         STMicro and Honda Defendants; and
     •   Nationwide Count 6: Violation of RICO, on behalf of the “Mitsubishi Class” against the ZF TRW,
         STMicro and Mitsubishi Defendants.

Id. Defendants have moved to dismiss all six counts for failure to state a claim. See Dkt. 208.

Plaintiffs allege that Defendants have violated RICO in violation of 18 U.S.C. § 1962(c) and (d).
Subsection (b) provides that it is

         unlawful for any person employed by or associated with any enterprise engaged in, or the
         activities of which affect, interstate or foreign commerce, to conduct or participate, directly or
         indirectly, in the conduct of such enterprise’s affairs through a pattern of racketeering activity or
         collection of unlawful debt.

18 U.S.C. § 1962(c). Subsection (d) provides that it “unlawful for any person to conspire to violate any
of the provisions of subsection (a), (b), or (c) of this section.” Id. § 1962(d).

To state a RICO claim under 18 U.S.C. § 1962(c), a plaintiff must plausibly allege “(1) conduct (2) of an
enterprise (3) through a pattern (4) of racketeering activity.” Sedima v. Imrex Co., 473 U.S. 479, 496
(1985). “In addition, the conduct must be (5) the proximate cause of harm to the victim.” Eclectic Props.
E., Ltd. Liab. Co. v. Marcus & Millichap Co., 751 F.3d 990, 997 (9th Cir. 2014) (citing Sedima, 473 U.S.
at 496-97). RICO defines an “enterprise” as “any individual, partnership, corporation, association, or
other legal entity, and any union or group of individuals associated in fact although not a legal entity.”
Id. § 1961(4). “Racketeering activity” is any of the predicate acts listed in 18 U.S.C. § 1961(1). Id. §
1961(1). 23

23  When considering federal claims, a transferee court in the Ninth Circuit is bound by the Circuit’s precedent.
Newton v. Thomason, 22 F.3d 1455, 1460 (9th Cir. 1994) (citing In re Korean Air Lines Disaster of Sept. 1, 1983,
829 F.2d 1171, 1175 (D.C. Cir. 1987), aff'd sub nom. Chan v. Korean Air Lines, Ltd., 490 U.S. 122 (1989)); see
also Choice of law in the transferee court, Multidistrict Lit Man § 9:18 (“For federal question cases, the courts
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A “pattern” “requires the commission of at least two acts of racketeering activity” within a ten-year
period, id. § 1961(5), although “[t]he Supreme Court has concluded that Congress had a ‘fairly flexible
concept of a pattern in mind,’ ” United States v. Freeman, 6 F.3d 586, 596 (9th Cir. 1993) (quoting H.J.,
Inc. v. Northwestern Bell Tel. Co., 492 U.S. 229, 239 (1989)). To allege a pattern, a plaintiff “must show
that the racketeering predicates are related, and that they amount to or pose an [implicit or explicit]
threat of continued criminal activity.” H.J., 492 U.S. at 239 (emphasis in original).

RICO should be “read broadly” and “liberally construed.” Sedima, 473 U.S. at 498 (internal quotation
marks omitted) (citing United States v. Turkette, 452 U.S. 576, 586-87 (1981))

                                  (1)     Enterprise

The RICO definition of “enterprise” includes two types of associations: “The first encompasses
organizations such as corporations and partnerships, and other ‘legal entities.’ The second covers ‘any
union or group of individuals associated in fact although not a legal entity.’ ” United States v. Turkette,
452 U.S. 576, 581-82 (1981) (citing 18 U.S.C. § 1961(4)). Plaintiffs claim that Defendants participated
in an association-in-fact enterprise. To plead such an enterprise, Plaintiffs must present facts sufficient
to satisfy the Turkette requirements: (a) a common purpose for (b) an ongoing organization (c) which
functions as a continuing unit. Odom v. Microsoft Corp., 486 F.3d 541, 552 (9th Cir. 2007) (citing
Turkette, 452 U.S. at 583); see also Boyle v. United States, 556 U.S. 938, 946, (2009). “[T]he definition
of a RICO enterprise has ‘wide reach’ and is to be ‘liberally construed to effectuate its remedial
purposes.’ ” United States v. Christensen, 828 F.3d 763, 780 (9th Cir. 2015) (citing Boyle, 556 U.S.
938, 944-45 (2009)).

Defendants argue that Plaintiffs’ allegations fail to show that Defendants associated for a common
purpose. Dkt. 208 at 30, Dkt. 299 at 12-13.

                                          (a)      Common Purpose

Plaintiffs allege six different association-in-fact RICO enterprises (the “Enterprises”):

    1.   the “ACU Enterprise,” which consists of ZF and STMicro (Dkt. 278 ¶¶ 509-10);
    2.   the “Hyundai-Kia Enterprise,” which consists of ZF, STMicro, Hyundai and Kia (id. ¶ 590);
    3.   the “FCA Enterprise,” which consists of ZF, STMicro and FCA (id. ¶ 612);
    4.   the “Toyota Enterprise,” which consists of ZF, STMicro and Toyota (id. ¶ 634);
    5.   the “Honda Enterprise,” which consists of ZF, STMicro and Honda (id. ¶ 657); and

should give close consideration to the transferor court's law, but that law is not binding on the transferee court; in
that instance, the transferee is bound only by the law of the transferee circuit and the Supreme Court.” (citing
Korean Air Lines Disaster, 829 F.2d at 1175)); In re Live Concert Antitrust Litig., 247 F.R.D. 98, 104 (C.D. Cal.
2007) (“Following the D.C. Circuit's decision [in Korean Air Lines Disaster] circuit and district courts, including the
Ninth Circuit, have uniformly applied the law of the transferee circuit in MDL proceedings involving federal law. . . .
The Court follows the approach mandated by Newton and Korean Air Lines Disaster. Therefore, the Court will
give the precedent of transferor circuits ‘close consideration,’ but the Court is only bound by Ninth Circuit and
Supreme Court precedent.” (citing, inter alia, Newton, 22 F.3d at 1460)).

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   6. the “Mitsubishi Enterprise,” which consists of ZF, STMicro and Mitsubishi (id. ¶ 680).

Plaintiffs have pleaded sufficient facts to allege that the constituent entities of each of the Enterprises
“have associated for ‘a common purpose of engaging in a course of conduct.’ ” Odom, 486 F.3d at 552
(citing Turkette, 452 U.S. at 583).

The CAC alleges that ZF and STMicro, acting as the ACU Enterprise, had the common purpose of
“mislead[ing] consumers and NHTSA concerning the existence, nature, and scope of the defect with ZF
TRW ACU’s installed in the Class Vehicles,” in order to “maximize their revenue by selling as many
defective ZF TRW ACUs . . . to Vehicle Manufacturer Defendants as possible.” Dkt. 278 ¶ 569. It further
alleges that ZF and STMicro also sought to “avoid[] or limit[] the substantial costs and reputational
harms associated with breaching warranties to the Vehicle Manufacturer Defendants” and avoid
“having to assist with recalling the Class Vehicles.” Id.

Similarly, the CAC alleges that each of the other Enterprises shared the common purpose of
“mislead[ing] consumers and NHTSA concerning the existence, nature, and scope of the defect with ZF
TRW ACUs installed in the [respective Vehicle Manufacturer Defendant’s] Class Vehicles.” See id. ¶¶
569, 590-91, 612-13, 634-35, 657-58, 680-81. They allegedly did so in order to “maximize[] their
revenue by selling as many [defective vehicles] as possible and avoiding or limiting the substantial
costs associated with recalling the [defective vehicles] and remedying the defective ZF TRW ACUs.” Id.
¶ 569.

The CAC includes several allegations that the common purpose of each Enterprise included avoiding or
minimizing recalls of the corresponding Class Vehicles by misleading consumers and NHTSA about the
Defective ACUs. For example, as to the ACU Enterprise, the CAC alleges that ZF shared with STMicro
information about “specific field incidents where ACUs in Class Vehicles had failed due to EOS,” and
similarly that STMicro “consult[ed] with [ZF] concerning observed evidence of EOS in Class Vehicles.”
Id. ¶¶ 574-75; see also id. ¶ 299. The CAC further alleges that both ZF and STMicro participated in
decisions to add protective components to some of the Class Vehicles with ACUs containing the DS84
ASIC. Dkt. 278 ¶ 585; but see id. ¶¶ 328-29 (omitting STM in describing a 2012 decision to change the
Hyundai-Kia Class Vehicles). It is also alleged that ZF and STMicro “[c]onceal[ed] that the Class
Vehicles were equipped with defective ZF TRW ACUs that were vulnerable to EOS,” and “[c]onceal[ed]
information about the existence, nature, and scope of the defect from NHTSA and the public.” Dkt. 278
¶¶ 574-75. Finally, the CAC alleges that, “[w]hen forced to acknowledge serious problems with the
ACUs . . . , [ZF] and [STMicro] . . . agreed to obscure and minimize the defect by misleadingly blaming
other parts, such as writing in the front-end of the vehicle,” when “[i]n reality, they knew the defective ZF
TRW ACUs were uniquely vulnerable to EOS.” Id. ¶ 571. These allegations support a reasonable
inference that ZF and STMicro shared a common purpose of misleading consumers and NHTSA as to
the existence of a defect in the ACUs.

As to the Hyundai-Kia Enterprise, the CAC alleges that ZF reported to Hyundai and Kia “observations
consistent with EOS” following a number of crashes between 2011 and 2017. Dkt. 278 ¶ 607. ZF,
Hyundai and Kia allegedly communicated on May 17, 2012 “regarding the ongoing investigation of field
events with EOS.” Id. The CAC further alleges that, in July and August of 2012, ZF, STMicro, Hyundai
and Kia made a “decision . . . to test and add circuit protection to some, but not all, of the Hyundai and
Kia Class Vehicles with ZF TRW ACUs containing the DS84 ASIC.” Id. Similarly, as to the FCA
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Enterprise, the CAC alleges that ZF “communicat[ed] with FCA regarding specific field incidents where
ACUs in FCA Class Vehicles had failed due to EOS.” Id. ¶ 618. It further alleges that, in 2014, ZF,
STMicro and FCA made a “decision . . . to add circuit protection to some, but not all, the FCA Class
Vehicles with ZF TRW ACUs containing the DS84 ASIC.” Id. ¶ 629. Similar allegations are made as to
each of the other Enterprises. See id. ¶¶ 663, 675 (Honda Enterprise); 686, 697 (Mitsubishi Enterprise).
These allegations sufficiently state a common purpose among each Enterprise to mislead consumers
and NHTSA as to the existence of the Alleged Defect.

Defendants argue that the various relationships among ZF, STMicro and the Vehicle Manufacturer
Defendants were formed “in the course of their ordinary business operations” and, therefore, do not
satisfy the common purpose requirement. Dkt. 208 at 30. This argument is unpersuasive. That a group
of entities shares a legitimate business purpose “does not shield them from RICO liability” when such a
purpose is pursued through illegitimate means. In re Chrysler, 295 F. Supp. 3d at at 980; see Odom,
486 F.3d at 552.

In Odom, Microsoft and Best Buy entered into an agreement pursuant to which Microsoft invested in
Best Buy and promoted Best Buy’s products on Microsoft’s MSN platform; in return, Best Buy promoted
Microsoft products in its stores and advertising. Odom, 486 F.3d at 543. They allegedly formed this
agreement in furtherance of “the common purpose of increasing the number of people using Microsoft's
Internet Service, and doing so by fraudulent means.” Id. at 552. As to their fraudulent means, the
complaint alleged that, pursuant to their agreement, “Best Buy employees distributed different Microsoft
compact discs (“Trial CDs”)” that allowed Best Buy customers to enroll in a free trial of Microsoft’s MSN
service. Id. at 543. Without the knowledge of each customer and without his or her permission, Best
Buy employees would send his or her debit or credit card information to Microsoft, which would create
an MSN account for that customer and start billing him or her for an MSN subscription if the account
was not canceled before the free trial period expired. Id. Odom found that, although the agreement
between Microsoft and Best Buy did not itself have fraudulent purposes, it was advanced “by fraudulent
means.” Id. This was sufficient to satisfy the common purpose requirement and to state a RICO claim.
Id.

It is alleged that ZF, STMicro and each of the Vehicle Manufacturer Defendants furthered their common
purpose through fraudulent means. The CAC alleges that Defendants made several false or misleading
statements to NHTSA and consumers. See, e.g., Dkt. 278 ¶¶ 365-79, 602 (Hyundai-Kia Defendants);
410-17, 420, 624 (FCA Defendants); 461-70, 647 (Toyota Defendants); 498-510, 670 (Honda
Defendants); 527-35, 692 (Mitsubishi Defendants); 574(d)-(e), 575(c)-(d), 580 (ZF and STM
Defendants). Under Odom, such a showing of a legitimate common purpose advanced by illegitimate
means satisfies the common purpose requirement of RICO. Cf. Bias v. Wells Fargo & Co., 942 F.
Supp. 2d 915, 941 (N.D. Cal. 2013) (plaintiffs satisfied the common purpose requirement by alleging
that corporate entities’ purpose was to “limit costs and maximize profits through” fraudulent means).
Plaintiffs have satisfied this requirement.

                              (2)    Racketeering Activity

“A RICO claim requires ‘racketeering activity (known as predicate acts).’ ” Eller v. EquiTrust Life Ins.
Co., 778 F.3d 1089, 1092 (9th Cir. 2015) (citing Living Designs, Inc. v. E.I. Dupont de Nemours & Co.,
431 F.3d 353, 361 (9th Cir. 2005)). The racketeering activities alleged by Plaintiffs are mail fraud and
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wire fraud.

“ ‘Racketeering activity’ is defined in 18 U.S.C. § 1961(1)(B) as including any act ‘indictable’ under
certain enumerated federal criminal statutes.” Schreiber Distrib. Co. v. Serv-Well Furniture Co., 806
F.2d 1393, 1399 (9th Cir. 1986). These “includ[e] 18 U.S.C. § 1341, which makes mail fraud a criminal
offense, and 18 U.S.C. § 1343, which makes wire fraud a crime.” Id.; see also In re Chrysler, 295 F.
Supp. 3d at 972 (“Mail and wire fraud are predicate acts that may constitute ‘racketeering activity.’ ”
(citing 18 U.S.C. § 1961)).

To allege mail or wire fraud, it is necessary to show (1) “a scheme or artifice to defraud,” (2) the use of
the United States mails or the United States wires, depending on whether mail or wire fraud is alleged,
and (3) “the specific intent to deceive or defraud.” Schreiber, 806 F.2d at 1399-1400 (citations omitted).
The specific intent to defraud “ ‘may be inferred from a defendant's statements and conduct.’ ” Eclectic
Props., 751 F.3d at 997 (citing United States v. Peters, 962 F.2d 1410, 1414 (9th Cir. 1992)). “In the
absence of direct evidence of intent, the party asserting fraud must first prove ‘the existence of a
scheme which was reasonably calculated to deceive persons of ordinary prudence and
comprehension,’ and then, ‘by examining the scheme itself’ the court may infer a defendant's specific
intent to defraud.” Id. (citing United States v. Green, 745 F.2d 1205, 1207 (9th Cir. 1984)).

Allegations of mail or wire fraud, including those made in support of a civil RICO claim, must satisfy the
requirement of Rule 9(b) that the plaintiff “state with particularity the circumstances constituting fraud.”
Fed. R. Civ. P. 9(b); see Lancaster Cmty. Hosp. v. Antelope Valley Hosp. Dist., 940 F.2d 397, 405 (9th
Cir. 1991) (“Federal Rule of Civil Procedure 9(b) requires a pleader of fraud to detail with particularity
the time, place, and manner of each act of fraud, plus the role of each defendant in each scheme. The
Ninth Circuit has repeatedly insisted that this rule be followed in RICO actions alleging the predicate act
of mail fraud.” (internal citation omitted)); Edwards v. Marin Park, Inc., 356 F.3d 1058, 1066 (9th Cir.
2004) (citing Alan Neuman Prods., Inc. v. Albright, 862 F.2d 1388, 1392 (9th Cir. 1989)). However, the
particularity requirement does not apply to allegations of fraudulent intent, which only must be “alleged
generally.” Eclectic Props., 751 F.3d at 995 n.5. To be pleaded with particularity, allegations of fraud
must “be specific enough to give defendants notice of the particular misconduct . . . so that they can
defend against the charge and not just deny that they have done anything wrong.” Vess v. Ciba-Geigy
Corp. USA, 317 F.3d 1097, 1106 (9th Cir. 2003) (citation and quotation marks omitted). This includes
alleging “ ‘the who, what, when, where, and how’ of the misconduct charged.” Id. (citation omitted). In
addition, allegations of fraud made against multiple defendants “may not simply lump together multiple
defendants without specifying the role of each defendant in the fraud.” In re Toyota Motor Corp., 785 F.
Supp. 2d 883, 919 (C.D. Cal. 2011) (citing Swartz v. KPMG LLP, 476 F.3d 756, 764 (9th Cir. 2007)).

Plaintiffs argue that they have pleaded both that Defendants made affirmative misrepresentations and
failed to satisfy their duties to disclose. Dkt. 281 at 34. “Mail and wire fraud can be premised on either a
non-disclosure or an affirmative misrepresentation.” Eller, 778 F.3d at 1092 (citing United States v.
Benny, 786 F.2d 1410, 1418 (9th Cir. 1986)); see United States v. Dowling, 739 F.2d 1445, 1448 (“[A]
scheme to defraud need not be an active misrepresentation. A nondisclosure or concealment may
serve as a basis for the fraudulent scheme.” (citations omitted)).




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                                       (a)     Nondisclosure Theory

Nondisclosure or failure to disclose can “form the basis of a scheme to defraud only when there exists
an independent duty (either fiduciary or derived from an explicit and independent statutory requirement)
and such a duty has been breached.” Id. at 1450; Eller, 778 F.3d at 1092 (“Absent an independent
duty, such as a fiduciary duty or an explicit statutory duty, failure to disclose cannot be the basis of a
[RICO] fraudulent scheme.” (quoting Cal. Architectural Bldg. Prods., Inc. v. Franciscan Ceramics, Inc.,
818 F.2d 1466, 1472 (9th Cir. 1987))); In re All Terrain Vehicle Litig., 978 F.2d 1265, 1992 WL 332105,
at *3 (“A fraudulent concealment claim must rest upon an independent fiduciary or statutory duty to
disclose owed to the party seeking relief.”).

Plaintiffs argue that Defendants have a statutory duty to disclose based on the National Traffic and
Motor Vehicle Safety Act (“Safety Act”), 49 U.S.C. §§ 30118 et seq., and 49 C.F.R. § 573.6. Dkt. 281 at
22-24. The Safety Act includes the following provision:

         Notification by manufacturer. A manufacturer of a motor vehicle or replacement equipment
         shall notify the Secretary by certified mail or electronic mail, and the owners, purchasers, and
         dealers of the vehicle or equipment as provided in section 30119(d) of this section [49 USCS §
         30119(d)], if the manufacturer—

         (1) learns the vehicle or equipment contains a defect and decides in good faith that the defect is
         related to motor vehicle safety . . . .

49 U.S.C. § 30118(c). Plaintiffs’ argument raises two issues that are unresolved in this Circuit: (1)
whether the Safety Act creates a duty of disclosure; and, if so, (2) whether the breach of such a duty
constitutes mail or wire fraud and serves as a predicate act under RICO.

The Eleventh Circuit has addressed these questions in a comprehensive manner. In Ayres v. GMC,
234 F.3d 514 (11th Cir. 2000), the plaintiffs brought a claim under Georgia’s civil RICO statute against
the manufacturers of their respective vehicles and the manufacturer of a vehicle part, which was
alleged to be defective. Id. at 516. The plaintiffs alleged that the defendants had breached their duty to
disclose the defect under the Safety Act, thereby violating the federal mail and wire fraud statutes. Id. at
521. Acts violating those statutes are also predicate acts under the Georgia RICO statute. Id. at 516.

In assessing whether Congress “intend[ed] for a violation of the Safety Act’s notification requirement to
constitute the crime of mail or wire fraud,” Ayres first noted that the Safety Act provides for “its own
extensive array of administrative remedies for a violation of its notification obligations.” Id. at 522-24.
These include the United States Secretary of Transportation or “ ‘any interested person’ ” initiating an
enforcement action. Id. at 522 (citing 49 U.S.C. § 30118(b), (e)). In addition, “the Attorney General is
authorized to bring a civil action to enforce the Safety Act and the notification obligations.” Id. (citing 49
U.S.C. §§ 30121(b), 30163). For violations, it provides for civil penalties of between $1000 and
$800,000. Id. (citing 49 U.S.C. §§ 30121(a), (b), 30165(a)). Further, Ayres found that “the Safety Act
does not make violation of the notification requirements criminal.” Id. Finally, Ayres determined that the
Safety Act does not confer a private cause of action for its enforcement. Id. Based on these
considerations, Ayers concluded:

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         Given the extensive array of administrative remedies for violation of the Safety Act, including
         specific provisions for participation by “any interested person,” and given the specific provision
         for the civil enforcement action by the Attorney General with no mention of a corresponding
         private cause of action, and given the limits on the civil penalties and lack of criminal penalties,
         and finally given the absence of a private cause of action, we conclude that Congress did not
         intend for a violation of the Safety Act’s notification requirement to constitute the crime of mail or
         wire fraud. It follows that Congress did not intend for a violation of the Safety Act to be the basis
         for a private civil RICO action, which would permit unlimited, trebled damages.

Id. at 524.

The Ninth Circuit has found that Congress did not intend for the Safety Act to create a private civil right
of action. See Handy v. Gen. Motors Corp., 518 F.2d 786, 788 (9th Cir. 1975). This supports
Defendants’ argument that violations of the Act are not RICO predicate acts. That Congress opted not
to create a private right of action to enforce the Safety Act suggests that Congress also did not intend to
allow private plaintiffs to circumvent the lack of a right of action by bringing a civil RICO claim.

For the same reasons, 49 C.F.R. § 573.6, which requires certain reporting of defects in vehicles, does
not provide an independent basis for finding a statutory duty to disclose. See Dkt. 281 at 23. That
regulation was promulgated pursuant to the Safety Act. See 49 C.F.R. Subtit. B, Ch. V, Pt. 573.

Because neither that regulation nor the Safety Act creates a duty to disclose, Plaintiffs have not
established that Defendants had a statutory duty to disclose defects in the Class Vehicles. Plaintiffs
have not shown a statutory or fiduciary duty to disclose. Therefore, the claims of mail or wire fraud by
failing to disclose the Alleged Defect are not adequate.

                                        (b)     Affirmative Misrepresentation Theory

Notwithstanding that Plaintiffs, having failed to show a statutory or fiduciary duty of disclosure, are
unable to establish predicate acts of mail or wire fraud on a nondisclosure theory, they may be able to
satisfy this RICO requirement by alleging affirmative misrepresentation. See Benny, 786 F.2d at 1418
(“Proof of an affirmative, material misrepresentation supports a conviction of mail fraud without any
additional proof of a fiduciary duty.”).

Defendants argue Plaintiffs’ allegations of affirmative misrepresentation fail for lack of particularity
under Fed. R. Civ. P. 9(b). Dkt. 208 at 40. Rule 9(b) “requires a pleader of fraud to detail with
particularity the time, place, and manner of each act of fraud, plus the role of each defendant in each
scheme.” Lancaster Cmty. Hosp., 940 F.2d at 405. As noted, this must include “ ‘the who, what, when,
where, and how’ of the misconduct charged.” Vess, 317 F.3d at 1106 (citing Cooper v. Pickett, 137
F.3d 616, 627 (9th Cir. 1997)). When a misrepresentation specifically is alleged, in addition to alleging
“[t]he time, place, and content of an alleged misrepresentation,” the plaintiffs also must allege
“circumstances indicating falseness.” Decker v. GlenFed, Inc. (In re GlenFed, Inc. Sec. Litig.), 42 F.3d
1541, 1547-48 (9th Cir. 1994) (en banc), superseded by statute on other grounds as stated in Avakian
v. Wells Fargo Bank, N.A., 827 F. App’x 765, 766 (9th Cir. 2020); see also In re Silicon Graphics, Inc.
Sec. Litig., 970 F. Supp. 746, 754 (N.D. Cal. 1997). “The statement in question must be false to be
fraudulent.” In re GlenFed Sec. Litig., 42 F.3d at 1548.
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Plaintiffs allege that Defendants made affirmative misrepresentations in three ways: (i) advertising; (ii)
in-vehicle labeling, including owner’s manuals; and (iii) statements to NHTSA. These are addressed in
this sequence.

                                               (i)     Advertisements

With respect to the advertisements by the Vehicle Manufacturer Defendants, Plaintiffs fail to plead an
affirmative misrepresentation theory of fraud with particularity. Thus, the CAC does not allege which
Defendant made which allegedly misleading statement. Nor does it adequately allege why each
statement is false.

Plaintiffs do not specify which Defendant made each allegedly misleading statement. Rule 9(b) requires
allegations of the specific details of the misrepresentation “including . . . the identities of the parties to
the misrepresentations.” Swartz, 476 F.3d at 764 (citation and internal quotation marks omitted). It
“does not allow a complaint to merely lump multiple defendants together but require[s] plaintiffs to
differentiate their allegations when suing more than one defendant . . . and inform each defendant
separately of the allegations surrounding his alleged participation in the fraud.” Id. at 764-65 (citation
and internal quotation marks omitted).

The CAC consistently refers to Defendants by their respective vehicle manufacturer names, e.g.,
“Toyota,” rather than as individual corporate entities, e.g., Toyota Motor North America Inc. The CAC
does not provide any additional specificity with respect to Defendants’ advertisements. Instead, the
CAC alleges that “Exhibits 6, 7, 10, 13, 16 and 19 to this Consolidated Complaint collect examples of
misleading statements from advertising for the Class Vehicles concerning the seatbelts, airbags, ZF
TRW ACUs, and overall vehicle safety.” Dkt. 278 ¶ 309. Although these exhibits make clear which
group of Defendants allegedly made a particular statement, they do not do so as to individual
Defendants when that is relevant. For example, Exhibit 16 is titled “Honda Class Vehicle Safety
Advertisements.” Dkt. 120-16 (“Exhibit 16 to CAC”) at 2. Listed there are many allegedly misleading
statements from press releases, vehicle brochures and advertising, all of which are attributed to
“Honda.” However, in the CAC, “Honda” refers to five separate defendants. See Dkt. 278 ¶ 61 (“The
Honda Defendants (together, ‘Honda’) are Honda Motor Co., Ltd.; American Honda Motor Co., Inc.;
Honda of America Mfg., Inc.; Honda R&D Co., Ltd.; and Honda R&D Americas, Inc.”). Plaintiffs do not
make clear which statements, if any, are attributable to Honda Motor Co., Ltd., which is “a Japanese
corporation” and “one of the largest automobile manufacturers in the world,” as opposed to its “wholly
owned U.S. subsidiary” American Honda Motor Co. Id. ¶¶ 62-63. Plaintiffs do not clarify this in the
section of the CAC discussing the “Honda Class Vehicles” or elsewhere in the CAC. See id. ¶¶ 501-
509. Although the CAC includes passing references to statements in press releases made by specific
persons, see, e.g., id. ¶¶ 506-507, these allegations do not make clear to which Defendant each
person’s statement is attributable.

It is well established that where Plaintiffs “merely lump multiple defendants together,” it does not satisfy
the specificity requirements of Fed. R. Civ. P. 9(b). Swartz, 476 F.3d at 764-65; see Zakikhan v.
Hyundai Motor Co., No. 8-20-CV-01584 SBJ, 2021 WL 4805454, at *7-8 (C.D. Cal. June 28, 2021);
Drake v. Toyota Motor Corp., No. 2:20-CV-01421 SB, 2020 WL 7040125, at *10 (C.D. Cal. Nov. 23,
2020); Volkswagen ‘Clean Diesel’, 2019 WL 4581340, at *5; In re Toyota Motor Corp. Unintended

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Acceleration Marketing (“Toyota Acceleration Marketing”), 826 F. Supp. 2d 1180, 1201 (C.D. Cal.
2011).

Toyota Acceleration Marketing is instructive. It arose from alleged defects in “vehicles designed,
manufactured, distributed, marketed sold, and leased by Defendants Toyota Motor Corporation” and
three of its subsidiaries. Id. at 1185. Plaintiffs there advanced RICO claims in the initial complaint that
were dismissed on the basis of “a number of pleading deficiencies . . . most importantly the failure to
ascribe any predicate act to a particular Defendant rather than impermissibly ascribing conduct to
‘Toyota’ or ‘Defendants’ generally.” Id. at 1201. After an amended complaint was filed, the RICO claims
were again dismissed on the same basis. Id. Although “[i]n some instances” in the amended complaint
“Plaintiffs . . . attributed certain statements to named individuals, . . . the Toyota entity upon whose
behalf such statements were made [was] not identified, and the individuals themselves [were] not
named as parties.” Id. (internal citation omitted). “Thus, although the what, when and where [were]
sometimes alleged, the ‘who’ [was] never alleged.” Id.

Similarly, in Volkswagen “Clean Diesel,” although the “allegations include[d] the ‘time, place, and
specific content of the false representations,’ ” as required by 9(b), their failure to “identify ‘the parties to
the misrepresentation’ ” was fatal to the plaintiffs’ RICO claim. 2019 WL 4581340, at *8 (citing Odom,
486 F.3d at 553). The plaintiffs’ allegation “that ‘Volkswagen’ made these representations, which is the
umbrella term used to refer to all Defendants,” was not sufficiently specific. Id.

Finally, in Zakikhan, the plaintiffs “refer[red] to HMC and HMA collectively as ‘Hyundai’ and KMC and
KMA collectively as ‘Kia,’ ” and the complaint “refer[red] to all entities together as Defendants.” 2021
WL 4805454, at *8. The plaintiffs’ “generalized allegations” as to these defendants were deemed
“insufficient to meet the demands of Rule 9(b).” Id. (citing Drake, 2020 WL 7040125, at *10).

The allegations in the CAC are similar to those in these cases. Thus, the CAC attributes alleged
misstatements only through umbrella terms that include several Defendants, e.g., “Toyota,” “Mitsubishi”
and “Honda,” and not to the individual corporate entities that are within each group. Such allegations
fail to satisfy the requirements of Rule (9)(b). Although the Vehicle Manufacturer Defendants may know
which, if any, party created each advertisement, Rule 9(b) requires pleading with particularity, which
Plaintiffs have not done.

Plaintiffs’ allegations as to the advertising of the Vehicle Manufacturer Defendants are also deficient.
They fail to allege with specificity why the advertising is misleading. For example, after noting that
“Exhibits 6, 7, 10, 13, 16 and 19 to this Consolidated Complaint collect examples of misleading
statements from advertising for the Class Vehicles concerning the seatbelts, airbags, ZF TRW ACUs,
and overall vehicle safety,” Dkt. 278 ¶ 309, the CAC alleges that “every single Class Vehicle
advertisement omitted any mention that the vehicles’ airbags and seatbelts could fail in a serious
collision as a result of the defective ACUs.” Id. ¶ 310. Other than noting the omission of any reference
to the Alleged Defect, which is not actionable fraud in the absence of a duty to disclose, the allegations
do not make clear the basis for the claim that these advertisements are misleading. “[P]laintiffs [have]
failed to make the [CAC] ‘specific enough to give [D]efendants notice of the particular misconduct which
is alleged to constitute the fraud charged so that they can defend against the charge and not just deny
that they have done anything wrong.’ ” Mostowfi v. 12 Telecom Int'l, Inc., 269 F. App'x 621, 625 (9th
Cir. 2008) (citing Neubronner v. Milken, 6 F.3d 666, 671 (9th Cir. 1993)).
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The allegations elsewhere in the CAC do not remedy this shortcoming. For example, the CAC alleges
that “Hyundai and Kia . . . distributed misleading advertising concerning the Hyundai-Kia Class Vehicles
via mail and wire.” Dkt. 278 ¶ 368. The only explanation of what allegedly makes this advertising
misleading is that it “contains affirmative statements about airbags and seatbelts and omits important
facts about the dangers posed by the defective ACUs.” Id. Again, this explains omissions, not
misrepresentations. The CAC then highlights many examples of allegedly misleading advertisements
without explaining why they are misleading. See id. ¶¶ 369-377. They conclude this section of the CAC
with an explanation that refers only to the nondisclosure theory of fraud: “Hyundai and Kia’s advertising
uniformly omitted any description of a defect in the Hyundai-Kia Class Vehicles’ ACUs that made them
vulnerable to failure during a crash.” Id. ¶ 378 (emphasis added).

Based on a review of the CAC, there are few, if any, allegations as to Defendants’ advertising that
explain why it was misleading other than with respect to claims of fraudulent omissions. For example,
under the heading “Defendants made misleading statements and omissions concerning the ACU defect
for years,” it is alleged that

         Defendants have repeatedly represented to consumers and to NHTSA that the Class Vehicles
         and the Occupant Restraint Systems that contain the defective ZF TRW ACUs can be relied
         upon to activate the airbags and seatbelts during a crash. These representations were false and
         misleading because of what they did not say. Defendants uniformly failed to disclose that the
         defective ZF TRW ACUs were particularly vulnerable to EOS and that transient electricity from a
         collision could—at the worst possible moment—prevent the airbags and seatbelts from
         activating. These omitted facts were contrary to Defendants’ material representations about the
         Class Vehicles safety features. Thus, Defendants misled NHTSA and consumers about the
         safety of the Class Vehicles.

Dkt. 278 ¶ 301 (emphasis added). The only basis for asserting that Defendants’ statements to
consumers and NHTSA were misleading is their failure to disclose the Alleged Defect. As noted, a
fraudulent omission claim is distinct from one for an affirmative misrepresentation. If the present
allegations were deemed sufficient, the requirement of a duty of disclosure would become a hollow one.

                                             (ii)   In-Vehicle Labeling and Owner’s Manuals

The CAC alleges that the Vehicle Manufacturer Defendants made misrepresentations within the in-
vehicle labeling and owner’s manuals for many of the Class Vehicles. It includes specific allegations as
to the alleged misrepresentations within the following as to each vehicle: (i) the permanent in-vehicle
labels (“Permanent Labels”); (ii) the “Monroney” label, or “window sticker” (“Monroney Label”); and (iii)
the owner’s manual (“Owner’s Manual”). See Dkt. 278 ¶¶ 302-307, 311.

                                                    (a)     Permanent Labels

The CAC alleges that three types of permanent, in-vehicle labels include misrepresentations. First,
under 49 C.F.R. § 567.4(g)(5), each Class Vehicle “ha[s] a permanent label certifying compliance with
the safety regulations prescribed by NHTSA under Chapter 301” of Title 49 of the U.S. Code. Dkt. 278
¶ 302. This label allegedly “must state: ‘This vehicle conforms to all applicable Federal motor vehicle
safety, bumper, and theft prevention standards in effect on the date of manufacture shown above.’ ” Id.
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(quoting 49 C.F.R. § 567.4(g)(5)). The CAC alleges that “[t]hese labels were false and misleading
because they failed to warn consumers about the risk of EOS during a crash, and instead indicated that
the Occupant Restraint System would function properly in a crash.” Id. (citing 49 C.F.R. § 571.208
(S4.1.5.4, S4.1.5.5)). The CAC adequately alleges the content of these labels and what makes them
misleading without reference to their failure to disclose the Alleged Defect. However, it does not allege
to which Defendant each label is attributed. For that reason, these allegations fail to satisfy Fed. R. Civ.
P. 9(b).

Second, the CAC alleges that “[t]he interiors of the Class Vehicles also contain prominent labels that
alert the driver and passengers to the vehicle’s airbag system,” including “steering wheels and
passenger dashboards” that “have labels identifying the airbag and safety restraint system (or ‘SRS’).”
Id. ¶ 304. It also alleges that “[t]he Class Vehicles . . . contain a ‘readiness indicator’ that was supposed
to ‘monitor [the occupant protection system’s] own readiness’ and ‘be clearly visible from the driver’s
designated seating position.’ ” Id. ¶ 305 (citing 49 C.F.R. § 571.208) (alteration in original). It is alleged
that “this readiness indicator did not warn consumers about the risk of EOS during a crash, and instead
indicated that the Occupant Restraint System would function properly in a crash.” Id. ¶ 305. However,
once again, the CAC does not allege which of the Vehicle Manufacturer Defendants is responsible for
each label and readiness indicator.

Finally, the CAC alleges that “[t]he Vehicle Manufacturer Defendants were . . . specifically required to
include in their vehicles warning labels that alerted consumers of the need to perform airbag
maintenance,” but they “are unaware of any label in any Class Vehicle that alerted consumers about
the defective ZF TRW ACUs or the need to perform maintenance on them to protect them from EOS.”
Id. ¶ 306. That a Defendant failed to include this type of label in its vehicles provides further support for
the assertion that Defendants fraudulently failed to disclose the Alleged Defect. Such an allegation
would not, however, support the theory that Defendants made affirmative misrepresentations.

For the foregoing reasons, the CAC does not make sufficient allegations that the Permanent Labels
contained affirmative misrepresentations.

                                                       (b)     Monroney Labels

Exhibit 1 to the CAC includes “[e]xemplar labels for many of the Class Vehicles.” Id. ¶ 307; see Dkt.
120-1. This exhibit includes Monroney Labels for certain Class Vehicles, which state that those vehicles
contain “[a]dvanced multistage front air bags,” Dkt. 120-1 at 3, 5-8, 22-26, 29-35; “[f]ront advanced
multi-stage airbags – inc: front passenger occupant sensor,” id. at 9-12; “[d]river & front passenger
advanced multi-stage front airbags,” id. at 28, 61-62; or some other variation thereof, id. at 53-55, 72-
75, 82-88, 95-97, 101, 103-08, 114, 133-34, 137-38, 142-43, 150. It is alleged that these labels
“uniformly assured consumers that the Class Vehicles had working airbags and seatbelts,” which
“would have suggested to any reasonable consumer that the Occupant Restraint System did not suffer
from a defect and would perform its intended function of activating the seatbelts and airbags during a
collision.” Dkt. 278 ¶ 308. These allegations are sufficient to state a claim that the statements in the
Monroney Labels were false or misleading.

There is a different shortcoming in the allegations as to almost all of the Moroney Labels shown in
Exhibit 1. Thus, the CAC does not sufficiently allege the responsible Vehicle Manufacturer Defendant.

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In general, each label refers only to the “make” of subject vehicle. See, e.g., Dkt. 120-1 at 2 (“Make:
Acura”), 62 (“Make: Jeep”), 110 (“Make: Toyota”). Once again, although this sufficiently identifies the
vehicle brand, it does not do so as to which of the individual Vehicle Manufacturer Defendants is
allegedly responsible for each label. For example, when the make of a vehicle is “Toyota,” the CAC
does not make clear whether that refers to Toyota Motor Corporation, Toyota Motor North America Inc.,
Toyota Motor Engineering & Manufacturing North America, Inc., Toyota Motor Sales, U.S.A., Inc., or
some other non-party entity. This is required by the particularity requirement of Fed. R. Civ. P. 9(b).

There is one exception. Among the copies of Monroney Labels submitted with the CAC, a few are
clearly attributed to “FCA US LLC.” See Dkt. 120-1 at 5-7, 31-35 (the “FCA US Monroney Labels”). 24
These Labels state that certain Class Vehicles include “[a]dvanced [m]ultistage [f]ront [a]irbags.” Id.
They also represent that such vehicles have “Government 5-Star Safety Ratings,” including a 5-star
rating in the category “Front Crash – Driver” and “Front Crash – Passenger.” Id. With respect to the
FCA US Monroney Labels, the CAC pleads with particularity the allegedly misleading statement, why it
was allegedly misleading, to which Defendant it is attributable and the year when it was made.
Therefore, the CAC satisfies the required pleading standard as to the racketeering activity element of
RICO as to Defendant FCA US.

Further, the CAC sufficiently alleges that FCA US engaged in a pattern of racketeering activity,
because Monroney Labels as to model years 2013 through 2019 are attributed to FCA US LLC. Id. This
is sufficient to satisfy the statutory definition of a “pattern of racketeering activity,” which requires at
least two predicate acts within a span of ten years. See 18 U.S.C. § 1961(5).

                                                         (c)     Owner’s Manuals

The CAC alleges that “[t]he Vehicle Manufacturer Defendants published owner’[s] manuals for each of
the Class Vehicles” that “were directed at consumers and included misleading statements regarding the
seatbelts, airbags, and ZF TRW ACUs.” Dkt. 278 ¶ 311. Exhibits 4, 5, 9, 12, 15 and 17 to the CAC
include excerpts from the Owner’s Manuals. Id.

Like the excerpts from advertisements discussed above, these excerpts are attributed to a group of
Vehicle Manufacturer Defendants, i.e., “Toyota,” rather than an individual defendant. See, e.g., Dkt.
120-13 at 2. This does not meet the particularity requirement of Fed. R. Civ. P. 9(b).

                                                 (iii)   Statements to NHTSA

Defendants argue that liability for mail or wire fraud cannot be predicated on their statements to NHTSA
because those statements were not made to “obtain[] money or property,” Dkt. 208 at 36 (citing 18

24 The Monroney Labels shown on pages five and six of Dkt. 120-1 list “Chrysler Group LLC” in the same position

as subsequent Monroney Labels list “FCA US LLC,” and the content of these labels appears to be identical.
Although Plaintiffs have not identified “Chrysler Group LLC” nor explained its relationship, if any, with FCA US
LLC, the CAC refers to the 2014 merger of Chrysler and Fiat, Dkt. 278 ¶ 200. In light of this, and the similarities
between the Monroney Labels attributed to Chrysler Group LLC and FCA US LLC, it is a reasonable interpretation
of the allegations that the latter entity is the corporate successor of the former. Thus, the Monroney Labels shown
on pages five and six listing “Chrysler Group LLC” are properly attributed to FCA US LLC rather than Chrysler
Group LLC, which is not a defendant.
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U.S.C. §§ 1341, 1343), and are protected speech under the Noerr-Pennington doctrine. Id.

The mail and wire fraud statutes bar the use of the mails or wires for “any scheme or artifice to defraud,
or for obtaining money or property by means of false or fraudulent pretenses, representations, or
promises.” 18 U.S.C. §§ 1341, 1343. This “disjunctive language” has been “constru[ed] . . . as a unitary
whole,” meaning “ ‘the money-or-property requirement of the latter phrase’ also limits the former.” Kelly
v. United States, 140 S. Ct. 1565, 1571 (2020) (citing McNally v. United States, 483 U.S. 350, 358
(1987)). Thus, the mail and wire fraud statutes criminalize “only deceptive ‘schemes to deprive [the
victim of] money or property.’ ” Id. (citing McNally, 483 U.S. at 356) (alteration in original).

Defendants rely on Kelly to argue that their statements to NHTSA are “nonactionable” because “they
were not made to obtain money or property.” Dkt. 208 at 36. This application of Kelly is unpersuasive.
In Kelly, the defendants were convicted of wire fraud based entirely on an alleged scheme intended to
punish a political adversary. This misconduct had the alleged “incidental cost” of depriving the Port
Authority of New York and New Jersey of the labor of employees. Kelly, 140 S. Ct. at 1569. Because
depriving the Port Authority of money or property was not “an object of the officials’ scheme,” the
defendants’ convictions for wire fraud were reversed. Id.

The allegations here are distinguishable. Defendants allegedly effected a scheme to defraud with the
object of depriving consumers of money by selling them defective vehicles worth less than they paid.
Although Defendants allegedly furthered this scheme by making fraudulent statements to a regulatory
agency, that was not their primary, alleged purpose. Rather, it was “maximiz[ing] their revenue by
selling as many [Class Vehicles] with defective ZF TRW ACUs as possible.” Dkt. 278 ¶¶ 569, 591, 613,
635, 658, 681; cf. JUUL Labs, 497 F. Supp. 3d at 615 (Kelly distinguished where “the scheme was to
secure the money and property of the end consumers,” and “Defendants did so by allegedly lulling
Congressional legislators and the regulators at the FDA into inaction, or more limited action, to allow
their products to remain on the market.”).

Defendants also argue that their statements to federal regulators are not actionable under the Noerr-
Pennington doctrine, which “derives from the First Amendment’s guarantee of ‘the right of the people
. . . to petition the Government for a redress of grievances.’ ” Sosa v. DIRECTV, Inc., 437 F.3d 923, 929
(9th Cir. 2006) (citing U.S. Const. amend. I). Under that doctrine, “those who petition any department of
the government for redress are generally immune from statutory liability for their petitioning conduct.”
Id. (citing Empress LLC v. City & Cty. of S.F., 419 F.3d 1052, 1056 (9th Cir. 2005)). Immunity under the
Noerr-Pennington doctrine “extends to protect defendants from . . . RICO causes of action.” Swallow v.
Torngren, 789 Fed. App’x 610, 611 (9th Cir. 2020) (citing Kearney v. Foley & Lardner, LLP, 590 F.3d
638, 643-48 (9th Cir. 2009)); see Sosa, 437 F.3d at 932.

Defendants’ argument that Noerr-Pennington applies to their statements to NHTSA is not persuasive
because it mischaracterizes this conduct as petitioning activity. See Dkt. 299 at 17. The CAC contains
several allegations that Defendants made statements to NHTSA in response to statutory reporting
requirements or at the request of NHTSA. See, e.g., Dkt. 278 ¶¶ 364, 452-54, 602(c), 624(c), 647(h).
The CAC does not allege that “Defendants’ statements were made to urge NHTSA ‘to exercise its
administrative discretion . . . by taking or refraining from an action,’ ” as Defendants suggest. Dkt. 299
at 17 (citing Aventis Pharma S.A. v. Amphastar Pharm. Inc., No. 5:03-00887-MRP, 2009 WL 8727693,
at *11 (C.D. Cal. Feb. 17, 2009)). Noerr-Pennington “bars civil liability for activities protected by the
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First Amendment right to petition.” Sunwest Assocs. v. Davis, No. 95-15775, 99 F. 3d 1147, 1996 WL
608496, at *1 (9th Cir. Oct. 22, 1996). Defendants’ conduct does not implicate that right. See RIGHT
TO PETITION, Black's Law Dictionary (11th ed. 2019) (“The constitutional right — guaranteed by the
First Amendment — of the people to make formal requests to the government, as by lobbying or writing
letters to public officials.”).

Defendants have not cited any cases that applied Noerr-Pennington to statements made pursuant to a
statutory reporting obligation. Noerr-Pennington has been applied in the Ninth Circuit to statements
made in a non-adjudicatory context. However, that was when the statements were made to a
governmental body in support of an affirmative request that it take some action. That fits within the
meaning of “petition.” Boone v. Redevelopment Agency of San Jose, 841 F.2d 886, 889 (9th Cir. 1988)
(applying Noerr-Pennington to efforts by real estate developer to convince city officials to amend a
community redevelopment plan); see Sunwest Assocs., 1996 WL 608496, at *2 (applying Noerr-
Pennington to the defendants’ statements made in connection with their application to city planning
commission and city council to rezone property); Aventis Pharma, 2009 WL 8727693, at *11; Borges v.
Cty. of Mendocino, 506 F. Supp. 3d 989, 1001 (N.D. Cal. 2020) (applying Noerr-Pennington to
complaints by a person to county officials about the plaintiffs’ marijuana cultivation and her “efforts . . .
to have plaintiffs’ property rezoned to prohibit marijuana cultivation”); Confederated Tribes of Siletz
Indians of Or. v. Weyerhaeuser Co., No. CV 00-1693-PA, 2003 WL 24901381, at *7 (D. Or. July 5,
2003) (applying Noerr-Pennington to the defendant’s “statements to the Oregon Department of Forestry
to obtain an exemption from log export regulations that allowed Defendant to obtain alder from state
lands”). It also has been applied to statements made during an adjudicative process before a court or
administrative agency. See Swallow v. Torngren, No. 17-cv-05261-BLF, 2018 WL 2197614, at *8 (N.D.
Cal. May 14, 2018), aff’d, Swallow v. Torngren, 789 F. App’x 610, 611 (9th Cir. 2020). No cases have
been cited or located in which it has been applied to mandatory reporting to a government agency.

Furthermore, if Noerr-Pennington were applied in a context like that alleged in the CAC, it could shield
parties from liability for their allegedly fraudulent statements to NHTSA. This could mean, for example,
that vehicle manufacturers would be able to make false or misleading reports to NHTSA in response to
requests from that agency or as required by statute. Cf. In re Am. Cont’l Corp./Lincoln Sav. & Loan Sec.
Litig., 794 F. Supp. 1424, 1448 (D. Ariz. 1992) (Noerr-Pennington doctrine “created to protect those
who would use the regulatory process in good faith”). That result would be inconsistent with the
statutory purpose of NHTSA, i.e., to promote vehicle safety.

Although Kelly and Noerr-Pennington do not protect Defendants from liability for their alleged
statements to NHTSA, many of the allegations in the CAC as to fraudulent statements to NHTSA do not
satisfy Fed. R. Civ. P. 9(b). Specifically, as to the ZF Defendants, STMicro Defendants, Toyota
Defendants, Honda Defendants, FCA Defendants and Mitsubishi Defendants, the CAC again fails to
specify the Defendant that allegedly made a particular fraudulent statement to NHTSA. There are many
allegations regarding such statements, but they consistently “lump together multiple defendants without
specifying the role of each defendant in the fraud,” In re Toyota Motor Corp., 785 F. Supp. 2d at 919
(citing Swartz, 476 F.3d at 764), grouping Defendants by manufacturer name rather than referring to
individual corporate entities. See, e.g., Dkt. 278 ¶¶ 452-54, 458, 647(g)-(h) (referring to “Toyota
representatives” or “Toyota”); 510 (“Honda submitted a letter to NHTSA” that allegedly included a
statement that “was misleading and flat-out wrong.”).

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Although it is alleged that “[m]any of the precise dates and examples of the fraudulent uses of the U.S.
mail and interstate wire facilities have been deliberately hidden by Defendants, and cannot be alleged
without access to Defendants’ books and records,” Dkt. 278 ¶ 580 n.25, see also id. ¶ 670 n.33, this
does not excuse all of the aforementioned shortcomings. Further, Plaintiffs had access to a number of
“Part 573” reports (“573 Reports”) to NHTSA. See Id. ¶¶ 354, 359, 362, 392-93, 472, 497, 602(c),
624(c), 647(h). This is supported by Plaintiffs’ allegation that these “573 defect reports are typically
published on NHTSA’s public docket.” Id. ¶ 580 n.26. Despite having access to these reports, the CAC
does not allege which of the Toyota, Honda, FCA and Mitsubishi Defendants submitted each report.

In contrast, the CAC does include specific allegations as to 573 Reports submitted by each of HMA and
KMA. See id. ¶¶ 354, 359, 602(c). The CAC alleges:

         Hyundai and Kia violated the mail and wire fraud acts by using interstate mail and wire to submit
         paper and electronic versions of Part 573 Safety Recall Reports false[ly] stating that the
         unrecalled Hyundai and Kia Class Vehicles were not defective. On April 18, 2018, Hyundai
         Motor America stated in a Part 573 Safety Recall Report that the ACU Defect was corrected in
         unrecalled Hyundai Class Vehicles because those vehicles included “redesigned ACUs.”
         Similarly, Kia Motors America, Inc. stated in a June 1, 2018 Part 573 Safety Recall Report that
         the ACUs in the unrecalled Kia Class Vehicles “have adequate circuit protection.” These
         statements were misleading because the unrecalled Hyundai and Kia Class Vehicles have the
         same defect (insufficient levels of circuit protection and the use of a DS84 ASIC vulnerable to
         overstress) as the recalled Hyundai and Kia Class Vehicles.

Id. ¶ 602(c) (emphasis added); see also id. ¶¶ 359, 363. On the basis of this and similar allegations, the
CAC has pleaded with sufficient particularity that HMA and KMA each committed at least one predicate
act of racketeering activity.

The RICO requirement that a pattern of racketeering activity be alleged has also been satisfied as to
KMA. The CAC alleges that KMA made other false or misleading statements to NHTSA on March 1,
2018, id. ¶¶ 355, 602(d), and August 30, 2019, id. ¶ 364. A “pattern of racketeering activity” requires at
least two predicate acts within a span of ten years. See 18 U.S.C. § 1961(5). The CAC alleges three
different acts by KMA, which is sufficient as to a pattern. As to HMA, although the CAC also alleges that
it made another 573 Report on February 27, 2018, id. ¶ 354, this Report is not alleged to have been
false or misleading. Therefore, a pattern has not been sufficiently alleged as to HMA.

                               (3)    RICO Standing

Plaintiffs have pleaded sufficient predicate acts of racketeering activity as to two Defendants. First,
Plaintiffs satisfied the pleading standards of Fed. R. Civ. P. 9(b) with the allegations that FCA US made
false or misleading statements in at least two Monroney Labels, which form a pattern of racketeering
activity and support their RICO claims against FCA US (the “FCA US RICO Claims”). Plaintiffs also
have made adequate allegations that KMA made false or misleading statements to NHTSA on at least
two occasions, which constitutes a pattern of racketeering activity and supports Plaintiffs’ RICO claims
against KMA (the “KMA RICO Claims”). Thus, the following RICO standing analysis applies only to
these claims.

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“To have standing under § 1964(c), a civil RICO plaintiff must show: (1) that his alleged harm qualifies
as injury to his business or property; and (2) that his harm was ‘by reason of’ the RICO violation, which
requires the plaintiff to establish proximate causation.” Canyon Cty. v. Syngenta Seeds, Inc., 519 F.3d
969, 972 (9th Cir. 2008) (citing Holmes v. Sec. Inv. Prot. Corp., 503 U.S. 258, 268 (1992); Sedima,
S.P.R.L. v. Imrex Co., 473 U.S. 479, 496 (1985)).

                                       (a)     Cognizable RICO Injury

A plaintiff attempting to show injury to business or property, in addition to “alleg[ing] ‘concrete financial
loss,’ ” Canyon Cty., 519 F.3d at 975 (citing Oscar v. Univ. Students Coop. Ass’n, 965 F.2d 783, 785
(9th Cir. 1992) (en banc)), must show “a harm to a specific business or property interest – a categorical
inquiry typically determined by reference to state law.” Diaz v. Gates, 420 F.3d 897, 900 (9th Cir. 2005)
(en banc), cert. denied, 546 U.S. 1131 (2006).

The CAC alleges that, due to Defendants’ pattern of racketeering activity, “Plaintiffs and Class
members have been injured in their business and/or property” by buying or leasing defective Class
Vehicles and overpaying for those vehicles, which contained an “undisclosed safety defect.” See, e.g.,
Dkt. 278 ¶ 608. Defendants argue that this is not a cognizable RICO injury, because it involves “mere
injury to a valuable intangible property interest.” Dkt. 208 at 45 (citing Chaset v. Fleer/Skybox Int’l, LP,
300 F.3d 1083, 1086-87 (9th Cir. 2002)).

Assessing the injury to “business or property” requirement of the Sherman Act, which in the Ninth
Circuit “ha[s] been interpreted in tandem” with RICO’s injury requirement, Mendoza v. Zirkle Fruit Co.,
301 F.3d 1163, 1168 (9th Cir. 2002), courts in the Ninth Circuit have concluded that when “a consumer
. . . acquir[es] goods or services for personal use, [he or she] is injured in ‘property’ when the price of
those goods or services is artificially inflated by reason of the anticompetitive conduct complained of.”
In re Chrysler-Dodge-Jeep EcoDiesel Mktg., Sales Pracs. & Prods. Liab. Litig., 295 F. Supp. 3d 927,
959 (N.D. Cal. 2018) (citing Reiter v. Sonotone Corp., 442 U.S. 330, 339 (1979)). Relying on Reiter,
Canyon County explained that “[i]n the ordinary context of a commercial transaction, a consumer who
has been overcharged can claim an injury to her property, based on a wrongful deprivation of her
money.” 519 F.3d at 976.

Applying Canyon County, district courts in California have found that the purchaser or lessee of a
vehicle can plead a cognizable RICO injury by alleging that he or she overpaid for the vehicle given a
defect or the absence of some promised feature. See In re Chrysler, 295 F. Supp. 3d at 964-65; In re
Volkswagen "Clean Diesel" Mktg., Sales Pracs., & Prods. Liab. Litig., 349 F. Supp. 3d 881, 905 (N.D.
Cal. 2018). The reasoning of these cases is persuasive.

Defendants’ reliance on In re GM LLC Ignition Switch Litigation, 14-MD-2543, 2016 WL 3920353
(S.D.N.Y. July 15, 2016), does not change this outcome. It is distinguishable. There, the plaintiffs
“pursue[d] an unprecedented theory of damages, one that turns not on whether the vehicles at issue
were sold with known, latent defects . . . but rather on the alleged reduction in resale value of the
vehicles due to damage to [the vehicle manufacturer’s] reputation and brand.” Id. at *2 That theory of
damages, which was found to be “speculative,” Id. at *16, is different from the one that Plaintiffs have
alleged. Thus, the CAC alleges that each Plaintiff suffered an injury when he or she bought or leased a
Class Vehicle because he or she did not receive a vehicle whose value was commensurate with its
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price. Furthermore, In re GM LLC Ignition Switch Litigation follows the rule of McLaughlin v. American
Tobacco Co., 522 F.3d 215 (2d Cir. 2008), that “RICO compensates only for injury to ‘business or
property.’ ” Id. (citing McLaughlin, 522 F.3d at 228) (quotation marks omitted). The Ninth Circuit has not
adopted this rule. Rather, the Ninth Circuit has explained, in the context of a RICO claim, that “a
consumer who has been overcharged can claim an injury to her property, based on a wrongful
deprivation of her money.” Canyon County, 519 F.3d at 976 (citing Reiter, 442 U.S. at 342).

For the foregoing reasons, the CAC sufficiently alleges a cognizable RICO injury as to the FCA US
RICO Claims and the Kia Motors America RICO Claims.

                                      (b)    Proximate Causation

The “ ‘by reason of’ language in 18 U.S.C. § 1964(c) requires a civil RICO plaintiff ‘to show that a RICO
predicate offense not only was a but for cause of his injury, but was the proximate cause as well.’ ” In re
Chrysler, 295 F. Supp. 3d at 965 (citing Hemi Grp., LLC v. City of N.Y., 559 U.S. 1, 9 (2010)).

Defendants do not contest that Plaintiffs adequately have alleged but-for causation. Instead, they argue
that Plaintiffs have failed to satisfy the proximate-cause requirement of RICO. Dkt. 208 at 45-47. The
“central question” of RICO proximate-cause analysis is “whether the alleged violation led directly to the
plaintiff’s injuries.” Anza v. Ideal Steel Supply Corp., 547 U.S. 451, 461 (2006); Limcaco v. Wynn, No.
2:20-cv-11372 RSWL, 2021 WL 5040368, at *18 (C.D. Cal. Oct. 29, 2021) (“[P]roximate cause . . .
requires ‘some direct relation between the injury asserted and the injurious conduct alleged.’ ” (citing
Hemi Grp., 559 U.S. at 9)). The connection “between the injury asserted and the injurious conduct”
must not be “ ‘too remote,’ ‘purely contingent,’ or ‘indirec[t].’ ” Id. (citing Hemi Grp., 559 U.S. at 9)
(alteration in original).

Defendants’ arguments are unpersuasive. They contend that “many of the alleged ‘predicate acts’ took
place long after most Plaintiffs purchased or leased their Class Vehicles,” suggesting that there is not a
direct relationship between Defendants’ conduct and Plaintiffs’ injuries. Dkt. 208 at 47. However, at
least some of the alleged predicate acts underlying the FCA US RICO Claims occurred before any of
the FCA Plaintiffs purchased or leased their respective Class Vehicles. Among the Monroney Labels
that are alleged to be false or misleading and that are clearly attributed to FCA US (the “FCA US
Monroney Labels”), one lists “2013” next to the vehicle model “200 Limited,” Dkt. 120-1 at 5, and
another lists “2015” next to the same vehicle model, id. at 7. Another lists “2014” next to the vehicle
model “200 LX.” Id. at 6. Others list “2015 Model Year,” id. at 31, “2016 Model Year,” id. at 32, “2017
Model Year,” id. at 33, “2018 Model Year,” id. at 34, and “2019 Model Year,” id. at 35. The FCA
Plaintiffs purchased Class Vehicles that were from model years 2009 through 2017, so it is plausible
that at least some of the FCA Plaintiffs saw the FCA US Monroney Labels before buying or leasing their
respective Class Vehicles. See Dkt. 278 ¶¶ 99-112. Therefore, Plaintiffs have satisfied the proximate-
cause requirement as to the FCA US RICO Claims.

Similarly, KMA’s allegedly fraudulent statements to NHTSA were made on March 1, 2018, Dkt. 278 ¶¶
355, 602(d)), June 1, 2018, id. ¶ 602(c)), and August 30, 2019, id. ¶ 364. Several of the Hyundai-Kia
Plaintiffs purchased or leased their respective Kia Class Vehicles after at least one of these dates. See
id. ¶¶ 75 (VanHouten leased a new 2018 Kia Optima on September 9, 2018); 78 (Graziano leased a
new 2018 Kia Optima on April 10, 2018); 81 (Collins purchased a new 2018 Kia Optima on July 2,
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2018). Therefore, Plaintiffs have satisfied the proximate-cause requirement as to the KMA RICO
Claims.

Defendants next advance an argument that is limited to the KMA RICO Claims, which rely on its
allegedly fraudulent statements to NHTSA. Defendants argue that “private civil RICO plaintiffs generally
cannot recover for alleged misrepresentations to the government, even on a theory that the government
was misled into taking or refraining from action that injured plaintiffs, because that causal chain is not
sufficiently direct.” Dkt. 208 at 46 (citing, inter alia, Rezner v. Bayerische Hypo-Und Vereinsbank AG,
630 F.3d 866, 873-74 (9th Cir. 2010)).

District courts in California have rejected this position. They have distinguished Rezner -- “where
government entities, not the plaintiffs, were more directly damaged by the loss of tax monies, not the
plaintiffs” -- from cases in which “the end consumers are the ones injured by defendants’ false
representations to federal regulators and others.” JUUL Labs, 497 F. Supp. 3d at 619 (citing In re
Volkswagen “Clean Diesel” Mktg., Sales Pracs., and Prods. Liab. Litig., MDL 2672 CRB, 2017 WL
4890594, at *9 (N.D. Cal. Oct. 30, 2017)); see In re Chrysler, 295 F. Supp. 3d at 966; In re Volkswagen
“Clean Diesel”, 2017 WL 4890594 at *9 (citing Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639, 657
(2008)).

The allegations here are aligned more with those in JUUL Labs, Volkswagen “Clean Diesel,” and In re
Chrysler than the ones presented in Rezner. The CAC alleges that Plaintiffs, not NHTSA, suffered the
harm from the claimed false or misleading statements to that agency. Cf. In re Chrysler, 295 F. Supp.
3d at 966 (“Plaintiffs are the ones who bought and leased the Class Vehicles and who are alleged to
have overpaid for them as a result of Defendants' fraud. . . . Plaintiffs are in the best position to sue to
recover those economic losses.”).

Moreover, the “three nonexhaustive factors in considering causation” under RICO weigh in favor of
Plaintiffs. Mendoza, 301 F.3d at 1169. The three factors are:

         (1) whether there are more direct victims of the alleged wrongful conduct who can be counted
         on to vindicate the law as private attorneys general; (2) whether it will be difficult to ascertain the
         amount of the plaintiff's damages attributable to defendant's wrongful conduct; and (3) whether
         the courts will have to adopt complicated rules apportioning damages to obviate the risk of
         multiple recoveries.

Ass’n of Wash. Pub. Hosp. Dists. v. Philip Morris Inc., 241 F.3d 696, 701 (9th Cir. 2001) (quoting Or.
Laborers-Emps. Health & Welfare Tr. Fund v. Philip Morris, Inc., 185 F.3d 957, 963 (9th Cir. 1999)),
cert. denied, 534 U.S. 891 (2001).

As to the first, Plaintiffs are the only direct victims of Defendants’ alleged fraudulent and misleading
statements to NHTSA. NHTSA has not suffered any reported, direct injury as a result of such conduct.
The allegations also support a direct connection between Bosch's alleged RICO violation and the
Franchise Dealers' alleged injuries. Cf. In re Volkswagen, 2017 WL 4890594, at *8 (“[T]here are no
more direct victims of the wrongful conduct because the [plaintiff] Franchise Dealers bought the
affected vehicles directly from co-schemer [defendant] Volkswagen. To the extent the Franchise
Dealers overpaid for the affected vehicles, or those vehicles declined in value, or the Franchise Dealers
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lost profits from not being able to sell those vehicles, no one other than the Franchise Dealers can
assert those injuries.”).

Second, it will not be difficult to ascertain the difference between the amount the Hyundai-Kia Plaintiffs
would have spent for the purchase or lease of Class Vehicles with the ACU defect, and what they
would have spent on those without it. This is the alleged amount each of the Hyundai-Kia Plaintiffs
overpaid for his or her Class Vehicle. Additionally, any “questions as to the amount of damage, as
opposed to the plausibility of damage, are best resolved at a later stage in the litigation.” Id. (citing
Mendoza, 301 F.3d at 1171).

Finally, because all of the direct victims are consolidated in these putative class actions, there is limited
risk of multiple recoveries. Analysis as to this factor centers on whether "the existence of other injured
parties creates difficulties of apportionment or risks of multiple recovery." Id. (citing Newcal Indus., Inc.
v. Ikon Off. Sol., 513 F.3d 1038, 1055 (9th Cir. 2008); Holmes, 503 U.S. at 269). All victims of
Defendants’ alleged conduct who claim to have overpaid for the purchase or lease of their Class
Vehicles are within the alleged, putative classes. Consequently, there are no issues with respect to
reapportionment or multiple recovery.

For these reasons, Plaintiffs have satisfied the proximate-cause requirement as to the FCA US RICO
Claims and the Kia Motors America RICO Claims.

                       b)      RICO Conspiracy

Plaintiffs include in each of their RICO causes of action a claim for conspiracy to violate that statute.
See Dkt. 278 ¶¶ 571, 576, 592, 598, 614, 620, 636, 642, 659, 665, 682, 688. The CAC does not make
any separate allegations in support of the conspiracy claims, but relies on those made with respect to
the direct claims of violations of RICO.

“Section 1962(d),” which is the conspiracy provision of the RICO statute, “provides that ‘[i]t shall be
unlawful for any person to conspire to violate any of the provisions of subsection (a), (b) or (c) of this
section.’ ” Baumer v. Pachl, 8 F.3d 1341, 1345-46 (9th Cir. 1993) (citing 18 U.S.C. § 1962(d)). Stating a
claim for RICO conspiracy requires allegations that “two or more people agreed to commit a crime
covered by the specific conspiracy statute . . . and that the defendant knowingly and willfully
participated in the agreement . . .” Smith v. U.S., 568 U.S. 106, 110 (2013). “The illegal agreement
need not be express as long as its existence can be inferred from the words, actions, or
interdependence of activities and persons involved.” Oki Semiconductor Co. v. Wells Fargo Bank, Nat’l
Ass’n, 298 F.3d 768, 775 (9th Cir. 2002) (citation omitted). In addition, “conspiracy to violate RICO
requires a showing that defendant ‘was aware of the essential nature and scope of the enterprise and
intended to participate in it.’ ” Baumer, 8 F.3d at 1346 (quoting United States v. Muskovsky, 863 F.2d
1319, 1324 (7th Cir. 1988), cert. denied, 489 U.S. 1067 (1989)); see United States v. Sanchez, 850 F.
App’x 472, 478-79 (9th Cir. 2021), cert. dismissed sub nom. Fazah v. United States, No. (R46-03 / OT
2021), 2021 WL 5313752 (U.S. Nov. 8, 2021) (jury instructions for RICO conspiracy “properly required
that each Defendant know about the scheme; know the scheme's object; know that the scheme would
result in at least one conspirator’s committing a pattern of racketeering acts; and agree and intend to
facilitate or further that scheme”).


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That a defendant must have “intended to participate in” a RICO enterprise does not require specific
intent. United States v. Wallis found that a “district judge did not err when it declined to instruct the jury
on specific intent” in “stat[ing] the law on RICO conspiracy.” 630 Fed. App’x 664, 668 (9th Cir. 2015).
“Unlike common law conspiracy, which requires that a participant specifically intend the object of the
conspiracy be accomplished, RICO conspiracy requires only ‘that two or more people agreed to commit
a[t least two] crime[s] covered by the [RICO] … statute (that a conspiracy existed) and that the
defendant knowingly and willfully participated in the agreement (that he was a member of the
conspiracy).” Id. (citing Smith, 568 U.S. at 110) (alterations in original); see also United States v. Baker,
63 F.3d 1478, 1493 (Proof of specific intent is not required in conviction for RICO conspiracy. Rather, “a
defendant can be guilty of conspiring to violate RICO if he possesses the mental state necessary for
conviction of the substantive RICO offense.” (citation omitted)).

Baumer relied in part on United States v. Muskovsky, which states that as an element of a RICO
conspiracy, a defendant must “[have been] aware of the essential nature and scope of the enterprise
and intended to participate in it.” 8 F.3d at 1346 (quoting Muskovsky, 863 F.2d at 1324). Muskovsky
then clarified this statement:

         While there is no need to prove that the defendant intended personally to perform the two
         predicate acts required for RICO liability, the government does have to show more than ‘mere
         association with conspirators, knowledge of a conspiracy, and presence during conspiratorial
         discussions[.]’

863 F.2d at 1324 (citations omitted).

Where “RICO claims are undoubtedly ‘grounded in fraud,’ the conspiracy allegations ‘must satisfy the
heightened pleading requirements of Rule 9(b)’. . . [and] give each of the defendants notice of the
specific charges against them.” Tatung Co., Ltd. v. Hsu, No. CV 13-01743 DOC, 2015 WL 11072178, at
*25 (C.D. Cal. Apr. 23, 2015) (quoting Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir.
2003)); see Nat. Immunogenics Corp. v. Newport Trial Grp., No. CV-15-02034 JVS, 2016 WL
11520711, at *13 (C.D. Cal. Aug. 1, 2016) (citing Vess, 317 F.3d at 1106) (“[W]hen, as here, the object
of the conspiracy is fraudulent, the plaintiff must allege conspiracy under Rule 9(b)'s heightened
pleading standards.”). This means plaintiffs “ ‘must allege with particularity (1) an agreement to
participate in an unlawful act[;] and (2) an injury caused by an unlawful overt act performed in
furtherance of the agreement.’ Conclusory allegations that RICO defendants entered into an agreement
are insufficient.” Chung Goh v. Prima Fin. Grp., Inc., No. CV 17-03630-SVW-PJW, 2017 WL 7887860,
at *3 (C.D. Cal. July 26, 2017) (quoting Alfus v. Pyramid Tech. Corp., 745 F. Supp. 1511, 1520-21 (N.D.
Cal. 1990)).

The RICO claims advanced in the CAC are grounded in fraud; the alleged predicate acts are mail fraud
and wire fraud. Therefore, Rule 9(b) applies to the RICO conspiracy claims as well. See Tatung Co.,
2015 WL 11072178, at *25 (“Although conspiracy claims are not uniformly subject to the heightened
standard of Rule 9(b), as the RICO claims are undoubtedly ‘grounded in fraud,’ the conspiracy
allegations ‘must satisfy the heightened pleading requirements of Rule 9(b).’ ” (citing Vess, 317 F.3d at
1106)). For the same reasons that the CAC fails to state a RICO claim against any Defendants other
than FCA US and KMA, it also fails to state a claim against those Defendants for RICO conspiracy. The
CAC does not sufficiently identify those defendants who allegedly entered into an agreement whose
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purpose was to pursue unlawful ends, or intended to participate in the alleged RICO enterprises.
Rather, the CAC groups Defendants by vehicle manufacturer. This is insufficient to state a claim
against each Defendant for the same reasons stated earlier.

As to FCA US, HMA and KMA, the CAC does allege sufficient facts to support the claim that each of
these Defendants conspired to violate RICO, in violation of Section 1962(d). The CAC alleges that
there was agreement, coordination and interdependence among each of these defendants, the ZF
Defendants and the STMicro Defendants. It alleges that “ZF TRW, STMicro, Hyundai, and Kia agreed
to conduct and participate, directly and indirectly, in the affairs of the Hyundai-Kia Enterprise through a
pattern of racketeering activity.” Dkt. 278 ¶ 592. It alleges the same agreement to participate in the FCA
Enterprise existed among “ZF TRW, STMicro, and FCA.” Id. ¶ 614. It further alleges that, without these
Defendants’ “willing participation in the conduct” of the Hyundai-Kia or FCA Enterprise, respectively,
each Enterprise’s “scheme and common course of conduct would have been unsuccessful.” Id. ¶¶ 598,
620. Finally, it alleges that each Defendant “did knowingly conduct or participate, directly or indirectly, in
the affairs of” its respective Enterprise “through a pattern of racketeering activity.” Id. ¶¶ 599, 621.

The CAC alleges that information about manifestations of the Alleged Defect was shared among FCA,
ZF TRW and STMicro, and among Hyundai, Kia, ZF TRW and STMicro, and that these Defendants
worked together to investigate crashes and test Class Vehicles. See Id. ¶¶ 323, 324-28, 332-34, 336,
340, 342-49, 595(f) n.28, 596(d) (Hyundai and Kia); 396-97, 405-406, 408, 618(c) (FCA); 585(c)-(f)
(Hyundai, Kia and FCA). It also alleges that, “[o]n October 20, 2015, Kia Motors America, Inc., Kia
Motors Corporation, Hyundai Motor America, Inc., Hyundai Motor Co., Ltd., Hyundai MOBIS, and ZF
TRW met in Korea to discuss the issue of the defective ACUs and EOS." Id. ¶ 337. The CAC then
alleges that, after ZF TRW made a presentation to NHTSA on February 5, 2016, on February 25, 2016,
it again “met with Kia, Hyundai, and Hyundai MOBIS in Korea to discuss its meeting with NHTSA and
the continued investigation of airbag failures caused by EOS.” Id. ¶ 339. The CAC alleges that these
Defendants again met in Korea in May and July 2016, with “Kia Motors Corporation provid[ing]
information to ZF TRW to report to NHTSA in advance of ZF TRW’s meeting with NHTSA.” Id. ¶ 341.

The CAC alleges that each of FCA, ZF TRW and STMicro depended on the others’ concealment of the
Alleged Defect, as did Hyundai, Kia, ZF TRW and STMicro. See Id. ¶¶ 614 (“For the conspiracy to
succeed, FCA, ZF TRW, and STMicro had to commit to secrecy about the existence and scope of the
defect with the ZF TRW ACUs contained in FCA Class Vehicles.”); 592 (“For the conspiracy to
succeed, Hyundai, Kia, ZF TRW, and STMicro had to commit to secrecy about the existence and scope
of the defect with the ZF TRW ACUs contained in Hyundai and Kia Class Vehicles.”). These allegations
show interdependence. The inference is that, if the ZF or STM Defendants had disclosed the Alleged
Defect to the public or NHTSA, there would have been no reason for FCA, HMA or KMA to continue
attempting to conceal it.

Finally, as discussed above, the CAC alleges that FCA US, HMA and KMA each committed at least
one predicate act of racketeering activity. Because each of these Defendants allegedly engaged in
racketeering activity in furtherance of the respective RICO Enterprises, it can be inferred that they were
“aware of the essential nature and scope of the enterprise and intended to participate in it.” Baumer, 8
F.3d at 1346. The CAC “does not allege a ‘mere association’ with” the alleged RICO enterprises. State
Comp. Ins. Fund v. Capen, No. CV 15-1279 AG, 2015 WL 13322034, at *5 (C.D. Cal. Dec. 18, 2015)
(citing Baumer, 8 F.3d at 1346).
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Because the existence of one “illegal agreement” among FCA, ZF TRW and STMicro, and another
among Hyundai, Kia, ZF TRW and STMicro, “can be inferred from the words, actions, or
interdependence of activities and persons involved,” Oki, 298 F.3d at 775, and Plaintiffs adequately
have pleaded that FCA US, HMA and KMA “knowingly and willfully participated in th[ose]
agreement[s],” Smith, 568 U.S. at 110, Plaintiffs have stated a claim for RICO conspiracy as to FCA
US, HMA and KMA.

                             *                      *                      *

For the foregoing reasons, Plaintiffs have stated a claim for RICO violations as to FCA US and KMA.
They also have stated a claim for RICO conspiracy as to FCA US, KMA and HMA. Therefore, as to
Nationwide Count 2, the Joint Motion is GRANTED IN PART and DENIED IN PART. It is DENIED as
to Plaintiffs’ RICO and RICO conspiracy claims against KMA, and as to their RICO conspiracy claim
against HMA, and it is GRANTED WITHOUT PREJUDICE, i.e., with leave to amend, as to all other
claims against all other Defendants. Similarly, as to Nationwide Count 3, the Joint Motion is GRANTED
IN PART and DENIED IN PART. It is DENIED as to Plaintiffs’ RICO and RICO conspiracy claims
against FCA US, and it is GRANTED WITHOUT PREJUDICE, i.e., with leave to amend, as to all other
claims against all other Defendants. As to Nationwide Counts 1, 4, 5 and 6, the Joint Motion is
GRANTED WITHOUT PREJUDICE, i.e., with leave to amend.

                      c)      Non-RICO Nationwide Claims

Defendants argue that Plaintiffs’ nationwide claims for common-law fraud and unjust enrichment fail
because “Plaintiffs do not specify under which state’s (or states’) laws they are bringing these
‘nationwide’ claims.” Dkt. 208 at 54.

A group of plaintiffs cannot bring a claim on behalf of a “nationwide” class without alleging the
applicable states’ laws. See Vinci v. Hyundai Motor Am., No. SA-CV-17-0997 DOC, 2018 WL 6136828,
at *13 (C.D. Cal. Apr. 10, 2018); Glenn v. Hyundai Motor Am., No. SA-CV-15-2052 DOC, 2016 WL
3621280, at *13 (C.D. Cal. June 24, 2016); Los Gatos Mercantile, Inc. v. E.I. DuPont De Nemours &
Co., No. 13-CV-01180-BLF, 2014 WL 4774611, at *11 (N.D. Cal. Sept. 22, 2014); In re TFT-LCD (Flat
Panel) Antitrust Litig., 586 F. Supp. 2d 1109, 1124 (N.D. Cal. 2008); In re Static Random Access
Memory (SRAM) Antitrust Litig. (“SRAM Antitrust Litigation”), 580 F. Supp. 2d 896, 910 (N.D. Cal.
2008). Courts have “f[ound] it prudent to refrain from guessing what state law or laws Plaintiffs are
using as the basis for their claims” when Plaintiffs have failed to specify. Vinci, 2018 WL 6136828, at
*13; see also Glenn, 2016 WL 3621280, at *13.

Because Plaintiffs “must identify which State’s or States’ law they rely upon” and have not done so,
their “nationwide” claims for fraud and unjust enrichment fail. SRAM Antitrust Litig., 580 F. Supp. 2d at
910. Therefore, the Joint Motion is GRANTED WITHOUT PREJUDICE, i.e., with leave to amend, as to
Nationwide Counts 7 and 8.




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         C.    State Law Claims

               1.      Dismissal of Representative Plaintiffs

After the CAC was filed, several named plaintiffs filed notices of the voluntary dismissal of their claims.
See Dkts. 291, 333-34, 384. On October 12, 2020, Plaintiffs Ann Harland (“Harland”) and Dragan
Jagnjic (“Jagnjic”) withdrew as named plaintiffs and putative class representatives and voluntarily
dismissed their claims, without prejudice. Dkt. 291. Plaintiff Jan Freyman (“Freyman”) took the same
actions on March 17, 2021 (Dkt. 333); Plaintiff Carma Rockers (“Rockers”) did so on March 17, 2021
(Dkt. 334); and Plaintiff Tammy Tyler (“Tyler”) did so on November 8, 2021 (Dkt. 384). Plaintiff John
Robinson (“Robinson”) voluntarily dismissed his claims against the FCA Defendants on August 10,
2020. Dkt. 228.

Harland, Rockers and Tyler were the only named plaintiffs representing the putative classes from
Virginia, Kansas and Louisiana, respectively. When those named plaintiffs voluntarily dismissed their
respective claims against Defendants, “their claims became moot, thereby depriving the Court of
subject matter jurisdiction.” Bernor v. Takeda Pharm. Am., Inc., No. LACV 12-04856, 2018 WL 588563,
at *5 (C.D. Cal. Jan. 25, 2018) (citing, inter alia, Employers-Teamsters Local Nos. 175 & 505 Pension
Trust Fund v. Anchor Capital Advisors, 498 F.3d 920, 924 (9th Cir. 2007)).

There has not been a request to substitute new class representatives for those putative classes.
Further, because those classes have not been certified, the substitution of class representatives, if
requested, may not have been permitted. See Skilstaf, Inc. v. CVS Caremark Corp., No. C 09-02514
SI, 2010 WL 199717, at *6 (N.D. Cal. Jan. 13, 2010) (“Ordinarily, substitution of class representatives is
permitted only after a class has already been certified. This is because, when the named plaintiff's
claim is dismissed at the pleading stage, there is no longer an Article III ‘case or controversy’ between
the parties, and the action must be dismissed.” (citations omitted)), aff'd, 669 F.3d 1005 (9th Cir. 2012);
Hitt v. Arizona Beverage Co. LLC, No. 08-cv-809 WQH-POR, 2009 WL 4261192, at *5 (S.D. Cal. Nov.
24, 2009) (“When deciding whether substitution of plaintiffs may be permitted after the named plaintiff's
claims are voluntarily dismissed or otherwise become moot, the paramount consideration is whether
the putative class has been certified.”).

For the foregoing reasons, all claims brought by Harland on behalf of the putative Virginia class (i.e.,
“Virginia Count[s]” 1 through 4) , those brought by Rockers on behalf of the putative Kansas class (i.e.,
“Kansas Count[s]” 1 through 4) and those brought by Tyler on behalf of the putative Louisiana class
(i.e., “Louisiana Count[s]” 1 through 3) are DISMISSED WITHOUT PREJUDICE, i.e., with leave to
amend.

               2.      Claims for Equitable Relief

                       a)     Dismissal Under Fed. R. Civ. P. 12(b)(1)

The FCA Defendants argue that Plaintiffs’ claims should be dismissed under Fed. R. Civ. P. 12(b)(1)
because they do not have standing. Dkt. 230 at 23-24. Although the FCA Defendants do not specify
which of Plaintiffs’ claims should be dismissed on this basis, a review of the cases on which the FCA
Defendants rely for this request shows that the request appears to be as to the Unfair Competition Law
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(“UCL”), California Consumers Legal Remedies Act (“CLRA”) and False Advertising Law (“FAL”)
claims. See Tae Hee Lee v. Toyota Motor Sales, U.S.A., Inc., 992 F. Supp. 2d 962, 971-72 (C.D. Cal.
2014); Cahen v. Toyota Motor Corp., 717 Fed. App’x 720, 723-24 (9th Cir. 2017).

                               (1)     Legal Standards

                                       (a)     Article III Standing

“[T]hose who seek to invoke the jurisdiction of the federal courts must satisfy the threshold requirement
imposed by Article III of the Constitution by alleging an actual case or controversy.” City of Los Angeles
v. Lyons, 461 U.S. 95, 101 (1983). Where a plaintiff lacks standing, a federal court “lacks subject matter
jurisdiction over the suit.” Cetacean Cmty. V. Bush, 386 F.3d 1169, 1174 (9th Cir. 2004). A party
seeking to invoke the limited jurisdiction of a federal court bears the burden of establishing that it has
standing to bring the action. Lopez v. Candaele, 630 F.3d 775, 784-85 (9th Cir. 2010). “A plaintiff must
demonstrate constitutional standing separately for each form of relief requested.” Davidson v. Kimberly-
Clark Corp., 889 F.3d 956, 967 (9th Cir.), cert. denied, 139 S. Ct. 640 (2018).

“[T]o satisfy Article III's standing requirements, a plaintiff must show (1) [he or she] has suffered an
‘injury in fact’ that is (a) concrete and particularized and (b) actual or imminent, not conjectural or
hypothetical; (2) the injury is fairly traceable to the challenged action of the defendant; and (3) it is
likely, as opposed to merely speculative, that the injury will be redressed by a favorable
decision.” Friends of the Earth, Inc. v. Laidlaw Env’t. Servs. (TOC), Inc., 528 U.S. 167, 180-81 (2000).
To pursue injunctive relief, “[w]here standing is premised entirely on the threat of repeated injury, a
plaintiff must show ‘a sufficient likelihood that he will again be wronged in a similar way.’ ” Davidson,
889 F.3d at 967 (citation omitted).

                                       (b)     Statutory Standing

The CLRA, UCL and FAL each has a statutory standing requirement.

In 2004, Cal. Bus. & Prof. Code § 17204 was amended by Proposition 64 to restrict “private standing”
to bring a claim under the UCL “to any ‘person who has suffered injury in fact and has lost money or
property’ as a result of unfair competition.” Kwikset Corp. v. Superior Ct., 51 Cal. 4th 310, 320-21 (Cal.
2011) (citing Cal. Bus. & Prof. Code § 17204; Californians for Disability Rights v. Mervyn's, LLC, 39
Cal.4th 223, 227-28 (Cal. 2006)); see Hinojos v. Kohl's Corp., 718 F.3d 1098, 1103 (9th Cir. 2013), as
amended on denial of reh’g and reh’g en banc (July 8, 2013). “Proposition 64 made identical changes
to the standing provision of the false advertising law; where once ‘any person acting for the interests of
itself, its members or the general public’ could sue, now standing is limited to ‘any person who has
suffered injury in fact and has lost money or property as a result of a violation of this chapter.’ ” Kwikset,
51 Cal. 4th at 321 (citing Cal. Bus. & Prof. Code § 17535) (internal quotation marks, brackets and
citations omitted). “To satisfy the narrower standing requirements imposed by Proposition 64, a party
must now (1) establish a loss or deprivation of money or property sufficient to qualify as injury in fact,
i.e., economic injury, and (2) show that that economic injury was the result of, i.e., caused by, the unfair
business practice or false advertising that is the gravamen of the claim.” Id. at 322. The latter
requirement has been interpreted to require a showing of actual reliance. See Hall v. Time Inc., 158
Cal. App. 4th 847, 855 (2008), as modified (Jan. 28, 2008) (“The phrase ‘as a result of’ in its plain and
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ordinary sense means ‘caused by’ and requires a showing of a causal connection or reliance on the
alleged misrepresentation.”).

Claims brought under the CLRA are subject to similar standing requirements. Under Cal. Civ. Code §
1780(a), CLRA actions may only be brought by a “consumer who suffers any damage as a result of the
use or employment of a proscribed method, act, or practice.” See Veera v. Banana Republic, LLC, 6
Cal. App. 5th 907, 916 n.3 (Cal. Ct. App. 2016) (citations and quotations omitted). Thus, reliance is also
required to have standing to bring a claim under the CLRA, because § 1780(a) uses the same “as a
result of” language. See id. (“[T]he CLRA does not require lost injury or property, but does require
damage and causation. ‘Under Civil Code section 1780, subdivision (a), CLRA actions may be brought
only by a consumer who suffers any damage as a result of the use or employment of a proscribed
method, act, or practice.... Accordingly, plaintiffs in a CLRA action [must] show not only that a
defendant’s conduct was deceptive but that the deception caused them harm.’ ”) (citations and internal
quotations omitted); Morizur v. Seaworld Parks & Ent., Inc., No. 15-CV-02172-JSW, 2020 WL 6044043,
at *17 (N.D. Cal. Oct. 13, 2020) (“[R]eliance is an essential element of a plaintiff's statutory standing to
sue under the UCL, FAL, and CLRA.”); In re NJOY, Inc. Consumer Class Action Litig., 120 F. Supp. 3d
1050, 1088 (C.D. Cal. 2015) (“To have UCL and CLRA standing, [the plaintiff] must have purchased a
product he would not otherwise have purchased, or paid a price premium for the product, in reliance on
[the defendant's] misrepresentations.”); Backhaut v. Apple, Inc., 74 F. Supp. 3d 1033, 1047 (N.D. Cal.
2014) (“A plaintiff may bring a claim under the CLRA so long as she ‘suffer[ed] any damage as a result
of’ a proscribed practice under the CLRA. This means that to adequately plead a CLRA claim, a plaintiff
must allege that she relied on the defendant's alleged misrepresentation and that she suffered
economic injury as a result.” (citations omitted) (emphasis added)).

The standing requirement of § 1780(a) requires only that a consumer have suffered “any damage” due
to the violation. Hinojos, 718 F.3d at 1107-8. This is distinct from the requirement of “lost money or
property” that applies to standing under the FAL and UCL. The “any damage” requirement has been
deemed a “capacious one that includes any pecuniary damage as well as opportunity costs and
transaction costs that result when a consumer is misled by deceptive marketing
practices.” Id. Accordingly, “any plaintiff who has standing under the UCL's and FAL's ‘lost money or
property’ requirement will, a fortiori, have suffered ‘any damage’ for purposes of
establishing CLRA standing.” Id.

                                              (i)     Economic Injury Requirement

“The ‘lost money or property’ requirement . . . requires a plaintiff to demonstrate ‘some form of
economic injury’ as a result of his transactions with the defendant, although ‘the quantum of lost money
or property necessary to show standing is only so much as would suffice to establish Article III injury in
fact.’ ” Hinojos, 718 F.3d at 1104 (internal citations and brackets omitted). The economic injury
requirement is satisfied, inter alia, when a consumer “purchased a product that he or she paid more for
than he or she otherwise might have been willing to pay if the product had been labeled accurately,”
and when a consumer “would not have bought the product but for the misrepresentation.” Kwikset, 51
Cal. 4th at 330.

The CAC sufficiently alleges that Plaintiffs suffered an economic injury that qualifies as an injury-in-fact.
“[T]he Ninth Circuit has repeatedly held that when a consumer alleges that she would not have

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purchased property, or would have paid less for it had the seller not misrepresented the property or
failed to disclose its limitations, the consumer has plausibly alleged an injury-in-fact. “ In re Toyota
RAV4 Hybrid Fuel Tank Litig., 534 F. Supp. 3d 1067, 1084 (N.D. Cal. 2021); see, e.g., Tomek v. Apple
Inc., 636 F. App'x 712, 713 (9th Cir. 2016) (citing Kwikset, 51 Cal. 4th at 317) (“ ‘[P]laintiffs who can
truthfully allege they were deceived by a [company’s representations] into spending money to purchase
[a] product, and would not have purchased it otherwise,’ . . . have suffered an economic injury sufficient
to confer standing under the UCL and Article III of the Constitution.”).

The CAC alleges that, “[h]ad Defendants disclosed the ACU defect at the point of sale, Plaintiffs would
have seen such disclosures and would not have bought or leased the vehicles or they would have paid
a significantly lower price to purchase or lease them.” Dkt. 278 ¶ 22. This is sufficient to allege injury-in-
fact. See In re Toyota Motor Corp., 790 F. Supp. 2d 1152, 1164–65 (C.D. Cal. 2011) (citing Lujan v.
Defenders of Wildlife, 504 U.S. 555, 560 (1992)) (“[G]eneral factual allegations of injury (i.e., the
overpayment) suffice at the pleadings stage because courts must ‘presum[e] that general allegations
embrace those specific facts that are necessary to support the claim.’ Because every lead Plaintiff
alleges a safety defect, and defective cars are not worth as much as defect-free cars, Plaintiffs
plausibly establish an economic loss.”); cf. Sims v. Kia Motors Am., Inc., No. SA-CV-13-1791-AGD
(FMx), 2014 WL 12558249, at *3 (C.D. Cal. Mar. 31, 2014) (plaintiffs had standing as to claims about
purchased vehicles where they had alleged that the “gas tanks have specific defects,” “that a car with
these defects is worth less than a car without the defects,” and that “absent Defendants'
representations about safety and Defendants' concealment of the gas tank defects, Plaintiffs would not
have purchased the vehicles or would have paid a lower price”).

The reliance by the FCA Defendants on Cahen, 717 Fed. App’x at 723-24, is unpersuasive. Dkt. 230 at
24. The plaintiffs in Cahen alleged that their vehicles were “equipped . . . with computer technology that
is susceptible to being hacked by third parties.” Cahen v. Toyota Motor Corp., 147 F. Supp. 3d 955, 958
(N.D. Cal. 2015). They did not allege “that any of their vehicles ha[d] actually been hacked, or that they
[were] aware of any vehicles that ha[d] been hacked outside of controlled environments.” Id. at 959.
The Ninth Circuit affirmed the dismissal of the action on this basis, finding that the plaintiffs “failed to
sufficiently allege an injury due to the risk of hacking itself,” because they “[did] not allege that any of
their vehicles ha[d] actually been hacked.” 717 Fed. App’x at 723. Because it was not alleged that the
defect had occurred, plaintiffs’ “economic loss theory” was “not credible.” Id.; see In re Toyota Motor
Corp., 790 F. Supp. 2d at 1165 n.11 (“When the economic loss is predicated solely on how a product
functions, and the product has not malfunctioned, . . . something more is required than simply alleging
an overpayment for a ‘defective’ product.”) (emphasis added).

The CAC does allege that a material defect is already present and has had an effect on the Class
Vehicles. That is consistent with the allegations in similar cases that were deemed sufficient as to
claimed economic loss due to the purchase of a vehicle. See Chrysler-Dodge-Jeep Ecodiesel, 295 F.
Supp. 3d at 950; Sloan v. Gen. Motors LLC, No. 16-CV-07244-EMC, 2017 WL 3283998, at *4 (N.D.
Cal. Aug. 1, 2017); Sims v. Kia Motors Am., Inc., No. SACV131791AGDFMX, 2014 WL 12558249, at *3
(C.D. Cal. Mar. 31, 2014). “[W]hen a complaint includes concrete allegations of a current universal
vehicle defect, . . . those allegations plausibly and specifically support an overpayment theory of injury.
This is because ‘[a] vehicle with a defect is worth less than one without a defect.’ ” Chrysler-Dodge-
Jeep Ecodiesel, 295 F. Supp. 3d at 950 (citing In re Toyota Motor Corp., 790 F. Supp. 2d at 1163).

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Also unpersuasive is the citation by the FCA Defendants to In re Toyota Motor Corp. Dkt. 302 at 8-9
(citing 790 F. Supp. 2d at 1161). There, the plaintiffs were only required to show “something more . . .
than simply alleging an overpayment for a ‘defective’ product” because, “the product ha[d] not
malfunctioned.” 790 F. Supp. 2d at 1165 n.11. Those were also the allegations in Anderson v. Hyundai
Motor Co. Ltd., which is also cited by the FDA Defendants and which itself cited In re Toyota Motor
Corp. Dkt. 302 at 8-9 (citing No. SA-CV-13-1842-DMG (RNBx), 2014 WL 12579305, at *7 (C.D. Cal.
July 24, 2014)). In contrast, the CAC alleges that a defect already has occurred, so “something more” is
not required. Further, In re Toyota Motor Corp. explained that the requisite “something more” could be
satisfied by “sufficiently detailed, non-conclusory allegations of the product defect.” 790 F. Supp. 2d at
1165 n.11. The CAC provides those.


                                             (ii)    Reliance Requirement

To establish standing to bring claims under the UCL, FAL or CLRA, Plaintiffs also must establish actual
reliance. See Davidson v. Kimberly-Clark Corp., No. C 14–1783 PJH, 2014 WL 3919857, at *9 (N.D.
Cal. Aug. 8, 2014); Bronson v. Johnson & Johnson, Inc., No. C 12-04184 CRB, 2013 WL 1629191, at
*2 (N.D. Cal. Apr. 16, 2013). The CAC does not satisfy this requirement.

Actual reliance is a required element of standing whether the claims are premised on a fraudulent
misrepresentation or omission theory. See Phillips v. Apple Inc., No. 15-CV-04879-LHK, 2016 WL
1579693, at *5 (N.D. Cal. Apr. 19, 2016) (citations omitted) (“[W]here the unfair competition or false
advertising underlying a plaintiff's claim consists of a defendant’s misrepresentation or omission, the
UCL and the FAL require a plaintiff to establish actual reliance on the alleged misrepresentation or
omission to establish statutory standing.”); Kane v. Chobani, Inc., No. 12-CV-02425-LHK, 2013 WL
5289253, at *5-6 (N.D. Cal. Sept. 19, 2013) (actual reliance is required for Article III standing for UCL,
FAL, and CLRA claims); Kwikset, 51 Cal. 4th at 326-27 (2011) (citing Tobacco II, 46 Cal. 4th at 306) (“A
plaintiff ‘proceeding on a claim of misrepresentation as the basis of his or her UCL action must
demonstrate actual reliance on the allegedly deceptive or misleading statements, in accordance with
well-settled principles regarding the element of reliance in ordinary fraud actions.’ ”).

“To establish actual reliance, the plaintiff must allege that ‘the defendant's misrepresentation or
nondisclosure was an immediate cause of the plaintiff's injury-producing conduct.’ ” Williams v. Apple,
Inc., 449 F. Supp. 3d 892, 912–13 (N.D. Cal. 2020) (citing Tobacco II, 46 Cal. 4th at 326); see Daniel,
806 F.3d at 1225. “A plaintiff may establish that the defendant's misrepresentation is an
immediate cause of the plaintiff's conduct by showing that in its absence the plaintiff in all reasonable
probability would not have engaged in the injury-producing conduct.” Williams v. Apple, 449 F. Supp. 3d
at 912–13 (citing Tobacco II, 46 Cal. 4th at 326). It is unnecessary to establish that a defendant’s
misrepresentation or omission was “ ‘the sole or even the predominant or decisive factor influencing his
conduct,’ only that it ‘played a substantial part’ in the plaintiff’s decision-making.” Id. at 913 (citing
Tobacco II, 46 Cal. 4th at 326). A plaintiff may do so by simply proving “ ‘that, had the omitted
information been disclosed, one would have been aware of it and behaved differently.’ ” Ehrlich v. BMW
of N. Am., LLC, 801 F. Supp. 2d 908, 916 (C.D. Cal. 2010) (citing Mirkin v. Wasserman, 858 P.2d 568,
574 (Cal. 1993)).



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The CAC sufficiently alleges that Plaintiffs would have made different decisions with respect to the
purchase or lease of vehicles had they been aware of the Alleged Defect. See Dkt. 278 ¶ 74. “That one
would have behaved differently can be presumed, or at least inferred, when the omission is material.”
Daniel, 806 F.3d at 1225 (citing Tobacco II, 46 Cal. 4th at 327). An omission is material “if ‘a
reasonable man would attach importance to its existence or nonexistence in determining his choice of
action in the transaction in question.’ ” Tobacco II, 46 Cal. 4th at 327 (citing Engalla v. Permanente
Medical Group, Inc., 15 Cal. 4th 951, 976-77 (Cal. 1997)). The Alleged Defect concerns the safety of
the Class Vehicles, including the risk that the airbags will not deploy during a collision. Dkt. 278 ¶ 8.
This is sufficient as to whether a reasonable person would consider this material to a decision on
whether to purchase or lease a particular vehicle.

The CAC has a different shortcoming. It does not plead the “first sub-element [of reliance] -- that they
would have been aware of a disclosure” by Defendants. Daniel, 806 F.3d at 1226; see also Cooper v.
Simpson Strong-Tie Co., Inc., 460 F. Supp. 3d 894, 910 (N.D. Cal. 2020) (citing Sud v. Costco
Wholesale Corp., 229 F. Supp. 3d 1075, 1083 (N.D. Cal. 2017)) (“Even though a change in behavior
can be presumed if the omitted information is material, a plaintiff alleging fraud must still be able to
show she would have been aware of the information had it been disclosed. “).

The ZF Defendants argue that Plaintiffs “plead almost nothing about their individual purchases or what
materials they reviewed, and certainly plead no interactions with ZF.” Dkt. 209 at 29. In response,
Plaintiffs rely on the allegations that “ ‘[h]ad Defendants disclosed the ACU defect at the point of sale,
Plaintiffs would have seen such disclosures and would not have bought or leased the vehicles or they
would have paid a significantly lower price to purchase or lease them.’ ” Dkt. 283 at 12 (citing Dkt. 278
¶ 22). That Plaintiffs would have been aware of a disclosure had there been one is a conclusory
allegation that, without more specificity, is not sufficient to establish reliance.

Cooper is analogous. 460 F. Supp. 3d at 911. It was determined that the plaintiffs there, relying on a
similar allegation that “had [the defendant] disclosed the omitted information, Plaintiffs would have been
aware of it,” failed to establish reliance because they “ha[d] not alleged any facts in the [complaint] in
support of such a theory.” Id.; cf. Madani v. Volkswagen Grp. of Am., Inc., No. 17-cv-07287-HSG, 2019
WL 3753433, at *11 (N.D. Cal. Aug. 8, 2019) (“Plaintiffs Madani and Oushana plead no facts
whatsoever to establish that they would have been aware of the safety defect, if it were disclosed.”);
Gomez v. Carmax Auto Superstores California, LLC, No. 2:14-CV-09019-CAS PL, 2015 WL 350219, at
*9 (C.D. Cal. Jan. 22, 2015) (“[P]laintiff does not plead with particularity when she saw or heard the
advertisements.”).

"To make the reliance showing, . . . plaintiffs in misrepresentation cases must allege that they actually
read the challenged representations.” Perkins v. LinkedIn Corp., 53 F. Supp. 3d 1190, 1220 (N.D. Cal.
2014) (collecting cases). “Additionally, to adequately plead reliance for alleged misrepresentations,
Plaintiffs must satisfy Rule 9(b)'s heightened pleading standard and allege facts with
particularity.” Williams v. Apple, 449 F. Supp. 3d at 913 (citing Haskins v. Symantec Corp., 654 Fed.
App'x 338, 339 (9th Cir. 2016)). As for showing reliance on an alleged omission, the standard is more
relaxed, and “[t]here are . . . various ways in which a plaintiff can demonstrate that she would have
been aware of a defect, had disclosure been made.” Madani, 2019 WL 3753433, at *11 (citing Daniel,
806 F.3d at 1225; Myers, 2016 WL 5897740, at *6). However, plaintiffs are nonetheless required to
plead some facts “to establish that they would have been aware of the safety defect, if it were
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disclosed.” Id.

Plaintiffs have not alleged that they actually read Defendants’ alleged misrepresentations, nor have
they made sufficient allegations that they would have been aware of a disclosure of the Alleged Defect
had one been made. The CAC alleges:

         Each Plaintiff decided to acquire a Class Vehicle based in part on the Vehicle Manufacturer
         Defendants’ representations regarding the safety of the Class Vehicles and the effectiveness of
         their Occupant Restraint Systems, and/or the Vehicle Manufacturer Defendants presenting
         themselves as reputable manufacturers that value safety.

Dkt. 278 ¶ 706.

It then alleges that “each Defendant concealed the truth [of the ACU defect], intending for Plaintiffs and
Class members to rely on partial representations and omitted facts when acquiring a Class Vehicle—
which they did.” Id. ¶ 716. These allegations are conclusory.

The CAC does not allege that Plaintiffs actually read the claimed misleading representations. Nor does
it allege that Plaintiffs were exposed to the materials that should have included a disclosure of the
Alleged Defect, or that they would have seen it had it been disclosed. Such allegations have been
deemed necessary to plead reliance in a claim as to a vehicle defect. Compare Daniel, 806 F.3d at
1226 (“Plaintiffs presented evidence that they interacted with and received information from sales
representatives at authorized Ford dealerships prior to purchasing their [vehicles].”), Finney v. Ford
Motor Co., No. 17-cv-06183-JST, 2018 WL 2552266, at *6 (N.D. Cal. June 4, 2018) (“[Plaintiff] . . .
alleges that she interacted with sales personnel at Novato Ford, an authorized Ford dealership, who
told her the engine had superior performance.”), and Sharma v. Volkswagen AG, 524 F. Supp. 3d 891,
910-11 (N.D. Cal. 2021) (citing Madani, 2019 WL 3753433, at *11) (internal citations omitted)
(“[Plaintiff’s] allegation, that he ‘viewed and relied on the Monroney Labels on his cars before leasing
his cars,’ and that ‘[h]ad Defendants disclosed the AEB Defect, [Plaintiff] would not have leased the
cars or would not have done so on the same terms,’ is sufficient to show that he ‘would have been
aware of the disclosure if it had been made.’ ”), with Buckley v. BMW N. Am., No. CV 19-1255-MWF-
SS, 2019 WL 6465509, at *9 (C.D. Cal. Dec. 2, 2019) (internal citation omitted) (“[A]lthough the
[complaint] alleges Plaintiff relied on misrepresentations made by BMW NA and BMW AG in
advertisements, including a BMW brochure about the wheels of the Z4, [it] does not allege the other
necessary information, such as when Plaintiff viewed the brochure or specific information about the
other advertisements, including which advertisements, when he viewed those advertisements, and the
material misrepresentations contained in those advertisements that he relied on in purchasing the Z4.”),
and Ehrlich, 801 F. Supp. 2d at 919–20 (citing Sanchez v. Wal Mart Stores, No. 06–CV–2573 JAM–
KJM, 2009 WL 2971553, at *2–3 (E.D. Cal. Sept. 11, 2009) (“Plaintiff does not allege that, before he
bought his MINI, he reviewed any brochure, website, or promotional material that might have contained
a disclosure of the cracking defect. . . . [T]he Court agrees with BMW that the FAC is devoid of
allegations that Plaintiff would have plausibly been aware of the cracking defect before he purchased
his MINI had BMW publicized this information.”).




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Because the CAC does not sufficiently plead reliance, Plaintiffs have not established statutory standing
for the UCL, FAL and CLRA claims. Therefore, California Counts 5, 6 and 7 are DISMISSED WITHOUT
PREJUDICE, i.e., with leave to amend, as to all Defendants.

                       b)      Pleading Inadequacy of Legal Remedies

Defendants also argue that the claims for equitable relief fail because there is not a sufficient allegation
that there are inadequate legal remedies. Dkt. 208 at 69. The CAC asserts a nationwide claim for unjust
enrichment -- Nationwide Count 8 -- (See Dkt. 278 at 280) and several state unfair or deceptive trade
practices claims, including ones pursuant to the UCL and CLRA. See Dkt. 278 at 6-19. 25 The CAC
seeks various forms of equitable relief, including injunctive relief, restitution and disgorgement, as well
as declaratory relief. See id. at 581-83.

“[E]quitable relief is not appropriate where an adequate remedy exists at law.” Schroeder v. United
States, 569 F.3d 956, 963 (9th Cir. 2009). Therefore, a plaintiff “must establish that she lacks an
adequate remedy at law before securing equitable restitution for past harm under the UCL and CLRA.”
Sonner v. Premier Nutrition Corp., 971 F.3d 834, 844 (9th Cir. 2020) (citing Mort v. United States, 86
F.3d 890, 892 (9th Cir. 1996)); see Anderson v. Apple Inc., 500 F. Supp. 3d 993, 1009 (N.D. Cal. 2020)
(“Under Sonner, [plaintiffs] are required, at a minimum, to plead that they lack an adequate remedy at
law.”). Although Sonner most often has been applied to dismiss claims under the CLRA and the UCL,
claims for equitable relief under other statutes have been dismissed as well. See Drake v. Toyota Motor
Corp., No. 2:20-CV-01421-SB-PLA, 2021 WL 2024860, at *7 (C.D. Cal. May 17, 2021) (applying
Sonner to dismiss Illinois UDTPA claim).

Plaintiffs argue that “[t]his case is at the pleading stage” (id.) (internal quotation marks omitted), unlike
Sonner, in which, after four years of litigation and on the eve of trial, the plaintiff strategically dropped
her CLRA claims to secure a bench trial. Sonner, 971 F.3d at 837. However, “[n]othing in Sonner limits
its precedential value to such circumstances,” Zaback v. Kellogg Sales Co., No. 320CV00268BENMSB,
2020 WL 6381987, at *4 (S.D. Cal. Oct. 29, 2020), and Plaintiffs have not presented any basis for such
a determination. Instead, Plaintiffs cite cases that preceded Sonner. Dkt. 281 at 64 (citing Infanzon v.
Allstate Ins. Co., No. 19-CV-6483, 2020 WL 3891671, at *6 (C.D. Cal. Apr. 14, 2020); In re Vizio, Inc.,
Consumer Priv. Litig., 238 F. Supp. 3d 1204, 1233-34 (C.D. Cal. 2017)). More recent decisions have
rejected the argument that Sonner does not apply at the pleading stage. See Drake, 2021 WL 2024860,
at *7; Pelayo v. Hyundai Motor Am., Inc., No. 820CV01503JLSADS, 2021 WL 1808628, at *9 (C.D. Cal.
May 5, 2021); In re Cal. Gasoline Spot Mkt. Antitrust Litig., No. 20-CV-03131-JSC, 2021 WL 1176645,
at *7-8 (N.D. Cal. Mar. 29, 2021); Clark v. Am. Honda Motor Co., 528 F. Supp. 3d 1108, 1121-22 (C.D.
Cal. 2021); Anderson v. Apple Inc., 500 F. Supp. 3d at 1009; Teresa Adams v. Cole Haan, LLC, No.
SA-CV-20-913-JVS (DFMx), 2020 WL 5648605, at *2 (C.D. Cal. Sept. 3, 2020); Zaback, 2020 WL
6381987, at *4 (collecting cases).

Plaintiffs also argue that, pursuant to Fed. R. Civ. P. 8(d), they may plead claims in the alternative. Dkt.
281 at 64. Although “Plaintiffs are . . . entitled to plead alternative claims” under that rule, In re Ford

25 Counts AL-3, AL-4, AZ-3, AZ-4, CA-5, CA-6, CA-7, CO-3, CO-4, CT-3, CT-4, FL-3, FL-4, IL-4, IL-5, IL-6, IN-3,
IN-4, KS-3, KS-4, LA-2, LA-3, MD-3, MD-4, MA-3, MA-4, MI-3, MI-4, MN-3, MN-4, MN-5, MN-6, MO-3, MO-4, MT-
3, MT-4, NV-3, NV-4, NJ-3, NJ-4, NY-3, NY-4, NY-5, NC-3, NC-4, OK-3, OK-4, PA-3, PA-4, SC-3, SC-4, SC-5,
SC-6, SD-3, SD-4, TN-3, TN-4, TX-3, TX-4, VA-3, VA-4, WA-3, WA-4, WI-3.
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Tailgate Litig., No. 11-CV-2953-RS, 2014 WL 1007066, at *5 (N.D. Cal. Mar. 12, 2014), order corrected
on denial of reconsideration, No. 11-CV-2953-RS, 2014 WL 12649204 (N.D. Cal. Apr. 15, 2014), “
‘where [an equitable claim] relies upon the same factual predicates as a plaintiff's legal causes of
action, it is not a true alternative theory of relief but rather is duplicative of those legal causes of action.”
Loo v. Toyota Motor Sales, USA, Inc., No. 819CV00750VAPADSX, 2019 WL 7753448, at *13 (C.D.
Cal. Dec. 20, 2019) (citing In re Ford Tailgate Litig., 2014 WL 1007066, at *5) (alteration in original).

“The dispositive issue in Sonner was the plaintiff's failure to plead inadequate remedies at law or
explain why the remedies she requested in the complaint would be inadequate.” In re California
Gasoline Spot Mkt. Antitrust Litig., No. 20-cv-03131-JSC, 2021 WL 1176645, at *7 (N.D. Cal. Mar. 29,
2021). Plaintiffs rely on one conclusory allegation in the CAC -- "Plaintiffs and Class members do not
have an adequate remedy at law.” Dkt. 281 at 64 (citing Dkt. 278 ¶ 730). This is insufficient.

“[L]ike Sonner, Plaintiffs fail to include any substantive allegations that they lack an adequate legal
remedy.” Drake, 2021 WL 2024860, at *7 (citing Adams, 2020 WL 5648605, at *2); see Sonneveldt v.
Mazda Motor of Am., Inc., No. 8-19-CV-01298, 2021 WL 62502, at *17 (C.D. Cal. Jan. 4, 2021)
(“[C]ourts have dismissed claims under the UCL and CLRA where the plaintiffs failed to allege facts
that, if true, would demonstrate inadequacy.” (citations omitted)); Elizabeth M. Byrnes, Inc. v.
Fountainhead Com. Cap., LLC, No. CV-20-04149-DDP, 2021 WL 5507225, at *5 (C.D. Cal. Nov. 24,
2021) (dismissing the plaintiff’s equitable claims where she “allege[d] . . . that she lacks an adequate
remedy at law,” and “[b]eyond that, . . . ma[de] no effort to allege, or explain in her Opposition, why her
legal remedies are or may be inadequate”); Adams, 2020 WL 5648605, at *3 (“The problem for [the
plaintiff] is that her complaint does not provide any allegations that explain why she will be irreparably
harmed should the Court not grant equitable relief.”). Plaintiffs also fail to explain why money damages
are not an adequate remedy. See Gibson v. Jaguar Land Rover N. Am., LLC, No. CV 20-00769-CJC
(GJSx), 2020 WL 5492990, at *3 (C.D. Cal. Sept. 9, 2020) (“[C]ourts generally require plaintiffs seeking
equitable relief to allege some facts suggesting that damages are insufficient to make them whole.”);
see also In re MacBook Keyboard Litig., No. 5:18-CV-02813-EJD, 2020 WL 6047253, at *3 (N.D. Cal.
Oct. 13, 2020) (“Courts generally hold that monetary damages are an adequate remedy for claims
based on an alleged product defect, and reject the argument that injunctive relief . . . is appropriate.”).

For the foregoing reasons, the Joint Motion is GRANTED WITHOUT PREJUDICE, i.e., with leave to
amend, as to Plaintiffs’ claims for equitable relief. 26 Because the Illinois Uniform Deceptive Trade
Practices Act (“UDTPA”) only provides equitable remedies, Illinois Counts 5 and 6, for violation of the
UDTPA, are DISMISSED WITHOUT PREJUDICE, i.e., with leave to amend; provided, however, any
claims for damages based on Illinois Counts 5 and 6 for alleged violations of the UDTPA are
precluded. 27

26 Because the UCL “ ‘provides only for equitable remedies,’ “ California Count 7 also fails on this basis. Sonner,
971 F.3d at 839 n.2 (citing Hodge v. Superior Ct., 51 Cal. Rptr. 3d 519, 523 (Cal. Ct. App. 2006)); see Sharma,
524 F. Supp. 3d at 909 (“Plaintiffs cannot seek legal remedies under the UCL.”); “Remedies under the UCL are
limited to restitution and injunctive relief, and do not include damages.” Silvercrest Realty, Inc. v. Great Am. E&S
Ins. Co., No. SACV1101197CJANX, 2012 WL 13028094, at *2 (C.D. Cal. Apr. 4, 2012) (citing Korea Supply Co.
v. Lockheed Martin, 29 Cal. 4th 1134, 1146-49 (Cal. 2003)).
27See In re Takata Airbag Prod. Liab. Litig., 464 F. Supp. 3d 1291, 1311 (S.D. Fla. 2020) (citing Universal
Gaming Grp. v. Taft Stettinius & Hollister LLP, No. 1-15-0878, 2017 WL 1240860, at *9 (Ill. App. Ct. 2017)) (“[A]
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                 3.      Fraud Claims

                         a)       Alabama Counts 3 and 4

The CAC advances a claim against the Honda Defendants for an alleged violation of the Alabama
Deceptive Trade Practices Act, Ala. Code §§ 8-19-1 et seq. Dkt. 278 ¶¶ 759-75 (“Alabama Count 3”). It
also includes a claim against the ZF Defendants and the STMicro Defendants under the same statute.
Id. ¶¶ 776-93 (“Alabama Count 4”).

The CAC does not specify which of the Honda Defendants, the ZF Defendants or the STMicro
Defendants engaged in which allegedly fraudulent conduct. Consequently, it does not meet the
standards of Fed. R. Civ. P. 9(b), which requires pleading fraud claims with particularity. See In re
Toyota, 785 F. Supp. 2d at 919 (“A plaintiff may not simply lump together multiple defendants without
specifying the role of each defendant in the fraud.” (citing Swartz, 476 F.3d at 764)). Therefore,
Alabama Counts 3 and 4 are DISMISSED WITHOUT PREJUDICE, i.e., with leave to amend, as to the
Honda Defendants, the ZF Defendants and the STMicro Defendants.

                         b)       Arizona Counts 3 and 4

The CAC advances a claim against the FCA Defendants for an alleged violation of the Arizona
Consumer Fraud Act (“Arizona CFA”), Ariz. Rev. Stat. Ann. §§ 44-1521 et seq. Dkt. 278 ¶¶ 821-34
(“Arizona Count 3”). It also includes a claim against the ZF Defendants and the STMicro Defendants
under the same statute. Id. ¶¶ 835-48 (“Arizona Count 4”).

The Arizona CFA prohibits

         [t]he act, use or employment by any person of any deception, deceptive or unfair act or practice,
         fraud, false pretense, false promise, misrepresentation, or concealment, suppression or
         omission of any material fact with intent that others rely on such concealment, suppression or
         omission, in connection with the sale or advertisement of any merchandise whether or not any
         person has in fact been misled, deceived or damaged thereby.

Ariz. Rev. Stat. Ann. § 44-1522(A).

“The elements of a private claim under the [Arizona CFA] are a false promise or misrepresentation,
made in connection with the sale or advertisement of merchandise, and the plaintiff's consequent and
proximate injury from reliance on such a misrepresentation; such reliance need not be reasonable.”
Ferren v. Westmed Inc., No. CV-19-00598-TUC-DCB, 2021 WL 2012654, at *4 (D. Ariz. May 20, 2021)
(citation omitted).



plaintiff cannot seek damages under Illinois's Uniform Deceptive Trade Practices Act.”); Israel Travel Advisory
Serv. Inc. v. Israel Identity Tours, Inc., No. 92 C 2379, 1994 WL 30984, at *5 (N.D. Ill. Jan. 28, 1994) (“The Illinois
Uniform Deceptive Trade Practices Act only provides a cause of action for injunctive relief; damages are not
available.” (citing 815 ILCS § 510/3)), aff'd, 61 F.3d 1250 (7th Cir. 1995).
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The FCA Defendants argue that Plaintiffs have failed to allege “the vital elements of reliance or
causation.” Dkt. 230 at 28. Although under the Arizona CFA “reliance need not be reasonable, . . . even
unreasonable reliance must be based on the plaintiff’s actual exposure to the omission.” Schellenbach
v. GoDaddy.com, LLC, 321 F.R.D. 613, 624 (D. Ariz. 2017); see Cheatham v. ADT Corp., 161 F. Supp.
3d 815, 825-26 (D. Ariz. 2016) (citing Parks v. Macro–Dynamics, Inc., 591 P.2d 1005, 1008 (Ariz. Ct.
App. 1979) (“A misrepresentation causes injury where the consumer actually relies on it, but ‘unlike
common law fraud, this reliance need not be reasonable.’ ”).

Plaintiffs argue that “because FCA failed to disclose material, safety-related defects, allegations of
reliance can be inferred.” Dkt. 290 at 23 (citations omitted). To support the argument that such an
inference is appropriate under Arizona law, they cite Siemer v. Associates First Capital Corp., No. 97-
cv-281, 2001 WL 35948712 (D. Ariz. Mar. 30, 2001). Id. at 23-24 n.7. Siemer determined that, although
reliance is a necessary element of a private Arizona CFA cause of action, “Plaintiffs ha[d] sufficiently
demonstrated reliance by their purchase of credit life insurance.” Siemer, 2001 WL 35948712, at *4.
However, in that proceeding, “Plaintiffs [we]re seeking certification of a state-wide class concerning
[Defendants’] scheme of selling credit life insurance pursuant to a deceptive standardized form.” Id. The
presumption that a member of the class had relied on Defendants’ misrepresentations was reasonable.
Thus, to be a member of the class under the applicable definition, a person must have purchased
insurance by using the allegedly deceptive form. Therefore, exposure and corresponding reliance could
be inferred. The allegations here do not support the application of this reasoning.

Plaintiffs have not adequately pleaded actual reliance. Therefore, Arizona Counts 3 and 4 are
DISMISSED WITHOUT PREJUDICE, i.e., with leave to amend.

                      c)      Colorado Counts 3 and 4

The CAC advances a claim against the Mitsubishi Defendants for an alleged violation of the Colorado
Consumer Protection Act, Colo. Rev. Stat. §§ 6-1-101 et seq. Dkt. 278 ¶¶ 1010-22 (“Colorado Count
3”). It also includes a claim against the ZF Defendants and the STMicro Defendants under the same
statute. Id. ¶¶ 1023-35 (“Colorado Count 4”).

The CAC does not specify which of the Mitsubishi Defendants, the ZF Defendants or the STMicro
Defendants engaged in which allegedly fraudulent conduct. Consequently, it does not meet the
standards of Fed. R. Civ. P. 9(b), which requires pleading fraud claims with particularity. See In re
Toyota, 785 F. Supp. 2d at 919 (“A plaintiff may not simply lump together multiple defendants without
specifying the role of each defendant in the fraud.” (citing Swartz, 476 F.3d at 764)).

Therefore, Colorado Counts 3 and 4 are DISMISSED WITHOUT PREJUDICE, i.e., with leave to
amend, as to the Mitsubishi Defendants, the ZF Defendants and the STMicro Defendants.

                      d)      Connecticut Counts 3 and 4

The CAC advances a claim against the Honda Defendants for an alleged violation of the Connecticut
Unlawful Trade Practices Act, Conn. Gen. Stat. Ann. §§ 42-110a et seq. Dkt. 278 ¶¶ 1064-77
(“Connecticut Count 3”). It also includes a claim against the ZF Defendants and the STMicro
Defendants under the same statute. Id. ¶¶ 1078-91 (“Connecticut Count 4”).
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Once again, the CAC does not specify which of the Honda Defendants, the ZF Defendants or the
STMicro Defendants engaged in which allegedly fraudulent conduct. Consequently, it does not meet
the standards of Fed. R. Civ. P. 9(b), which requires pleading fraud claims with particularity. See In re
Toyota, 785 F. Supp. 2d at 919 (“A plaintiff may not simply lump together multiple defendants without
specifying the role of each defendant in the fraud.” (citing Swartz, 476 F.3d at 764)).

Therefore, Connecticut Counts 3 and 4 are DISMISSED WITHOUT PREJUDICE, i.e., with leave to
amend, as to the Honda Defendants, the ZF Defendants and the STMicro Defendants.

                        e)     Florida Counts 3 and 4

The CAC advances a claim against the FCA Defendants, Honda Defendants, Hyundai-Kia Defendants,
Toyota Defendants and Hyundai MOBIS for violation of the Florida Deceptive & Unfair Trade Practices
Act (“FDUTPA”), Fla. Stat. §§ 501.201 et seq. Dkt. 278 ¶¶ 1129-47 (“Florida Count 3”). It also includes
a claim against the ZF Defendants and the STMicro Defendants under the same statute. Id. ¶¶ 1148-62
(“Florida Count 4”).

“Under Florida law, a valid Florida Deceptive and Unfair Trade Practices Act claim must establish three
elements: (1) a deceptive act or unfair practice; (2) causation; and (3) actual damages.” In re Takata
Airbag Prod. Liab. Litig., No. 14-24009-CV, 2016 WL 5844872, at *3 (S.D. Fla. June 20, 2016)
(citing Rollins, Inc. v. Butland, 951 So. 2d 860, 869 (Fla. 2d DCA 2006)). “A party asserting a deceptive
trade practice claim need not show actual reliance on the representation or omission at issue.” Davis v.
Powertel, Inc., 776 So.2d 971, 973 (Fla. Dist. Ct. App. 2000); see Cold Stone Creamery, Inc. v. Lenora
Foods I, LLC, 332 F. App’x 565, 567 (11th Cir. 2009) (citing State, Off. of Att'y Gen. v. Com. Com.
Leasing, LLC, 946 So.2d 1253, 1258 (Fla. Dist. Ct. App. 2007)) (“[T]he FDUTPA does not require a
plaintiff to prove actual reliance on the alleged conduct.”).

Florida Counts 3 and 4 are not sufficiently alleged because they lack the required particularity as to the
Honda Defendants, the Toyota Defendants, Hyundai MOBIS, the ZF Defendants and the STMicro
Defendants. They also fail for the same reason with respect to the Hyundai-Kia Defendants other than
HMA and KMA and the FCA Defendants other than FCA US.

In support of these claims, the CAC alleges,

         [B]y misrepresenting the Class Vehicles and/or the defective ACUs installed in them as safe
         and/or free from defects, and by failing to disclose and actively concealing the dangers and risk
         posed by the Class Vehicles and/or the ACU defect, the FCA, Honda, Hyundai, Kia, Toyota
         Defendants, and Hyundai MOBIS engaged in unfair methods of competition, unconscionable
         acts or practices, and unfair or deceptive acts or practices in the conduct of any trade or
         commerce, as prohibited by Fla. Stat. § 501.204(1).

Dkt. 278 ¶ 1140. It further alleges,

         [B]y failing to disclose and actively concealing the dangers and risk posed by the Class Vehicles
         due to the ACU defect, the ZF TRW and STMicro Defendants engaged in unfair methods of
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         competition, unconscionable acts or practices, and unfair or deceptive acts or practices in the
         conduct of trade or commerce prohibited by Fla. Stat. § 501.204(1).

Id. ¶ 1155.

These vague and conclusory allegations that these Defendants misrepresented the Class Vehicles or
failed to disclose the Alleged Defect, are the only ones made in support of these causes of action. The
CAC does not include any specific factual allegations as to which of these Defendants engaged in
particular fraudulent conduct. Instead, the CAC once again “lump[ed] together multiple defendants
without specifying the role of each defendant in the fraud.” In re Toyota Motor Corp., 785 F. Supp. 2d at
919 (citing Swartz, 476 F.3d at 764). This is inadequate to meet the standards of Fed. R. Civ. P. 9(b).
For these reasons, Florida Counts 3 and 4 fail as to these Defendants.

Defendants also argue that the “economic loss rule—which generally states that a plaintiff may not
recover damages in tort that do not involve physical injury—bars damages for affirmative
misrepresentations in Florida . . . .” Dkt. 208 at 51 & n.10 (citing Cardenas v. Toyota Motor Corp., 418
F. Supp. 3d 1090, 1103-04 (S.D. Fla. 2019)). Cardenas held that Florida’s economic loss rule bars a
plaintiff’s common-law fraudulent concealment claim seeking recovery of purely economic damages.
However, Cardenas also concluded that the plaintiff stated a claim under FDUTPA, which is not
affected by the economic loss rule. 418 F. Supp. 3d at 1103, 1105. By relying only on Cardenas,
Defendants have not made a persuasive argument that the economic loss rule applies to Plaintiffs’
FDUTPA claims.

Finally, Defendants argue these causes of action are time-barred as to Plaintiffs Choc, McPherson and
Chaiken, whose claims accrued in 2013, and Accetta and Gales, whose claims accrued in 2015. Dkt.
208 at 65. Plaintiffs respond that Defendants’ alleged fraudulent concealment of the Alleged Defect
tolled the limitations period. Dkt. 281 at 63. “Pursuant to Florida Statute § 95.11(3)(f), the statute of
limitations for a FDUTPA claim is four years.” Koski v. Carrier Corp., 347 F. Supp. 3d 1185, 1192 (S.D.
Fla. 2017) (citing Fla. Stat. § 95.11(3)(f); Marlborough Holdings Grp., Ltd. v. Azimut-Benetti Spa,
Platinum Yacht Collection No. Two, Inc., 505 Fed. App’x 899, 906 (11th Cir. 2013)). “The statute of
limitations accrues at the time the product at issue is purchased.” Id. (citing S. Motor Co. of Dade Cty.
v. Doktorczyk, 957 So.2d 1215, 1218 (Fla. Dist. Ct. App. 2007)). Choc and Gales have brought claims
against the Toyota Defendants, Dkt. 278 ¶ 1134, and Plaintiffs’ FDUTPA claims already have been
dismissed as to those Defendants. That has also been the outcome as to the claims McPherson and
Chaiken against the Honda Defendants. Id. ¶ 1131. All of those Plaintiffs also bring FDUTPA claims
against the ZF Defendants and the STMicro Defendants; those claims already have been dismissed as
against those Defendants as well. See id. ¶ 1149. 28

Among these Plaintiffs, only Accetta has brought a FDUTPA claim against the FCA Defendants that
has not been dismissed. See id. ¶ 1130. Accetta is alleged to have purchased his Class Vehicle on
August 25, 2015, so his FDUTPA claims accrued on that date. See id. ¶ 104. Accetta filed a complaint

28 Because the FDUTPA claims of Choc, McPherson, Chaiken and Gales fail to include allegations with sufficient
particularity, Defendants’ argument that these claims are also time-barred is not addressed in this Order.
However, given that Defendants have raised the statute of limitations as an affirmative defense, to the extent that
Plaintiffs intend to amend the CAC as to these claims, Plaintiffs shall include in the amended complaint
allegations through which they seek to address Defendants’ argument that these claims are time barred.
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in this District on May 21, 2019, which is within the four-year limitations period. See Complaint, Bell v.
ZF Friedrichshafen AG, No. CV 19-00693 (C.D. Cal.).

For the foregoing reasons, Florida Count 4 is DISMISSED WITHOUT PREJUDCE, i.e., with leave to
amend, because it is only pleaded against the ZF and STMicro Defendants. Florida Count 3 is
DISMISSED WITHOUT PREJUDICE, i.e., with leave to amend, only as to the Honda Defendants, the
Toyota Defendants, Hyundai MOBIS, as well as to the Hyundai-Kia Defendants except KMA and HMA
and the FCA Defendants except FCA US. Plaintiffs have stated a claim under the FDUTPA against
KMA, HMA and FCA US.

                       f)      Illinois Counts 3 and 4

The CAC advances a claim against the Hyundai-Kia Defendants and Hyundai MOBIS for violation of
the Illinois Consumer Fraud and Deceptive Business Practices Act, 815 Ill. Comp. Stat. 505/1 et seq.
Dkt. 278 ¶¶ 1194-1211 (“Illinois Count 3”). It also includes a claim against the ZF Defendants and the
STMicro Defendants under the same statute. Id. ¶¶ 1212-28 (“Illinois Count 4”).

"The Illinois Consumer Fraud and Deceptive Business Practices Act (ICFA) ‘is a regulatory and
remedial statute intended to protect consumers … against fraud, unfair methods of competition, and
other unfair and deceptive business practices.’ ” Rodriguez v. Chase Home Fin., LLC, No. 10 C
05876CH, 2011 WL 5076346, at *2 (N.D. Ill. Oct. 25, 2011) (citing Robinson v. Toyota Motor Credit
Corp., 775 N.E.2d 951, 960 (Ill. 2002)) (alteration in original). To state a claim under the ICFA, “the
plaintiff must allege: ‘(1) a deceptive act or unfair practice occurred; (2) the defendant intended for
plaintiff to rely on the deception; (3) the deception occurred in the course of conduct involving trade or
commerce; (4) the plaintiff sustained actual damages; and (5) such damages were proximately caused
by the defendant's deception.” Id. (citing Dubey v. Public Storage, Inc., 918 N.E.2d 265, 277 (Ill. App.
Ct. 2009)).

The ZF Defendants argue that these claims should be dismissed for lack of sufficient allegations as to
causation. Dkt. 209 at 30-31 & n.12-13 (citing Preston v. Am. Honda Motor Co., No. CV-18-38-R, 2018
WL 5099507, at *3 (C.D. Cal. May 24, 2018), aff’d in relevant part, 783 F. App’x 669 (9th Cir. 2019); De
Bouse v. Bayer AG, 922 N.E.2d 309, 316 (Ill. 2009)). Preston is on point. There, the plaintiffs failed to
establish causation because they “d[id] not allege that they read or relied on the Monroney stickers or
any other pre-sale communication before purchasing their vehicles.” 2018 WL 5099507, at *3. Because
they did not establish any “causal link between the allegedly deceptive omission and the harm,” their
ICFA claim failed. Id. The Ninth Circuit affirmed, concluding that “[t]he district court correctly dismissed
the amended complaint because plaintiffs did not ‘allege that they read or relied on the Monroney
stickers or any other pre-sale communication before purchasing their vehicles.’ ” 783 Fed. App’x at 670.
“ ‘[T]o maintain an action under the [ICFA], the plaintiff must actually be deceived by a statement or
omission that is made by the defendant. If a consumer has neither seen nor heard any such statement,
then she cannot have relied on the statement and, consequently, cannot prove proximate cause.’ ” Id.
(quoting De Bouse, 922 N.E.2d at 316) (alterations in original); see Tait v. BSH Home Appliances
Corp., No. SACV 10-711 DOC AN, 2011 WL 1832941, at *7 (C.D. Cal. May 12, 2011) (citing Oshana v.
The Coca-Cola Co., 225 F.R.D. 575, 586 (N.D. Ill. 2005); Oliveira v. Amoco Oil Co., 201 Ill.2d 134, 155
(Ill. 2002)) (“To adequately plead the proximate causation element, a plaintiff must allege ‘his or her
knowledge of the deceptive acts and purported misstatements.’ . . . In the context of deceptive
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advertising, this requires a Plaintiff to allege that she personally ‘saw, heard or read any of defendant's
ads.’ ”).

As in Preston, the CAC does not sufficiently allege that Plaintiffs ever read, relied on or were even
exposed to the alleged misrepresentations or omissions. Therefore, its allegations are not sufficient on
the issue of proximate causation as to the ICFA claims. Therefore, Illinois Counts 3 and 4 are
DISMISSED WITHOUT PREJUDICE, i.e., with leave to amend.

                         g)      Indiana Counts 3 and 4

The CAC advances a claim against the Kia Defendants and Hyundai MOBIS for violation of the Indiana
Deceptive Consumer Sales Act (“IDCSA”), Ind. Code §§ 24-5-0.5-3 et seq. CAC ¶¶ 1285-1300
(“Indiana Count 3”). It also includes a claim against the ZF and STMicro Defendants under the same
statute. Id. ¶¶ 1301-17 (“Indiana Count 4”).

Defendants argue that these claims are time-barred. Dkt. 208 at 65; see Dkt. 219 at 32. Plaintiffs
respond that Defendants’ alleged fraudulent concealment of the Alleged Defect tolled the limitations
period. Dkt. 281 at 63 & n.21 (citing Carroll v. BMW of N. Am., LLC, No. 19-cv-224, 2019 WL 4243153,
at *7 (S.D. Ind. Sept. 6, 2019)).

“An action under the IDCSA must be brought within two years after the deceptive act.” Carroll, 2019 WL
4243153, at *7 (citing Ind. Code § 24-5-0.5-5(b)). “[T]he statutory period commences to run at the
occurrence of the deceptive act.” A.J.'s Auto. Sales, Inc. v. Freet, 725 N.E.2d 955, 964-65 (Ind. Ct. App.
2000).

Plaintiffs’ argument that fraudulent concealment tolls the IDCSA’s limitations period is not sufficiently
supported by the allegations in the CAC. “The statute of limitations may be tolled if the defendant
fraudulently conceals the action giving rise to liability.” Carroll, 2019 WL 4243153, at *7 (citing Ludwig v.
Ford Motor Co., 510 N.E.2d 691, 697 (Ind. Ct. App. 1987); Ind. Code § 34-11-5-1). However, “the
doctrine of fraudulent concealment is ‘narrowly defined,’ as the concealment must be ‘active and
intentional,’ and there must be some trick or contrivance intended by the defrauder. . . . Mere silence
will not constitute concealment, absent a duty to speak arising from a fiduciary or confidential
relationship.” Id. (citing Ludwig, 510 N.E.2d at 697). Plaintiffs have not alleged that there was a fiduciary
or confidential relationship between any Indiana Plaintiff or any Defendant, nor have they sufficiently
alleged that Defendants engaged in any “trick or contrivance.” Therefore, the application of fraudulent
concealment is not sufficiently supported by the present allegations in the CAC. 29

The Indiana Plaintiffs, Miller and Ogorek, purchased their respective Class Vehicles on October 22,
2016, and July 26, 2013, respectively. CAC ¶¶ 82-83. Each filed his or her claims in this action on May
21, 2019. See Complaint, Bell v. ZF Friedrichshafen AG, No. CV 19-00963 (C.D. Cal.). At that time,
absent some form of tolling, the limitations period had run. Therefore, Indiana Counts 3 and 4 are

29 Because the statute of limitations is an affirmative defense that may be waived, a plaintiff is not obligated to
address it with allegations in an initial complaint. However, once it has been raised in a response to a complaint, it
is appropriate to require allegations on the issue in any amended complaint. For those reasons, Indiana Counts 3
and 4 have been dismissed without prejudice, so that the Indiana Plaintiffs have the opportunity to seek to make
such allegations.
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DISMISSED WITHOUT PREJUDICE, i.e., with leave to amend.


                       h)      Maryland Counts 3 and 4

The CAC advances a claim against the Hyundai-Kia Defendants and Hyundai MOBIS for violation of
the Maryland Consumer Protection Act (“MCPA”), Md. Code Com. Law §§ 13-101 et seq. CAC ¶¶
1441-57 (“Maryland Count 3”). It also includes a claim against the ZF Defendants and the STMicro
Defendants under the same statute. Id. ¶¶ 1458-72 (“Maryland Count 4”).

The MCPA prohibits “unfair, abusive or deceptive trade practices,” including “any [f]alse . . . or
misleading oral or written statement . . . which has the capacity, tendency or effect of deceiving or
misleading consumers” and “any . . . [f]ailure to state a material fact if the failure deceives or tends to
deceive.” Md. Code Com. Law § 13-301. “Private parties who bring a suit must establish that they
“suffered an identifiable loss, measured by the amount the consumer spent or lost as a result of his or
her reliance on the sellers’ misrepresentation.” Chambers v. King Buick GMC, LLC, 43 F. Supp. 3d 575,
621 (D. Md. 2014) (citing Green v. Wells Fargo Bank, N.A., Civ. Action No. DKC 12–1040, 2014 WL
360087, at *3 n. 3 (D. Md. Jan. 31, 2014)). “An MCPA claim ‘sounds in fraud,’ and must be pleaded
with particularity.” Nyarko v. BMW of N. Am., LLC, No. CV RDB-18-3618, 2020 WL 1491361, at *7 (D.
Md. Mar. 27, 2020)(citing Fed. R. Civ. P. 9(b); Spaulding v. Wells Fargo Bank, N.A., 714 F.3d. 769, 777
(4th Cir. 2013)).

Maryland Counts 3 and 4 fail for lack of particularity as to the Hyundai-Kia Defendants, other than KMA
and HMA, and as to Hyundai MOBIS, the ZF Defendants and the STMicro Defendants. In support of
these claims, the CAC alleges as follows:

         In the course of their business, the Hyundai and Kia Defendants and Hyundai MOBIS, through
         their agents, employees, and/or subsidiaries, violated the Maryland CPA by knowingly and
         intentionally misrepresenting, omitting, concealing, and/or failing to disclose material facts
         regarding the reliability, safety, and performance of the Class Vehicles or the defective ACUs,
         as detailed above.

CAC ¶ 1449. It then alleges:

         Specifically, by misrepresenting the Class Vehicles and/or the defective ACUs installed in them
         as safe and/or free from defects, and by failing to disclose and actively concealing the dangers
         and risk posed by the Class Vehicles and/or the ACU defect, the Hyundai and Kia Defendants
         and Hyundai MOBIS engaged in one or more of the following unfair or deceptive business
         practices prohibited by Md. Code Com. Law § 13-303:

         ...

Id. ¶ 1450.

The CAC then alleges examples of such alleged misconduct, none of which attributes a particular
misrepresentation or omission to a particular Defendant. Identical allegations are made as to the ZF
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Defendants and the STMicro Defendants. Id. ¶ 1464-65. The vague and conclusory allegations that
these Defendants misrepresented the Class Vehicles or failed to disclose the Alleged Defect, are not
then supported by any specific factual allegations. Thus, there are no allegations as to which of these
Defendants engaged in particular fraudulent conduct. Instead, the CAC “lump[ed] together multiple
defendants without specifying the role of each defendant in the fraud.” In re Toyota Motor Corp., 785 F.
Supp. 2d at 919 (citing Swartz, 476 F.3d at 764). These allegations do not meet the standards of Fed.
R. Civ. P. 9(b), which have been addressed above. Therefore, Maryland Counts 3 and 4 do not
adequately state claims against these Defendants.

The ZF Defendants also argue that Plaintiffs have failed to plead reliance as required under the MCPA.
Dkt. 209 at 28 & n.11 (citing Tait, 2011 WL 1832941, at *7); see Dkt. 209-1 at 4. “Consumers must
prove that they relied on the misrepresentation in question to prevail on a damages action under the
MCPA.” Bank of Am., N.A. v. Jill P. Mitchell Living Tr., 822 F. Supp. 2d 505, 532 (D. Md. 2011) (citing
Philip Morris Inc. v. Angeletti, 358 Md. 689, 752 (Md. 2000)); see also Nyarko v. BMW of N. Am., LLC,
No. CV RDB-18-3618, 2020 WL 1491361, at *7 (D. Md. Mar. 27, 2020) (citing Stewart v. Bierman, 859
F. Supp. 2d. 754, 768 (D. Md. 2012)) (“To state a claim under the MCPA, plaintiffs must allege that the
defendant's conduct was ‘(1) an unfair or deceptive practice or misrepresentation that [was] (2) relied
upon, and (3) cause[d] them actual injury.’ ”) (alterations in original). The same is true for “[a] party
seeking to recover damages on a material omission theory under the MCPA.” Bank of Am., N.A., 822 F.
Supp. 2d at 534. Plaintiffs’ claims under the MCPA seek damages and injunctive relief. CAC ¶¶ 1457,
1472.

The standard for assessing reliance depends on whether an MCPA claim is based on alleged
misrepresentation or fraudulent omission. “A consumer relies on a misrepresentation when the
misrepresentation substantially induces the consumer's choice.” Bank of Am., N.A., 822 F. Supp. 2d at
532; see Currie v. Wells Fargo Bank, N.A., 950 F. Supp. 2d 788, 798 (D. Md. 2013) (“To establish
reliance under the MCPA, Plaintiffs must plead and prove that the false or misleading statement
substantially induced their choice.”). As discussed above, Plaintiffs have not shown that they were
exposed to, or relied on Defendants’ alleged misrepresentations. Therefore, the CAC does not
adequately allege a claim under the MCPA based on a misrepresentation theory. However, “a
consumer relies on a material omission under the MCPA where it is substantially likely that the
consumer would not have made the choice in question had the commercial entity disclosed the omitted
information.” Bank of Am., N.A., 822 F. Supp. 2d at 535. The CAC sufficiently alleges that, had
Defendants disclosed the Alleged Defect to Plaintiffs at or before the point of sale, Plaintiffs would not
have purchased or leased their Class Vehicles.

Defendants next argue that the economic loss rule bars Plaintiffs’ claims under the MCPA. Dkt. 208 at
51-52 & n.9. 30 To state a claim under the MCPA, Plaintiffs must “plead actual injury or harm.” Lloyd v.
General Motors Corp., 397 Md. 108, 148 (Md. Ct. App. 2007). “[I]n order to articulate a cognizable
injury under the [MCPA], the injury must be objectively identifiable.” Id. at 143. In Lloyd, a class action
“brought . . . to recover from the respondents the cost of repairing and/or replacing the front seats in
each [class] vehicle,” the petitioners satisfied this requirement. Id. at 117, 150. “They allege[d] that the

30Defendants argue that this rule applies to the following claims: Nationwide Count 7 as brought by Plaintiffs in
AL, CA, FL, MD, MI, MO, NJ, NC, OK, PA, SC, TN, and WI; AL Counts 3-4; CA Counts 5-7; FL Counts 3-4; MD
Counts 3-4; MI Counts 3-4; MO Counts 3-4; NJ Counts 3-4; NC Counts 3-4; OK Counts 3-4; PA Counts 3-4; SC
Counts 3-6; TN Counts 3-4; and WI Count 3. Dkt. 208 at 51 n.9.
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seats [in their vehicles were] unsafe because they collapse[d] rearward in moderate and severe rear-
impact collisions.” Id. at 117-18. None “ha[d] experienced personal injury as a result of the mechanical
failure that caused the alleged defect.” Id. at 118. Rather, all “allege[d] that, as a result of the
respondents’ misrepresentation or omission, they suffered a loss, measured by the amount it will cost
them to repair the defective seatbacks.” Id. at 149. This loss was deemed a sufficiently pleaded to state
a claim under the MCPA. Id. at 150.

Lloyd was distinguished in Chambers v. King Buick GMC, LLC. 43 F. Supp. 3d 575, 621 (D. Md. 2014).
In that putative class action arising from an alleged vehicle defect, the plaintiff alleged that, when she
purchased a vehicle from the defendant, it was not disclosed to her that the vehicle previously had
been used for short-term rentals. Id. at 583. The plaintiff’s purely economic loss was found to be
aligned more with the loss alleged in another vehicle defect case, Jones v. Koons Automotive, Inc., 752
F. Supp. 2d 670 (D. Md. 2010), than Lloyd. In Jones, as in Chambers, the plaintiff alleged that the
defendant violated the MCPA by “failing to disclose,” among other things, that the vehicle she was
purchasing had previously been used as a short-term rental vehicle. 752 F. Supp. 2d at 683. Jones
concluded that the plaintiff failed to plead actual injury under the MCPA:

         The complaint does not point to any “cost of remedy” or any other actual harm with respect to
         Koons’ alleged concealment of the car's prior use as a rental car. Jones merely states that she
         would not have purchased the car or “would have demanded significant price concessions.” . . .
         She does not allege that she incurred additional repair costs, for instance, because of the car's
         prior use. Nor does she allege that the concealed fact caused any diminution in the value of the
         car.

Id. at 684. Relying on Jones, Chambers also found that the plaintiff failed to state an MCPA claim,
because her only alleged injury was that “she paid significantly more for the vehicle than it was worth
and was thus overcharged.” Chambers, 43 F. Supp. 3d at 622.

In the CAC, Plaintiffs provide the following allegations as to their loss:

         But for Defendants’ fraud, Plaintiffs and Class members would not have purchased the Class
         Vehicles, or would have paid less for them. Plaintiffs and Class members have suffered
         damages as a result of Defendants’ fraud because they have been deprived of the benefit of
         their bargain in acquiring vehicles with full functional ACUs, airbags, and seatbelts.

CAC ¶ 720.

As shown, these allegations include two forms of harm. First, each Plaintiff would not have purchased
his or her Class Vehicle had the Alleged Defect been disclosed. Second, each also was deprived of the
difference between the value of the defect-free vehicle he or she thought he or she was purchasing.
Plaintiffs’ alleged loss is closer to the one alleged in Lloyd than in Chambers and Jones. Although, as in
Chambers and Jones, Plaintiffs do not seek to recover the cost of repairing or replacing their respective
Class Vehicles, they do argue that “the concealed fact caused . . . diminution in the value of the [Class
Vehicles].” Jones, 752 F. Supp. 2d at 684. This is an injury that is “objectively identifiable.” Lloyd, 397
Md. at 143. Thus, it is sufficient to state a claim under the MCPA. Cf. Robinson v. Gen. Motors LLC,
No. CV 20-663-RGA-SRF, 2021 WL 3036353, at *15 (D. Del. July 19, 2021) (internal citations omitted)
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(“[Plaintiff] alleges that, had GM disclosed the Defect, she ‘would not have purchased, or would have
paid significantly less, for’ her Class Vehicle. [Plaintiff] also alleges that, as a result of GM's failure to
disclose the Defect, she ‘paid or will be required to pay significantly more to repair or replace the CUE
than is reasonably anticipated and represented, and the Vehicles have suffered diminution in value.’
Thus, [Plaintiff] has stated a cognizable injury as required to state a claim under the MCPA.”).

Finally, Defendants argue that “Maryland[] . . . consumer protection claims are . . . precluded when an
alleged defect has not manifested.” Dkt. 208 at 68 (citing Chambers, 43 F. Supp. 3d at 622). However,
the CAC alleges that “ZF TRW ACUs with the DS84 ASIC have a dangerous defect,” in that they “are
much more vulnerable to bursts of electricity than are other ACUs.” Dkt. 278 ¶ 10. All Class Vehicles
have a ZF TRW ACU with a DS84 ASIC. See Id. ¶ 7 n.3. This is sufficient to state that the Alleged
Defect is present in all Class Vehicles.

For the foregoing reasons, Plaintiffs have adequately stated a claim under the MCPA, based on alleged
fraudulent omissions, but only as to HMA and KMA. Therefore, Maryland Count 4 is DISMISSED
WITHOUT PREJUDICE, i.e., with leave to amend, because it only names ZF and STMicro as
Defendants. Maryland Count 3 is DISMISSED WITHOUT PREJUDICE, i.e., with leave to amend, as to
all of the Hyundai-Kia Defendants except HMA and KMA.

                        i)      Massachusetts Counts 3 and 4

The CAC advances a claim against the Kia Defendants and Hyundai MOBIS for an alleged violation of
the Massachusetts consumer protection law ( the “Massachusetts Law”), Mass. Gen. Laws ch. 93a, §§
1 et seq. Dkt. 278 ¶¶ 1500-14 (“Massachusetts Count 3”). It also includes a claim against the ZF
Defendants and the STMicro Defendants under the same statute. Id. ¶¶ 1515-30 (“Massachusetts
Count 4”).

Mass. Gen. Laws ch. 93A prohibits “[u]nfair methods of competition and unfair or deceptive acts or
practices in the conduct of any trade or commerce.” Mass. Gen. Laws Ann. ch. 93A, § 2(a). “Conduct is
unfair or deceptive if it is ‘within at least the penumbra of some common-law, statutory, or other
established concept of unfairness’ or ‘immoral, unethical, oppressive, or unscrupulous.’ ” Cummings v.
HPG Int'l, Inc., 244 F.3d 16, 25 (1st Cir. 2001) (citing PMP Assoc., Inc. v. Globe Newspaper Co., 321
N.E.2d 915, 917 (Mass. 1975)). “To prevail on a Chapter 93A claim, the plaintiff ‘must prove that a
person who is engaged in trade or business committed an unfair or deceptive trade practice and that
the [plaintiff] suffered a loss of money or property as a result.’ ” Morris v. BAC Home Loans Servicing,
L.P., 775 F. Supp. 2d 255, 259 (D. Mass. 2011) (citing Brandon Assocs., LLC v. FailSafe Air Safety
Sys. Corp., 384 F.Supp.2d 442, 446 (D. Mass. 2005)).

Massachusetts Counts 3 and 4 fail for lack of particularity as to all Defendants except KMA. Each of the
allegations supporting these claims describes the allegedly “unfair or deceptive acts or practices” of
“[t]he Kia Defendants,” “Hyundai MOBIS” or “[t]he ZF TRW and STMicro Defendants.” See, e.g., Dkt.
278 ¶¶ 1506, 1521. As noted, each of these terms refers to multiple corporate entities. See, e.g., id. ¶
43 (“The Kia Defendants (or ‘Kia’) are Kia Motors Corporation and Kia Motors America, Inc. Hyundai
MOBIS Co. Ltd. and Mobis Parts America, LLC are the Hyundai MOBIS Defendants (together, ‘Hyundai
MOBIS’).”). Plaintiffs have not made any allegations about which of these Defendants specifically
engaged in which allegedly deceptive or unfair conduct. Instead, they have impermissibly “lump[ed]
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together multiple defendants without specifying the role of each defendant in the fraud.” In re Toyota
Motor Corp., 785 F. Supp. 2d at 919 (citing Swartz, 476 F.3d at 764). This is inadequate to meet the
standards set by Fed. R. Civ. P. 9(b). Therefore, Massachusetts Counts 3 and 4 fail as to all
Defendants except KMA.

The ZF Defendants also argue that Plaintiffs’ claims under the Massachusetts Law fail because they
have not pleaded causation. Dkt. 209 at 30-31 (citing Frappier v. Countrywide Home Loans, Inc., 2013
WL 1308602, at *19 (D. Mass. Mar. 31, 2013)). “Causation is a necessary prerequisite for recovery
under Chapter 93A.” Frappier v. Countrywide Home Loans, Inc., No. 09-CV-11006-DJC, 2013 WL
1308602, at *19 (D. Mass. Mar. 31, 2013), aff'd, 750 F.3d 91 (1st Cir. 2014). To establish causation, a
plaintiff need not show “actual reliance on a misrepresentation,” only “a causal connection between the
deception and the loss and that the loss was foreseeable as a result of the deception.” Iannacchino v.
Ford Motor Co., 451 Mass. 623, 630 n.12 (Mass. 2008) (citations and internal quotation marks omitted).
The CAC alleges that, had the Alleged Defect been disclosed by Defendants, Plaintiffs would not have
purchased or leased the Class Vehicles and would not have suffered the corresponding, alleged harm.
See, e.g., Dkt. 278 ¶ 1508. This is sufficient to establish causation when actual reliance is not required.

The Hyundai-Kia Defendants argue that Plaintiffs have only pleaded an economic injury, and “[a] solely
monetary loss is not a cognizable injury” under Massachusetts Law. Dkt. 219 at 35. The type of loss
that is recoverable under the Massachusetts Law includes “a readily quantifiable loss of money or
property.” Tyler v. Michaels Stores, Inc., 464 Mass. 492, 504 n. 20 (Mass. 2013). To establish a
cognizable loss, a plaintiff must “show ‘real’ economic damages,” as opposed to an “injury as a violation
of some abstract ‘right’ like the right not to be subject to a deceptive act that happened to cause no
economic harm.” Rule v. Fort Dodge Animal Health, Inc., 607 F.3d 250, 253 (1st Cir. 2010).

Decisions by Massachusetts courts have distinguished between those plaintiffs who “received
everything they had bargained for,” and, therefore, did not allege a cognizable injury under the
Massachusetts Law, and those who had been deprived of something of value for which they had paid.
For example, in Iannacchino, the plaintiffs sought to represent a class of owners of Ford vehicles that
allegedly “contain[ed] defective outside door handle systems.” Iannacchino, 451 Mass. at 626. The
plaintiffs alleged that, due to this defect, “the doors on [their] vehicles might open accidentally in certain
types of collisions, putting vehicle occupants at risk of significant personal injury or death.” Id. Although
none of the plaintiffs personally had experienced the alleged effect of this defect, Iannacchino found
that establishing that Ford had not complied with a federal safety statute would be sufficient to establish
a concrete economic loss – “overpayment” – that would be “measurable by the cost to bring the
vehicles into compliance.” Id. at 631 Such an injury was deemed to be cognizable under the
Massachusetts Law. Id. at 631-32. A plaintiff who bargains to purchase a vehicle that complies with
federal safety statutes and receives one that does not has not received the benefit of his or her bargain.
This is deemed to be sufficient to show a real economic loss.

In contrast, in Bellermann v. Fitchburg Gas & Elec. Light Co. the plaintiffs did not claim that they had
received a product that was worth less than they had paid for it. 54 N.E.3d 1106, 1008 (Mass. 2016).
Instead, they alleged that the defendant’s noncompliance with a state regulation could have caused a
harm to them that never actually materialized. The plaintiffs had received everything that they had
bargained for, and the fact that they could have been deprived of some value for which they had paid
was deemed to be too speculative to state a cognizable injury under the Massachusetts Law. Id. at 75-
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Similarly, the plaintiff in Shaulis v. Nordstrom, Inc. alleged that she had purchased a sweater at a retail
store based on a deceptive price tag. 865 F.3d 1, 5 (1st Cir. 2017). Her alleged injury was that she had
purchased a sweater that, absent Nordstrom’s deception, she would not have purchased. Id. “This
contention” was deemed to be “simply another way of saying that [she] was wrongfully deceived by
Nordstrom.” Id. at 11. “She identifie[d] no objective injury traceable to the purchased item itself—for
example, that the sweater was poorly made or that its materials were misrepresented.” Id. Because she
thus had received all of the value for which she had bargained – a defect-free sweater – she failed to
allege a cognizable injury that was “distinct from the claimed deceptive conduct itself.” Id. (citations
omitted).

Rule is similar. There, the plaintiff purchased a heartworm medication for dogs (“ProHeart 6”) from its
manufacturer, and had the medication administered to her dog. 607 F.3d at 251. After discovering that
the manufacturer had failed to disclose a risk of death for dogs taking the medication, she brought a
claim against the manufacturer under the Massachusetts Law. Id. The plaintiff was found not to have
pleaded a cognizable injury; the one she alleged was deemed to be too speculative. Because “she
[had] used the product and in fact suffered no economic injury at all,” that she could have suffered harm
was not a sufficient injury. Id. at 253 (emphasis in original). Instead, she had received the full benefit of
her bargain – as Shaulis described it, “effective medication without side effects.” Shaulis, 865 F.3d at
11.

Unlike the complaints in Bellermann, Shaulis and Rule, the CAC alleges that the Plaintiffs have not
received the full value of the product for which they bargained. They allegedly bargained for a vehicle
that was free of defects, but received a vehicle that was inherently defective. Thus, their overpayment
for the quality of being defect-free constitutes a concrete economic injury that is sufficiently distinct from
Defendants’ alleged deceptive conduct.

For the foregoing reasons, Plaintiffs have adequately alleged causation and injury under the
Massachusetts Law. Therefore, they have stated a claim under the Massachusetts Law, but only with
respect to KMA. Consequently, Massachusetts Count 4 is DISMISSED WITHOUT PREJUDICE, i.e.,
with leave to amend, because it is not pleaded with particularity as to any Defendant. With respect to
Massachusetts Count 3, Plaintiffs have stated a claim as to KMA, but KMC already has been dismissed
for lack of personal jurisdiction.

                        j)      Michigan Counts 3 and 4

The CAC advances a claim against the Kia Defendants and Hyundai MOBIS for an alleged violation of
the Michigan Consumer Protection Act (“Michigan CPA”), Mich. Comp. Laws §§ 445.901 et seq. Dkt.
278 ¶¶ 1558-72 (“Michigan Count 3”). It also includes a claim against the ZF Defendants and the
STMicro Defendants under the same statute. Id. ¶¶ 1573-87 (“Michigan Count 4”).

To state a claim for violation of the Michigan CPA, “a plaintiff must establish: 1) that the defendant
made a material misrepresentation that was false; 2) the defendant knowingly made the false
representation with the intent that the plaintiff would act upon it; 3) that the plaintiff acted in reliance
upon it; and 4) resulting damages.” In re OnStar Cont. Litig., 278 F.R.D. 352, 376 (E.D. Mich. 2011)
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(citing Baker v. Arbor Drugs, Inc., 544 N.W.2d 727 (Mich. Ct. App. 1996)).

The Hyundai-Kia Defendants argue that Plaintiffs have failed to plead the required element of reliance.
Dkt. 219 at 27. Reliance is a required element under the Michigan CPA. See In re OnStar Cont. Litig.,
278 F.R.D. at 378; Shain v. Advanced Techs. Grp., LLC, No. CV 16-10367, 2017 WL 768929, at *11
(E.D. Mich. Feb. 28, 2017). However, “members of a class proceeding under the [Michigan] Consumer
Protection Act need not individually prove reliance on the alleged misrepresentations. It is sufficient if
the class can establish that a reasonable person would have relied on the representations.” Dix v. Am.
Bankers Life Assur. Co. of Fla., 429 Mich. 410, 418 (Mich. 1987); see Shain, 2017 WL 768929, at *11
(citations omitted) (“[W]hile Dix holds that ‘class allegations can be based on what a reasonable person
would have relied upon, a named plaintiff bringing a putative class action under the MCPA must still
allege actual reliance.’ ”). Based on the allegations in the CAC, it can reasonably be inferred that, when
purchasing or leasing a vehicle, a reasonable person would have relied on Defendants’ safety-related
representations made in their statements to NHTSA, Monroney Labels, in-vehicle labels and owner’s
manuals. Therefore, the CAC adequately pleads reliance under the Michigan CPA.

Defendants next argue that the economic loss rule bars Plaintiffs’ claims under the Michigan CPA.
“Michigan's economic-loss doctrine prohibits buyers from bringing tort suits against sellers
for economic losses arising from the product that the parties exchanged in a commercial
context.” Crossing at Eagle Pond Apartments, LLC v. Lubrizol Corp., 790 F. App'x 775, 777 (6th Cir.
2019) (citing Neibarger v. Universal Coops., Inc., 486 N.W.2d 612, 615 (Mich. 1992)). “The phrase
‘economic loss’ generally refers to non-physical commercial losses (like the money spent on a faulty
product or the lost sales caused by its poor performance) in contrast to the injuries that have long been
the central domain of tort law: physical injuries ‘to the plaintiff’s person or property (property other than
the product itself).’ ” Id. (citing Miller v. U.S. Steel Corp., 902 F.2d 573, 574 (7th Cir. 1990)).

Michigan courts have carved out a narrow exception to the applicable economic loss rule -- for
fraudulent inducement claims. See Huron Tool and Eng’g Co. v. Precision Consulting Servs., Inc., 209
532 N.W. 2d 541, 544-45 (Mich. Ct. App. 1995). Huron Tool, which first adopted this exception,
distinguished between two situations. In the first, the “parties to a contract appear to negotiate freely—
which normally would constitute grounds for invoking the economic loss doctrine—but where in fact the
ability of one party to negotiate fair terms and make an informed decision is undermined by the other
party’s fraudulent behavior.” Id. at 545. In the second, “the only misrepresentation by the dishonest
party concerns the quality or character of the goods sold.” Id. In the latter scenario, “the other party is
still free to negotiate warranty and other terms to account for possible defects in the goods.” Id.
Therefore, Huron Tool held that the fraudulent inducement exception to the economic loss rule did not
apply there. Id.; see General Motors Corp. v. Acme Ref. Co., 513 F. Supp. 2d 906, 912-13 (E.D. Mich.
2007). Huron Tool presented “an exception to this exception, i.e., the economic-loss doctrine does
apply to claims for fraudulent inducement if the allegedly fraudulent misrepresentations relate solely to
the ‘quality or character of the goods sold.’ ” Irwin Seating Co. v. Int’l Bus. Machines Corp., 306 F.
App'x 239, 243 (6th Cir. 2009) (citing Huron Tool, 532 N.W. 2d at 545).

The CAC alleges that Defendants fraudulently misrepresented the Class Vehicles as safe while failing
to disclose the Alleged Defect. These alleged fraudulent misrepresentations concern the quality of the
Class Vehicles. Therefore, the exception for fraudulent inducement does not apply, and the economic
loss rule does. See Think Operations, LLC v. Top Shelf Barber Supplies, LLC, No. 1:19-CV-752, 2021
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WL 21597, at *5 (W.D. Mich. Jan. 4, 2021) (citing Huron Tool, 532 N.W. 2d at 544) (“[I]f a seller of
goods makes a representation about the character or quality of the goods to induce a commercial buyer
to purchase those goods, the buyer should make that representation a part of the warranties in the
agreement, if that representation is important to the buyer. The buyer cannot resort to a tort claim after
the fact to cover for its failure to specify its expectations in the contract.”).

That Plaintiffs’ claims under the Michigan CPA are barred by the economic loss rule is consistent with
the principle that, “[u]nder Michigan law, where a party seeks to recover solely for economic injuries
caused by a defective product purchased for commercial purposes, contract principles, as supplied by
the Uniform Commercial Code (UCC), provide the exclusive remedy.” G.H.S. Corp. v. Cenveo, Inc., No.
1:15-CV-00007-RHB, 2016 WL 8467614, at *5 (W.D. Mich. Mar. 4, 2016) (citing Neibarger, 486 N.W.2d
at 618–19).

The CAC also advances claims under Michigan law for breach of express and implied warranties that
are supported by similar allegations. Cf. Think Operations, 2021 WL 21597, at *4 (citing Huron Tool,
532 N.W.2d at 545) (alterations in original) (“Fraud that falls within the economic loss rule is often
‘undergirded by factual allegations identical to those supporting [the] breach of contract counts[.]’ ”).
These claims provide an adequate remedy for Plaintiffs’ “economic injuries caused by a defective
product purchased for commercial purposes.” G.H.S. Corp., 2016 WL 8467614, at *5; see DBI Invs.,
LLC v. Blavin, 617 F. App’x 374, 382 (6th Cir. 2015) (citing Huron Tool, 532 N.W.2d at 545) (“Claims of
fraud ‘extraneous to the contract’ are permissible, whereas ‘fraud interwoven with the breach of
contract’ cannot support an independent claim.”).

For the foregoing reasons, Michigan Counts 3 and 4 are DISMISSED WITHOUT PREJUDICE, i.e., with
leave to amend.

                       k)     Minnesota Counts 3 Through 6

The CAC advances a claim against the FCA Defendants, Honda Defendants, Kia Defendants and
Hyundai MOBIS for an alleged violation of the Minnesota Prevention of Consumer Fraud Act
(“MPCFA”), Minn. Stat. §§ 325F.68 et seq. and Minn. Stat. § 8.31, subd. 3a, Dkt. 278 ¶¶ 1621-37
(“Minnesota Count 3”), and for violation of the Minnesota Uniform Deceptive Trade Practices Act
(“MDTPA”), Minn. Stat. §§ 325D.43 et seq. Dkt. 278 ¶¶ 1638-52 (“Minnesota Count 4”). It also includes
claims against the ZF and STMicro Defendants under the same statutes. Id. ¶¶ 1653-67 (MPCFA)
(“Minnesota Count 5”), ¶¶ 1668-80 (MDTPA) (“Minnesota Count 6”).

The FCA Defendants and the Hyundai-Kia Defendants argue that “Minnesota law allows only injunctive
relief under the [MDTPA].” Dkt. 230 at 32; Dkt. 219 at 34. “Under the MDTPA, ‘[a] person likely to be
damaged by a deceptive trade practice of another may be granted an injunction against it,’ and the
‘prevailing party’ can collect costs.” Luckey v. Alside, Inc., 245 F. Supp. 3d 1080, 1096–97 (D. Minn.
2017) (citing Minn. Stat. § 325D.45 subd. 1, 2) (alteration in original). “The statute does not provide for
monetary damages; ‘the sole statutory remedy for [Plaintiffs’ MDTPA claim] is injunctive relief.’ ” Id.
(citing Johnson v. Bobcat Co., 175 F. Supp. 3d 1130, 1140 (D. Minn. 2016)) (alteration in original).
Therefore, damages are not an available remedy for Minnesota Counts 4 and 6.

The FCA, Hyundai-Kia and Honda Defendants argue that Plaintiffs have failed to plead the necessary
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element of reliance. Dkt. 230 at 28-29 & n. 21 (citing Parkhill v. Minnesota Mut. Life Ins. Co., 188 F.R.D.
332, 344 (D. Minn. 1999)), aff’d, 286 F.3d 1051 (8th Cir. 2002)); Dkt. 219 at 27 & n. 13 (citing Parkhill,
188 F.R.D. at 344); Dkt. 213 at 33 (citing Parkhill, 188 F.R.D. at 344). The holding in Parkhill -- that
claims for damages under the MDTPA and the MPCFA require a showing of reliance -- was expressly
rejected by the Minnesota Supreme Court. Grp. Plan, Inc. v. Philip Morris Inc., 621 N.W.2d 2, 14-15
(Minn. 2001) (citing Thompson v. Am. Tobacco Co., 189 F.R.D. 544, 553 (D. Minn.1999); Parkhill, 188
F.R.D. at 345) (“[W]e reject the view expressed in two federal court decisions that our
misrepresentation in sales laws require proof of individual reliance in all actions seeking damages.”).

After Group Health, to state a claim under the MDTPA or the MPCFA, a plaintiff need not “plead[] and
prov[e] traditional common law reliance,” but must plead causation. 621 N.W.2d at 13. However, Group
Health left open the possibility that reliance will still be required in certain circumstances:

         [W]here, as here, the plaintiffs allege that their damages were caused by deceptive, misleading,
         or fraudulent statements or conduct in violation of the misrepresentation in sales laws, as a
         practical matter it is not possible that the damages could be caused by a violation without
         reliance on the statements or conduct alleged to violate the statutes. Therefore, in a case such
         as this, it will be necessary to prove reliance on those statements or conduct to satisfy the
         causation requirement.

Id.; accord In re St. Jude Med., Inc., 522 F.3d 836, 839 (8th Cir. 2008) (“The Group Health decision,
however, did not entirely remove the element of reliance in Minnesota consumer fraud claims. . . .
“[C]ausation is still a necessary element of a damages action under the consumer fraud statutes, and
proof of a reliance component is still required.”); Luckey, 245 F. Supp. 3d at 1096 (“The Minnesota
Supreme Court clarified, in Group Health Plan, that a plaintiff ultimately must prove ‘causation,’ or a
‘legal nexus’ between the offending conduct and the plaintiff's damages, but that personal reliance by
the plaintiff is not the only way to demonstrate the requisite legal nexus.” (citing Grp. Health Plan, 621
N.W.2d at 14)).

Following Group Health, Luckey rejected the argument “that Plaintiffs must have personally perceived
and relied on [its] misrepresentations in order to state a claim under [the MDTPA].” Id. Nonetheless,
Luckey determined that, because the plaintiffs had failed to allege causation, they had failed to state a
claim under the MDTPA. Id. at 1098. “Because there [were] no factual allegations about who heard or
saw and relied on [the defendant’s] sales statements and when, it [was] not clear how the existence of
the alleged misrepresentations caused Plaintiffs' damages.” Id.

Similarly, in Tuttle v. Lorillard Tobacco Co., 377 F.3d 917 (8th Cir. 2004), an MPCFA claim “fail[ed] for
want of proof of a causal nexus between the defendants’ conduct and [the plaintiff’s] injuries.” 377 F.3d
at 926. “[F]or a plaintiff ‘to prove causation, a necessary element of her statutory consumer fraud
claims, she must at least present circumstantial evidence of some reliance on [defendants’] alleged
misrepresentations.” Id. (quoting Flynn v. Am. Home Prods. Corp., 627 N.W.2d 342, 351 (Minn. Ct.
App. 2001)). The plaintiff failed to do so. Id.

Plaintiffs have alleged the scenario contemplated in Group Health. They “allege that their damages
were caused by deceptive, misleading, or fraudulent statements or conduct in violation of the
misrepresentation in sales laws.” 621 N.W.2d at 13. Therefore, “it is not possible that the damages
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could be caused by a violation without reliance on the statements or conduct alleged to violate the
statutes.” Id. Plaintiffs have not pleaded any facts sufficient to show that Plaintiffs were exposed to, or
relied on Defendants’ “deceptive, misleading, or fraudulent” statements. Therefore, the CAC does not
include allegations sufficient to satisfy the causation requirement. Accordingly, the claims under the
MDTPA and the MPCFA are not adequate as alleged in the CAC.

Therefore, Minnesota Counts 3 through 6 are DISMISSED WITHOUT PREJUDICE, i.e., with leave to
amend.

                        l)      Missouri Counts 3 and 4

The CAC advances a claim against the Kia Defendants and Hyundai MOBIS for an alleged violation of
the Missouri Merchandising Practices Act (“MMPA”), Mo. Rev. Stat. §§ 407.010 et seq. Dkt. 278 ¶¶
1708-21 (“Missouri Count 3”). It also includes a claim against the ZF and STMicro Defendants under
the same statute. Id. ¶¶ 1722-35.

Missouri Counts 3 and 4 fail for lack of particularity as to all Defendants except KMA. Each of the
allegations supporting these claims describes the allegedly “unfair or deceptive acts or practices” of
“[t]he Kia Defendants,” “Hyundai MOBIS” or “[t]he ZF TRW and STMicro Defendants.” See, e.g., Id. ¶¶
1714, 1729. As noted, each of these terms represents multiple corporate entities. See, e.g., id. ¶ 43
(“The Kia Defendants (or ‘Kia’) are Kia Motors Corporation and Kia Motors America, Inc. Hyundai
MOBIS Co. Ltd. and Mobis Parts America, LLC are the Hyundai MOBIS Defendants (together, ‘Hyundai
MOBIS’).”). As noted, Plaintiffs have not made any allegations showing which of these Defendants
specifically engaged in which allegedly deceptive or unfair conduct. Instead, Plaintiffs have
impermissibly “lump[ed] together multiple defendants without specifying the role of each defendant in
the fraud.” In re Toyota Motor Corp., 785 F. Supp. 2d at 919 (citing Swartz, 476 F.3d at 764). This is
inadequate to meet the standards set by Fed. R. Civ. P. 9(b. See Hays v. Nissan N. Am. Inc., 297 F.
Supp. 3d 958, 962-63 (W.D. Mo. 2017) (citations omitted) (“The heightened pleading requirement of
Rule 9(b) applies to a claim under a state consumer fraud statute, such as the MMPA. An MMPA claim
requires a plaintiff to allege facts such as ‘time, place, and contents of false representations, as well as
the identity of the person making the misrepresentation and what was obtained or given up thereby.’ ”).
Therefore, Plaintiffs have failed to state a claim under the MMPA with respect to Hyundai MOBIS, the
ZF Defendants and the STMicro Defendants.31

The Hyundai-Kia Defendants argue that the claims of the only Missouri Plaintiff, Sutterfield, should be
dismissed as untimely. Dkt. 219 at 32. The statute of limitations for claims brought under the MMPA is
five years. See Boulds v. Chase Auto Fin. Corp., 266 S.W.3d 847, 851 (Mo. Ct. App. 2008) (citations
omitted) (“The MMPA contains no statute of limitations, and therefore the five-year period for civil
actions laid out in § 516.120(1) applies.”). Sutterfield purchased his Class Vehicle on September 27,
2013. Dkt. 278 ¶ 92. He filed his claims in this action on May 26, 2020. 32 Thus, they were filed more
than five years after his purchase.

31  Plaintiffs also have not stated a claim under the MMPA with respect to KMC. Because the claims against KMC
all have been dismissed without prejudice for lack of personal jurisdiction, an analysis of their sufficiency is
unnecessary.
32 Adams is among the New Plaintiffs who initially filed claims in the CAC on May 26, 2020. For the reasons

already stated, the New Plaintiffs’ complaint is deemed to have been filed on May 26, 2020.
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The CAC alleges generally that “Defendants’ fraudulent concealment tolls the statute of
limitations.” Id. ¶ 545(a). “It is plaintiff's burden to plead with particularity the facts to support its claim
that the doctrine of fraudulent concealment tolls the statute of limitations.” Simply Thick, LLC v. Thermo
Pac, LLC, No. 4:13-CV-1036 CAS, 2014 WL 3543403, at *3 (E.D. Mo. July 17, 2014); see Keehn v.
Ruzicka Elec. & Sons, Inc., 251 S.W.3d 388, 390 (Mo. Ct. App. 2008).

To establish that a statute of limitations should be tolled on fraudulent concealment grounds, a plaintiff
must plead that the concealment was “fraudulent or intentional,” and that there was “something of an
affirmative nature designed to prevent, and which d[id] prevent, discovery of the cause of action.” Owen
v. Gen. Motors Corp., 533 F.3d 913, 919–20 (8th Cir. 2008) (citing Hasenyager v. Bd. of Police Com'rs
of Kansas City, 606 S.W.2d 468, 471 (Mo. Ct. App. 1980)) (internal quotation marks omitted). In
addition, “a plaintiff must show that she detrimentally relied on a false claim by the defendant.” Bayes v.
Biomet, Inc., No. 4:13-CV-00800-SRC, 2020 WL 5095346, at *14 (E.D. Mo. Aug. 28, 2020) (citations
omitted).

Plaintiffs have pleaded with particularity that KMA made affirmative misrepresentations to NHTSA. The
CAC alleges:

         On April 18, 2018, Hyundai Motor America stated in a Part 573 Safety Recall Report that the
         ACU Defect was corrected in unrecalled Hyundai Class Vehicles because those vehicles
         included “redesigned ACUs.” Similarly, Kia Motors America, Inc. stated in a June 1, 2018 Part
         573 Safety Recall Report that the ACUs in the unrecalled Kia Class Vehicles “have adequate
         circuit protection.” These statements were misleading because the unrecalled Hyundai and Kia
         Class Vehicles have the same defect (insufficient levels of circuit protection and the use of a
         DS84 ASIC vulnerable to overstress) as the recalled Hyundai and Kia Class Vehicles.

Dkt. 278 ¶ 602(c).

The CAC also alleges that KMA made other false or misleading statements to NHTSA on March 1,
2018, id. ¶¶ 355, 602(d), and August 30, 2019. Id. ¶ 364. However, Plaintiffs have not pleaded that any
Plaintiff detrimentally relied on, or was exposed to, Defendants’ allegedly misleading statements to
NHTSA. Plaintiffs have not pleaded with particularity the element of detrimental reliance, which is a
necessary component of the allegation that KMA’s fraudulent concealment tolled the running of the
statute of limitations.

Therefore, Missouri Counts 3 and 4 DISMISSED WITHOUT PREJUDICE, i.e., with leave to amend. 33

                         m)      Montana Counts 3 and 4

The CAC advances a claim against the FCA Defendants for an alleged violation of the Montana Unfair

33 Because the statute of limitations is an affirmative defense that may be waived, a plaintiff is not obligated to
address it with allegations in an initial complaint. However, once it has been raised in a response to a complaint, it
is appropriate to require allegations on the issue in any amended complaint. For those reasons, Missouri Counts
3 and 4 have been dismissed without prejudice, so that the Missouri Plaintiffs have the opportunity to seek to
make such allegations.
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Trade Practices and Consumer Protection Action of 1973 (“Montana CPA”), Mont. Code Ann. §§ 30-14-
101 et seq. Dkt. 278 ¶¶ 1764-76 (“Montana Count 3”). It also includes a claim against the ZF and
STMicro Defendants under the same statute. Id. ¶¶ 1777-89 (“Montana Count 4”).

“The Montana Consumer Protection Act provides a private cause of action for actual and treble
damages upon proof that a consumer suffered “ascertainable loss of money or property” caused by the
“use or employment” of “unfair or deceptive acts or practices in the conduct of any trade or commerce.”
Anderson v. ReconTrust Co., N.A., 390 Mont. 12, 21-22 (Mont. 2017) (citing Mont. Code Ann. §§ 30-
14-103, 30-14-133(1)). “For purposes of section 30–14–103, an unlawful, ‘unfair act or practice is one
which offends established public policy and which is either immoral, unethical, oppressive,
unscrupulous or substantially injurious to consumers.’ ” PNC Bank, Nat. Ass'n v. Wilson, No. CV 14-80-
BU-DWM-JCL, 2015 WL 3887602, at *8 (D. Mont. June 23, 2015) (citing Rohrer v. Knudson, 203 P.3d
759, 764 (Mont. 2009)). “Any consumer who sustains a loss as a result of conduct that is unlawful may
pursue a cause of action for relief.” Id. (citing Mont. Code Ann. § 30–14–133).

The FCA, ZF and STMicro Defendants argue that Plaintiffs fail to plead reliance or causation, which are
“vital elements of Plaintiffs’ fraud claims.” Dkt. 230 at 28 & n. 21 (citing Anderson v. ReconTrust Co.,
N.A., 407 P.3d at 700); see Dkt. 209 at 28-29 & n.11 (citing Anderson, 407 P.3d at 700); Dkt. 280 at 32-
33 (citing Anderson, 407 P.3d at 700). Plaintiffs respond that Montana law does not require reliance.
Dkt. 290 at 21-22 & n.6 (citing PNC Bank, WL 3887602, at *6).

There is some authority as to whether reliance or causation is required to state a claim under the
MCPA. The case cited by the FCA, ZF and STMicro Defendants implies that reliance is required. See
Anderson v. ReconTrust Co., N.A., 390 Mont. at 23 (“As previously noted regarding the causation of
harm and detrimental reliance elements of [the plaintiffs’] other claims, the amended complaint was
devoid of any factual assertion that, but for their reliance on [the defendant’s] initial alleged
misrepresentation regarding their loan modification eligibility, [the plaintiffs] would have timely cured
their default and avoided foreclosure. The District Court correctly concluded that [the plaintiffs’]
amended complaint failed to state sufficient facts entitling them to relief on all essential elements of
their asserted MCPA claim.”) (emphasis added). The case cited by Plaintiffs reached a different result.
See PNC Bank, 2015 WL 3887602, at *7 (A “claim under the Consumer Protection Act does not require
[a plaintiff] to plead and prove the individual elements of fraud . . . , including detrimental reliance.
Instead, he need only identify plausible unfair or deceptive acts committed by [the defendant].”).

The Supreme Court of Montana addressed an issue of Montana law, and did so after the district court
considered the same one. Under these circumstances, Anderson controls. See West v. Am. Tel. & Tel.
Co., 311 U.S. 223, 236 (1940) (citing Wichita Royalty Co. v. City Nat. Bank of Wichita Falls, 306 U.S.
103, 107 (1939)) (“[T]he highest court of the state is the final arbiter of what is state law. When it has
spoken, its pronouncement is to be accepted by federal courts as defining state law unless it has later
given clear and persuasive indication that its pronouncement will be modified, limited or restricted.”);
Arizona Elec. Power Co-op., Inc. v. Berkeley, 59 F.3d 988, 991 (9th Cir.1995) (“When interpreting state
law, federal courts are bound by decisions of the state's highest court.” (citation omitted)).

Applying Anderson to the Montana CPA, reliance on a defendant’s unfair or deceptive acts is required
to state a claim. As noted, Plaintiffs have not pleaded that any Plaintiff was exposed to, or relied on the
statements made by Defendants that allegedly included affirmative misrepresentations or fraudulent
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omissions. For that reason, Montana Counts 3 and 4 are DISMISSED WITHOUT PREJUDICE, i.e.,
with leave to amend.

                      n)      Nevada Counts 3 and 4

The CAC advances a claim against the Toyota Defendants for an alleged violation of the Nevada
Deceptive Trade Practices Act (“Nevada DTPA”), Nev. Rev. Stat. §§ 598.0903 et seq. Dkt. 278 ¶¶
1815-26 (“Nevada Count 3”). It also includes a claim against the ZF and STMicro Defendants under the
same statute. Id. ¶¶ 1827-38 (“Nevada Count 4”).

Nevada Counts 3 and 4 fail for lack of particularity. Each of the allegations supporting these claims
describes the allegedly “unfair or deceptive acts or practices” of “the Toyota Defendants” or “the ZF
TRW and STMicro Defendants.” See, e.g., Id. ¶¶ 1819, 1831. As noted, each of these terms represents
multiple corporate entities. See, e.g., id. ¶ 56 (“The Toyota Defendants . . . are Toyota Motor
Corporation; Toyota Motor North America Inc.; Toyota Motor Engineering & Manufacturing North
America, Inc.; and Toyota Motor Sales, U.S.A., Inc.”). The CAC does not specify which of the Toyota
Defendants, the ZF Defendants or the STMicro Defendants engaged in which allegedly fraudulent
conduct. Consequently, it does not meet the standard of Fed. R. Civ. P. 9(b), which requires pleading
fraud claims with particularity. See In re Toyota Motor Corp., 785 F. Supp. 2d at 919 (“A plaintiff may
not simply lump together multiple defendants without specifying the role of each defendant in the fraud.”
(citing Swartz, 476 F.3d at 764)).

Nevada Counts 3 and 4 are DISMISSED WITHOUT PREJUDICE, i.e., with leave to amend.

                      o)      New Jersey Counts 3 and 4

The CAC advances a claim against the Kia Defendants and Hyundai MOBIS for an alleged violation of
the New Jersey Consumer Fraud Act (“NJCFA”), N.J. Stat. Ann. §§ 56:8-1 et seq. Dkt. 278 ¶¶ 1866-79
(“New Jersey Count 3”). It also includes a claim against the ZF and STMicro Defendants under the
same statute. Id. ¶¶ 1880-93 (“New Jersey Count 4”).

The NJCFA prohibits “any person” from using “unconscionable commercial practice, deception, fraud,
false pretense, false promise, misrepresentation, or the knowing concealment, suppression, or
omission of any material fact . . . in connection with the sale or advertisement of any merchandise.” N.J.
Stat. Ann. § 56:8-2. “[T]o state a claim under the [NJ]CFA, a plaintiff must allege each of three
elements: (1) unlawful conduct by the defendants; (2) an ascertainable loss on the part of the plaintiff;
and (3) a causal relationship between the defendants’ unlawful conduct and the plaintiff's ascertainable
loss.” In re Ford Motor Co. E-350 Van Prod. Liab. Litig. (No. II), No. CIV03-4558(HAA), 2008 WL
4126264, at *27 (D.N.J. Sept. 2, 2008) (citations and quotation marks omitted); see Munning v. Gap,
Inc., 238 F. Supp. 3d 1195, 1200 (N.D. Cal. 2017) (citing Int’l Union of Operating Eng’rs Local No. 68
Welfare Fund v. Merck & Co., 192 N.J. 372, 389 (N.J. 2007)). “Claims under the CFA are required to
meet the particularity requirement of Fed. R. Civ. P. 9(b).” Daloisio v. Liberty Mut. Fire Ins. Co., 754
F.Supp.2d 707, 709 (D.N.J. 2010) (citations omitted).

The Hyundai-Kia Defendants argue that New Jersey Counts 3 and 4 fail because Plaintiffs “cannot
plead that a defect proximately caused any alleged injuries.” Dkt. 219 at 28 & n.15 (citing Ironworkers
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Loc. Union No. 68 v. AstraZeneca Pharms. LP, 585 F. Supp. 2d 1339, 1345-46 (M.D. Fla. 2008), aff’d
on other grounds sub nom. Ironworkers Loc. Unon 68 v. AstraZeneca Pharms., LP, 634 F.3d 1352
(11th Cir. 2011)). Similarly, the ZF Defendants argue that these claims “should be dismissed” because
New Jersey “require[s] ‘a causal link between the deceptive omission and the harm.’ ” Dkt. 209 at 30-31
& n.12 (citing Zuniga v. Am. Home Mortg., No. 14-CV-2973, 2016 WL 6647932, at *4-5 (D.N.J. Nov. 8,
2016)).

“To properly plead a causal connection, a plaintiff ‘must allege facts establishing a causal [connection]
with the particularity required by Rule 9(b).’ ” Slebodnik v. Reynolds & Reynolds Co., No. 3:14-CV-
03772 FLW, 2014 WL 6609132, at *7 (D.N.J. Nov. 20, 2014) (citing Arcand v. Brother Int'l Corp., 673 F.
Supp. 2d 282, 303 (D.N.J. 2009) (alteration in original). When pleading a claim under the NJCFA based
on fraudulent or deceptive statements, without “alleg[ing] when the statements were made or at what
point—if ever—each Plaintiff was exposed to one or more of the statements,” Plaintiffs cannot “properly
plead a ‘causal nexus’ with the particularity required by Rule 9(b).” Dewey v. Volkswagen AG, 558 F.
Supp. 2d 505, 526–27 (D.N.J. 2008); see Friest v. Luxottica Grp. S.p.A., No. 216CV03327SDWLDW,
2016 WL 7668453, at *7 (D.N.J. Dec. 16, 2016) (dismissing NJCFA claim where the complaint “d[id] not
allege Plaintiff saw the advertisement before purchasing prescription glasses from Defendants”);
Slebodnik, 2014 WL 6609132, at *8 (citing Dewey, 558 F. Supp. 2d at 526; Crozier v. Johnson &
Johnson Consumer Companies, Inc., 901 F. Supp. 2d 494, 507-508 (D.N.J. 2012)) (“Plaintiffs plead a
causal connection in only general and vague terms. Critically, Plaintiffs do not allege any facts that
connect Defendant's alleged unlawful conduct—selling license plate frames that are not in compliance
with some state motor vehicle laws—and Plaintiffs’ alleged ascertainable loss. For example, Plaintiffs
do not allege that Plaintiffs have even seen or read Defendant's advertising on license plate frames.”);
Crozier, 901 F. Supp. 2d at 507–08 (D.N.J. 2012) (“Absent any showing that Plaintiffs had ‘seen, read,
or relied upon’ [the defendant’s allegedly misleading statements], the Court must find that Plaintiffs
have not stated a plausible claim for relief” under the NJCFA.”); Glass v. BMW of N. Am., LLC, No.
CIV.A. 10-5259 ES, 2011 WL 6887721, at *12 (D.N.J. Dec. 29, 2011) (citing Hughes v. Panasonic
Consumer Elecs. Co., No. CIV.A. 10-846 SDW, 2011 WL 2976839, at *11 (D.N.J. July 21, 2011))
(“Plaintiff here . . . fails to meet the requirements of Rule 9(b). Specifically, with regard to the
[defendant’s allegedly misleading statements], Plaintiff does not allege with specificity when the
statements were made, or articulate at what point—if ever—she was exposed to the advertisements or
the statement on [the defendant’s] website.”).

The CAC does not allege that any Plaintiff was ever exposed to any Defendant’s allegedly
misrepresentations or fraudulent omissions. Such allegations are required to establish a causal nexus
between Defendants’ conduct and Plaintiffs’ injuries to state a claim under the NJCFA. For that reason,
New Jersey Counts 3 and 4 are DISMISSED WITHOUT PREJUDICE, i.e., with leave to amend.

                      p)      New York Counts 3 Through 5

The CAC advances claims against the FCA Defendants and the Honda Defendants for alleged
violations of New York General Business Law (“GBL”), N.Y. Gen. Bus. Law §§ 349 and 350. Dkt. 278
¶¶ 1925-40 (“New York Count 3”), 1955-70 (“New York Count 5”). It also includes a claim against the
ZF and STMicro Defendants for an alleged violation of GBL § 349. Id. ¶¶ 1941-54.



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“To state a claim for deceptive practices” under § 349 or § 350, “a plaintiff must show: (1) that the act,
practice or advertisement was consumer-oriented; (2) that the act, practice or advertisement was
misleading in a material respect, and (3) that the plaintiff was injured as a result of the deceptive
practice, act or advertisement. Quintana v. B. Braun Med. Inc., No. 17-CV-06614 (ALC), 2018 WL
3559091, at *10 (S.D.N.Y. July 24, 2018) (citing Pelman v. McDonald’s Corp., 237 F. Supp. 2d 512,
524-25 (S.D.N.Y. 2003)). The ZF Defendants argue that Plaintiffs have failed to plead the required
element of causation. Dkt. 209 at 30-31 & n.12 (citing Solomon v. Bell Atl. Corp., 777 N.Y.S.2d 50, 54
(App. Div. 2004); Baron v. Pfizer, Inc., 2006 WL 1623052, at *4-5 (N.Y. Sup. Ct. May 2, 2006)).

“To properly allege causation, a plaintiff must state in his complaint that he has seen the misleading
statements of which he complains before he came into possession of the products he
purchased.” Goldemberg v. Johnson & Johnson Consumer Cos., Inc., 8 F. Supp. 3d 467, 480 (S.D.N.Y.
2014) (citations omitted); see Whalen v. Pfizer, Inc., 9 Misc. 3d 1124(A) 1, 3 (N.Y. Sup. Ct. 2005) (“The
Court of Appeals has been clear that a plaintiff need not show that s/he relied on the
misrepresentations in order to have a claim under GBL § 349. However, to assert a GBL § 349 claim, a
plaintiff must allege that s/he was exposed to the alleged misrepresentations.” (citations omitted)).

A plaintiff fails to state a claim under GBL §§ 349 or 350 if that party has not pleaded that he or she saw
or relied on the defendant’s alleged misrepresentations. See Oden v. Bos. Sci. Corp., 330 F. Supp. 3d
877, 902 (E.D.N.Y. 2018) (“None of these allegations provides any indication that Plaintiff ever saw
these statements and, to the extent he did, where, when and how Plaintiff came to view either the
website or the product brochure. In other words, the relevant factual background to support the above
statements is simply lacking. As a result, Plaintiff has failed to sufficiently plead the third element of this
[GBL] claim.”), adhered to on reconsideration, No. 18CV0334SJFSIL, 2019 WL 1118052 (E.D.N.Y.
Mar. 11, 2019); Quintana, 2018 WL 3559091, at *10 (dismissing GBL §§ 349 and 350 claims because
the “allegations d[id] not suggest Plaintiff ever saw [the defendant’s allegedly misrepresentative]
statements and under what circumstances”); In re NJOY, Inc. Consumer Class Action Litig., No.
CV1400428MMMRZX, 2014 WL 12586074, at *12, 15 & n.86 (C.D. Cal. Oct. 20, 2014) (dismissing
GBL § 349 claim "[b]ecause plaintiffs d[id] not allege what, when or where they were exposed to the
purported misrepresentations,” even though the complaint “plead[ed] collectively that all named
plaintiffs were exposed to and saw the allegedly ‘material, deceptive marketing claims and
packaging’ ”); Argabright v. Rheem Mfg. Co., 201 F. Supp. 3d 578, 611 (D.N.J. 2016) (“The Complaint
is devoid of any facts which would create an inference that, at the time of their purchase, [any plaintiff]
w[as] aware of the allegedly false advertising claims, which Plaintiffs obtained from Defendant's website
for purposes of filing the instant action.”).

The CAC does not sufficiently allege that any Plaintiff has seen, read or relied on any particular
statements made by any Defendant. For that reason, Plaintiffs have not established causation under
GBL §§ 349 and 50.

Therefore, New York Counts 3 through 5 are DISMISSED WITHOUT PREJUDICE, i.e., with leave to
amend.

                       q)      North Carolina Counts 3 and 4

The CAC advances a claim against the FCA Defendants and the Honda Defendants for an alleged
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violation of the North Carolina Unfair and Deceptive Trade Practices Act (“NCDTPA”), N.C. Gen. Stat.
§§ 75-1.1 et seq. Dkt. 278 ¶¶ 2002-15 (“North Carolina Count 3”). It also includes a claim against the
ZF and STMicro Defendants under the same statute. Id. ¶¶ 2016-28 (“North Carolina Count 4”).

“To state a claim for unfair or deceptive trade practices” under the NCDTPA, “the plaintiff must allege
facts plausibly showing that ‘(1) [the] defendant committed an unfair or deceptive act or practice, (2) the
action in question was in or affecting commerce, and (3) the act proximately caused injury to the
plaintiff.’ ” Caper Corp. v. Wells Fargo Bank, N.A., 578 F. App'x 276, 287 (4th Cir. 2014) (citing
Bumpers v. Cmty. Bank of N. Virginia, 367 N.C. 81, 88 (N.C. 2013)).

North Carolina Counts 3 and 4 fail for lack of particularity as to all Defendants except FCA US. The
allegations supporting these claims describes the allegedly “unfair or deceptive acts or practices” of
“the FCA and Honda Defendants,” or “[t]he ZF TRW and STMicro Defendants.” See, e.g., Dkt. 278 ¶¶
2008, 2021. As noted, each of these terms represents multiple corporate entities. See, e.g., id. ¶ 52
(“The FCA Defendants . . . are Fiat Chrysler Automobiles N.V. and FCA US LLC.” The CAC does not
specify which of the FCA Defendants, the Honda Defendants, the ZF Defendants or the STMicro
Defendants engaged in which allegedly fraudulent conduct. Consequently, it does not meet the
standards of Fed. R. Civ. P. 9(b), which requires pleading fraud claims with particularity. See In re
Toyota Motor Corp., 785 F. Supp. 2d at 919 (“A plaintiff may not simply lump together multiple
defendants without specifying the role of each defendant in the fraud.” (citing Swartz, 476 F.3d at 764)).
Therefore, North Carolina Counts 3 and 4 are insufficient as to all Defendants except FCA US. For that
reason, North Carolina Count 4, which is not pleaded against FCA US, is DISMISSED WITHOUT
PREJUDICE, i.e., with leave to amend.

The ZF and FCA Defendants argue that Plaintiffs have failed to plead the required element of reliance.
Dkt. 209 at 28-29 & n.11 (citing Kelly v. Georgia-Pac. LLC, 671 F. Supp. 2d 785, 799 (E.D.N.C. 2009));
Dkt. 230 at 28-29 & n.21 (citing Kelly, 671 F. Supp. 2d at 799). Plaintiffs appear to concede that
reliance is required for claims under NCDTPA claims based on affirmative misrepresentations. See Dkt.
290 at 21 n.6.

“When the alleged UDTPA violation is a misrepresentation, a plaintiff must prove detrimental reliance
on the alleged misrepresentation to satisfy the proximate cause requirement.” Solum v. Certainteed
Corp., 147 F. Supp. 3d 404, 411 (E.D.N.C. 2015) (citations omitted). To plead detrimental reliance, “a
plaintiff must plausibly allege actual reliance and reasonable reliance.” Id. (citing Caper Corp., 578 Fed.
App’x at 287). Here, Plaintiffs have not pleaded that any Plaintiff was exposed to a particular
misrepresentation made by any Defendant. Therefore, they have not established actual reliance.

Defendants argue that claims under the NCDTPA are “precluded when an alleged defect has not
manifested.” Dkt. 208 at 68 & n.36 (citing Bailey v. LeBeau, 339 S.E.2d 460, 463 (N.C. Ct. App. 1986),
aff’d, 348 S.E.2d 524 (N.C. 1986)). However, Bailey is distinguishable. There, the plaintiff alleged that,
when he purchased a used car, he was told that “certain engine parts had been replaced within six
months.” Bailey, 339 S.E.2d at 350. At trial the plaintiff had received treble damages for his claim under
the NCDTPA. The Court of Appeals reversed that award, finding that, “[w]hile there [wa]s evidence in
this record that defendants misrepresented that the engine parts had been replaced within six months
prior to the sale of the automobile, there [wa]s no evidence that plaintiff suffered an ‘injury’ because of
such representation.” Id. at 352. “[T]he record contain[ed] no evidence which tend[ed] to show that the
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automobile broke down because the parts had not been replaced within six months.” Id. Thus, the
plaintiff failed to prove that he had suffered an injury, as required by the NCDTPA.

The CAC presents different alleged facts. It alleges that, due to the presence of the Alleged Defect in
each Class Vehicle, each Vehicle is worth less than each Plaintiff paid for it. See, e.g., Dkt. 278 ¶ 727
(“[Defendants] sold and leased Class Vehicles . . . for more than what the vehicles were worth, at the
expense of Plaintiffs and Class members.”). This is sufficient to establish an injury under the NCDTPA.

Finally, Defendants argue that the economic loss rule bars Plaintiffs’ claims under the NCDTPA. Dkt.
208 at 51-52 & n.12 (citing Bussian v. DaimlerChrysler Corp., 411 F. Supp. 2d 614, 626 (M.D.N.C.
2006)). Plaintiffs respond that, in North Carolina, an “exception[] to the economic loss rule exist[s] for
fraudulent inducement based on misrepresentations or omissions.” Dkt. 281 at 54 (citing Takata, 2020
WL 2764196, at *9-10).

“It is well settled in North Carolina that the economic loss rule prohibits recovery for purely economic
loss in tort when a contract, an express warranty, or the Uniform Commercial Code operates to allocate
risk.” Malone v. Tamko Roofing Prod. Inc., No. 3:13-cv-00089-MOC-DCK, 2013 WL 5561628, at *3
(W.D.N.C. Oct. 8, 2013). “The economic loss rule has been extended to bar UDTPA claims in cases
with ‘allegations of a defective product where the only damage alleged is damage to the product itself
and the allegations of unfair trade practices are intertwined with the breach of contract or warranty
claims.’ ” Withers v. BMW of N. Am., LLC, No. 3:20-CV-00034-GCM, 2021 WL 4204332, at *6
(W.D.N.C. Sept. 15, 2021) (citing Bussian, 411 F. Supp. 2d at 627 (M.D.N.C. 2006); see also Wireless
Comms., Inc. v. Epicor Software Corp., No. 3:10CV556-DSC, 2011 WL 90238, at *4 (W.D.N.C. Jan. 11,
2011)). “However, the economic loss rule does not bar a claim where there is a duty, independent of a
contractual duty, which arises by operation of law.” Id. (citing Legacy Data Access, Inc. v. Cadrillion,
LLC, 889 F.3d 158, 165 (4th Cir. 2018); City of High Point v. Suez Treatment Sols. Inc., No.
1:19CV540, 2020 WL 1307017, at *5 (M.D.N.C. Mar. 19, 2020)); Wheeler v. BMW of N. Am. LLC, 534
F. Supp. 3d 527, 534 (W.D.N.C. 2021) (citing Cadrillion, 889 F.3d at 166) ("[T]he economic loss rule . . .
does not extend to torts based on an independent duty that is ‘identifiable’ and ‘distinct’ from the breach
of contract claim.”).

In vehicle defects cases, to determine whether a plaintiff’s NCDTPA claims are barred by the economic
loss rule, courts examine whether the plaintiff has established that the defendant had a duty to disclose
the defect "prior to the sale of the vehicle and the execution of the warranties. See Jones v. BMW of N.
Am., LLC, No. 1:20-CV-00057, 2020 WL 5752808, at *10 (M.D.N.C. Sept. 25, 2020) (citing Definitive
Staffing Sols., Inc. v. Staffing Advantage, L.L.C., No. 7:18-CV-187-FL, 2019 WL 3660878, at *6
(E.D.N.C. Aug. 6, 2019)); see Withers, 2021 WL 4204332, at *6. “North Carolina imposes a duty to
disclose on parties negotiating at arm's length where (1) one party has taken affirmative steps to
conceal material facts from the other or (2) one party has knowledge of a latent defect in the subject
matter of the negotiations about which the other party is both ignorant and unable to discover through
reasonable diligence.” Jones, 2020 WL 5752808, at *9 (citing Breeden v. Richmond Cmty. Coll., 171
F.R.D. 189, 196 (M.D.N.C. 1997)).

The CAC includes sufficient allegations to support the claim that FCA US had a duty to disclose the
Alleged Defect. This includes allegations that FCA US took affirmative steps to conceal the Alleged
Defect, and, unlike Plaintiffs, had knowledge of it. Cf. Withers, 2021 WL 4204332, at *6 (“Plaintiff has
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pled with sufficient particularity that BMW may have had a duty, independent of any contractual duty, to
disclose information regarding the engine valve defect. Plaintiff alleges facts that relate to the
inducement of the contract, including that: BMW knew the engine valve was defective long before
Plaintiff purchased the Vehicle; BMW took steps before Plaintiff purchased the Vehicle to represent to
customers that the engine oil consumption levels were normal; BMW took steps before Plaintiff
purchased the Vehicle to conceal the engine valve defect from customers; Plaintiff was not aware of the
defect prior to purchasing the Vehicle; knowledge of the defect would have impacted Plaintiff's decision
to purchase the Vehicle; and Plaintiff had no ability to discover the defect through reasonable
diligence.”); Jones, 2020 WL 5752808, at *10 (M.D.N.C. Sept. 25, 2020).

Because the CAC sufficiently alleges that the NCDTPA claims arise from breach of a duty that is
independent of the warranty claims, the economic loss rule does not bar their NCDTPA claims.

For the foregoing reasons, North Carolina Count 3 is DISMISSED WITHOUT PREJUDICE, i.e., with
leave to amend, as to FCA NV and the Honda Defendants. It survives as to FCA US only to the extent
it is based on a theory of fraudulent omissions.

                       r)      Oklahoma Counts 3 and 4

The CAC advances a claim against the FCA Defendants for an alleged violation of the Oklahoma
Consumer Protection Act (“Oklahoma CPA”), Okla. Stat. Ann. tit. 15, §§ 751 et seq. Dkt. 278 ¶¶ 2056-
70 (“Oklahoma Count 3”). It also includes a claim against the ZF and STMicro Defendants under the
same statute. Id. ¶¶ 2071-85.

“To establish an OCPA claim, a plaintiff must show (1) that the defendant engaged in an ‘unlawful
practice’ as that term is defined in section 753 of the Act, ‘(2) that the challenged practice occurred in
the course of [the] defendant's business; (3) that the plaintiff, as a consumer, suffered an injury in fact;
and (4) that the challenged practice caused the plaintiff's injury.’ ” Dinwiddie v. Suzuki Motor of Am.,
Inc., 111 F. Supp. 3d 1202, 1215 (W.D. Okla. 2015) (citing Patterson v. Beall, 19 P.3d 839, 846 (Okla.
2000)).

Oklahoma Counts 3 and 4 fail for lack of particularity as to all Defendants except FCA US. The
allegations supporting these claims describes the allegedly “unfair or deceptive business practices” of
“the FCA Defendants,” or “deceptive trade practices” of “the ZF TRW and STMicro Defendants.” See,
e.g., Dkt. 278 ¶¶ 2063, 2078. As noted, each of these terms represents multiple corporate entities. See,
e.g., id. ¶ 52 (“The FCA Defendants . . . are Fiat Chrysler Automobiles N.V. and FCA US LLC.”).
Plaintiffs have not made any allegations showing which of these Defendants, except FCA US,
specifically engaged in which allegedly deceptive or unfair conduct. Instead, Plaintiffs have
impermissibly “lump[ed] together multiple defendants without specifying the role of each defendant in
the fraud.” In re Toyota Motor Corp., 785 F. Supp. 2d at 919 (citing Swartz, 476 F.3d at 764). This is
inadequate to meet the standards set by Fed. R. Civ. P. 9(b). Therefore, Oklahoma Counts 3 and 4 fail
as to all Defendants except FCA US. For that reason, Oklahoma Count 4, which is not pleaded against
FCA US, is DISMISSED WITHOUT PREJUDICE, i.e., with leave to amend.

The FCA, ZF and STMicro Defendants argue that Oklahoma Count 3 fails on the basis that “[c]laims
brought under Oklahoma’s CPA are preempted if they are based on transactions regulated under other
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administrative or regulatory schemes.” Dkt. 230 at 33 (citing Okla. Stat. Ann. tit. 15, § 754(2);
Dinwiddie, 111 F.Supp.3d at 1216); Dkt. 209 at 38 (citations omitted); Dkt. 280 at 36.

Okla. Stat. tit. 15, § 754 provides:

         Nothing in the Oklahoma Consumer Protection Act shall apply to ... [a]ctions or transactions
         regulated under laws administered by the Corporation Commission or any other regulatory body
         or officer acting under statutory authority of this state of the United States.

Courts construing this exemption “have found [it] to be applicable when the alleged conduct about
which the plaintiff has complained is regulated by a government agency.” Dinwiddie, 111 F. Supp. 3d at
1216 (W.D. Okla. 2015) (citing Thomas v. Metro. Life Ins. Co., 540 F. Supp. 2d 1212, 1228 (W.D. Okla.
2008)).

The FCA, ZF and STMicro Defendants have failed to show that the Oklahoma statutory exemption
applies to Plaintiffs’ claims. In support of their position, the ZF Defendants argue that “automotive
manufacturing is heavily regulated,” citing the Motor Vehicle Safety Act, 49 U.S.C. §§ 30101 et seq.,
and the “Motor Vehicle Safety Standards” promulgated by NHTSA. Dkt. 209 at 38. However, to the
extent that automotive manufacturing is regulated, the conduct that forms the basis for the alleged
wrongdoing, is not encompassed by that broad category. Plaintiffs’ claims arise specifically from
Defendants’ alleged failure to disclose the Alleged Defect, and their misrepresentations concerning
such Defect, in advertising, labeling, owner’s manuals and statements to NHTSA. These claims
concern Defendants’ alleged handling of the Alleged Defect, rather than the existence of the Alleged
Defect itself. Defendants have not shown that such conduct is governed by any government agency.

For the foregoing reasons, Oklahoma Count 3 is DISMISSED WITHOUT PREJUDICE, i.e., with leave
to amend, only as to FCA NV. As to FCA US, Plaintiffs have stated a claim under the Oklahoma CPA.

                       s)      Pennsylvania Counts 3 and 4

The CAC advances a claim against the Hyundai-Kia Defendants and Hyundai MOBIS for an alleged
violation of the Pennsylvania Unfair Trade Practices and Consumer Protection Law (“UTPCPL”), 73 Pa.
Cons. Stat. §§ 201-1 et seq. Dkt. 278 ¶¶ 2117-33 (“Pennsylvania Count 3”). It also includes a claim
against the ZF and STMicro Defendants under the same statute. Id. ¶¶ 2134-49 (“Pennsylvania Count
4”).

Pennsylvania Counts 3 and 4 fail for lack of particularity as to all Defendants except HMA and KMA.
The allegations supporting these claims describes the allegedly “unfair or deceptive business practices”
of “the Hyundai and Kia Defendants and Hyundai MOBIS,” or the “unfair methods of competition and
unfair or deceptive acts or practices in the conduct of any trade or commerce” allegedly engaged in by
“the ZF TRW and STMicro Defendants.” See, e.g., Dkt. 278 ¶¶ 2126, 2142. As noted, each of these
terms represents multiple corporate entities. See, e.g., id. ¶ 43 (“The Hyundai Defendants . . . are
Hyundai Motor Co., Ltd.; Hyundai Motor America, Inc. The Kia Defendants . . . are Kia Motors
Corporation and Kia Motors America, Inc. Hyundai MOBIS Co. Ltd. and Mobis Parts America, LLC are
the Hyundai MOBIS Defendants . . . . The Hyundai-Kia Defendants are Hyundai, Kia, and Hyundai
MOBIS.”).
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Plaintiffs have not made any allegations showing which of these Defendants, except HMA and KMA,
specifically engaged in which allegedly deceptive or unfair conduct. Instead, Plaintiffs have
impermissibly “lump[ed] together multiple defendants without specifying the role of each defendant in
the fraud.” In re Toyota Motor Corp., 785 F. Supp. 2d at 919 (citing Swartz, 476 F.3d at 764). This is
inadequate to meet the standards set by Fed. R. Civ. P. 9(b). Therefore, Pennsylvania Counts 3 and 4
fail as to all Defendants except HMA and KMA. For that reason, Pennsylvania Count 4, which is not
pleaded against HMA and KMA, is DISMISSED WITHOUT PREJUDICE, i.e., with leave to amend.

The ZF Defendants argue that Plaintiffs fail to plead the required element of reliance. Dkt. 209 at 28-29
& n.11 (citing Yocca v. Pittsburgh Steelers Sports, Inc., 854 A.2d 425, 438-39 (Pa. 2004)). “To bring a
private cause of action under the UTPCPL, a plaintiff must show that he justifiably relied on the
defendant's wrongful conduct or representation and that he suffered harm as a result of that reliance.”
Yocca, 578 Pa. at 501 (2004) (citing Weinberg v. Sun Co., 777 A.2d 442, 446 (2001)); Debbs v.
Chrysler Corp., 810 A.2d 137, 156–57 (Pa. Super. 2002); Sexton v. PNC Bank, 792 A.2d 602, 607 (Pa.
Super. 2002)). However, “a manufacturer has a duty to disclose a known latent defect to a purchaser
when the purchaser is unsophisticated and does not have access to the same information as the
manufacturer.” Zwiercan v. General Motors Corp., 58 Pa. D. & C. 4th 251, 2002 WL 31053838, at *3
(Pa. Com. Pl. 2002). When there is such a duty to disclose, “[r]eliance can be presumed . . . , because
a consumer must rely upon what the manufacturer discloses in order to make a purchasing decision. If
a manufacturer does not disclose material information it was duty bound to provide, then the customer
may be presumed to have relied upon the manufacturer's silence.” Drayton v. Pilgrim's Pride Corp., No.
CIV.A. 03-2334, 2004 WL 765123, at *7 (E.D. Pa. Mar. 31, 2004) (discussing Zwiercan, 58 Pa. D. & C.
4th at 259). The CAC contains sufficient allegations to support the claim that Defendants had a duty to
disclose the Alleged Defect, and that Plaintiffs’ reliance upon their omission as to such Defect can be
presumed.

Defendants next argue that the economic loss rule bars Plaintiffs’ claims under the UTPCPL. Dkt. 208
at 51-52 & n.10 (citing Martin v. Ford Motor Co., 765 F. Supp. 2d 673, 684-85 (E.D. Pa. 2011)).
Plaintiffs respond by asserting that Pennsylvania law recognizes an “exception[] to the economic loss
rule . . . for fraudulent inducement based on misrepresentations or omissions.” Dkt. 281 at 54 & n.13
(citing Knight v. Springfield Hyundai, 81 A.3d 940, 952 (Pa. Sup. Ct. 2013)).

“Under Pennsylvania law, the economic loss doctrine provides that a plaintiff cannot maintain a tort
action premised on the breach of a legal duty that arises solely from a contract.” In re Rutter's Inc. Data
Sec. Breach Litig., 511 F. Supp. 3d 514, 533 (M.D. Pa. 2021) (citing Dittman v. UPMC, 196 A.3d 1036,
1054 (Pa. 2018)).

After the briefing on the Motions was completed, the Third Circuit, relying on two recent decisions of the
Pennsylvania Superior Court, held that “the economic loss doctrine no longer may serve as a bar to
UTPCPL claims.” Earl v. NVR, Inc., 990 F.3d 310, 314 (3d Cir. 2021) (citing Knight, 81 A.3d; Dixon v.
Nw. Mut., 146 A.3d 780 (Pa. Super. Ct. 2016)); see In re Toyota RAV4 Hybrid Fuel Tank Litig., 534 F.
Supp. 3d at 1119 (“Pennsylvania's appellate courts and the Third Circuit now agree that the economic
loss doctrine does not preclude UTPCPL claims.”). Applying Earl, the economic loss rule does not bar
Plaintiffs’ UTPCPL claims.

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For the foregoing reasons, Pennsylvania Count 3 is DISMISSED WITHOUT PREJUDICE, i.e., with
leave to amend, as to the Hyundai and Kia Defendants, with the exception of HMA and KMA. With
respect to the latter two Defendants, Plaintiffs have stated a claim under the UTPCPA.

                      t)      South Carolina Counts 3 Through 6

The CAC advances claims against the Toyota Defendants for alleged violations of the South Carolina
Unfair Trade Practices Act (“SCUTPA”), S.C. Code Ann. §§ 39-5-10 et seq.,Dkt. 278 ¶¶ 2177-90
(“South Carolina Count 3”), and for violation of the South Carolina Regulation of Manufacturers,
Distributors, and Dealers Act (“MDDA”), S.C. Code Ann. § 56-15-10 et seq. Id. ¶¶ 2205-19 (“South
Carolina Count 5”)). It also includes claims against the ZF and STMicro Defendants under the same
statutes. Id. ¶¶ 2191-2204 (SCUTPA) (“South Carolina Count 4”), 2220-34 (MMDA) (“South Carolina
Count 6”).

South Carolina Counts 3 through 6 fail for lack of particularity. The allegations supporting these claims
describe either the allegedly “unfair or deceptive business practices” of “the Toyota Defendants” or the
alleged “unfair methods of competition and unfair or deceptive acts or practices in the conduct of any
trade or commerce” engaged in by “the ZF TRW and STMicro Defendants.” See, e.g., id. ¶¶ 2183,
2197, 2212, 2227. As noted, each of these terms represents multiple corporate entities. See, e.g., id. ¶
56 (“The Toyota Defendants . . . are Toyota Motor Corporation; Toyota Motor North America Inc.;
Toyota Motor Engineering & Manufacturing North America, Inc.; and Toyota Motor Sales, U.S.A., Inc.”).
The CAC does not specify which of the Toyota Defendants, the ZF Defendants or the STMicro
Defendants engaged in which allegedly fraudulent conduct. Consequently, it does not meet the
standards of Fed. R. Civ. P. 9(b), which requires pleading fraud claims with particularity. See In re
Toyota Motor Corp., 785 F. Supp. 2d at 919 (“A plaintiff may not simply lump together multiple
defendants without specifying the role of each defendant in the fraud.” (citing Swartz, 476 F.3d at 764)).
Therefore, Plaintiffs have failed to state a claim under SCUTPA or the South Carolina MDDA.

South Carolina Counts 3 through 6 are DISMISSED WITHOUT PREJUDICE, i.e., with leave to amend.

                      u)      South Dakota Counts 3 and 4

The CAC advances a claim against the FCA Defendants for an alleged violation of the South Dakota
Deceptive Trade Practices and Consumer Protection Law (“SDDTPA”), S.D. Codified Laws §§ 37-24-1
et seq. Dkt. 278 ¶¶ 2262-76 (“South Dakota Count 3”). It also includes a claim against the ZF and
STMicro Defendants under the same statute. Id. ¶¶ 2277-91 (“South Dakota Count 4”).

Under the SDDTPA, it is a deceptive practice to “[k]nowingly act, use, or employ any deceptive act or
practice, fraud, false pretense, false promises, or misrepresentation or to conceal, suppress, or omit
any material fact in connection with the sale or advertisement of any merchandise.” S.D. Codified Laws
§ 37-24-6(1). S.D. Codified Laws § 37-24-31 “allows a plaintiff in a civil action a claim for damages
pursuant to the South Dakota Deceptive Trade Practices Act but specifically requires a causal
connection between the alleged deceptive practice and the damages suffered by a plaintiff.” Rainbow
Play Sys., Inc. v. Backyard Adventure, Inc., No. CIV.06-4166, 2009 WL 3150984, at *7 (D.S.D. Sept.
28, 2009).

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The ZF Defendants argue that Plaintiffs fail to plead the required element of causation. Dkt. 209 at 30.
“[T]o recover in an action under the South Dakota Deceptive Trade Practices Act, a plaintiff must have
relied on the alleged misrepresentation.” Rainbow Play Sys., 2009 WL 3150984, at *7 (citing Nygaard
v. Sioux Valley Hosps. & Health Sys., 731 N.W.2d 184 (S.D. 2007)); see In re ConAgra Foods, Inc., 90
F. Supp. 3d 919, 1014 (C.D. Cal. 2015) (citing Nw. Pub. Serv., a Div. of Nw. Corp. v. Union Carbide
Corp., 236 F.Supp.2d 966, 973–74 (D.S.D. 2002)), aff'd sub nom. Briseno v. ConAgra Foods, Inc., 674
F. App'x 654 (9th Cir. 2017), and aff'd sub nom. Briseno v. ConAgra Foods, Inc., 844 F.3d 1121 (9th
Cir. 2017) (“A claim for damages under the SDDTPL requires ‘proof of an intentional misrepresentation
or concealment of a fact on which [the] plaintiff relied and that caused an injury to plaintiff.”) (alteration
in original); see also Nw. Pub. Serv., 236 F. Supp. 2d at 973-74 (finding that “proof of an intentional
misrepresentation or concealment of a fact on which plaintiff relied and that caused an injury to plaintiff”
is required to win summary judgment on an SDDTPA claim).

The CAC does not sufficiently allege that any Plaintiff was exposed to, or relied on, any particular
statement made by any Defendant. Therefore, Plaintiffs have failed to plead reliance, which is required
to state a claim under the SDDTPA. Therefore, South Dakota Counts 3 and 4 are DISMISSED
WITHOUT PREJUDICE, i.e., with leave to amend.

                       v)      Tennessee Counts 3 and 4

The CAC advances a claim against the Hyundai Defendants and Hyundai MOBIS for an alleged
violation of the Tennessee Consumer Protection Act of 1977 (“Tennessee CPA”), Tenn. Code Ann. §§
47-18-101 et seq. Dkt. 278 ¶¶ 2319-34 (“Tennessee Count 3”). It also includes a claim against the ZF
Defendants and the STMicro Defendants under the same statute. Id. ¶¶ 2335-50 (“Tennessee Count
4”).

Defendants argue that the claims of the only Tennessee Plaintiff, McMurray, should be dismissed as
untimely. Dkt. 208 at 66; see Dkt. 219 at 32-33. Plaintiffs respond that “Defendants’ alleged
concealment of the ACU defect for years tolls the statute.” Dkt. 281 at 63; see Dkt. 278 ¶ 545(a).

Tenn. Code Ann. § 47-18-110 provides that the statute of limitations for Tennessee CPA claims is “one
(1) year from a person's discovery of the unlawful act or practice.” Tenn. Code Ann. § 47-18-110. It
further provides that “in no event shall an action under § 47-18-109 be brought more than five (5) years
after the date of the consumer transaction giving rise to the claim for relief.” Id. Section 47-18-109 “is
the provision of the TCPA providing for a private cause of action for unfair or deceptive acts or
practices.” Roberson v. Medtronic, Inc., 494 F. Supp. 2d 864, 871 n. 7 (W.D. Tenn. 2007). “The
Tennessee Supreme Court has interpreted statutes of repose like § 47-18-110's five-year limit as
‘absolute time limit[s] within which action must be brought.’ ” Id. at 872 (citing Penley v. Honda Motor
Co., Ltd., 31 S.W.3d 181, 184 (Tenn. 2000)) (alteration in original). It has been found not to be subject
to tolling for fraudulent concealment. See Bell v. Fed. Nat'l Mortg. Ass'n, No. 2:16-CV-327, 2017 WL
4293225, at *6 (E.D. Tenn. Sept. 27, 2017).

McMurray purchased her Class Vehicle on August 28, 2014. Dkt. 278 ¶ 96. She filed her claims in this




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action on May 26, 2020. 34 She did so outside of the one-year limitations period for Tennessee CPA
claims, and outside of the five-year statute of repose.

Tennessee Counts 3 and 4 are DISMISSED WITHOUT PREJUDICE, i.e., with leave to amend. 35

                         w)      Texas Counts 3 and 4

The CAC advances a claim against the FCA, Honda, Hyundai and Toyota Defendants, and Hyundai
MOBIS, for violation of the Texas Deceptive Trade Practices-Consumer Protection Act (“Texas DTPA”),
Tex. Bus. & Com. Code Ann. §§ 17.41 et seq. Dkt. 278 ¶¶ 2386-2406 (“Texas Count 3”). 36 It also
includes a claim against the ZF and STMicro Defendants under the same statute. Id. ¶¶ 2407-25
(“Texas Count 4”).

“To recover under the DTPA, the plaintiff must show that (1) he is a consumer, (2) the defendant
engaged in a false, misleading, or deceptive act, and (3) the act constituted a producing cause of
economic damages or damages for mental anguish.” Everett v. TK-Taito, L.L.C., 178 S.W.3d 844, 857
(Tex. App. 2005) (citations omitted).

The Hyundai-Kia, STMicro and Honda Defendants argue that Plaintiffs fail to plead the required
element of reliance. Dkt. 219 at 27 & n.13 (citing Tex. Bus. & Com. Code Ann. § 17.50(a)(1)(B)); Dkt.
280 at 32-33 & n.7 (citing In re Clorox Consumer Litig., 301 F.R.D. 436, 446 (N.D. Cal. 2014)); Dkt. 213
at 33 (citing Tex. Bus. & Com. Code Ann. § 17.50(a)(1)(B)). The STMicro Defendants argue that
causation is also required. Dkt. 280 at 33 & n.8 (citing In re Carrier IQ, Inc., 78 F. Supp. 3d 1051, 1123
(N.D. Cal. 2015)).

Texas Bus. & Com. Code § 17.50 provides:

         A consumer may maintain an action where any of the following constitute a producing cause of
         economic damages or damages for mental anguish:

         (1) the use or employment by any person of a false, misleading, or deceptive act or practice that
         is:

                (A) specifically enumerated in a subdivision of Subsection (b) of Section 17.46 of this
                subchapter; and


34 McMurray is among the New Plaintiffs who initially filed claims in the CAC on May 26, 2020. For the reasons
already stated, the New Plaintiffs’ complaint is deemed to have been filed on May 26, 2020.
35 Because the statute of limitations is an affirmative defense that may be waived, a plaintiff is not obligated to

address it with allegations in an initial complaint. However, once it has been raised in a response to a complaint, it
is appropriate to require allegations on the issue in any amended complaint. For those reasons, Tennessee
Counts 3 and 4 have been dismissed without prejudice, so that the Tennessee Plaintiff has the opportunity to
seek to make such allegations.
36 Robinson is the only Texas Plaintiff to assert claims against the FCA Defendants. He voluntarily dismissed

such claims on August 10, 2020. Dkt. 228. Therefore, Texas Count 3 is DISMISSED WITHOUT PREJUDICE, i.e.,
with leave to amend, with respect to the FCA Defendants.
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               (B) relied on by a consumer to the consumer's detriment . . . .

Tex. Bus. & Com. Code Ann. § 17.50(a). Thus, “[u]nder the DTPA, a consumer may bring an action
when he has relied to his detriment on a false or misleading representation, and the reliance is a
producing cause of damages.” Brown & Brown of Texas, Inc. v. Omni Metals, Inc., 317 S.W.3d 361,
387 (Tex. App. 2010) (citations and quotation marks omitted); see Cruz v. Andrews Restoration, Inc.,
364 S.W.3d 817, 824 (Tex. 2012) (“Reliance is a necessary element of [the plaintiff’s] DTPA claim.”).

The CAC does not sufficiently allege that any Plaintiff was ever exposed to, or relied on, the allegedly
misrepresentations or fraudulent omissions of any Defendant. Therefore, Texas Counts 3 and 4 are
DISMISSED WITHOUT PREJUDICE, i.e., with leave to amend.

                       x)      Washington Counts 3 and 4

The CAC advances a claim against the Hyundai and Toyota Defendants, and Hyundai MOBIS, for an
alleged violation of the Washington Consumer Protection Act (“Washington CPA”), Wash. Rev. Code
§§ 19.86.010 et seq. Dkt. 278 ¶¶ 2516-32 (“Washington Count 3”). 37 It also includes a claim against the
ZF and STMicro Defendants under the same statute. Id. ¶¶ 2533-48 (“Washington Count 4”).

To state a claim under the Washington CPA, a plaintiff must allege “(1) an unfair or deceptive act or
practice; (2) occurring in trade or commerce; (3) that impacts the public interest; (4) and causes injury
to the plaintiff in his or her business or property; and (5) such injury is causally linked to the unfair or
deceptive act.” Pierce v. NovaStar Mortg., Inc., 238 F.R.D. 624, 626 (W.D. Wash. 2006) (citing
Hangman Ridge Training Stables, Inc. v. Safeco Title Ins. Co., 105 Wash. 2d 778, 780 (Wash. 1986)).

The ZF Defendants argue that Plaintiffs fail to plead the necessary element of causation. Dkt. 209 at
30-31 & n.12 (citing Maple v. Costco Wholesale Corp., 649 F. App'x 570, 572 (9th Cir. 2016)). “Where a
defendant has engaged in an unfair or deceptive act or practice, and there has been an affirmative
misrepresentation of fact, . . . there must be some demonstration of a causal link between the
misrepresentation and the plaintiff's injury.” Indoor Billboard/Washington, Inc. v. Integra Telecom of
Washington, Inc., 162 Wash. 2d 59, 83 (Wash. 2007); see Panag v. Farmers Ins. Co. of Washington,
166 Wash. 2d 27, 57 (Wash. 2009) (“Washington requires a private CPA plaintiff to establish the
deceptive act caused injury.” (citing Hangman Ridge, 105 Wash. 2d at 794)). On the ground that such a
causal link was lacking, Maple affirmed the dismissal of a claim under the Washington CPA, where the
plaintiff had not pleaded having read the defendant’s misleading statements. Maple, 649 F. App'x at
572 (citing Indoor Billboard/Wash., 162 Wash. 2d at 83).

The CAC does not sufficiently allege that any Plaintiff was exposed to, or relied on, any Defendant’s
misleading statement or fraudulent omission. Therefore, Plaintiffs have not pleaded causation, which is
required to state a claim under the Washington CPA. Cf. Woodell v. Expedia Inc., No. C19-0051JLR,
2019 WL 3287896, at *11 (W.D. Wash. July 22, 2019) (dismissing Washington CPA claim for failure to
plead proximate causation where the plaintiff “d[id] not allege that she read or even noticed” the

37 Jagnjic is the only Washington Plaintiff to assert claims against the Hyundai Defendants. He voluntarily
dismissed those claims on October 12, 2020. Dkt. 291. Therefore, Washington Count 3 is DISMISSED WITHOUT
PREJUDICE, i.e., with leave to amend, with respect to the Hyundai Defendants.

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defendants’ alleged misleading statement).

For the foregoing reasons, Washington Counts 3 and 4 are DISMISSED WITHOUT PREJUDICE, i.e.,
with leave to amend.

                      y)      Wisconsin Count 3

The CAC advances a claim against the Mitsubishi Defendants for an alleged violation of the Wisconsin
Deceptive Trade Practices Act (“Wisconsin DTPA”), Wis. Stat. §§ 100.18 et seq. Dkt. 278 ¶¶ 2576-90
(“Wisconsin Count 3”).

Wisconsin Count 3 fails for lack of particularity. The allegations supporting this claim describe the
“assertions, representations and statements of fact which are untrue, deceptive or misleading” that are
alleged to have been made by “the Mitsubishi Defendants.” See, e.g., id. ¶ 2583-84. The term
“Mitsubishi Defendants” refers to two separate corporate entities. See id. ¶ 67 (“The Mitsubishi
Defendants . . . are Mitsubishi Motors North America, Inc. and Mitsubishi Motors Corporation.”).
The CAC does not specify which of the Mitsubishi Defendants engaged in which allegedly fraudulent
conduct. Consequently, it does not meet the standards of Fed. R. Civ. P. 9(b), which requires pleading
fraud claims with particularity. See In re Toyota Motor Corp., 785 F. Supp. 2d at 919 (“A plaintiff may
not simply lump together multiple defendants without specifying the role of each defendant in the fraud.”
(citing Swartz, 476 F.3d at 764)). Therefore, Plaintiffs have failed to state a claim under the Wisconsin
DTPA.

For the foregoing reasons, Wisconsin Count 3 is DISMISSED WITHOUT PREJUDICE, i.e., with leave
to amend.

               4.     Warranty Claims

                      a)      Alabama Counts 1 and 2

                              (1)    Alabama Count 1: Breach of Express Warranty

The CAC includes a claim against the Honda Defendants for breach of express warranty pursuant to
Ala. Code §§ 7-2-313 and 7-2a-210. Dkt. 278 ¶¶ 732-46 (“Alabama Count 1”).




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                                      (a)    Pre-Suit Notice

In support of the Joint Motion, Defendants argue that Alabama Count 1 should be dismissed due to
“Plaintiffs’ failure to demonstrate compliance with the pre-suit notice requirements in” that state. Dkt.
208 at 60-61. “Under Alabama law, notice of breach is a condition precedent to bringing a breach of
warranty action, which must be affirmatively pleaded in the complaint.” Hobbs v. Gen. Motors Corp.,
134 F. Supp. 2d 1277, 1283 (M.D. Ala. 2001) (citing Hart v. Yamaha–Parts Distribs., Inc., 787 F.2d
1468 (11th Cir. 1986)). When a buyer “seeks recovery for economic loss” due to “alleged defects,” such
notice must be provided to the “remote manufacturer,” i.e., “a manufacturer who is not involved in any
transaction with and, therefore, is not in privity with the buyer.” Id. at 1281, 84-85 (citation omitted).

Plaintiffs have alleged that “[t]he Alabama Plaintiff and Alabama State Class members have provided
the Honda Defendants with reasonable notice and opportunity to cure the breaches of their express
warranties by way of the numerous NHTSA complaints filed against them, and the individual notice
letters sent by Alabama State Class members within a reasonable amount of time after the ACU defect
became public.” Dkt. 278 ¶ 744. This is sufficient to satisfy the notice requirement. Defendants argue
that “Plaintiffs fail to provide the contents or documents purporting to provide notice.” Dkt. 208 at 61.
However, whether there is a sufficient factual basis for this allegation is not an issue that can be
determined on a motion to dismiss. See Hobbs, 134 F. Supp. 2d at 1285 (“[G]enerally speaking, the
issue of sufficiency of notice is a question of fact for a jury to determine.”).

                                      (b)    Presentment for Repair

The Honda Defendants argue that Alabama Count 1 fails because “the Honda Plaintiffs have failed to
allege that any of them presented their vehicles for repair at a Honda dealer, as required under the
Limited Warranty.” Dkt. 213 at 26.

The warranty booklets, which were filed as exhibits by the Honda Defendants, provide that Honda -- or,
Acura with respect to such vehicles -- “will repair or replace any part that is defective in material or
workmanship under normal use” (the “Honda Limited Warranty”). See Exs. 1 through 7 to Stevenson
Decl., Dkts. 211-2, 211-3, 211-4, 211-5, 211-6, 211-7, 211-8. “In Alabama, the crux of all express
warranty claims is that the goods did not conform to the warranty.” Ex parte Miller, 693 So. 2d 1372,
1376 (Ala. 1997) (citing Ala. Code 1975 § 7–2–313). “[T]he language of an express warranty to repair
cannot be construed as a representation that a product is free of defects.” Fowler v. Goodman Mfg. Co.
LP, No. 2:14-CV-968-RDP, 2014 WL 7048581, at *6 (N.D. Ala. Dec. 12, 2014) (citations omitted). “An
express warranty to repair anticipates that defects may occur and that, if detected during the term of the
warranty, they will be remedied under the terms of the warranty.” Id.

The Honda Limited Warranty provides that, if a defect to a vehicle occurs, the manufacturer is obligated
to repair or replace the vehicle. A manufacturer cannot breach this obligation unless it was first
presented with the opportunity to repair or replace. Because the CAC does not allege that the Honda
Plaintiffs ever presented their Class Vehicles for repair or replacement, its allegations in support of the
breach of the Honda Limited Warranty are insufficient.

The CAC alleges that “[t]he Honda Defendants knowingly breached their express warranties to repair
defects in materials and workmanship by failing to repair the ACU defect or replace the defective ACUs
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in the Honda Class Vehicles.” Dkt. 278 ¶ 743. However, the CAC does not allege that Rubio, the only
plaintiff representing the putative “Alabama State Class,” ever presented, or otherwise offered, his
Class Vehicle to any of the Honda Defendants for repair or replacement. See id. ¶ 125. Nor does it
allege that the Honda Defendants ever refused to repair or replace a Class Vehicle when asked to do
so. In the absence of such allegations, the averment in the CAC that the Honda Defendants failed to
repair or replace the defective ACUs is inadequate to assert a claim for breach of the Honda Limited
Warranty.

Plaintiffs argue that they were not required to “present their vehicles for repair to a Honda dealer” as a
prerequisite to recovering under the Honda Limited Warranty, because “doing so would have been
futile.” Dkt. 287 at 23 (citing Benkle v. Ford Motor Co., No. SACV161569DOCJCGX, 2017 WL
9486154, at *12 (C.D. Cal. Dec. 22, 2017) and Keegan v. Am. Honda Motor Co., 284 F.R.D. 504, 512-
13 (C.D. Cal. 2012)). However, there are insufficient allegations in the CAC to support this position.
Their failure to do so distinguishes the circumstances here from those presented in the cases cited by
Plaintiffs.

In Benkle, two plaintiffs had their respective vehicles repaired by the manufacturer, Ford Motor Co.
(“Ford”). They argued that Ford had “breached its Limited Warranty by providing inadequate repairs.”
Benkle, 2017 WL 9486154, at *11. Ford later argued that other plaintiffs in the action could not bring
their own claims for breach of express warranty because they had “not present[ed] their vehicles for
repair.” Id. “Plaintiffs respond[ed] that these Plaintiffs were not required to present their vehicles for
repair . . . because Ford refused to provide an adequate repair and thus any repair would not have fixed
the defect.” Id. Thus, when Ford was presented with an opportunity to repair or replace a defective
vehicle, it did so by replacing the defective electronic throttle body (“ETB”) with a “replacement ETB[]”
that was “substantially certain to fail again.” Id. at *12. These circumstances were sufficient to make an
adequate showing that presenting other vehicles to Ford for repair would have been futile. Id.

In Keegan, it was alleged that the plaintiffs’ vehicles, which were America Honda products, were
defective because “the rear control arm originally installed in the vehicles was too short.” Keegan, 284
F.R.D. at 511. This defect was alleged to “affect[] the alignment and geometry of the rear suspension,
causing the vehicles to become misaligned,” which led to other problems with the operation of the
vehicles. Id. In a response to the presence of the defect, American Honda “issued a technical service
bulletin . . . to its dealers and began covering ‘certain costs associated with temporary correction’ of the
defect, such as replacing the rear control arm.” Id. at 512. However, the plaintiffs argued that “the
recommended modification [was] ‘only a temporary fix’ that d[id] not address the underlying problem,”
because replacing the rear control arm with a longer one would not have corrected the other problems
with the class vehicles that had already been caused by the installation of the arm that was too short.
Id. Thus, based on how American Honda intended to repair the class vehicles, the plaintiffs were able
to establish that presenting them to American Honda for repair would have been futile.

Plaintiffs have not made similar allegations in this action. The CAC does not include allegations as to
the manner in which the Honda Defendants would act to repair Class Vehicles if they were presented
for repair. Absent any such allegations as to how the Honda Defendants would have repaired the Class
Vehicles or the defective ACUs, there is not a sufficient contention of the futility of doing so.

This outcome is consistent with the manner in which Alabama courts have applied the statute of
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limitations for breach of express warranty claims. Under Alabama law, a cause of action for breach of
an express warranty to repair or replace a vehicle accrues “at the time the manufacturer breaches its
contractual obligation to repair” the vehicle. Brown v. Gen. Motors Corp., 14 So. 3d 104, 113 (Ala.
2009). In Brown, the Alabama Supreme Court overturned Tittle v. Steel City Oldsmobile GMC Truck,
Inc., 544 So. 2d 883 (Ala.1989), which held that such a warranty accrues at the time the vehicle is
delivered to the buyer. Id. Given that, under Alabama law, the statute of limitations begins to run at the
time the manufacturer fails to repair the vehicle, it is a logical inference that Plaintiffs are required to
plead sufficient facts showing that the Honda Defendants failed to do so, or that presenting the vehicles
for repair would have been futile given the proposed method for doing so.

Because Plaintiffs failed to make adequate allegations to show breach of express warranty under
Alabama law, Alabama Count 1 is DISMISSED WITHOUT PREJUDICE, i.e., with leave to amend.

                                (2)     Alabama Count 2: Breach of Implied Warranty

The CAC also advances a claim against the Honda Defendants for breach of the implied warranty of
merchantability under Ala. Code §§ 7-2-314 and 7-2a-212. Dkt. 278 ¶¶ 747-58 (“Alabama Count 2”). In
support of the Joint Motion, Defendants argue that Alabama Count 2 fails because in Alabama, as “[i]n
many states, a plaintiff cannot recover economic losses for breach of implied warranty in the absence
of privity.” Dkt. 208 at 59 (citations omitted).

The Honda Defendants make the similar argument that, under Alabama law, “implied warranty claims
may be brought only against a ‘seller’ or ‘lessor.’ ” Dkt. 213 at 23 (citing Ala. Code § 7-2-314). Although
they appear to concede that American Honda is a seller or lessor, they argue that the rest of the Honda
Defendants are not. Dkt. 213 at 24. The remaining Honda Defendants in this action are American
Honda, Honda Manufacturing and Honda R&D Americas. Thus, the issue is whether a claim can be
stated for breach of the implied warranty of merchantability against Honda Manufacturing and Honda
R&D Americas.

Ala. Code § 7-2-314 provides, in relevant part:

         Unless excluded or modified (Section 7-2-316), a warranty that the goods shall be merchantable
         is implied in a contract for their sale if the seller is a merchant with respect to goods of that kind.

Ala. Code § 7-2-314(1). “The implied warranty of merchantability extends from the seller to the buyer.”
Freeman v. NIBCO, Inc., 526 F. Supp. 3d 1112, 1132 (N.D. Ala. 2020) (citing Rhodes v. Gen. Motors
Corp., Chevrolet Div., 621 So. 2d 945, 947 (Ala. 1993)). Therefore, under Alabama law, “without privity
of contract, there is no right of action against a manufacturer for direct economic loss.” Rhodes, 621 So.
2d at 947. Plaintiffs have not alleged that the Alabama Plaintiffs were in privity with Honda
Manufacturing or Honda R&D Americas. Therefore, the CAC fails to state a claim for breach of the
implied warranty of merchantability against these Defendants.

For the foregoing reasons, Alabama Count 2 is DISMISSED WITHOUT PREJUDICE, i.e., with leave to
amend, as to Honda Manufacturing and Honda R&D Americas. The CAC states a claim for breach of
implied warranty under Alabama law with respect to American Honda.

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                      b)      Arizona Counts 1 and 2

                              (1)     Arizona Count 1: Breach of Express Warranty

The CAC includes a claim against the FCA Defendants for breach of express warranty pursuant to Ariz.
Rev. Stat. Ann. §§ 47-2313 and 47-2A210. Dkt. 278 ¶¶ 794-808 (“Arizona Count 1”). In support of the
Joint Motion, Defendants argue that Arizona Count 1 should be dismissed due to “Plaintiffs’ failure to
demonstrate compliance with the pre-suit notice requirements in” that state. Dkt. 208 at 60-61. Under
Arizona law, “[t]he buyer must within a reasonable time after he discovers or should have discovered
any breach notify the seller of breach or be barred from any remedy.” Ariz. Rev. Stat. § 47-2607(C)(1);
see Burge v. Freelife Int’l, Inc., No. CV09-1159-PHX-JAT, 2009 WL 3872343, at *5 (D. Ariz. Nov. 18,
2009) (citing Ariz. Rev. Stat. § 47-2607). This notice requirement also has been construed as requiring
notice to “the manufacturer of a product.” In re MyFord Touch Consumer Litig., 46 F. Supp. 3d 936, 976
(N.D. Cal. 2014) (citing Hearn v. R.J. Reynolds Tobacco Co., 279 F. Supp. 2d 1096, 1115-16 (D. Ariz.
2003)).

The CAC expressly alleges that “[t]he Arizona Plaintiff and Arizona State Class members have provided
the FCA Defendants with reasonable notice and opportunity to cure the breaches of their express
warranties by way of the numerous NHTSA complaints filed against them, and the individual notice
letters sent by Arizona State Class members within a reasonable amount of time after the ACU defect
became public.” Dkt. 278 ¶ 806. This is sufficient to satisfy Arizona’s notice requirement. Cf. Yee v.
Nat’l Gypsum Co., No. CV-09-8189-PHX-DGC, 2010 WL 2572976, at *3 (D. Ariz. June 22, 2010) (“The
notice ‘need take no special form,’ and the complaint itself may provide adequate notice.” (citing
Davidson v. Wee, 379 P.2d 744, 749 (Ariz. 1963))).

Defendants next argue that “Plaintiffs fail to provide the contents or documents purporting to provide
notice.” Dkt. 208 at 61. However, the factual sufficiency of the notice is not determined at the pleading
stage; rather, it is a “question of fact for the jury to decide.” In re MyFord Touch Consumer Litig., 46 F.
Supp. 3d at 977. Plaintiffs have alleged that they provided pre-suit notice to the FCA Defendants, which
is sufficient to state a claim for breach of express warranty under Arizona law. Whether there is a
sufficient factual basis for this allegation is not an issue that can be determined on a motion to dismiss.

The FCA Defendants next argue that Plaintiffs’ express warranty claims against them fail because “the
express warranties are simply inapplicable to Plaintiffs’ claims, which are based on an alleged ‘design’
defect.” Dkt. 230 at 25. The CAC alleges that “FCA Defendants provided the Arizona Plaintiff and
Arizona State Class members with written express warranties covering the repair or replacement of
components that are defective in materials or workmanship.” Dkt. 278 ¶ 801. The FCA Defendants
argue that “it is . . . well established that a ‘materials or workmanship’ warranty does not cover design
defects,” Dkt. 230 at 25 (citing Troup v. Toyota Motor Corp., 545 F. App’x 668, 668-69 (9th Cir. 2013)
(applying California law); Coba v. Ford Motor Co., 932 F.3d 114, 123 (3d Cir. 2019) (applying New
Jersey Law)). However, it is the FCA Defendants’ burden to establish that Plaintiffs have failed to state
a claim, and they have not carried that burden by establishing that, as a matter of Arizona law, such a
warranty excludes design defects, or that such defects are the only ones at issue. See id.

The FCA Defendants also argue that “[a]ll of Plaintiffs’ express warranty claims against [FCA] NV fail
because the warranties underlying Plaintiffs’ claims were issued by FCA US, not [FCA] NV.” Dkt. 230
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at 25 (emphasis omitted). As noted, the CAC alleges that the “FCA Defendants” provided Plaintiffs with
“written express warranties.” Dkt. 278 ¶ 801 (emphasis added). However, Plaintiffs appear to concede
that FCA NV did not do so. Instead, they argue that “FCA NV is liable for the warranty based on its
relationship with FCA US LLC” and that “dismiss[ing] the express warranty claims against F[CA] NV
would be premature at this stage.” Dkt. 290 at 17.

Plaintiffs cite one case to support this argument; it is distinguishable. Dkt. 290 at 18 (citing Stewart v.
Electrolux Home Prod., Inc., 304 F. Supp. 3d 894, 911 (E.D. Cal. 2018)). Stewart does not address
Arizona law, which applies to Arizona Count 1. Further, it found only that because a disagreement as to
which entity issued an express warranty “is a dispute about the veracity of the allegations, not the
sufficiency of the pleading,” it should not be resolved on a motion to dismiss. Stewart, 304 F. Supp. 3d
at 911. Here, there is no dispute about the veracity of the allegations. Although the CAC alleges that
the FCA Defendants provided Plaintiffs’ express warranties, Plaintiffs concede that FCA NV did not.
Moreover, even without that concession, judicial notice has been taken of certain of the express
warranties provided to the FCA Plaintiffs. The exhibits offered by the FCA Defendants show that these
express warranties are by “FCA US LLC.” See, e.g., Exhibit F to the FCA Request for Judicial Notice,
“2017 Jeep Warranty Information Booklet - Gas,” Dkt. 231-6 at 3. 38 For these reasons, there is not a
dispute about the veracity of the allegations in the CAC.

For the foregoing reasons, Plaintiffs have stated a claim for breach of express warranty under Arizona
law, as to FCA US. As to FCA NV, Arizona Count 1 is DISMISSED WITHOUT PREJUDICE, i.e., with
leave to amend.

                                (2)     Arizona Count 2: Breach of Implied Warranty

The CAC advances a claim against the FCA Defendants for breach of the implied warranty of
merchantability pursuant to Ariz. Rev. Stat. Ann. §§ 47-2314 and 47-2a212. Dkt. 278 ¶¶ 809-20
(“Arizona Count 2”).

In support of the Joint Motion, Defendants argue that Arizona Count 2 fails because in Arizona, as “[i]n
many states, a plaintiff cannot recover economic losses for breach of implied warranty in the absence
of privity.” Dkt. 208 at 59 (citations omitted). “Arizona courts have consistently held that absent privity of
contract, a purchaser cannot maintain a claim for breach of implied warranty under the U.C.C. against a
manufacturer.” Plagens v. Nat’l RV Holdings, 328 F. Supp. 2d 1068, 1073 (D. Ariz. 2004) (citations
omitted); see Chaurasia v. Gen. Motors Corp., 212 Ariz. 18, 24 (Ariz. Ct. App. 2006) (“Under Arizona
law, privity of contract is required to maintain an action for breach of an implied warranty.” (citations
omitted)).

The CAC does not allege that Kneup, who is the Arizona Plaintiff, was in privity of contract with any of
the FCA Defendants. Kneup is alleged to have purchased his Class Vehicle from “an authorized FCA
dealership." See Dkt. 278 ¶ 99. However, Plaintiffs have not cited any dispositive authority from Arizona

38 Among the exhibits are warranty booklets that are attributed to “Chrysler Group LLC,” rather than “FCA US
LLC.” See, e.g., Exhibit B to the FCA Request for Judicial Notice, “2013 Jeep Warranty Information Booklet,” Dkt.
231-2 at 3. Chrysler Group LLC has been deemed the corporate predecessor of FCA US. See Dkt. 302 at 9 n.4
(“[T]hose booklets make clear that FCA US LLC (which is identified by its former name – Chrysler Group LLC – in
some of the booklets) issued the warranties upon which Plaintiffs base their claims.”).
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that, by alleging a plaintiff purchased a vehicle from an authorized dealership, the privity requirement
has been satisfied. The CAC does not include any additional allegations as to the relationship between
Kneup and the FCA Defendants, or between these Defendants and the dealership from which Kneup
allegedly purchased his Class Vehicle. Thus, the CAC does not adequately allege the requisite privity
of contract. For this reason, Arizona Count 2 is DISMISSED WITHOUT PREJUDICE, i.e., with leave to
amend.

                       c)      California Counts 1 Through 4

                               (1)    California Count 1: Breach of Express Warranty

The CAC advances a claim against the Vehicle Manufacturer Defendants for breach of express
warranty pursuant to Cal. Com. Code §§ 2313 and 10210. Dkt. 278 ¶¶ 849-69 (“California Count 1”).
The FCA Defendants, Toyota Defendants and Honda Defendants argue that this claim fails because
the limited warranties each provides do not cover design defects. See Dkts. 213 at 26-27 (Honda), 214
at 20 (Toyota), 230 at 25-26 (FCA).

The CAC alleges that “the Vehicle Manufacturer Defendants provided the California Plaintiffs and
California State Class members with written express warranties covering the repair or replacement
of components that are defective in materials or workmanship.” Dkt. 278 ¶ 862 (emphasis added). “In
California, express warranties covering defects in materials and workmanship exclude defects in
design.” Troup, 545 F. App’x at 668 (citation omitted); see Sater v. Chrysler Grp., No. CV 14-00700
VAP, 2015 WL 736273, at *4 (C.D. Cal. Feb. 20, 2015); Gertz v. Toyota Motor Corp., No. CV 10-1089
PSG, 2011 WL 3681647, at *3 (C.D. Cal. Aug. 22, 2011). “A manufacturing defect exists when an item
is produced in a substandard condition,” whereas “[a] design defect . . . exists when the product is built
in accordance with its intended specifications, but the design itself is inherently defective.” McCabe v.
Am. Honda Motor Co., 100 Cal. App. 4th 1111, 1120 (2002) (citations omitted).

Although the CAC does not define the ACU defect as a “design defect,” it is appropriate to look to the
“gravamen of the complaint” to ascertain whether a plaintiff is pleading a design or manufacturing
defect. Troup, 545 F. App’x at 669. The allegations in the CAC make clear that the Alleged Defect is
one of design rather than manufacturing. See, e.g., Dkt. 278 ¶ 10 (“ZF TRW ACUs with the DS84 ASIC
have a dangerous defect.”); 146 (“the defective ZF TRW ACU Design”); 434 (“In or around 2015, ZF
TRW, STMicro, and Toyota began implementing design changes to defective ZF TRW ACUs installed
in Toyota vehicles for sale in Europe . . . .”); 449 (“In November 2018, representatives of Toyota Motor
Corporation and ZF TRW discussed a redesign of the ACU . . . .”).

The existence of a manufacturing defect “is often demonstrated by showing the product performed
differently from other ostensibly identical units of the same product line.” McCabe, 100 Cal. App. 4th at
1120. Here, by contrast, the CAC alleges both that all of the Class Vehicles made by a particular
Vehicle Manufacturer Defendant share the same defect, and that is also true for all of the Class
Vehicles made by all of the different manufacturers. See, e.g., Dkt. 278 ¶¶ 20 (“[A]ll ZF TRW ACUs with
the DS84 ASIC are defective . . . .”); 50 n.6 (“The ZF TRW-designed ACUs manufactured by Hyundai
MOBIS contain the same defective DS84 ASIC supplied by STMicro and ZF TRW as all of the Class
Vehicles.”); 282 (“Although the defective ZF TRW ACUs installed in the Class Vehicles vary slightly in
terms of their circuit protection, they all suffer from the same basic vulnerability to transient electricity
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and EOS.”). These are consistent and specific allegations of a uniform design defect present across all
Class Vehicles.

Because Plaintiffs have alleged a design defect which is not covered by Defendants’ limited warranties,
the claims for violation of breach of express warranty under California law fail as presently alleged.
Therefore, California Count 1 is DISMISSED WITHOUT PREJUDICE, i.e., with leave to amend.

                               (2)     California Count 2: Violations of Song-Beverly Act for Breach of
                                       Express Warranty

The CAC advances a claim against the Vehicle Manufacturer Defendants for violations of the Song-
Beverly Act for breach of express warranty pursuant to Cal. Civ. Code §§ 1791.2 and 1793.1. Dkt. 278
¶¶ 870-91 (“California Count 2”). Because the CAC alleges only a design defect that is not covered by
any express warranty, the claims for breach of express warranty in violation of the Song-Beverly Act
necessarily fail as well. Cf. Garlough v. FCA US LLC, No. 2:20-CV-01879-JAM-AC, 2021 WL 1534205,
at *9 (E.D. Cal. Apr. 19, 2021) (dismissing breach of express warranty claim under the Song-Beverly
Act where the plaintiff alleged a design defect).

California Count 2 is DISMISSED WITHOUT PREJUDICE, i.e., with leave to amend.

                               (3)     California Count 3: Breach of Implied Warranty

The CAC advances a claim against the Vehicle Manufacturer Defendants for breach of implied
warranty pursuant to Cal. Com. Code §§ 2314 and 10212. Dkt. 278 ¶¶ 892-908 (“California Count 3”).
In support of the Joint Motion, Defendants argue that California Counts 2 and 3 fail because in
California, as “[i]n many states, a plaintiff cannot recover economic losses for breach of implied
warranty in the absence of privity.” Dkt. 208 at 59 (citations omitted). Plaintiffs respond that “California
do[es] not require privity for implied warranties,” Dkt. 281 at 59, but in the only case cited to support that
proposition, the parties had agreed that privity is required for Plaintiffs’ “UCC-based implied warranty
claim.” In re MyFord Touch Consumer Litig., 46 F. Supp. 3d 936, 982 (N.D. Cal. 2014).

The California Plaintiffs allegedly purchased their Class Vehicles from authorized dealerships. See Dkt.
278 ¶¶ 73-75, 100-101, 113-14, 126, 134-36. This is not sufficient to allege that they were in privity with
any Defendant. “Generally, an authorized dealership of a vehicle manufacturer is not an agent per se of
the manufacturer.” Murphy v. Toyota Motor Sales, USA, Inc., No. 22-CV-05892 VAP, 2021 WL
2801452, at *6 (C.D. Cal. July 1, 2021) (citing Acedo v. DMAX, Ltd., No. 15-02443 MMM, 2015 WL
12696176, at *28 (C.D. Cal. Nov. 13, 2015)). California district courts “have found under certain
circumstances, it is possible for plaintiffs to allege sufficient facts to show an agency relationship
between a manufacturer and an authorized dealership to bring claims against the manufacturer for
actions of the dealership." Id. (collecting cases). However, the CAC does not include any allegations
that an agency relationship existed between any manufacturer and any dealership.

The third-party beneficiary exception does not support Plaintiffs’ claims. “In the case that is often cited
in support of this exception, a California court held that a homeowner could assert a breach of implied
warranty claim against a subcontractor even though the two were not in direct privity because the
homeowner was ‘a third-party beneficiary of the contract between’ the subcontractor and contractor.”
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Skiathitis v. Nyko Techs., Inc., No. CV 18-3584 PSG, 2018 WL 6427360, at *11 (C.D. Cal. Sept. 12,
2018) (quoting Gilbert Fin. Corp. v. Steelform Contracting Co., 82 Cal. App. 3d 65, 69 (1978)). District
courts in California have reached different outcomes as to whether the third-party beneficiary exception
“allows a consumer who purchases a product from a retail store to bring a breach of implied warranty
claim against the product’s manufacturer.” Id. at *11; compare In re Seagate Tech. LLC Litig., 233 F.
Supp. 3d 776, 787-88 (N.D. Cal. 2017) (Ninth Circuit precedent forecloses a finding of privity) with
Zeiger v. WellPet LLC, 304 F. Supp. 3d 837, 854 (N.D. Cal. 2018) (third-party beneficiary exception
remains viable).

Plaintiffs may be seeking to rely on the “third-party beneficiary exception to the privity requirement” that,
as noted in In re MyFord, some California courts have recognized. 46 F. Supp. 3d at 983 (citations
omitted). Even if the third-party beneficiary exception applies, the CAC does not allege that the
Plaintiffs are the intended third-party beneficiaries of any contracts between the Vehicle Manufacturer
Defendants and the retailers from whom they acquired their Class Vehicles. Cf. In re Toyota Motor
Corp. Unintended Acceleration Mktg., Sales Pracs., & Prod. Liab. Litig., 754 F. Supp. 2d 1145, 1184-85
(C.D. Cal. 2010) (referencing Cartwright v. Viking Indus., Inc., 249 F.R.D. 351, 356 (E.D. Cal. 2008); In
re Sony VAIO Comput. Notebook Trackpad Litig., No. 09-cv-2109-BEN (RBB), 2010 WL 4262191, at *3
(S.D. Cal. Oct. 28, 2010)) (internal citations omitted) (“Here, Plaintiffs have pled that they purchased
vehicles from a network of dealers who are agents of Defendants. Like the plaintiffs in Gilbert,
Cartwright, and In re Sony VAIO, Plaintiffs allege they were the intended consumers. Like those
plaintiffs, they allege facts tending to support that they are third-party beneficiaries; therefore, Plaintiffs’
breach of implied warranty claim is not precluded by the lack of vertical privity.”); Sonneveldt v. Mazda
Motor of Am., Inc., No. 8-19-CV-01298 JLS, 2021 WL 62502, at *15 (C.D. Cal. Jan. 4, 2021) (“Plaintiffs
do not cite to any allegations in their FAC supporting their argument that the third-party beneficiary
exception applies to their implied-warranty claims.”).

The allegations of the CAC are not sufficient to establish privity or to warrant the application of the third-
party beneficiary exception. Therefore, the claim for breach of implied warranty pursuant to Cal. Com.
Code § 2314 fails as alleged, and California Count 3 is DISMISSED WITHOUT PREJUDICE, i.e., with
leave to amend.

                                (4)     California Count 4: Violations of Song-Beverly Act for Breach of
                                        Implied Warranty

The CAC advances a claim against the Vehicle Manufacturer Defendants for violations of the Song-
Beverly Act for breach of the implied warranty of merchantability pursuant to Cal. Civ. Code §§ 1791.1
and 1792. Dkt. 278 ¶¶ 909-27 (“California Count 4”). Defendants argue that these claims for breach of
implied warranty fail because the CAC does not allege that the subject vehicles are unmerchantable.
Dkt. 208 at 56-59; Dkt. 299 at 22-23. “Merchantability, for purposes of the Song-Beverly Act, means
that the consumer goods: . . . [a]re fit for the ordinary purposes for which such goods are used.’ ” Mexia
v. Rinker Boat Co., 174 Cal. App. 4th 1297, 1303 (2009); see Isip v. Mercedes-Benz USA, LLC, 155
Cal. App. 4th 19, 26 (2007) (“The core test of merchantability is fitness for the ordinary purpose for
which such goods are used.”).

The CAC alleges that the ACUs that contain the DS84 ASIC are defective due to their particular
vulnerability to EOS. Dkt. 278 ¶ 10. It also alleges that Plaintiffs are at risk of suffering serious injuries
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in the event of a collision because the Alleged Defect -- the vulnerability of the DS84 ASIC to damage
from transient electricity caused by a collision -- would prevent deployment of the airbags and seatbelts
in such an incident. Id. ¶ 11. Defendants argue that “Plaintiffs do not state an implied warranty claim
here because they do not allege that the defect has forced them to stop driving their cars, rendered
them incapable of being sold, or made them unsuitable for their ordinary purpose of providing
transportation.” Dkt. 299 at 22.

District courts in California have determined that implied warranty claims are sufficiently stated where a
plaintiff alleges that a vehicle fails to provide safe, reliable transportation. See, e.g., Stockinger v.
Toyota Motor Sales USA Inc., No. LACV-17-00035 VAP, 2017 WL 10574372, at *13 (C.D. Cal. July 7,
2017) (allegations of “noxious and foul odors” sufficient to support a claim for breach of implied
warranty of merchantability); Villanueva v. Am. Honda Motor Co., No. CV-19-1390 MWF, 2019 WL
8112467, at *8 (C.D. Cal. Oct. 10, 2019) (allegations of a “persistent braking defect, which impairs
safety over an extended period of time” found sufficient to show unmerchantability despite continued
use of the vehicles); Sater v. Chrysler Grp. LLC, No. EDCV 14-00700 VAP, 2015 WL 736273, at *10
(C.D. Cal. Feb. 20, 2015) (breach of implied warranty plausibly alleged where trucks were “useless or
unsafe” to drive because of a defect that could lead to a loss of steering control); Cholakyan v.
Mercedes-Benz USA, LLC, 796 F. Supp. 2d 1220, 1244 (C.D. Cal. 2011) (allegations that a “water leak
defect poses ‘the danger of catastrophic engine and/or electrical system failure as a result of water
entering and flooding a vehicle's interior cabin while the vehicle is in operation’ ” and that “[it] can cause
engine failure, suddenly and unexpectedly, at any time and under any driving condition or speed,
thereby contributing to traffic accidents, which can result in personal injury or death”).

The principles of these decisions are persuasive. Adopting them in connection with an assessment of
the adequacy of the pleadings shows that, even if Plaintiffs continued to drive their Class Vehicles, and
have not suffered serious bodily harm as a result of the Alleged Defect, they have alleged sufficient
facts to state a plausible claim that the vehicles are not fit for their ordinary purpose, which is “to
provide . . . safe, reliable transportation.’ ” Clark v. Am. Honda Motor Co., 528 F. Supp. 3d 1108, 1120
(C.D. Cal. 2021) (quoting In re MyFord Touch Consumer Litig., 46 F. Supp. 3d 936, 980 (N.D. Cal.
2014)).

Defendants also argue that many of Plaintiffs’ claims, including those for breach of implied warranty,
are time-barred. Dkt. 208 at 61-64. Plaintiffs respond that “Defendants’ alleged concealment of the ACU
defect for years tolls” the relevant statute of limitations. Dkt. 281 at 63.

Turning first to the limitations period, Cal. Com. Code § 2725 provides in relevant part:

         (1) An action for breach of any contract for sale must be commenced within four years after the
         cause of action has accrued. . . .

         (2) A cause of action accrues when the breach occurs, regardless of the aggrieved party's lack
         of knowledge of the breach. A breach of warranty occurs when tender of delivery is made,
         except that where a warranty explicitly extends to future performance of the goods and
         discovery of the breach must await the time of such performance the cause of action accrues
         when the breach is or should have been discovered.

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Cal. Comm. Code § 2725(1), (2).

Under Section 2725, there is a four-year limitations period for a claim for breach of implied warranty
pursuant to the Song-Beverly Act. See Mexia, 174 Cal. App. 4th at 1305-1306 (“California courts have
held that the statute of limitations for an action for breach of warranty under the Song-Beverly Act is
governed by the same statute that governs the statute of limitations for warranties arising under the
Uniform Commercial Code: section 2725 of the Uniform Commercial Code.”); Sater, 2015 WL 736273,
at *8 (“In California, the statute of limitations for an implied warranty claim under the SBA is four years.”
(citations omitted)).

The claim of each California Plaintiff accrued at the time he or she purchased or leased his or her Class
Vehicle. See Dkt. 278 ¶ 900 (“The Class Vehicles did not comply with the implied warranty of
merchantability because, at the time of sale and at all times thereafter, they were defective and not in
merchantable condition, . . . [and] were not fit for the ordinary purpose for which vehicles were used.
Specifically, the Class Vehicles suffer from the ACU defect, which may cause the airbags and seatbelt
pretensioners to fail to deploy during an accident, rendering the Class Vehicles inherently defective and
dangerous.”); cf. Sater, 2015 WL 736273, at *8 (citing MacDonald v. Ford Motor Co., 37 F. Supp. 3d
1087, 1102 (N.D. Cal. 2014)); MacDonald, 37 F. Supp. 3d at 110-02 (claim accrued at the time of
purchase where the allegations were that “the defect was inherent, and existed at the time of sale”).

“In the case of a latent defect, a product is rendered unmerchantable, and the warranty of
merchantability is breached, by the existence of the unseen defect, not by its subsequent discovery.”
Mexia, 174 Cal. App. 4th at 1305.

The following table summarizes the timing of the purchases and leases at issue in the CAC and when
the corresponding complaint was filed:

 California Plaintiff     Date of Class Vehicle Purchase       Date Complaint Filed          Make of Vehicle
                          or Lease
 Remigiusz Rundzio        July 22, 2012 (Dkt. 278 ¶ 100)       May 21, 2019 (Bell v. ZF      Jeep
                                                               Friedrichshafen AG, No.
                                                               8:19-cv-00963 (C.D. Cal.))
 Steve Laveaux            May 2017 (id. ¶ 101)                 October 2, 2020 (Adams,       Jeep
                                                               et al. v. ZF Active Safety
                                                               and Elecs. US LLC, et al.,
                                                               No. 20-cv-09668 (C.D.
                                                               Cal.))
 Kevin Burns 39           June 14, 2013 (id. ¶ 126)            July 18, 2019 (Berry v.       Honda
                                                               TRW ZF Auto. Holdings
                                                               Corp., No. 8:19-
                                                               cv-01403 (C.D. Cal.))

39 The Honda Defendants argue that the Honda Limited Warranty expressly limited the period of the implied
warranty of merchantability to the length of the Honda Limited Warranty, which was three years. Dkt. 213
at 22-23. Thus, they argue that the implied warranty of merchantability for Burns’s vehicle ended in 2016. Id.
at 23. A determination as to when that implied warranty ended, and whether the statutory limitations period of four
years for bringing a claim for its breach applies, is unnecessary, as Burns filed his complaint more than four years
after his claim accrued.
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 Michael Hernandez       March 2019 (id. ¶ 73)             April 29, 2019 (Hernandez     Hyundai
                                                           v. Hyundai, 8:19-cv-00782
                                                           (C.D. Cal.))
 Bonnie Dellatorre       October 14, 2013 (id. ¶ 74)       December 27, 2019             Kia
                                                           (Dellatorre v. ZF TRW
                                                           Auto. Holdings Corp., No.
                                                           8:19-cv-02497 (C.D. Cal.))
 Lore VanHouten          September 9, 2018 (id. ¶ 75)      October 2, 2020 (Adams,       Kia
                                                           et al. v. ZF Active Safety
                                                           and Elecs. US LLC, et al.,
                                                           No. 20-cv-09668 (C.D.
                                                           Cal.))
 Donna Ronan             May 26, 2018 (id. ¶ 134)          October 2, 2020 (Adams,       Mitsubishi
                                                           et al. v. ZF Active Safety
                                                           and Elecs. US LLC, et al.,
                                                           No. 20-cv-09668 (C.D.
                                                           Cal.))
 Tiffany Ecklor          July 5, 2013 (id. ¶ 135)          October 2, 2020 (Adams,       Mitsubishi
                                                           et al. v. ZF Active Safety
                                                           and Elecs. US LLC, et al.,
                                                           No. 20-cv-09668 (C.D.
                                                           Cal.))
 Gaylynn Sanchez         July 31, 2015 (id. ¶ 136)         August 14, 2019 (Fuller v.    Mitsubishi
                                                           ZF TRW Auto. Holdings
                                                           Corp., No. 8:19-cv-01566
                                                           (C.D. Cal.))
 Mark Altier             April 24, 2014 (id. ¶ 113)        May 6, 2019 (Altier v. ZF     Toyota
                                                           TRW Auto. Holdings
                                                           Corp., No. 8:19- cv-00846
                                                           (C.D. Cal.))
 Alejandra Renteria      August 4, 2013 (id. ¶ 114)        May 21, 2019 (Bell v. ZF      Toyota
                                                           Friedrichshafen AG, No.
                                                           8:19-cv-00963 (C.D. Cal.))

As to Plaintiffs Laveaux, Hernandez, VanHouten and Ronan, each filed a complaint less than four years
after their respective claims accrued. Therefore, the claims for Laveaux, Hernandez, VanHouten and
Ronan for breach of implied warranty pursuant to the Song-Beverly Act are not time-barred.
Defendants’ motions to dismiss these claims are DENIED.

As to Plaintiffs Rundzio, Burns, Dellatorre, Ecklor, Sanchez, Altier and Renteria, based on a review of
the face of the pleadings, none filed his or her action within the limitations period. Therefore, as to these
Plaintiffs, it is necessary to determine whether the alleged fraudulent concealment by Defendants is
sufficiently alleged to warrant the denial of the Motions.

“The doctrine of fraudulent concealment tolls the statute of limitations where a defendant, through
deceptive conduct, has caused a claim to grow stale.” Aryeh v. Canon Bus. Sols., Inc., 292 P.3d 871,
875 (Cal. 2013). “To invoke the doctrine in the complaint, [Plaintiffs] must plead with particularity the
facts giving rise to the fraudulent concealment claim and must establish that they used due diligence in
trying to uncover the facts.” Volk v. D.A. Davidson & Co., 816 F.2d 1406, 1415-16 (9th Cir. 1987) (citing
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Conerly v. Westinghouse Electric Corp., 623 F.2d 117, 120 (9th Cir. 1980)); see Sater, 2015 WL
736273, at *9 (plaintiff must plead “ ‘(a) the substantive elements of fraud, and (b) an excuse for late
discovery of the facts.’ ” (citing Invs. Equity Life Holding Co. v. Schmidt, 195 Cal. App. 4th 1519, 1533
(2011))); Allen v. Similasan Corp., 96 F. Supp. 3d 1063, 1071 (S.D. Cal. 2015) (“This doctrine requires
the plaintiff (1) plead with particularity the facts giving rise to the fraudulent concealment claim and (2)
demonstrate that he or she used due diligence in an attempt to uncover the facts.” (citing Hunter v.
Gates, 68 Fed. App’x 69, 71 (9th Cir. 2003) (internal citation omitted))). In addition, Plaintiffs “must
allege facts showing affirmative conduct upon the part of the defendant which would, under the
circumstances of the case, lead a reasonable person to believe that he did not have a claim for relief.”
Rutledge v. Bos. Woven Hose & Rubber Co., 576 F.2d 248, 250 (9th Cir. 1978). Defendants’ “silence or
passive conduct does not constitute fraudulent concealment.” Volk, 816 F.2d at 1416 (citing Rutledge,
576 F.2d at 250).

As noted, the CAC fails to plead the fraud claims with sufficient particularity as to all Vehicle
Manufacturer Defendants except FCA US, Hyundai Motors America and Kia Motor America. Thus, the
CAC uses group pleading without specific allegations as to each individual Defendant. The allegations
of fraudulent concealment, which largely parallel those made to support the claims of fraud, have the
same shortcoming. This applies to all Defendants except FCA US, HMA and KMA. See Sater, 2015 WL
736273, at *9 n.10 (Plaintiffs “ha[ve] the burden to plead and prove equitable tolling under a theory of
fraudulent concealment.” (citing Investors Equity, 195 Cal. App. 4th at 1533)). For that reason, the
Song-Beverly claims for breach of implied warranty brought by Burns, Ecklor, Sanchez, Altier and
Renteria, which are not alleged against FCA US, HMA or JMA, are time-barred. Therefore, California
Count 4, as brought by Burns, Ecklor, Sanchez, Altier and Renteria, is DISMISSED WITHOUT
PREJUDICE, i.e., with leave to amend.

Plaintiffs have pleaded, as predicate acts for their RICO claims, mail and wire fraud with particularity as
to FCA US, HMA and KMA. The question is whether they also have pleaded fraudulent concealment by
those Defendants with particularity. “For fraudulent concealment tolling to apply, the plaintiff must show
‘(1) the substantive elements of fraud, and (2) an excuse for late discovery of the facts.’ The
substantive elements of fraud include ‘(1) a knowingly false representation by the defendant; (2) an
intent to deceive or induce reliance; (3) justifiable reliance by the plaintiff; and (4) resulting damages.’ ”
Cousyn for Cousyn Grading & Demo Inc v. Ford Motor Co., No. ED-CV-17-2051 DOC, 2019 WL
3491930, at *7 (C.D. Cal. July 30, 2019) (citations omitted). “Reliance is an essential element of a
fraudulent concealment claim.” Sevidal v. Target Corp., 189 Cal. App. 4th 905, 928 (2010) (citation
omitted).

As discussed, the CAC does not sufficiently allege reliance on Defendants’ alleged misrepresentations
or omissions. Thus, it does not allege exposure to these acts. Therefore, the CAC does not adequately
plead fraudulent concealment. For that reason, California Count 4, as brought by Rundzio and
Dellatorre, is DISMISSED WITHOUT PREJUDICE, i.e., with leave to amend. 40


40 Because the statute of limitations is an affirmative defense that may be waived, a plaintiff is not obligated to
address it with allegations in an initial complaint. However, once it has been raised in a response to a complaint, it
is appropriate to require allegations on the issue in any amended complaint. For those reasons, as brought by
certain Plaintiffs, California Count 4 has been dismissed without prejudice, so that these Plaintiffs have the
opportunity to seek to make such allegations.
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                       d)      Colorado Counts 1 and 2

The CAC includes a claim against the Mitsubishi Defendants for breach of express warranty pursuant
to Colo. Rev. Stat. §§ 4-2-213 and 4-2.5-210. Dkt. 278 ¶¶ 982-97 (“Colorado Count 1”). It also
advances a claim against the Mitsubishi Defendants for breach of the implied warranty of
merchantability under Colo. Rev. Stat. Ann. §§ 4-2-314 and 4-2.5-212. Id. ¶¶ 998-1009 (“Colorado
Count 2”).

In support of the Joint Motion, Defendants argue that Colorado Count 1 should be dismissed due to
“Plaintiffs’ failure to demonstrate compliance with the pre-suit notice requirements in” that state. Dkt.
208 at 60-61. Under Colorado law, “[t]o state a claim for breach of an express warranty, the plaintiff
must prove (1) the existence of a warranty, (2) breach of the warranty, (3) ‘the breach proximately
caused the losses claimed as damages,’ and (4) the defendant received timely notice of the breach.”
Haynes Mech. Sys., Inc. v. Bluon Energy, LLC, No. 18-cv-03004 KLM, 2021 WL 3128652, at *6 (D.
Colo. July 23, 2021) (citing Platt v. Winnebago Indus., Inc., 960 F.3d 1264, 1271 (10th Cir. 2020)); see
Colo. Rev. Stat. § 4–2–607(3)(a) (“Where a tender has been accepted: (a) [t]he buyer must within a
reasonable time after he discovers or should have discovered any breach, notify the seller of breach or
be barred from any remedy . . . .”).

The CAC alleges that “[t]he Colorado Plaintiff and Colorado State Class members have provided the
Mitsubishi Defendants with reasonable notice and opportunity to cure the breaches of their express
warranties by way of the numerous NHTSA complaints filed against them, and the individual notice
letters sent by Colorado State Class members within a reasonable amount of time after the ACU defect
became public.” Dkt. 278 ¶ 995. This is sufficient to satisfy the Colorado notice requirement. See
Palmer v. A.H. Robins Co., 684 P.2d 187, 206 (Colo. 1984) (“[N]o prescribed form of notice is
required.”); Prutch v. Ford Motor Co., 618 P.2d 657, 661 n.6 (Colo. 1980) (“UCC s 2-607, comment 4,
makes clear that, where notice is given, no formal requisites must be met. It is sufficient if the notice
lets ‘the seller know that the transaction is still troublesome and must be watched.’ ”).

Defendants argue that “Plaintiffs fail to provide the contents or documents purporting to provide notice.”
Dkt. 208 at 61. Plaintiffs have alleged that they provided pre-suit notice to the Mitsubishi Defendants,
which is sufficient to state a claim for breach of express warranty under Colorado law. Whether there is
a sufficient factual basis to support this allegation is not an issue that can be determined on a motion to
dismiss.

Finally, Defendants argue that the breach of warranty claims are time barred breach under Colorado
law. Dkt. 208 at 62; see Dkt. 212 at 34. Colo. Rev. Stat. § 4-2-725 provides,

         (1) An action for breach of any contract for sale must be commenced within the time period
         prescribed in section 13-80-101, C.R.S. This period of limitation may not be varied by
         agreement of the parties.

         (2) A cause of action accrues when the breach occurs, regardless of the aggrieved party's lack
         of knowledge of the breach. A breach of warranty occurs when tender of delivery is made;
         except, that where a warranty explicitly extends to future performance of the goods and
         discovery of the breach must await the time of such performance, the cause of action accrues
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         when the breach is or should have been discovered.

Colo. Rev. Stat. § 4-2-725(1)-(2). Colo. Rev. Stat. § 13-80-101 provides that the limitations period for
breach of contract claims is “three years after the cause of action accrues.” Colo. Rev. Stat. § 13-80-
101(1)(a).

Nearing is the only Colorado Plaintiff. It is alleged that he purchased his Class Vehicle on September
23, 2013. Dkt. 278 ¶ 137. He filed his claims in this action on May 26, 2020. 41 This was after the three-
year limitations period.

Plaintiffs argue that “fraudulent concealment tolls the statute of limitations.” Dkt. 288 at 30 (citing
O’Connor v. BMW of N. Am., LLC, No. 18-cv-3190, 2020 WL 1303285, at *4 (D. Colo. Mar. 19, 2020)).

Under Colorado law, a statute of limitations can be tolled for fraudulent concealment. See First
Interstate Bank of Fort Collins, N.A. v. Piper Aircraft Corp., 744 P.2d 1197, 1200 (Colo. 1987). To
establish fraudulent concealment in order to toll a statute of limitation, a plaintiff must plead:

         (1) the concealment of a material existing fact that in equity and good conscience should be
         disclosed; (2) knowledge on the part of the party against whom the claim is asserted that such a
         fact is being concealed; (3) ignorance of that fact on the part of the one from whom the fact is
         concealed; (4) the intention that the concealment be acted upon; and (5) action on the
         concealment resulting in damages."

Id.

Although reliance is an element of fraudulent concealment, it “may be inferred from circumstantial
evidence where the defendant concealed a material fact from the plaintiff.” BP Am. Prod. Co. v.
Patterson, 263 P.3d 103, 110 (Colo. 2011); see Patterson v. BP Am. Prod. Co., 360 P.3d 211, 226
(Colo. Ct. App. 2015) (citing BP Am. Prod. Co. v. Patterson, 263 P.3d 103, 111 (Colo. 2011)).

Defendants contend that Plaintiffs have not met the standards of Fed. R. Civ. P. 9(b) in seeking to
assert fraudulent concealment as a response to the affirmative defense of an untimely filing of the
action. Dkt. 299 at 27. Fraudulent concealment must be pleaded with particularity. Fed. R. Civ. P. 9(b).
However, “[m]alice, intent, knowledge, and other conditions of a person's mind may be alleged
generally.” Id.

Plaintiffs have not plausibly pleaded that the Mitsubishi Defendants knew of the Alleged Defect at the
time that Nearing purchased his Class Vehicle, or that they learned of it during the limitations period
and concealed it. Although the CAC alleges that “Mitsubishi, STMicro, and ZF TRW were aware of the
risk of EOS in the ZF TRW ACUs since at least 2012,” Dkt. 278 ¶ 519, the specific factual allegations
are inconsistent with that timeline. The only allegation that Mitsubishi knew of the Alleged Defect in
2012 is that, on April 26, 2012, “Mitsubishi’s engineers conducted testing ‘[t]o confirm ACU
manufactured by ZF TRW protection level for transient,’ ” which they allegedly did “based on a known


41 Nearing is among the New Plaintiffs who initially filed claims in the CAC on May 26, 2020. For the reasons
already stated, the New Plaintiffs’ complaint is deemed to have been filed on May 26, 2020.
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concern with the ACUs.” Id. ¶ 520. Plaintiffs do not allege that this testing resulted in a determination
that the ZF TRW ACU was defective. The first “consumer reports of airbag nondeployment,” “including
reports directly to Mitsubishi’s own Customer Relations department,” were in 2014. Id. ¶ 521; see id.
¶ 518 (“Since at least 2014, dozens of consumers have reported to Mitsubishi or NHTSA that the
airbags in their Mitsubishi Class Vehicle failed to deploy after a crash.”). There are no additional
allegations of the discovery and concealment of the defect during the limitations period.

Nearing purchased his vehicle in 2013. The CAC does not sufficiently allege that the Mitsubishi
Defendants had the requisite knowledge of the Alleged Defect at that time or at a particular time during
the limitations period and concealed it from Nearing. For that reason, the CAC does not sufficiently
allege fraudulent concealment to support the claim that the statute of limitations was tolled for a
sufficient time to have made timely the filing of the complaint by Nearing.

For the foregoing reasons, Colorado Counts 1 and 2 are DISMISSED WITHOUT PREJUDICE, i.e., with
leave to amend.

                      e)      Connecticut Counts 1 and 2

                              (1)     Connecticut Count 1: Breach of Express Warranty

The CAC advances a claim against the Honda Defendants for breach of express warranty pursuant to
Conn. Gen. Stat. §§ 42a-2-313 and 42a-2A-503. Dkt. 278 ¶¶ 1036-51 (“Connecticut Count 1”). The
Honda Defendants argue that this claim fails because the Honda Limited Warranty “does not constitute
an express warranty under Connecticut law.” Dkt. 213 at 27.

Under Connecticut law, “[a] plaintiff asserting a claim for breach of express warranty must show (1) the
existence of the warranty; (2) a breach of the warranty; and (3) damages proximately caused by the
breach. Napoli-Bosse v. Gen. Motors LLC, 453 F. Supp. 3d 536, 544 (D. Conn. 2020) (citing
McConologue v. Smith & Nephew Inc., 8 F. Supp. 3d 93, 114 (D. Conn. 2014)). Therefore, to state a
claim, Plaintiffs must show the existence of an express warranty.

As noted, the Honda Limited Warranty provides that Honda -- or, Acura with respect to such vehicles --
“will repair or replace any part that is defective in material or workmanship under normal use.” See Exs.
1 through 7 to Stevenson Decl., Dkts. 211-2, 211-3, 211-4, 211-5, 211-6, 211-7, 211-8. Under
Connecticut law, such a “repair-and-replace clause” “is not a warranty at all.” Napoli-Bosse, 453 F.
Supp. 3d at 546. Courts in Connecticut have determined that the statutory definition of “express
warranty” “exclude[s] repair-and-replace clauses.” Id. (citing Conn. Gen. Stat. § 42a-2-313(2)).
Plaintiffs’ citation of Flagg Energy Dev. Corp. v. Gen. Motors Corp., No. CV92-0242198S, 1995 WL
80051, at *5 (Conn. Super. Ct. Feb. 15, 1995), to the contrary, Dkt. 287 at 24-25, is not persuasive, as
that case has been overturned.

Flagg Energy Development considered whether a repair-and-replace clause constitutes a “warranty
[that] explicitly extends to future performance of the goods . . . .” Flagg Energy Dev. Corp., 1995 WL
80051, at *2 (“A breach of warranty occurs when tender of delivery is made, except that where a
warranty explicitly extends to future performance of the goods and discovery of the breach must await
the time of such performance the cause of action accrues when the breach is or should have been
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discovered.” (citing Conn. Gen. Stat. § 42-a-2-725(2))). The Superior Court found that it did. Id. at *5.
However, the Connecticut Supreme Court concluded that “the repair or replacement clause contains no
terms that, as a matter of law, would constitute an explicit warranty of future performance, as § 42a-2-
725 (2) requires.” Flagg Energy Dev. Corp. v. Gen. Motors Corp., 244 Conn. 126, 150 (1998), overruled
on other grounds by Ulbrich v. Groth, 310 Conn. 375 (2013). The 2020 Napoli-Bosse decision
“predict[ed] that the Connecticut Supreme Court will join those courts that have found § 2-313 to
exclude repair-and-replace clauses.” 453 F. Supp. 3d at 546.

The Honda Limited Warranty does not constitute an express warranty under Conn. Gen. Stat. § 42a-2-
313. Therefore, Plaintiffs’ claim for breach of express warranty under that provision fails.

For the foregoing reasons, Connecticut Count 1 is DISMISSED WITHOUT PREJUDICE, i.e., with leave
to amend.

                              (2)     Connecticut Count 2: Breach of Implied Warranty

The CAC also includes a claim against the Honda Defendants for breach of the implied warranty of
merchantability pursuant to Conn. Gen. Stat. §§ 42a-2-314 and 42a-2a-504. Dkt. 278 ¶¶ 1052-63
(“Connecticut Count 2”). In support of the Joint Motion, Defendants argue that Connecticut Count 2 fails
because in Connecticut, as “[i]n many states, a plaintiff cannot recover economic losses for breach of
implied warranty in the absence of privity.” Dkt. 208 at 59 & n.21 (citing Koellmer v. Chrysler Motors
Corp., 276 A.2d 807, 812 (Conn. Cir. Ct. 1970)). “Connecticut law has maintained a privity requirement
that prevents parties who are not in contractual privity with the warrantor from enforcing any implied
warranty.” Kahn v. Volkswagen of Am., Inc., No. FSTCV075004090S, 2008 WL 590469, at *8 (Conn.
Super. Ct. Feb. 13, 2008) (citations omitted); see TD Properties, LLC v. VP Bldgs., Inc., 602 F. Supp.
2d 351, 362 (D. Conn. 2009) (citation omitted).

The CAC does not allege that Huitzil, the Connecticut Plaintiff, was in privity of contract with any of the
Honda Defendants. Huitzil is alleged to have purchased his Class Vehicle from “an authorized Honda
dealership." Dkt. 278 ¶ 127. However, Plaintiffs have not cited any dispositive authority from
Connecticut that alleging a plaintiff purchased a vehicle from an authorized dealership is sufficient to
plead privity as to another, allegedly related party. The CAC does not include any additional allegations
as to the relationship between Huitzil and the Honda Defendants, or between these Defendants and the
dealership from which Huitzil purchased his Class Vehicle. Cf. Kahn, 2008 WL 590469, at *8 (“Courts
applying Connecticut law have . . . recognized that it may be possible to satisfy the privity requirement
by pleading facts which establish an agency relationship between a vehicle manufacturer and the
Dealership.” (citing Koellmer, 6 Conn. Cir. Ct. at 485)). Thus, the CAC does not adequately allege the
requisite privity of contract. For this reason, Connecticut Count 2 is DISMISSED WITHOUT
PREJUDICE, i.e., with leave to amend.




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                       f)      Florida Counts 1 and 2

                               (1)    Florida Count 1: Breach of Express Warranty

The CAC advances a claim against the FCA, Honda, Hyundai-Kia and Toyota Defendants for breach of
express warranty pursuant to Fla. Stat. §§ 672.313 and 680.21. Dkt. 278 ¶¶ 1092-1112 (“Florida
Count 1”).

“To plead a cause of action for breach of express warranties under the Florida Uniform Commercial
Code, a complaint must allege: (1) the sale of goods; (2) the express warranty; (3) breach of the
warranty; (4) notice to seller of the breach; and (5) the injuries sustained by the buyer as a result of the
breach of the express warranty.” Jovine v. Abbott Lab’ys, Inc., 795 F. Supp. 2d 1331, 1339-40 (S.D.
Fla. 2011) (citation omitted).

The Honda Defendants argue that “the Complaint does not allege that the warrantor, American Honda,
failed to honor its obligations before the warranty expired. This omission alone disposes of the Florida
Plaintiffs’ express warranty claims under” Florida law. Dkt. 213 at 25 & n.7 (citing McCabe v. Daimler
AG, 948 F. Supp. 2d 1347, 1359 (N.D. Ga. 2013) (applying Florida law)). The Honda Defendants
further argue that “the Honda Plaintiffs have failed to allege that any of them presented their vehicles
for repair at a Honda dealer, as required under the Limited Warranty.” Dkt. 213 at 26.

The warranty booklets, which were filed as exhibits by the Honda Defendants, provide that Honda -- or,
Acura with respect to such vehicles -- “will repair or replace any part that is defective in material or
workmanship under normal use” (the “Honda Limited Warranty”). See Exs. 1 through 7 to Stevenson
Decl., Dkts. 211-2, 211-3, 211-4, 211-5, 211-6, 211-7, 211-8. Similarly, the warranty booklets, which
were filed as exhibits by the FCA Defendants, provide in relevant part:

         2.1 Basic Limited Warranty

         A. Who Is Covered?
         You are covered by the Basic Limited Warranty if you are a purchaser for use of the vehicle.

         B. What’s Covered
         The Basic Limited Warranty covers the cost of all parts and labor needed to repair any item on
         your vehicle when it left the manufacturing plant that is defective in material, workmanship or
         factory preparation . . . . You pay nothing for these repairs. These warranty repairs or
         adjustments — including all parts and labor connected with them — will be made by your dealer
         at no charge, using new or remanufactured parts.

See, e.g., Dkt. 231-2 at 8.

Although warranty booklets for the Hyundai, Kia or Toyota Defendants have not been provided, the
CAC alleges that, “[i]n connection with the purchase or lease of Class Vehicles, the FCA, Honda,
Hyundai, Kia, and Toyota Defendants provided the Florida Plaintiffs and Florida State Class members
with written express warranties covering the repair or replacement of components that are defective in
materials or workmanship.” Dkt. 278 ¶ 1104.
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“A manufacturer’s liability for breach of an express warranty derives from, and is measured by, the
terms of that warranty.” Cipollone v. Liggett Grp., Inc., 505 U.S. 504, 525 (1992). “To assert a cause of
action for breach of express warranty under Florida law, a consumer must allege that the manufacturer
did not comply with the limited express warranty’s terms.” Brisson v. Ford Motor Co., 602 F. Supp. 2d
1227, 1231 (M.D. Fla.) (citing Ocana v. Ford Motor Co., 992 So.2d 319, 323 (Fla. Dist. Ct. App. 2008))
aff’d in part, vacated in part, remanded, 349 F. App’x 433 (11th Cir. 2009).

With respect to the claims in the CAC, the terms of each alleged express warranty include that the
manufacturer will repair or replace any part that is defective in materials or workmanship. When such
terms are alleged, “[t]he consumer must allege that the manufacturer refused or failed to adequately
repair a covered item.” Id. at 1231 (citing Ocana, 992 So.2d at 324); see Bailey v. Monaco Coach
Corp., 350 F. Supp. 2d 1036, 1044 (N.D. Ga. 2004) (“Pursuant to Florida law, a repair-or-replace
warranty is breached only if the warrantor does not remedy the covered defects within a reasonable
time.”), aff’d, 168 F. App’x 893 (11th Cir. 2006).

Brisson is instructive. There, the plaintiffs brought a claim for breach of express warranty under Florida
law with respect to their vehicles. 602 F. Supp. 2d at 1231. Ford Motor Co. (“Ford”), was the
manufacturer of the vehicles. It “provide[d] an express warranty to repair or replace defective parts for
three years or 36,000 miles, whichever occurs first.” Id. at 1230. The plaintiffs’ claim for breach of
express warranty was dismissed because it failed to “allege that Ford did not comply with a provision of
the express warranty. There [was] no indication from the pleading that any of the named Plaintiffs ever
took their truck for repair or ever gave notice of the breach, much less within the three-year or 36,000-
mile warranty period . . . .” Id. at 1231. The Eleventh Circuit affirmed, finding that “[t]he express
warranty claim was properly dismissed because plaintiffs failed to allege that they ever presented their
vehicles to a Ford dealership for repair or that the Ford dealership failed to make the repair.” Brisson v.
Ford Motor Co., 349 F. App’x 433, 434 (11th Cir. 2009) (citing Ocana, 992 So.2d at 324-25).

Plaintiffs have not alleged that they ever presented the Class Vehicles for repair. Therefore, the CAC
does not include adequate allegations to support the claim for a breach of any express warranty. The
CAC alleges that “[t]he FCA, Honda, Hyundai, Kia, and Toyota Defendants knowingly breached their
express warranties to repair defects in materials and workmanship by failing to repair the ACU defect or
replace the defective ACUs in the Class Vehicles.” Dkt. 278 ¶ 1109. However, the CAC does not allege
that any of the Florida Plaintiffs ever attempted to have his or her Class Vehicle repaired or replaced by
any Defendant. See id. ¶¶ 76, 77, 102, 103, 104, 115, 116, 119, 128, 129. Nor does it allege that any
Defendant ever refused to repair or replace a Class Vehicle when given that opportunity.

In the absence of such allegations, the averment that the FCA, Honda, Hyundai, Kia and Toyota
Defendants failed to repair or replace the defective ACUs is not supported or plausible. Therefore,
Plaintiffs have not adequately alleged that any of those Defendants breached its express warranty. See
Sanchez-Knutson v. Ford Motor Co., 52 F. Supp. 3d 1223, 1231 (S.D. Fla. 2014) (citing Ocana, 992
So.2d at 324) (Under Florida law, “there can be no cause of action for breach of an express limited
warranty unless the consumer can allege and prove that the manufacturer did not comply with the
limited express warranty’s terms.”); Aprigliano v. Amer. Honda Motor Co., 979 F. Supp. 2d 1331, 1341
n.4 (S.D. Fla. 2013) (citations omitted) (“[T]he Court is not persuaded principles of equity and fair play
are served by making a manufacturer of a product liable to a subsequent purchaser outside the
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warranty period for an alleged defect the manufacturer never had the opportunity to repair or replace,
as provided in the terms of the written warranty.”).

Plaintiffs argue that they were not required to “present their vehicles for repair” as a condition to
asserting claims for a breach of express warranties, because “doing so would have been futile.” Dkt.
287 at 23 (citing Benkle, 2017 WL 9486154, at *12; Keegan, 284 F.R.D. at 512). However, the CAC
does not present sufficient allegations to support this position. That distinguishes this case from those
cited by Plaintiffs. 42

The CAC does not sufficiently allege that it would have been futile for Plaintiffs to have presented their
Class Vehicles to Defendants for repair or replacement. The absence of such allegations or ones that
they presented their vehicles to any Defendant for repair or replacement, makes the CAC insufficient to
state a claim of express warranty under Florida law. Therefore, Florida Count 1 is DISMISSED
WITHOUT PREJUDICE, i.e., with leave to amend.

                               (2)     Florida Count 2: Breach of Implied Warranty

The CAC advances a claim against the FCA, Honda, Hyundai-Kia and Toyota Defendants for breach of
the implied warranty of merchantability pursuant to Fla. Stat. §§ 672.314 and 680.212. Dkt. 278
¶¶ 1113-28 (“Florida Count 2”). In support of the Joint Motion, Defendants argue that Florida Count 2
fails because in Florida, as “[i]n many states, a plaintiff cannot recover economic losses for breach of
implied warranty in the absence of privity.” Dkt. 208 at 59 (citations omitted). “Under Florida law, a
plaintiff cannot recover economic losses for breach of implied warranty in the absence of privity.” Mesa
v. BMW of North America, LLC, 904 So.2d 450, 458 (Fla. App. 2005). Plaintiffs do not dispute that
privity of contract is required for such a claim for breach of implied warranty under Florida law. See Dkt.
281 at 59-60.

The CAC does not allege that any Florida Plaintiff was in privity with any Defendant. Some of the
Florida Plaintiffs allegedly purchased or leased their Class Vehicles from authorized dealerships. See,
e.g., Dkt. 278 ¶¶ 102-104. However, such allegations are not sufficient to plead privity as to another,
allegedly related party. See Pelayo v. Hyundai Motor Am., Inc., No. 820CV01503JLSADS, 2021 WL
1808628, a *8-9 (C.D. Cal. May 5, 2021) (“A manufacturer is not in privity with a buyer who purchases
through a third-party seller, such as an authorized dealer.” (citing Brisson, 349 F. App'x at 434-35)
(applying Florida law)). The CAC does not include any additional allegations as to the relationship
between any Florida Plaintiff and any Defendant, or between any Defendant and the dealership from
which a Class Vehicle was purchased or leased. Thus, the CAC does not adequately allege the
requisite privity of contract. For this reason, Florida Count 2 is DISMISSED WITHOUT PREJUDICE,
i.e., with leave to amend.




42 Those cases, including Benkle and Keegan, were discussed earlier. That discussion is incorporated here by
this reference.
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                       g)      Illinois Counts 1 and 2

                               (1)     Illinois Count 1: Breach of Express Warranty

The CAC advances a claim against the Hyundai-Kia Defendants for breach of express warranty under
810 Ill. Comp. Stat. 5/2-313 and 5/2A-210. Dkt. 278 ¶¶ 1163-79 (“Illinois Count 1”). Under Illinois law,
an alleged design defect cannot form the basis for an express warranty claim where the allegation is
that defendants provided “written express warranties covering the repair or replacement of components
that are defective in materials or workmanship.” Dkt. 278 ¶ 1172; see Voelker v. Porsche Cars N. Am.,
Inc., 353 F.3d 516, 527 (7th Cir. 2003) (applying Illinois law and holding that the plaintiff pointed “to no
part of the record showing that a warranty against defective design was part of his contract with any
defendant,” so “he has failed to state a claim for breach of express warranty.”); Hasek v.
DaimlerChrysler Corp., 319 Ill. App. 3d 780, 788-89 (2001); see also Schepler v. Am. Honda Motor Co.,
No. CV 18-6043-GW (AFMx), 2019 WL 398000, at *8 (C.D. Cal. Jan. 29, 2019) (recognizing that “that
both California and Illinois have held that warranties for materials and/or workmanship fail to cover
design defects“).

Applying these standards to the CAC, it is insufficient for the same reasons discussed earlier as to
other, similar claims. Therefore, Illinois Count 1 is DISMISSED WITHOUT PREJUDICE, i.e., with leave
to amend.

                               (2)     Illinois Count 2: Breach of Implied Warranty

The CAC advances a claim against the Hyundai-Kia Defendants for breach of the implied warranty of
merchantability under 810 Ill. Comp. Stat. 5/2-314 and 5/2A-212. Dkt. 278 ¶¶ 1180-93 (“Illinois
Count 2”).

In support of the Joint Motion, Defendants argue that Illinois Count 2 fails because in Illinois, as “[i]n
many states, a plaintiff cannot recover economic losses for breach of implied warranty in the absence
of privity.” Dkt. 208 at 59-60 & n.21 (citing Mellander v. Kileen, 407 N.E.2d 1137, 1138 (Ill. App. Ct.
1980)). The Hyundai-Kia Defendants also make this argument. Dkt. 219 at 33 & n.19 (citing Rothe v.
Maloney Cadillac, Inc., 518 N.E.2d 1028, 1029 (Ill. 1988)).

“Under the law of Illinois, privity of contract is a prerequisite to recover economic damages for breach
of implied warranty.” Voelker v. Porsche Cars N. Amer., Inc., 353 F.3d 516, 525 (7th Cir. 2003); see
Mekertichian v. Mercedes-Benz U.S.A., L.L.C., 347 Ill. App. 3d 828, 832 (2004) (applying Illinois law
and affirming that, “[i]n order for a plaintiff to file a claim for economic damages under the UCC for the
breach of an implied warranty, he or she must be in vertical privity of contract with the seller.” (citations
omitted)). The same claim, but for personal injury, does not require vertical privity. See Cameron v.
Battery Handling Sys., Inc., 524 F. Supp. 3d 860, 866 (C.D. Ill. 2021) (“[I]n Illinois, a plaintiff need not
allege vertical privity to survive a motion to dismiss a claim for breach of the implied warranty of
merchantability in a personal injury case.”).

Because Plaintiffs’ claim is one for economic damages, it must be supported by allegations of vertical
privity. The CAC alleges that Gerischer and Swanson, the Illinois Plaintiffs, purchased their respective
Class Vehicles from authorized dealerships. Dkt. 278 ¶¶ 79-80. Under Illinois law, this does not per se
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establish privity. See Voelker, 353 F.3d at 526 (plaintiff who leased vehicle from authorized Porsche
dealership did not allege privity with Porsche). Thus, the CAC does not sufficiently allege that either of
the Illinois Plaintiffs was in privity of contract with any Defendant. Therefore, the CAC fails to state a
claim for breach of the implied warranty of merchantability under Illinois law.

For the foregoing reasons, Illinois Count 2 is DISMISSED WITHOUT PREJUDICE, i.e., with leave to
amend.

                          h)      Indiana Counts 1 and 2

The CAC advances a claim against the Kia Defendants for breach of express warranty under Ind. Code
§§ 26-1-2-313 and 26-1-2.1-210. Dkt. 278 ¶¶ 1258-73 (“Indiana Count 1”). It also includes a claim
against the Kia Defendants for breach of the implied warranty of merchantability under Ind. Code
§§ 26-1-2-314 and 26-1-2.1-212. Id. ¶¶ 1274-84 (“Indiana Count 2”).

In support of the Joint Motion, Defendants do not present any specific challenges to Indiana Counts 1
and 2. See generally Dkt. 208. In support of the Hyundai-Kia Motion, the Hyundai-Kia Defendants only
challenge as untimely the breach of warranty claims of Indiana Plaintiff Ogorek. Dkt. 219 at 32. 43
Plaintiffs respond that “Defendants’ alleged concealment of the ACU defect for years tolls the statute.”
Dkt. 281 at 63-64 n.21 (citing Carroll v. BMW of N. Am., LLC, No. 1:19-cv-0000224, 2019 WL 4243153,
at *7 (S.D. Ind. Sept. 6, 2019)).

“Under Indiana law, the statute of limitations for a breach of warranty action is four years.” Carroll, 2019
WL 4243153, at *7 (citing Ind. Code § 26-1-2-725(1)). “A cause of action accrues when the breach
occurs, regardless of the aggrieved party's lack of knowledge of the breach.” Id. (citing Ind. Code
§ 26-1-2-725(2)). “The statute of limitations may be tolled if the defendant fraudulently conceals the
action giving rise to liability.” Id. (citing Ludwig v. Ford Motor Co., 510 N.E.2d 691, 697 (Ind. Ct. App.
1987); Ind. Code § 34-11-5-1). However, “the doctrine of fraudulent concealment is ‘narrowly defined,’
as the concealment must be ‘active and intentional,’ and there must be some trick or contrivance
intended by the defrauder. Mere silence will not constitute concealment, absent a duty to speak arising
from a fiduciary or confidential relationship.” Id. (quoting Ludwig, 510 N.E.2d at 697).

The Indiana Plaintiffs, Miller and Ogorek, purchased their respective Class Vehicles on October 22,
2016, and July 26, 2013. Dkt. 278 ¶¶ 82-83. Each filed his or her claims in this action on May 21, 2019.
See Complaint, Bell v. ZF Friedrichshafen AG, No. CV 19-00963 (C.D. Cal.). Each filing was more than
four years after the respective purchase. Absent an exception, each of the claims would be time barred.

The CAC does not sufficiently allege either a fiduciary or confidential relationship between any Indiana
Plaintiff or any Defendant. Nor does it sufficiently allege that the relevant Defendants engaged in any
“trick or contrivance.” Therefore, the doctrine of fraudulent concealment is not supported by the
allegations in the CAC.


43Although the Hyundai-Kia Defendants argue that the claim of Indiana Plaintiff Miller under the Indiana DCSA is
untimely, Dkt. 219 at 32, they do not also make that argument as to Miller’s claims for breach of warranty.
However, because the allegations of the CAC support the view that the limitations period had expired prior to
when Miller filed his claims, and in the interest of judicial and party efficiency, this issue is addressed in this Order.
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For the foregoing reasons, Indiana Counts 1 and 2 are DISMISSED WITHOUT PREJUDICE, i.e., with
leave to amend. 44

                         i)      Maryland Counts 1 and 2

The CAC advances a claim against the Hyundai-Kia Defendants for breach of express warranty under
Md. Code Com. Law §§ 2-313 and 2A-210. Dkt. 278 ¶¶ 1411-27 (“Maryland Count 1”). It also advances
a claim against the Hyundai-Kia Defendants for breach of the implied warranty of merchantability under
Md. Code Com. Law §§ 2-314 and 2A-212. Id. ¶¶ 1428-40 (“Maryland Count 2”).

The Hyundai-Kia Defendants argue that the Maryland Plaintiffs’ breach of warranty claims are time-
barred. Dkt. 219 at 32. The limitations period for a claim for breach of contract under Maryland law is
“four years after the cause of action has accrued.” Md. Code Com. Law § 2-725(1). “A cause of action
accrues when the breach occurs,” and “[a] breach of warranty occurs when tender of delivery is
made . . . .” Id. § 2-725(2). Plaintiffs respond that “Defendants’ alleged concealment of the ACU defect
for years tolls the statute.” Dkt. 281 at 63; see Dkt. 278 ¶ 545(a).

Joseph Fuller, Tina Fuller and King are the Maryland Plaintiffs. Dkt. 278 ¶ 1444. Joseph Fuller
purchased his Class Vehicle on April 28, 2014. Id. ¶ 86. Tina Fuller purchased hers on April 29, 2014.
Id. ¶ 87. King purchased hers on July 17, 2013. Id. ¶ 88. King filed her claims on July 18, 2019. See
Complaint, Christopher Berry, et al v. ZF TRW Auto. Holdings Corp., et al., No. CV 19-1403 (C.D. Cal.).
Joseph and Tina Fuller filed their respective claims on August 14, 2019. See Complaint, Joseph Fuller,
et al. v. ZF TRW Auto. Holdings Corp., et al., No. CV 19-1566 (C.D. Cal.). Each of these filings was
more than four years after the respective purchases. Therefore, absent an exception to the tolling
period, each of these claims would be untimely.

“Under Maryland law, the statute of limitations governing warranty claims is tolled if ‘a cause of action is
kept from a party by the fraud of an adverse party.’ ” Doll v. Ford Motor Co., 814 F. Supp. 2d 526, 536
(D. Md. 2011) (citing Md. Code Cts. & Jud. Proc. § 5-203). To state a claim for fraudulent concealment
under Maryland law, a plaintiff must allege:

         (1) the defendant owed a duty to the plaintiff to disclose a material fact; (2) the defendant failed
         to disclose that fact; (3) the defendant intended to defraud or deceive the plaintiff; (4) the plaintiff
         took action in justifiable reliance on the concealment; and (5) the plaintiff suffered damages as a
         result of the defendant's concealment.

Green v. H & R Block, Inc., 355 Md. 488, 525 (Md. 1999) (citation omitted). Under Fed. R. Civ. P. 9(b),
“the party alleging fraudulent concealment for the purpose of tolling the statute of limitations must plead
the circumstances with particularity.” Doll, 814 F. Supp. 2d at 536-37 (citation omitted).

Doll presented facts similar to those alleged here. Doll concluded that the plaintiffs in that case had

44 Because the statute of limitations is an affirmative defense that may be waived, a plaintiff is not obligated to
address it with allegations in an initial complaint. However, once it has been raised in a response to a complaint, it
is appropriate to require allegations on the issue in any amended complaint. For those reasons, Indiana Counts 1
and 2 have been dismissed without prejudice, so that the Indiana Plaintiffs have the opportunity to seek to make
such allegations.
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alleged fraudulent concealment with sufficient particularity to justify the deferral of a determination as to
whether the claims were time barred. 814 F. Supp. 2d at 538. In Doll, it was alleged that Ford “both
concealed and failed to disclose essential information concerning the [plaintiffs’] vehicles’ defective
torque converter.” Id. at 534. Doll concluded that the “[p]laintiffs ha[d] alleged sufficient facts to
demonstrate that Ford was under a duty pursuant to the [federal Motor Vehicle] Safety Act to disclose
the torque converter defects.” Id. at 537 (referring to 49 U.S.C. §§ 30101 et seq.). Next, it determined
that the “[p]laintiffs [had] adequately argue[d] that had Ford disclosed the vehicles’ defect, the [p]laintiffs
would have acted differently.” Id. at 538. With respect to the third element, Doll concluded that the
“[p]laintiffs ha[d] alleged a set of facts that support[ed] the notion that Ford actively intended to conceal
facts regarding this defect.” Id. “Specifically, [the p]laintiffs claim[ed] that Ford had exclusive knowledge
of the defect from both internal and external sources but purposely concealed this information from the
[p]laintiffs and Class members.” Id. Finally, Doll determined that the “[p]laintiffs [had] allege[d] sufficient
facts that they justifiably relied on Ford’s concealment and therefore suffered damages.” Id.

Applying this analysis to the CAC shows that it includes allegations of fraudulent concealment that are
sufficient to warrant a deferral of the determination whether these claims are time barred. However,
Plaintiffs have not pleaded when any Plaintiff discovered the Alleged Defect. Nevertheless, “[t]he
precise time period during which Plaintiffs learned of the [Alleged D]effect . . . involves issues of fact ill-
suited for resolution at this stage.” Nyarko v. BMW of N. Am., LLC, No. CV RDB-18-3618, 2020 WL
1491361, at *9 (D. Md. Mar. 27, 2020).

For the foregoing reasons, the viability of the Hyundai-Kia Defendants’ statute of limitations defense
cannot be determined based on the pleadings. Plaintiffs have adequately alleged a breach of express
and implied warranty under Maryland law. Such a determination is without prejudice to Defendants’
statute of limitations defense being renewed based on a factual record.

                        j)      Massachusetts Counts 1 and 2

The CAC advances a claim against the Kia Defendants for breach of express warranty under Mass.
Gen. Laws ch. 106, §§ 2-313 and 2A-210. Dkt. 278 ¶¶ 1473-87 (“Massachusetts Count 1”). It also
includes a claim against the Kia Defendants for breach of the implied warranty of merchantability under
Mass. Gen. Laws ch. 106, §§ 2-314 and 2A-212. Id. ¶¶ 1488-99 (“Massachusetts Count 2”).

In support of the Joint Motion, Defendants argue that the breach of warranty claims of the
Massachusetts Plaintiffs are time-barred. Dkt. 208 at 62 & n.26-27 (citing Mass. Gen. Laws ch. 106,
§§ 2-725(1), (2)). Plaintiffs respond that “Defendants’ alleged concealment of the ACU defect for years
tolls the statute.” Dkt. 281 at 63; see Dkt. 278 ¶ 545(a).

DeMoranville is the only Massachusetts Plaintiff. He purchased his Class Vehicle on April 14, 2017.
Id. ¶ 89. He filed his claims in this action on May 26, 2020. 45 The statute of limitations for a breach of
contract action in Massachusetts is four years from when the breach occurred. Mass. Gen. Laws ch.
106, § 2-725(1). For a breach of warranty claim, the breach generally occurs “when tender of delivery is
made.” Id. § 2-725(2). DeMoranville filed his claims in this action within the limitations period.


45 DeMoranville is among the New Plaintiffs who initially filed claims in the CAC on May 26, 2020. For the reasons
already stated, the New Plaintiffs’ complaint is deemed to have been filed on May 26, 2020.
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The Hyundai-Kia Defendants argue that “the CAC is devoid of any allegations regarding any express
warranty language or which, if any, of the Defendant entities are parties to them. As such, Plaintiffs’
express warranty claims must be dismissed.” Dkt. 219 at 34 & n.20 (citing Penniston v. Brown &
Williamson Tobacco Corp., 2000 WL 1585609, at *5 (D. Mass. June 15, 2000)). The only authority cited
by the Hyundai-Kia Defendants does not require that allegations in support of a breach of warranty
claim under Massachusetts law go beyond what is alleged in the CAC. 2000 WL 1585609, at *5.
Penniston does not expressly address the sufficiency of allegations regarding the express warranty
itself. Id. (“[I]t is impossible to discern from the Amended Complaint when [the plaintiff] alleges that any
of the misrepresentations were made . . . . Similarly, without knowing the content of the statements, the
court can make no judgment as to the existence of an express warranty.”).

The CAC alleges that, “[i]n connection with the purchase or lease of Kia Class Vehicles, the Kia
Defendants provided the Massachusetts Plaintiff and Massachusetts State Class members with written
express warranties covering the repair or replacement of components that are defective in materials or
workmanship.” Dkt. 278 ¶ 1480. This allegation provides sufficient detail about the express warranties
at issue.

For the foregoing reasons, Plaintiffs have stated a claim for breach of express and implied warranties
under Massachusetts law against the Kia Defendants.

                       k)     Michigan Counts 1 and 2

The CAC advances a claim against the Kia Defendants for breach of express warranty under Mich.
Comp. Laws §§ 440.2313 and 440.2860. Dkt. 278 ¶¶ 1531-45 (“Michigan Count 1”). It also includes a
claim against the Kia Defendants for breach of the implied warranty of merchantability under Mich.
Comp. Laws §§ 440.2314 and 440.2862. Id. ¶¶ 1546-57 (“Michigan Count 2”).

In support of the Joint Motion, Defendants argue that the breach of warranty claims of the Michigan
Plaintiffs are time-barred. Dkt. 208 at 62 & n.26-27 (citing Mich. Comp. Laws § 440.2725(1), (2)).
Plaintiffs respond that “Defendants’ alleged concealment of the ACU defect for years tolls the statute.”
Dkt. 281 at 63; see Dkt. 278 ¶ 545(a).

Jones is the sole Michigan Plaintiff. She purchased her Class Vehicle on March 16, 2015. Id. ¶ 90. She
filed her claims on May 21, 2019. See Complaint, Bell v. ZF Friedrichshafen AG, No. CV 19-00963
(C.D. Cal.). The statute of limitations for a breach of contract action under Michigan law is four years
from when the breach occurs. Mich. Comp. Laws § 440.2725(1). For a breach of warranty claim, the
breach generally occurs “when tender of delivery is made.” Id. § 440.2725(2). Therefore, absent an
exception to the limitations period, these claims would be time-barred.

Under Michigan law, “the statute of limitations is tolled when a party conceals the fact that the plaintiff
has a cause of action.” Romeo Inv. Ltd. v. Mich. Consol. Gas Co., No. 260320, 2007 WL 1264008, at *3
(Mich. Ct. App. May 1, 2007) (citing Mich. Comp. Laws § 600.5855; Sills v. Oakland Gen. Hosp., 559
N.W.2d 348, 352 (Mich. Ct. App. 1996)). "Three elements must be pleaded in order to establish
fraudulent concealment: (1) wrongful concealment of their actions by the defendants; (2) failure of the
plaintiff to discover the operative facts that are the basis of his cause of action within the limitations
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period; and (3) plaintiff's due diligence until discovery of the facts.” Dayco Corp. v. Goodyear Tire &
Rubber Co., 523 F.2d 389, 394 (6th Cir. 1975) (citing Weinberger v. Retail Credit Co., 498 F.2d 552
(4th Cir. 1974)).

The CAC does not sufficiently allege fraudulent concealment. It does not include any allegations as to
due diligence by Jones or her discovery of the Alleged Defect. “[A]n injured party has a positive duty to
use diligence in discovering his cause of action within the limitations period.” Dayco Corp., 523 F.2d
at 394 (citing Wood v. Carpenter, 101 U.S. 135, 139 (1879)). “If the plaintiff has delayed beyond the
limitations period, he must fully plead the facts and circumstances surrounding his belated discovery
‘and the delay which has occurred must be shown to be consistent with the requisite diligence.’ ” Id.
(quoting Wood, 101 U.S. at 143).

The CAC alleges:

         Due to the highly technical nature of the defect with the ZF TRW ACUs installed in the Class
         Vehicles, Plaintiffs and class members were unable to independently discover the defect using
         reasonable diligence. Prior to the retention of counsel and without third-party experts, Plaintiffs
         and class members lack the necessary expertise to analyze the ZF TRW ACUS for signs of
         EOS or to even identify the Class Vehicles with ZF TRW ACUs.

Dkt. 278 ¶ 544.

This conclusory allegation does not present sufficient detail as to whether Jones could have exercised
due diligence to discover the Alleged Defect. Further, the CAC is without any detailed allegations as to
when and how Jones discovered the Alleged Defect. Dayco held that the “mere allegation of due
diligence without asserting what steps were taken is insufficient under the Wood standard.” Dayco, 523
F.2d at 394.

Because the exception to the statute of limitation has not been pleaded sufficiently, the CAC does not
adequately state a timely claim. Therefore, Michigan Counts 1 and 2 are DISMISSED WITHOUT
PREJUDICE, i.e., with leave to amend. 46

                         l)      Minnesota Counts 1 and 2

The CAC advances claims against the FCA, Honda and Kia Defendants for breach of express warranty
under Minn. Stat. §§ 336.2-313 and 336.2A-210. Dkt. 278 ¶¶ 1588-1605 (“Minnesota Count 1”). It also
includes claims against these Defendants for breach of the implied warranty of merchantability under
Minn. Stat. §§ 336.2-314 and 336.2A-212. Id. ¶¶ 1606-20 (“Minnesota Count 2”).

In support of the Joint Motion, Defendants argue that the breach of warranty claims of the Minnesota
Plaintiffs are time-barred. Dkt. 208 at 62 & n.26-27 (citing Minn. Stat. § 336.2-725(1), (2)). Plaintiffs

46 Because the statute of limitations is an affirmative defense that may be waived, a plaintiff is not obligated to
address it with allegations in an initial complaint. However, once it has been raised in a response to a complaint, it
is appropriate to require allegations on the issue in any amended complaint. For those reasons, Michigan Counts
1 and 2 have been dismissed without prejudice, so that the Michigan Plaintiffs have the opportunity to seek to
make such allegations.
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respond that “Defendants’ alleged concealment of the ACU defect for years tolls the statute.” Dkt. 281
at 63; see Dkt. 278 ¶ 545(a).

Keister, Nelson and Birk-LaBarge are the Minnesota Plaintiffs. Dkt. 278 ¶ 1592. Keister purchased his
Class Vehicle on August 30, 2011. Id. ¶ 105. He filed his claims in the Eastern District of Michigan on
May 17, 2019, and they were later transferred to this MDL. See Complaint, Regina Heilman-Ryan et al
v. ZF TRW Auto. Holdings Corp. et al, No. CV 19-6899 (C.D. Cal.). Nelson purchased her Class
Vehicle on October 14, 2013. Dkt. 278 ¶ 130. She filed her claims on August 14, 2019. See Complaint,
Joseph Fuller, et al. v. ZF TRW Auto. Holdings Corp., et al., No. CV 19-1566 (C.D. Cal.). Birk-LaBarge
purchased her Class Vehicle on October 24, 2014. Dkt. 278 ¶ 91. She filed her claims in this action on
May 26, 2020. 47

“The statute of limitations for breach of warranty in Minnesota is four years.” Strong v. Stryker Corp.,
No. CIV. 10-2315 MJD/FLN, 2010 WL 4967876, at *5 (D. Minn. Dec. 1, 2010) (citing Minn. Stat.
§ 336.2-725, subd. 1. “A warranty claim accrues upon tender of delivery.” Id. (citing Minn. Stat.
§ 336.2-725, subd. 2; Highway Sales v. Blue Bird Corp., 559 F.3d 782, 789 (8th Cir. 2009)). Breach of
warranty claims can be tolled based on a defendant’s fraudulent concealment. Id. (citing Minn. Stat. §
336.2-725, subd. 4; Marvin Lumber & Cedar Co. v. PPG Indus., Inc., 223 F.3d 873, 877 (8th Cir.
2000)). Therefore, absent an exception to the limitations period, these claims would be time-barred.

“In order to toll the limitation period on the grounds of fraudulent concealment, a plaintiff must establish
the following: “(1) Defendant[’s] concealment of Plaintiff[’s] cause of action, (2) failure by Plaintiff[ ] to
discover the existence of [his] cause of action, and (3) due diligence by Plaintiff[ ] in attempting to
discover the claim.” Olson v. Amatuzio, No. CV 18-124 (DWF/TNL), 2018 WL 4087944, at *5 (D. Minn.
Aug. 27, 2018), aff'd, 799 F. App'x 433 (8th Cir. 2020) (citing In re Milk Prods. Antitrust Litig., 84 F.
Supp. 2d 1016, 1022 (D. Minn. 1997)) (alteration in original). “The concealment must be fraudulent or
intentional and, in the absence of a fiduciary relationship, there must be something of an affirmative
nature designed to prevent, and which does prevent, discovery of the cause of action.” Cohen v.
Appert, 463 N.W.2d 787, 790 (Minn. Ct. App. 1990) (citing Wild v. Rarig, 234 N.W.2d 775, 795 (Minn.
1975)). The elements of fraudulent concealment must be pleaded with particularity under Fed. R. Civ.
P. 9(b). Summerhill v. Terminix, Inc., 637 F.3d 877, 880 (8th Cir. 2011).

Plaintiffs have not sufficiently pleaded the third element -- due diligence by Plaintiffs in attempting to
discover the claim -- because they have not provided any allegations about Plaintiffs’ investigation into
and discovery of the Alleged Defect. See Olson v. Amatuzio, 799 F. App'x 433, 437 (8th Cir.), cert.
denied, 141 S. Ct. 255 (2020) (The “complaint does not contain facts that suggest [the plaintiff] could
not have discovered the alleged concealment by reasonable diligence. . . . [He] thus did not ‘state with
particularity the circumstances constituting fraud.’ ” (quoting Fed. R. Civ. P. 9(b))).

The CAC alleges:

         Due to the highly technical nature of the defect with the ZF TRW ACUs installed in the Class
         Vehicles, Plaintiffs and class members were unable to independently discover the defect using


47 Birk-LaBarge is among the New Plaintiffs who initially filed claims in the CAC on May 26, 2020. For the reasons
already stated, the New Plaintiffs’ complaint is deemed to have been filed on May 26, 2020.
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         reasonable diligence. Prior to the retention of counsel and without third-party experts, Plaintiffs
         and class members lack the necessary expertise to analyze the ZF TRW ACUS for signs of
         EOS or to even identify the Class Vehicles with ZF TRW ACUs.

Dkt. 278 ¶ 544.

This conclusory allegation does not present sufficient detail as to when each Plaintiff was on notice of
the existence of the Alleged Defect; what efforts, if any, he or she made to discover it; and when he or
she did discover it. See Block v. Toyota Motor Corp., 795 F. Supp. 2d 880, 888 (D. Minn. 2011) (citing
Klehr v. A.O. Smith Corp., 87 F.3d 231, 235 (8th Cir. 1996)) (“The relevant question with respect to
fraudulent concealment is when the plaintiff had such notice that the exercise of reasonable diligence
would have alerted the plaintiff of the existence of a cause of action.”). “The party claiming fraudulent
concealment has the burden of showing that the concealment could not have been discovered sooner
by reasonable diligence on his part and was not the result of his own negligence.” Wild v. Rarig, 234
N.W.2d 775, 795 (Minn. 1975) (citing Duxbury v. Boice, 72 N.W. 838-39 (Minn. 1897)). Additionally,
that party “must establish that it was actually unaware that the defect existed before a finding of
fraudulent concealment can be sustained.” Hydra–Mac, Inc. v. Onan Corp., 450 N.W.2d 913, 919
(Minn. 1990). Plaintiffs have not discharged their burden of establishing fraudulent concealment.

Because the exception to the statute of limitation has not been pleaded sufficiently, the CAC does not
adequately state a timely claim. Minnesota Counts 1 and 2 are DISMISSED WITHOUT PREJUDICE,
i.e., with leave to amend. 48

                         m)      Missouri Counts 1 and 2

The CAC advances a claim against the Kia Defendants for breach of express warranty under Mo. Rev.
Stat. §§ 400.2-313 and 400.2A-210. Dkt. 278 ¶¶ 1681-95 (“Missouri Count 1”). It also includes a claim
against these Defendants for breach of the implied warranty of merchantability under Mo. Rev. Stat.
§§ 400.2-314 and 400.2A-212. Id. ¶¶ 1696-1707 (“Missouri Count 2”).

In support of the Joint Motion, Defendants argue that the breach of warranty claims of the Missouri
Plaintiff are time-barred. Dkt. 208 at 62 & n.26-27 (citing Mo. Stat. § 400.2-725(1), (2)). Plaintiffs
respond that “Defendants’ alleged concealment of the ACU defect for years tolls the statute.” Dkt. 281
at 63; see Dkt. 278 ¶ 545(a).

The statute of limitations for breach of warranty claims under Missouri law is four years, and “begins to
run when tender of delivery is made, unless the goods are sold with a warranty for future performance.”
Owen v. Gen. Motors Corp., 533 F.3d 913, 918 (8th Cir. 2008) (citing Mo. Stat. § 400.2-725(1), (2)).
As noted, Sutterfield, the only Missouri Plaintiff, purchased his Class Vehicle on September 27, 2013,
Dkt. 278 ¶ 92, and filed his claims in this action on May 26, 2020, which was more than four years later.
It already has been determined that Plaintiffs have not adequately pleaded fraudulent concealment

48 Because the statute of limitations is an affirmative defense that may be waived, a plaintiff is not obligated to
address it with allegations in an initial complaint. However, once it has been raised in a response to a complaint, it
is appropriate to require allegations on the issue in any amended complaint. For those reasons, Minnesota
Counts 1 and 2 have been dismissed without prejudice, so that the Minnesota Plaintiffs have the opportunity to
seek to make such allegations.
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under Missouri law. Therefore, the CAC does not sufficiently allege that Sutterfield’s claims for breach
of warranty are viable notwithstanding the four-year limitations period.

Because the exception to the statute of limitation has not been pleaded sufficiently, the CAC does not
adequately state a timely claim. Therefore, Missouri Counts 1 and 2 are DISMISSED WITHOUT
PREJUDICE, i.e., with leave to amend. 49

                         n)      Montana Counts 1 and 2

The CAC advances a claim against the FCA Defendants for breach of express warranty under Mont.
Code Ann. §§ 30-2-313 and 30-2A-210. Dkt. 278 ¶¶ 1736-51 (“Montana Count 1”). It also includes a
claim against the FCA Defendants for breach of the implied warranty of merchantability under Mont.
Code Ann. §§ 30-2-314 and 30-2A-212. Id. ¶¶ 1752-63 (“Montana Count 2”).

In support of the Joint Motion, Defendants argue that the breach of warranty claims of the Montana
Plaintiff are time-barred. Dkt. 208 at 62 & n.26-27 (citing Mont. Code § 30-2-725(1), (2)). Plaintiffs
respond that “Defendants’ alleged concealment of the ACU defect for years tolls the statute.” Dkt. 281
at 63; see Dkt. 278 ¶ 545(a); Dkt. 290 at 17.

The statute of limitations for breach of warranty claims under Montana law is four years. Mont. Code §
30-2-725(1). The “cause of action accrues when the breach occurs,” and the breach “occurs when
tender of delivery is made,” unless the “warranty explicitly extends to future performance of the goods.”
Id. § 30-2-725(2). Adams, who is the only Montana Plaintiff, purchased his Class Vehicle in November
2012. Dkt. 278 ¶ 106. He filed his claims in this action on May 26, 2020, 50 and they were later
transferred to this MDL. See Complaint, Barry Adams, et al. v. ZF Active Safety and Elecs. US LLC, et
al., No. CV 20-09668 (C.D. Cal.). Therefore, absent an exception to the limitations period, these claims
would be time-barred.

Under Montana law, fraudulent concealment tolls the limitations period “until the facts constituting the
claim have been discovered or, in the exercise of due diligence, should have been discovered by the
injured party if (a) the facts constituting the claim are by their nature concealed or self-concealing; or (b)
before, during, or after the act causing the injury, the defendant has taken action which prevents the
injured party from discovering the injury or its cause.” Mont. Code Ann. § 27-2-102(3) (emphasis
added); see Yellowstone Conf. of United Methodist Church v. D.A. Davidson, Inc., 741 P.2d 794, 798
294 (Mont. 1987) (citing Much v. Sturm Ruger and Co., Inc., 502 F. Supp. 743, 745 (D. Mont.
1980)); Knight v. City of Missoula, 827 P.2d 1270, 1274 (Mont. 1992) (“[T]he doctrine of fraudulent
concealment [] toll[s] the statute of limitations until the cause of action is discovered or could have been
discovered through due diligence.” (citing Johnson v. St. Patrick's Hosp., 417 P.2d 469, 471 (Mont.
1966))), as clarified on denial of reh'g (Apr. 2, 1992). To establish fraudulent concealment, Plaintiffs

49 Because the statute of limitations is an affirmative defense that may be waived, a plaintiff is not obligated to

address it with allegations in an initial complaint. However, once it has been raised in a response to a complaint, it
is appropriate to require allegations on the issue in any amended complaint. For those reasons, Missouri Counts
1 and 2 have been dismissed without prejudice, so that the Missouri Plaintiffs have the opportunity to seek to
make such allegations.
50 Adams is among the New Plaintiffs who initially filed claims in the CAC on May 26, 2020. For the reasons

already stated, the New Plaintiffs’ complaint is deemed to have been filed on May 26, 2020.
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must show that they “exercise[d] due diligence.” Humphrey v. Remington Arms Co., LLC, 593 Fed.
App'x 638, 639 (9th Cir. 2015); see Osterman v. Sears, Roebuck & Co., 80 P.3d 435, 441 (Mont. 2003)
(citing Gregory v. City of Forsyth, 609 P.2d 248, 251 (Mont. 1980)) (“[O]rdinary diligence must be
exercised by the aggrieved party in the discovery of the facts constituting the fraud or deceptive
practice.”).

The CAC alleges:

         Due to the highly technical nature of the defect with the ZF TRW ACUs installed in the Class
         Vehicles, Plaintiffs and class members were unable to independently discover the defect using
         reasonable diligence. Prior to the retention of counsel and without third-party experts, Plaintiffs
         and class members lack the necessary expertise to analyze the ZF TRW ACUS for signs of
         EOS or to even identify the Class Vehicles with ZF TRW ACUs.

Dkt. 278 ¶ 544.

This conclusory allegation does not present sufficient detail as to when Adams was on notice of the
existence of the Alleged Defect; what efforts, if any, he made to discover it; and when he did discover it.
Plaintiffs have not discharged their burden of establishing fraudulent concealment.

Because the exception to the statute of limitation has not been pleaded sufficiently, the CAC does not
adequately state a timely claim. Therefore, Montana Counts 1 and 2 are DISMISSED WITHOUT
PREJUDICE, i.e., with leave to amend. 51

                         o)      Nevada Counts 1 and 2

                                 (1)      Nevada Count 1: Breach of Express Warranty

The CAC advances a claim against the Toyota Defendants for breach of express warranty under Nev.
Rev. Stat. §§ 104.2313 and 104A.2210. Dkt. 278 ¶¶ 1790-1803 (“Nevada Count 1”). Nev. Rev. Stat.
§ 104.2714 provides that, when a buyer “has accepted goods and given notification . . . the buyer may
recover as damages for any nonconformity of tender the loss resulting in the ordinary course of events
from the seller's breach as determined in any manner which is reasonable.” Nev. Rev. Stat.
§ 104.2714(1). To plead breach of express warranty, a plaintiff must establish “that a warranty existed,
the defendant breached the warranty, and the defendant's breach was the proximate cause of the loss
sustained.” Nev. Cont. Servs., Inc. v. Squirrel Cos., Inc., 68 P.3d 896, 899 (Nev. 2003) (citations in
footnote omitted).

The Toyota Defendants argue that, “[t]o establish a breach” of the express warranty provided by TMS,
which “guarantees free “repairs and adjustments needed to correct defects in materials or
workmanship’ for the first 36 months or 36,000 miles the vehicle is in operation,” Plaintiffs must allege

51 Because the statute of limitations is an affirmative defense that may be waived, a plaintiff is not obligated to
address it with allegations in an initial complaint. However, once it has been raised in a response to a complaint, it
is appropriate to require allegations on the issue in any amended complaint. For those reasons, Montana Counts
1 and 2 have been dismissed without prejudice, so that the Montana Plaintiffs have the opportunity to seek to
make such allegations.
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“that they presented their vehicles to an authorized Toyota dealer for repair within the warranty period.”
Dkt. 214 at 18 & n.2 (citing Wood v. Winnebago Indus., No. 2:18-cv-1710 JCM (BNW), 2020 WL
3453076, at *6 (D. Nev. Mar. 23, 2020)). This argument is not persuasive. The Toyota Defendants have
not established as a matter of Nevada law that a plaintiff is required to provide an opportunity for repair
or replacement as a prerequisite to bringing a claim for breach of express warranty. They rely on
Winnebago. However, in that case, the plaintiff’s obligation to present his allegedly defective
recreational vehicle to an authorized service center for repairs arose from 15 U.S.C. § 2310(e).
Winnebago, 2020 WL 3453076, at *6. That statute applied because he brought a claim for breach of
express warranty under the Magnuson-Moss Warranty Act. Although that statute is identified in the
CAC as a basis for subject matter jurisdiction, ¶ 139, Plaintiffs have not relied on it as the basis of this
express warranty claim.

In support of the Joint Motion, Defendants argue that the breach of warranty claims of the “Nevada
Plaintiff” are time-barred. Dkt. 208 at 62 & n.26-27 (citing Nev. Rev. Stat. § 104.2725(1), (2)). Plaintiffs
respond that “Defendants’ alleged concealment of the ACU defect for years tolls the statute.” Dkt. 281
at 63; see Dkt. 278 ¶ 545(a); Dkt. 290 at 17.

The statute of limitations for breach of warranty claims under Nevada law is four years. Nev. Rev. Stat.
§ 104.2725(1). The “cause of action accrues when the breach occurs,” and the breach “occurs when
tender of delivery is made,” unless the “warranty explicitly extends to future performance of the goods.”
Id. § 104.2725(2). Samouris, who is the only Nevada Plaintiff, purchased his Class Vehicle on July 28,
2018. Dkt. 278 ¶ 118. He filed his claims in the Eastern District of Michigan on April 26, 2019, and they
were later transferred to this MDL. See Complaint, Gary E. Samouris et al v. ZF-TRW Auto. Holdings
Corp. et al., No. CV 19-06896 (C.D. Cal.). This was within the four-year limitations period. Therefore,
his claims are not barred by the statute of limitations.

Plaintiffs have stated a claim for breach of express warranty under Nevada law.

                               (2)     Nevada Count 2: Breach of Implied Warranty

The CAC also includes a claim against the Toyota Defendants for breach of the implied warranty of
merchantability under Nev. Rev. Stat. §§ 104.2314 and 104A.2212. Dkt. 278 ¶¶ 1804-14 (“Nevada
Count 2”).

The Toyota Defendants argue that Plaintiffs have not pleaded privity, which is required to state a claim
for breach of implied warranty under Nevada law. Dkt. 214 at 22 & n.11 (citing Long v. Flanigan
Warehouse Co. & Inland Ladder Co., 382 P.2d 399, 402 (Nev. 1963); KB Home Nev. Inc. v. Dunrite
Constr., Inc., 402 P. 3d 1253 (Nev. 2017)).

Under Nevada law, “contractual privity is a prerequisite for a breach of warranty action.” Belcher v. Nev.
Rock & Sand Co., 516 F.2d 859, 860 (9th Cir. 1975) (citing Amundsen v. Ohio Brass Co., 513 P.2d
1234 (Nev. 1973)). The CAC does not allege that Samouris, who is the Nevada Plaintiff, was in privity
of contract with any of the Toyota Defendants. Samouris allegedly purchased his Class Vehicle from
“an authorized Toyota dealership." See Dkt. 278 ¶ 118. However, Plaintiffs have not cited any
dispositive authority from Nevada that alleging a plaintiff purchased a vehicle from an authorized
dealership is sufficient to plead privity as to another, allegedly related party. The CAC does not include
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any additional allegations as to the relationship between Samouris and the Toyota Defendants, or
between these Defendants and the dealership from which Samouris purchased his Class Vehicle.
Thus, the CAC does not adequately allege the requisite privity of contract. For this reason, Nevada
Count 2 is DISMISSED WITHOUT PREJUDICE, i.e., with leave to amend.

                      p)      New Jersey Counts 1 and 2

                              (1)    New Jersey Count 1: Breach of Express Warranty

The CAC advances a claim against the Kia Defendants for breach of express warranty under N.J. Stat.
Ann. §§ 12A:2-313 and 12A:2A-210. Dkt. 278 ¶¶ 1839-53 (“New Jersey Count 1”). “To plead a claim for
breach of express warranty under New Jersey law, a plaintiff ‘must allege (1) a contract between the
parties; (2) a breach of that contract; (3) damages flowing therefrom; and (4) that the party stating the
claim performed its own contractual obligations.’ ” Brown v. Hyundai Motor Am., No.
CV1811249SDWJAD, 2019 WL 4126710, at *3 (D.N.J. Aug. 30, 2019) (quoting Frederico v. Home
Depot, 507 F.3d 188, 203 (3d Cir. 2007)).

The CAC does not sufficiently allege that the Kia Defendants provided express warranties that covered
the Alleged Defect. As noted, the Alleged Defect has been characterized by Plaintiffs as a design
defect. The warranties that are alleged to have been provided by the Kia Defendants are “written
express warranties covering the repair or replacement of components that are defective in materials or
workmanship.” Dkt. 278 ¶ 1846. “[U]nder New Jersey law, a warranty that limits its coverage to defects
in ‘materials’ and ‘workmanship’ does not, without more, apply to defects in ‘design.’ ” Coba v. Ford
Motor Co., 932 F.3d 114, 123 (3d Cir. 2019); see Robinson v. Kia Motors Am., Inc., No. CIV.A. 13-006,
2015 WL 5334739, at *12 (D.N.J. Sept. 11, 2015) (quoting Nelson v. Nissan N. Am., Inc., No. 11-5712,
2014 WL 7331075, at *2-3 (D.N.J. Dec. 19, 2014) (“[D]esign defects cannot be encompassed within the
meaning of defects in workmanship or materials.”).

Because the CAC does not adequately plead that the express warranties the Kia Defendants provided
covered the Alleged Defect, it does not state a claim for breach of express warranty under New Jersey
law. Therefore, New Jersey Count 1 is DISMISSED WITHOUT PREJUDICE, i.e., with leave to amend.

                              (2)    New Jersey Count 2: Breach of Implied Warranty

The CAC advances a claim against the Kia Defendants for breach of the implied warranty of
merchantability under N.J. Stat. Ann. §§ 12A:2-314 and 12A:2A-212. Dkt. 278 ¶¶ 1854-65 (“New
Jersey Count 2”). Defendants argue that an implied warranty of merchantability “is not breached until a
possible defect manifests.” Dkt. 208 at 56-57 (citing Sheris v. Nissan N. Am., Inc., No. 07-2516 (WHW),
2008 WL 2354908, at *6 (D.N.J. June 3, 2008); In re Ford Motor Co. Ignition Switch Prods. Liab. Litig.,
Nos. 96-3125(JBS), 96-1814(JBS), 96-3198(JBS), 2001 WL 1266317, at *22 (D.N.J. Sept. 30, 1997));
see Dkt. 219 at 33.

“The implied warranty of merchantability means that ‘the thing sold is reasonably fit for the general
purpose for which it is manufactured and sold.’ ” Stevenson v. Mazda Motor of Am., Inc., No. 14-5250
FLW DEA, 2015 WL 3487756, at *12 (D.N.J. June 2, 2015) (quoting Hughes v. Panasonic Consumer
Elecs. Co., No. 10-846 (SDW), 2011 WL 2976839, at *22 (D.N.J. July 21, 2011)); see Dzielak v.
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Whirlpool Corp., 26 F. Supp. 3d 304, 329 (D.N.J. 2014) (“[T]he UCC, as adopted by New Jersey,
specifically states that an implied warranty of merchantability ensures that goods sold are ‘fit for the
ordinary purposes for which such goods are used.’ ” (quoting Arlandson v. Hartz Mountain Corp., 792
F. Supp. 2d 691, 706 (D.N.J. 2011))). “For an automobile, the implied warranty of merchantability is
breached . . . when a defect ‘renders the vehicle unfit for its ordinary purpose of providing transportation
for its owner.’ ” Sheris, 2008 WL 2354908, at *6 (quoting In re Ford Motor Co. Ignition Switch Prods.
Liab. Litig., Nos. 96-3125, 96-1814, 96-3198 (JBS), 2001 WL 1266317, at *22 (D.N.J. Sept. 30, 1997)).

The CAC alleges that “ZF TRW ACUs with the DS84 ASIC have a dangerous defect” in that they “are
much more vulnerable to bursts of electricity than are other ACUs.” Dkt. 278 ¶ 10. All Class Vehicles
have a ZF TRW ACU with a DS84 ASIC. See id. ¶ 7 n.3. These allegations sufficiently state that the
Alleged Defect is present in all Class Vehicles, and makes all of them unfit for the ordinary purpose of
safe transportation. A vehicle is not safe for driving if, in the event of a serious collision, its airbags are
unlikely to deploy. The implied warranty claims do not fail because the CAC does not allege that each
Class Vehicle has been involved in a collision in which the airbags did not deploy due to the Alleged
Defect. Whether the Alleged Defect has caused or will cause the airbags not to deploy in a particular
Class Vehicle is a question of fact. Plaintiffs have alleged that this is a system-wide defect that makes
driving each Class Vehicle dangerous. That is sufficient to plead a breach of the implied warranty of
merchantability.

Finally, in support of the Joint Motion Defendants argue that the breach of warranty claims of the New
Jersey Plaintiff are time-barred. Dkt. 208 at 62 & n.26-27 (citing N.J. Stat. § 12A:2-725(1), (2)). Plaintiffs
respond that “Defendants’ alleged concealment of the ACU defect for years tolls the statute.” Dkt. 281
at 63; see Dkt. 278 ¶ 545(a); Dkt. 290 at 17.

The statute of limitations for breach of warranty claims under New Jersey law is four years. N.J. Stat. §
12A:2-725(1). The “cause of action accrues when the breach occurs,” and the breach “occurs when
tender of delivery is made,” unless the “warranty explicitly extends to future performance of the goods.”
Id. § 12A:2-725(2). Damens, who is the sole New Jersey Plaintiff, purchased his Class Vehicle on June
30, 2014. Dkt. 278 ¶ 93. He filed his claims in the Eastern District of Michigan on October 2, 2020, and
they were later transferred to this MDL. See Complaint, Barry Adams, et al. v. ZF Active Safety and
Elecs. US LLC, et al., No. CV 20-09668 (C.D. Cal.). This was outside of the four-year limitations period
for New Jersey breach of warranty claims.

For fraudulent concealment to toll the statute of limitations in New Jersey, a plaintiff must establish the
following:

         1. an affirmative act of concealment by each defendant,
         2. that the defendant's actions misled the plaintiff or relaxed its inquiry, and
         3. that the plaintiff exercised due diligence during the statutory period.

In re Elec. Carbon Prod. Antitrust Litig., 333 F. Supp. 2d 303, 315 (D.N.J. 2004) (citing In re Lower Lake
Erie Iron Ore Antitrust Litig., 998 F.2d 1144, 1178-79 (3d Cir. 1993)).

As to the third element, the CAC alleges:

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         Due to the highly technical nature of the defect with the ZF TRW ACUs installed in the Class
         Vehicles, Plaintiffs and class members were unable to independently discover the defect using
         reasonable diligence. Prior to the retention of counsel and without third-party experts, Plaintiffs
         and class members lack the necessary expertise to analyze the ZF TRW ACUS for signs of
         EOS or to even identify the Class Vehicles with ZF TRW ACUs.

Dkt. 278 ¶ 544.

This conclusory allegation does not present sufficient detail as to when the Plaintiff was on notice of the
existence of the Alleged Defect; what efforts, if any, he or she made to discover it; and when he or she
did discover it. In the absence of such allegations, Plaintiffs cannot establish that fraudulent
concealment tolls the limitations period. Cf. Fuqua v. Bristol-Myers Squibb Co., 926 F. Supp. 2d 538,
550 (D.N.J. 2013) (“While Plaintiffs allege that they were unable to obtain access to the concealed
information regarding the contamination, they fail to aver what actions they took to discover that
information and, relatedly, the Complaints are also devoid of any facts relating to the exercise of due
diligence on the part of Plaintiffs to discover the existence of fraud notwithstanding Defendant's alleged
wrongdoing.” (internal citation omitted)).

Because the CAC does not sufficiently allege fraudulent concealment with corresponding tolling of the
limitations period, it does not provide an adequate basis to conclude that viable claims have been
alleged. Damens filed his claims outside of the limitations period for breach of warranty claims.
Therefore, New Jersey Count 2 is DISMISSED WITHOUT PREJUDICE, i.e., with leave to amend. 52

                         q)      New York Counts 1 and 2

                                 (1)      New York Count 1: Breach of Express Warranty

The CAC advances a claim against the FCA and Honda Defendants for breach of express warranty
under N.Y. U.C.C. Law §§ 2-313 and 2-A-210. Dkt. 278 ¶¶ 1894-1910 (“New York Count 1”). The
Honda and FCA Defendants argue that this claim fails because their limited warranties do not cover
design defects. See Dkt. 230 at 25-26.

The CAC alleges that, “[i]n connection with the purchase or lease of Class Vehicles, the FCA
and Honda Defendants provided the New York Plaintiffs and New York State Class members with
written express warranties covering the repair or replacement of components that are defective in
materials or workmanship.” Dkt. 278 ¶ 1903. Under New York law, such warranties do not cover design
defects. See Garcia v. Chrysler Grp. LLC, 127 F. Supp. 3d 212, 219 (S.D.N.Y. 2015) (“The Basic
Limited Warranty covers defects in ‘material, workmanship or factory preparation’ that existed when the
vehicle left the manufacturing plant in all parts other than tires and headphones for 36 months or for
36,000 miles on the odometer, whichever occurred first. . . . Notably, it does not cover design defects.”
(internal citations omitted)); Cali v. Chrysler Grp. LLC, No. 10 CIV. 7606 (JSR), 2011 WL 383952, at *2

52 Because the statute of limitations is an affirmative defense that may be waived, a plaintiff is not obligated to
address it with allegations in an initial complaint. However, once it has been raised in a response to a complaint, it
is appropriate to require allegations on the issue in any amended complaint. For those reasons, New Jersey
Count 2 has been dismissed without prejudice, so that the New Jersey Plaintiff has the opportunity to seek to
make such allegations.
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(S.D.N.Y. Jan. 18, 2011) (“Chrysler's Basic Limited Warranty covers only defects in ‘material,
workmanship or factory preparation’—not defects in vehicle design.”), aff'd, 426 F. App'x 38 (2d Cir.
2011).

“[A] manufacturing defect . . . results when a mistake in manufacturing renders a product that is
ordinarily safe dangerous so that it causes harm” and “a design defect . . . results when the product as
designed is unreasonably dangerous for its intended use.” McCarthy v. Olin Corp., 119 F.3d 148, 154–
55 (2d Cir.1997). Although the CAC does not explicitly define the ACU defect as a “design defect, the
allegations in the CAC make clear that the Alleged Defect is one of design rather than manufacturing.
See, e.g., Dkt. 278 ¶¶ 10 (“ZF TRW ACUs with the DS84 ASIC have a dangerous defect.”); 146 (“the
defective ZF TRW ACU Design”); 434 (“In or around 2015, ZF TRW, STMicro, and Toyota began
implementing design changes to defective ZF TRW ACUs installed in Toyota vehicles for sale in
Europe . . . .”); 449 (“In November 2018, representatives of Toyota Motor Corporation and ZF TRW
discussed a redesign of the ACU . . . .”).

Because the CAC alleges a design defect, which is not covered by Defendants’ limited warranties, the
claims for violation of breach of express warranty under New York law are not adequately alleged.
Therefore, New York Count 1 is DISMISSED WITHOUT PREJUDICE, i.e., with leave to amend.

                              (2)    New York Count 2: Breach of the Implied Warranty of
                                     Merchantability

The CAC advances a claim against the FCA and Honda Defendants for breach of the implied warranty
of merchantability under N.Y. U.C.C. Law §§ 2-314 and 2-A-212. Dkt. 278 ¶¶ 1911-24 (“New York
Count 2”). In support of the Joint Motion, Defendants argue that New York Count 2 fails because in
New York, as “[i]n many states, a plaintiff cannot recover economic losses for breach of implied
warranty in the absence of privity.” Dkt. 208 at 59 (citations omitted).

“New York courts continue to require privity between a plaintiff and defendant with respect to claims for
breach of the implied warranties of merchantability . . . where the only loss alleged is economic.”
Catalano v. BMW of N. Am., LLC, 167 F. Supp. 3d 540, 556 (S.D.N.Y. 2016); see Arthur Jaffee Assocs.
v. Bilsco Auto Serv., Inc., 448 N.E.2d 792, 792 (N.Y. 1983) (“[T]here being no privity between the
purchaser and the defendant there can be no implied warranty” under New York law.); Gould v. Helen
of Troy Ltd., No. 16-CV-02033, 2017 WL 1319810, at *5 (S.D.N.Y. Mar. 30, 2017) (“ ‘The law is clear
that, absent any privity of contract between Plaintiff and Defendant, a breach of implied warranty claim
cannot be sustained as a matter of law except to recover for personal injuries.’ ” (quoting Weisblum v.
Prophase Labs, Inc., 88 F. Supp. 3d 283, 296 (S.D.N.Y. 2015)).

Once again, Plaintiffs rely on Doll v. Ford Motor Co., 814 F. Supp. 2d 526 (D. Md. 2011), to argue that
“New York do[es] not require privity between buyer and manufacturer where, as here, the defective
product is dangerous.” Dkt. 281 at 59. However, Doll relies on Hubbard v. Gen. Motors Corp., No. 95
Civ. 4362, 1996 WL 274018 (S.D.N.Y. May 22, 1996), 814 F. Supp. 2d at 540-41, and “courts within the
Second Circuit have more recently questioned whether Hubbard is an accurate interpretation of New
York law.” Cummings v. FCA US LLC, 401 F. Supp. 3d 288, 311 (N.D.N.Y. 2019) (collecting cases);
see Johnson v. Ford Motor Co., No. 3:13-6529, 2015 WL 7571841, at *6 (S.D.W. Va. Nov. 24, 2015)
(“[S]everal courts since the Hubbard decision have not followed its line of reasoning due to its
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contradiction of decades of established New York case law.”); Dixon v. Ford Motor Co., No. 14–CV–
6135 (JMA)(ARL), 2015 WL 6437612, at *5 (E.D.N.Y. 2015) (“[A]lthough no New York state court has
explicitly rejected (or even discussed Hubbard), numerous New York state court decisions have
rejected economic loss claims based on a lack of privity in situations where the product at issue was
clearly dangerous.” (citations omitted)).

The CAC does not allege that the New York Plaintiffs were in privity of contract with any of the FCA or
Honda Defendants, which is required under New York law. Fishon and Namakkal, who are the New
York Plaintiffs, are alleged to have purchased their Class Vehicle from authorized dealerships. See Dkt.
278 ¶¶ 107, 131. However, Plaintiffs have not cited any dispositive authority from New York that
alleging that a plaintiff purchased a vehicle from an authorized dealership is sufficient to plead privity as
to another, allegedly related party. The CAC does not include any additional allegations as to the
relationship between each of the New York Plaintiffs and the FCA or Honda Defendants, respectively,
or between these Defendants and the dealership from which Fishon and Namakkal each purchased his
Class Vehicle. Thus, the CAC does not adequately allege the requisite privity of contract. For this
reason, New York Count 2 is DISMISSED WITHOUT PREJUDICE, i.e., with leave to amend.

                       r)      North Carolina Counts 1 and 2

                               (1)     North Carolina Count 1: Breach of Express Warranty

The CAC advances a claim against the FCA and Honda Defendants for breach of express warranty
under N.C. Gen. Stat. §§ 25-2-313 and 25-2A-210. Dkt. 278 ¶¶ 1971-87 (“North Carolina Count 1”).
In support of the Joint Motion, Defendants argue that Plaintiffs’ claims for breach of express and implied
warranties “should . . . be dismissed based on Plaintiffs’ failure to demonstrate compliance with the pre-
suit notice requirements in various states. In many states, consumers must provide the seller with an
opportunity to cure before bringing an action for breach of warranty.” Dkt. 208 at 60-61 & n.23 (citing
N.C. Gen. Stat. § 25-2-607(3)(a)).

“The Uniform Commercial Code requires that a buyer ‘must within a reasonable time after he discovers
or should have discovered any breach notify the seller of breach or be barred from any remedy.’ ”
Gregorio v. Ford Motor Co., 522 F. Supp. 3d 264, 284 (E.D. Mich. 2021) (citing U.C.C. § 2-607(3)(a)).
North Carolina has adopted U.C.C. § 2-607(3)(a). Id. “In North Carolina, the notice requirement is
considered satisfied when a plaintiff presents his car to an authorized dealer for repair within the
warranty period. Id. at 286 (citing Riley v. Ken Wilson Ford, Inc., 426 S.E.2d 717, 721 (N.C. Ct. App.
1993) and Baranco v. Ford Motor Co., 294 F. Supp. 3d 950, 972 (N.D. Cal. 2018)); see also Riley, 426
S.Ed.2d at 721 (“What is a reasonable time depends upon the facts of each case and the policies
underlying the notice requirement. The most important policy behind the notice requirement is to allow
the seller the opportunity to cure the breach and minimize its damages . . . . Plaintiffs fulfilled the
policies behind the notice requirement by giving defendant adequate opportunities to repair their car.
They repeatedly attempted to have the car repaired by the defendant within the warranty period.”
(citations omitted)).

The CAC alleges:

         The North Carolina Plaintiffs and North Carolina State Class members have provided the FCA
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         and Honda Defendants with reasonable notice and opportunity to cure the breaches of their
         express warranties by way of the numerous NHTSA complaints filed against them, and
         individual notice letters sent by the North Carolina State Class members within a reasonable
         amount of time after the ACU defect became public. Additionally, a notice letter was sent on
         behalf of the North Carolina Plaintiffs and North Carolina State Class members to FCA US LLC,
         Honda Defendants, Hyundai Defendants, Kia Defendants, Mitsubishi Motors North
         America, Inc., Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW
         Defendants on April 24, 2020.

Dkt. 278 ¶ 1985.

Plaintiffs have the obligation of adequately pleading the elements of their claims. One of these
elements is reasonable notice. Although Plaintiffs have alleged in a conclusory fashion that notice was
provided, whether it was done within a reasonable time is a fact question that is not appropriate for
resolution on a motion to dismiss.

For the foregoing reasons, Plaintiffs have adequately stated a claim for breach of express warranty
under North Carolina law.

                               (2)     North Carolina Count 2: Breach of Implied Warranty

The CAC advances a claim against the FCA and Honda Defendants for breach of the implied warranty
of merchantability under N.C. Gen. Stat. §§ 25-2-314 and 25-2A-212. Dkt. 278 ¶¶ 1988-2001 (“North
Carolina Count 2”). In support of the Joint Motion, Defendants argue that North Carolina Count 2 fails
because in North Carolina, as “[i]n many states, a plaintiff cannot recover economic losses for breach of
implied warranty in the absence of privity.” Dkt. 208 at 59 (citations omitted); see Dkt. 213 at 23-24.

North Carolina law requires “privity . . . to assert a claim for breach of an implied warranty involving only
economic loss.” Energy Invs. Fund, L.P. v. Metric Constructors, Inc., 525 S.E.2d 441, 446 (N.C. 2000);
City of High Point, N. Carolina v. Suez Treatment Sols. Inc., 485 F. Supp. 3d 608, 626 (M.D.N.C. 2020)
(citing Terry v. Double Cola Bottling Co., 138 S.E.2d 753, 754 (N.C. 1964)); Atl. Coast Mech., Inc. v.
Arcadis, Geraghty & Miller of N.C., Inc., 623 S.E.2d 334, 339 (N.C. Ct. App. 2006)).

The CAC does not allege that the North Carolina Plaintiffs were in privity of contract with FCA or Honda
Defendants. McNeely, who is one of the North Carolina Plaintiffs, allegedly purchased her Class
Vehicle from “an authorized Honda dealership." See Dkt. 278 ¶ 132. However, Plaintiffs have not cited
any dispositive authority from North Carolina alleging that a plaintiff purchased a vehicle from an
authorized dealership is sufficient to plead privity as to another, allegedly related party. The CAC does
not include any additional allegations as to the relationship between McNeely and the Honda
Defendants, or between these Defendants and the dealership from which McNeely purchased her
Class Vehicle. Thus, the CAC does not adequately allege the requisite privity of contract. For this
reason, North Carolina Count 2 is DISMISSED WITHOUT PREJUDICE, i.e., with leave to amend.

                       s)      Oklahoma Counts 1 and 2

The CAC advances a claim against the FCA Defendants for breach of express warranty under Okla.
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Stat. Ann. tit. 12A, §§ 2-313 and 2A-210. Dkt. 278 ¶¶ 2029-43 (“Oklahoma Count 1”). It also includes a
claim against the FCA Defendants for breach of the implied warranty of merchantability under Okla.
Stat. Ann. tit. 12A, §§ 2-314 and 2A-212. Id. ¶¶ 2044-55 (“Oklahoma Count 2”). The FCA Defendants
argue that this claim fails because its limited warranties do not cover design defects. Dkt. 230 at 25-26.
Defendants have not cited any Oklahoma statute or caselaw to support this position. Therefore, as to
this issue, the FCA Motion is DENIED without prejudice to the renewal of this issue later in these
proceedings.

Defendants next argue in support of the Joint Motion that the breach of warranty claims of the
Oklahoma Plaintiff are time-barred. Dkt. 208 at 62 & n.26-27 (citing Okla. Stat. tit.12A, § 2-725(1), (2)).
Plaintiffs respond that “Defendants’ alleged concealment of the ACU defect for years tolls the statute.”
Dkt. 281 at 63; see Dkt. 278 ¶ 545(a).

The statute of limitations for breach of warranty claims under Oklahoma law is five years. Okla. Stat.
Ann. tit. 12A, § 2-725(1). The “cause of action accrues when the breach occurs,” and the breach
“occurs when tender of delivery is made,” unless the “warranty explicitly extends to future performance
of the goods.” Id. § 2-725(2). The sole Oklahoma Plaintiff, Dean, purchased his Class Vehicle on March
15, 2015. Dkt. 278 ¶ 106. More than five years later, on May 26, 2020, 53 he filed his claims in the
Eastern District of Michigan, and they were later transferred to this MDL. See Complaint, Barry Adams,
et al. v. ZF Active Safety and Elecs. US LLC, et al., No. CV 20-09668 (C.D. Cal.).

"Fraudulent concealment is an implied exception to the statute of limitations defense.” AMC W. Hous.
LP v. NIBCO, Inc., No. CIV-18-959-D, 2019 WL 4491331, at *6 (W.D. Okla. Sept. 18, 2019) (citing
Kansas City Life Ins. Co. v. Nipper, 51 P.2d 741, 747 (Okla. 1935)). "[A] plaintiff relying
on fraudulent concealment to toll the statute of limitations ‘must not only show that he did not know the
facts constituting a cause of action, but that he exercised reasonable diligence to ascertain said
facts.’ ” Id. (quoting Masquat v. DaimlerChrysler Corp., 195 P.3d 48, 55 (Okla. 2008)). “[I]f the means of
knowledge exist and the circumstances are such as to put a man of ordinary prudence on inquiry, it will
be held that there was knowledge of what could have been readily ascertained by such inquiry” and a
plaintiff cannot successfully assert fraudulent concealment in answer to the defense of the statute of
limitations.” Id. (quoting Masquat, 195 P.3d at 55).

The CAC alleges:

         Due to the highly technical nature of the defect with the ZF TRW ACUs installed in the Class
         Vehicles, Plaintiffs and class members were unable to independently discover the defect using
         reasonable diligence. Prior to the retention of counsel and without third-party experts, Plaintiffs
         and class members lack the necessary expertise to analyze the ZF TRW ACUS for signs of
         EOS or to even identify the Class Vehicles with ZF TRW ACUs.

Dkt. 278 ¶ 544.




53 Dean is among the New Plaintiffs who initially filed claims in the CAC on May 26, 2020. For the reasons
already stated, the New Plaintiffs’ complaint is deemed to have been filed on May 26, 2020.
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This conclusory allegation does not present sufficient detail as to when Dean was on notice of the
existence of the Alleged Defect; what efforts, if any, he made to discover it; and when he did discover it.
In light of the absence of such allegations, the CAC does not adequately plead that this breach of
warranty claim was timely filed.

Because the exception to the statute of limitation has not been pleaded sufficiently, the CAC does not
adequately state a timely claim. Therefore, Oklahoma Counts 1 and 2 are DISMISSED WITHOUT
PREJUDICE, i.e., with leave to amend. 54

                         t)      Pennsylvania Counts 1 and 2

The CAC advances a claim against the Hyundai-Kia Defendants for breach of express warranty under
13 Pa. Cons. Stat. §§ 2313 and 2A210. Dkt. 278 ¶¶ 2086-2102 (“Pennsylvania Count 1”). It also
includes a claim against the Hyundai-Kia Defendants for breach of the implied warranty of
merchantability under 13 Pa. Cons. Stat. §§ 2314 and 2A212. Id. ¶¶ 2103-16 (“Pennsylvania Count 2”).

In support of the Joint Motion, Defendants argue that the breach of warranty claims of Angel and
Kintzel, who are the Pennsylvania Plaintiffs, are time-barred. Dkt. 208 at 62 & n.26-27 (citing 13 Pa.
Cons. Stat. § 2725(a), (b)); see Dkt. 219 at 32. Plaintiffs respond that “Defendants’ alleged
concealment of the ACU defect for years tolls the statute.” Dkt. 281 at 63; see Dkt. 278 ¶ 545(a).

The applicable statute, 13 Pa. Cons. Stat. § 2725, provides that the statute of limitations for a breach of
contract is four years “after the cause of action has accrued.” 13 Pa. Cons. Stat. § 2725(a). “A cause of
action accrues when the breach occurs, regardless of the aggrieved party's lack of knowledge of the
breach.” Id. § 2725(b). “A breach of warranty occurs when tender of delivery is made, except that where
a warranty explicitly extends to future performance of the goods and discovery of the breach must await
the time of such performance the cause of action accrues when the breach is or should have been
discovered.” Id.

Under Pennsylvania law, an express warranty that provides for repair and replacement of a vehicle has
been deemed “as one that ‘explicitly extends to future performance of the goods.’ ” Nationwide Ins. Co.
v. Gen. Motors Corp./Chevrolet Motor Div., 625 A.2d 1172, 1178 (Pa. 1993). Thus, a cause of action for
the alleged breach of such a warranty does not accrue until the breach was, or should have been,
discovered. See Maddalo v. Ford Motor Co., No. CIV. A. 95-1434, 1995 WL 649563, at *1 n.1 (E.D. Pa.
Oct. 31, 1995) (citing Nationwide Ins., 625 A.2d at 1178).

The CAC does not present any allegations as to when each Pennsylvania Plaintiff discovered, or
should have discovered, the existence of the Alleged Defect. Assuming arguendo that Angel, whose
Class Vehicle was a 2013 Hyundai Sonata Hybrid, Dkt. 278 ¶ 94, should have discovered the Alleged
Defect in February 2018, when Hyundai “announc[ed] its first recall of Sonatas,” id. ¶ 321(a), she filed


54 Because the statute of limitations is an affirmative defense that may be waived, a plaintiff is not obligated to
address it with allegations in an initial complaint. However, once it has been raised in a response to a complaint, it
is appropriate to require allegations on the issue in any amended complaint. For those reasons, Oklahoma
Counts 1 and 2 have been dismissed without prejudice, so that the Oklahoma Plaintiff has the opportunity to seek
to make such allegations.
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her claims on May 26, 2020, which was within four years of that announcement. 55 There are no parallel
allegations in the CAC as to when Kintzel discovered, or should have discovered, the Alleged Defect.
However, he also filed his complaint on May 26, 2020, which is less than four years from the
announcement in February 2018. 56

“A complaint is subject to dismissal for failure to state a claim on statute of limitations grounds only
when the statute of limitations defense is apparent on the face of the complaint.” Wisniewski v. Fisher,
857 F.3d 152, 157 (3d Cir. 2017). It is not apparent from the face of the complaint that Angel and
Kintzel each filed his or her respective breach of express warranty claim outside of the limitations
period. However, that is because there are no substantive allegations as to when each discovered or
should have discovered the Alleged Defect. Therefore, Plaintiffs have not sufficiently alleged a basis for
the timeliness of these claims. Although they were not obligated to make allegations in anticipation of
an affirmative defense, in the interest of party and judicial efficiency, and because an amended
complaint is necessary on other grounds, including as to Pennsylvania Count 2, they should do so in
that complaint. The issue can then be addressed together with the many related issues as to whether
fraudulent concealment has been adequately alleged.

Turning to the claims for breach of implied warranties, “while express warranties can be said to
explicitly extend to future performance, implied warranties do not.” Werwinski v. Ford Motor Co., No.
CIV.A. 00-943, 2000 WL 1201576, at *3 (E.D. Pa. Aug. 15, 2000) (citing Nationwide Ins., 625 A.2d at
1178), aff'd, 286 F.3d 661 (3d Cir. 2002). Thus, a cause of action accrues at the time of the breach, not
when there is a disclosure or discovery of the breach. Based on the allegations in the CAC, the breach
would have occurred at the time of the sale of each vehicle. Therefore, as to Angel, who purchased her
Class Vehicle on May 4, 2013, Dkt. 278 ¶ 94, the four-year limitations period expired on May 4, 2017.
As noted, she filed her claims in this action on May 26, 2020. Therefore, she did so outside the
limitations period. Kintzel purchased his Class Vehicle on December 30, 2015. Id. ¶ 95. He filed his
claims in this action on May 26, 2020.Therefore, he did so outside the four-year limitations period,
which expired on December 30, 2019.

Plaintiffs argue that “Defendants’ alleged concealment of the ACU defect for years tolls the statute.”
Dkt. 281 at 63; see Dkt. 278 ¶ 545(a). Under Pennsylvania law, “[t]he doctrine of fraudulent
concealment tolls the statute of limitations when ‘through fraud or concealment the defendant causes
the plaintiff to relax his vigilance or deviate from the right of inquiry.’ ” Gaddy v. City of Phila. Police
Dep't, No. CIV.A. 14-3435, 2015 WL 328235, at *3 (E.D. Pa. Jan. 23, 2015) (citing Ciccarelli v. Carey
Can. Mines, Ltd., 757 F.2d 548, 556 (3d Cir. 1985)). As discussed above, Plaintiffs have not met their
burden of pleading fraudulent concealment with particularity, because they have not adequately alleged
the requisite diligence. See Mathews v. Kidder, Peabody & Co., Inc., No. CIV.A.99-85, 2000 WL
33726916, at *28 (W.D. Pa. Aug. 18, 2000) (fraudulent concealment must be pleaded with particularity
under Fed. R. Civ. P. 9(b), and it requires a showing of due diligence), aff'd, 260 F.3d 239 (3d Cir.
2001).



55 Angel is among the New Plaintiffs who initially filed claims in the CAC on May 26, 2020. For the reasons
already stated, the New Plaintiffs’ complaint is deemed to have been filed on May 26, 2020.
56 Kintzel is among the New Plaintiffs who initially filed claims in the CAC on May 26, 2020. For the reasons

already stated, the New Plaintiffs’ complaint is deemed to have been filed on May 26, 2020.
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For the foregoing reasons, Pennsylvania Counts 1 and 2 are DISMISSED WITHOUT PREJUDICE, i.e.,
with leave to amend. Plaintiffs have not sufficiently stated timely claims under Pennsylvania law against
the Hyundai-Kia Defendants.

                       u)      South Carolina Counts 1 and 2

The CAC advances a claim against the Toyota Defendants for breach of express warranty under S.C.
Code Ann. §§ 36-2-313 and 36-2A-210. Dkt. 278 ¶¶ 2150-64 (“South Carolina Count 1”). It also
includes a claim against the Toyota Defendants for breach of express warranty under S.C. Code Ann.
§§ 36-2-313 and 36-2A-210. Id. ¶¶ 2165-76 (“South Carolina Count 2”).

In support of the Joint Motion, Defendants argue that Plaintiffs’ claims for breach of express and implied
warranties “should . . . be dismissed based on Plaintiffs’ failure to demonstrate compliance the pre-suit
notice requirements in various states. In many states, consumers must provide the seller with an
opportunity to cure before bringing an action for breach of warranty.” Dkt. 208 at 60-61 & n.23 (citing
S.C. Code § 36-2-607(3)(a)).

S.C. Code Ann. § 36-2-607 provides that “the buyer must within a reasonable time after he discovers or
should have discovered any breach notify the seller of [the] breach or be barred from any remedy.” S.C.
Code Ann. § 36-2-607(3)(a). It “does not prescribe any form for the required notification.” United States
v. S. Contracting of Charleston, Inc., 862 F. Supp. 107, 111 (D.S.C. 1994). “Courts have thus
developed their own guidelines for determining what constitutes adequate notice. Some courts have
held that virtually any complaint about the transaction will satisfy the requirement.” Id. (citing N. States
Power Co. v. ITT Meyer Indus., 777 F.2d 405 (8th Cir. 1985); Boeing Airplane Co. v. O'Malley, 329
F.2d 585 (8th Cir. 1964)). “Other courts require the buyer to notify the seller that the buyer considers
the seller to be legally in breach.” Id. (citing E. Air Lines v. McDonnell Douglas Corp., 532 F.2d 957 (5th
Cir. 1976)). Southern Contracting stated a preference for the former standard, which it called the
“lenient standard.” Id.; Sloan v. Gen. Motors LLC, 287 F. Supp. 3d 840, 885 (N.D. Cal. 2018) (“South
Carolina appears to follow a lenient standard for notice . . . ." (citing S. Contracting, 862 F. Supp. at
111)), order clarified, No. 16-CV-07244-EMC, 2018 WL 1156607 (N.D. Cal. Mar. 5, 2018), and on
reconsideration, 438 F. Supp. 3d 1017 (N.D. Cal. 2020).

Under both of these standards, Plaintiffs have provided adequate notice. See Dkt. 278 ¶ 2162 (“The
South Carolina Plaintiff and South Carolina State Class members have provided the Toyota Defendants
with reasonable notice and opportunity to cure the breaches of their express warranties by way of the
numerous NHTSA complaints filed against them, and individual notice letters sent by the South
Carolina State Class members within a reasonable amount of time after the ACU defect became public.
Additionally, a notice letter was sent on behalf of the South Carolina Plaintiff and South Carolina State
Class members to FCA US LLC, Honda Defendants, Hyundai Defendants, Kia Defendants, Mitsubishi
Motors North America, Inc., Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on
April 24, 2020.”). Whether there is a sufficient factual basis for this allegation is not an issue that can be
determined on a motion to dismiss.

Defendants argue that the breach of warranty claims of the South Carolina Plaintiffs are time-barred.
Dkt. 208 at 61-62. Plaintiffs respond that “Defendants’ alleged concealment of the ACU defect for years
tolls the statute.” Dkt. 281 at 63; see Dkt. 278 ¶ 545(a).
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Claims for breach of warranty under South Carolina law “are subject to a six-year statute of limitations.”
Harrell v. BMW of N. Am., LLC, 517 F. Supp. 3d 527, 533 (D.S.C. 2021) (citing S.C. Code Ann.
§ 36-2-725). Hines, who is the only South Carolina Plaintiff, purchased his Class Vehicle on
October 11, 2013. Dkt. 278 ¶ 119. He filed his claims in this action in the Southern District of Florida on
April 30, 2019, and they were later transferred to this MDL. See Complaint, Thomas Payne et al v. ZF
Friedrichshafen AG et al, No. CV 19-06894 (C.D. Cal.). This was within the six-year limitations period.

Plaintiffs have made sufficient allegations to state a claim for breach of express and implied warranty
under South Carolina law.

                        v)     South Dakota Counts 1 and 2

The CAC advances a claim against the FCA Defendants for breach of express warranty under S.D.
Codified Laws §§ 57A-2-313 and 57A-2A-210. Dkt. 278 ¶¶ 2235-49 (“South Dakota Count 1”). It also
includes a claim against the FCA Defendants for breach of the implied warranty of merchantability
under S.D. Codified Laws §§ 57A-2-314 and 57A-2A-212. Id. ¶¶ 2250-61 (“South Dakota Count 2”).

In support of the Joint Motion, Defendants argue that the breach of warranty claims of the South Dakota
Plaintiff are time-barred. Dkt. 208 at 62 & n.26-27 (citing S.D. Codified Laws § 57A-2-725(1)-(2)).
Plaintiffs respond that “Defendants’ alleged concealment of the ACU defect for years tolls the statute.”
Dkt. 281 at 63; see Dkt. 278 ¶ 545(a).

The statute of limitations for breach of warranty claims under South Dakota law is four years. S.D.
Codified Laws § 57A-2-725(1). The “cause of action accrues when the breach occurs,” and the breach
“occurs when tender of delivery is made,” unless the “warranty explicitly extends to future performance
of the goods.” Id. § 2-725(2). The sole South Dakota Plaintiff, Meyer, purchased her Class Vehicle on
May 14, 2012. Dkt. 278 ¶ 110. She filed her claims in the Eastern District of Michigan on May 17, 2019,
and they were later transferred to this MDL. See Complaint, Regina Heilman-Ryan et al v. ZF TRW
Auto. Holdings Corp. et al, No. CV 19-6899 (C.D. Cal.). This was more than four years after the
purchase. Therefore, absent an exception to the limitations period, these claims would be time-barred.

A plaintiff must plead the following elements for a statute of limitations to be tolled for fraudulent
concealment:

         (1) the [defendants] knowingly concealed material facts that constitute plaintiffs' causes of
         action or, being fiduciaries, knowingly remained silent and failed to disclose those facts despite
         a duty to do so; (2) plaintiffs exercised due diligence in attempting to discover their causes of
         action; and (3) despite plaintiffs' due diligence, the [defendants’] concealment prevented
         plaintiffs from discovering their causes of action.

Eagleman v. Diocese of Rapid City, 862 N.W.2d 839, 850 (S.D. 2015).

As to Plaintiffs’ diligence in discovering the Alleged Defect, the CAC alleges:



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         Due to the highly technical nature of the defect with the ZF TRW ACUs installed in the Class
         Vehicles, Plaintiffs and class members were unable to independently discover the defect using
         reasonable diligence. Prior to the retention of counsel and without third-party experts, Plaintiffs
         and class members lack the necessary expertise to analyze the ZF TRW ACUS for signs of
         EOS or to even identify the Class Vehicles with ZF TRW ACUs.

Dkt. 278 ¶ 544.

This conclusory allegation does not present sufficient detail as to when Meyer was on notice of the
existence of the Alleged Defect; what efforts, if any, she made to discover it; and when she did discover
it. Therefore, Plaintiffs have not discharged their burden of establishing fraudulent concealment.

Because the exception to the statute of limitation has not been pleaded sufficiently, the CAC does not
adequately state a timely claim. South Dakota Counts 1 and 2 are DISMISSED WITHOUT
PREJUDICE, i.e., with leave to amend. 57

                         w)      Tennessee Counts 1 and 2

The CAC advances a claim against the Hyundai Defendants for breach of express warranty under
Tenn. Code Ann. §§ 47-2-313 and 47-2A-210. Dkt. 278 ¶¶ 2292-2306 (“Tennessee Count 1”). It also
includes a claim against the Hyundai Defendants for breach of the implied warranty of merchantability
under Tenn. Code Ann. §§ 47-2-314 and 47-2A-212. Id. ¶¶ 2307-18 (“Tennessee Count 2”).

In support of the Joint Motion, Defendants argue that the breach of warranty claims of the Tennessee
Plaintiff are time-barred. Dkt. 208 at 62 & n.26-27 (citing Tenn. Code § 47-2-725(1), (2)). Plaintiffs
respond that “Defendants’ alleged concealment of the ACU defect for years tolls the statute.” Dkt. 281
at 63; see Dkt. 278 ¶ 545(a).

Tenn. Code Ann. § 47-2-725 provides that the statute of limitations for breach of warranty claims under
Tennessee law is four years. Tenn. Code Ann. § 47-2-725(1). Tennessee’s six-year statute of repose
for products liability actions applies to breach of warranty claims, and generally does not permit tolling
beyond that deadline. See Tenn. Code Ann. § 29-28-103(a) (“Any action against a manufacturer or
seller of a product for injury to person or property caused by its defective or unreasonably dangerous
condition must be brought within the period fixed by §§ 28-3-104, 28-3-105, 28-3-202 and 47-2-725, but
notwithstanding any exceptions to these provisions, it must be brought within six (6) years of the date of
injury . . . .”). Tennessee courts “have construed statutes of repose as an absolute time limit within
which actions must be brought.” Penley v. Honda Motor Co., 31 S.W.3d 181, 184 (Tenn. 2000) (citing
Cronin v. Howe, 906 S.W.2d 910, 913 (Tenn. 1995)). This statute of repose does not have an exception
for fraudulent concealment. See Damron v. Media Gen., Inc., 3 S.W.3d 510, 513 (Tenn. Ct. App. 1999)
(“[T]here is no fraudulent concealment exception to Tenn. Code Ann. § 29-28-103.”)


57 Because the statute of limitations is an affirmative defense that may be waived, a plaintiff is not obligated to
address it with allegations in an initial complaint. However, once it has been raised in a response to a complaint, it
is appropriate to require allegations on the issue in any amended complaint. For those reasons, South Dakota
Counts 1 and 2 have been dismissed without prejudice, so that the South Dakota Plaintiff has the opportunity to
seek to make such allegations.
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As noted, McMurray purchased her Class Vehicle on August 28, 2014. Dkt. 278 ¶ 96. She filed her
claims in this action on May 26, 2020. This is outside the four-year limitations period, but within the six-
year statute of repose. Absent an exception to the statute of limitations, McMurray’s claims would be
time-barred.

Under Tennessee law, the running of the statute of limitation will be tolled if a plaintiff pleads the
following elements:

         (1) The defendant affirmatively concealed the plaintiff's injury or the identity of the wrongdoer or
         failed to disclose material facts regarding the injury or the wrongdoer despite a duty to do so;

         (2) The plaintiff could not have discovered the injury or the identity of the wrongdoer despite
         reasonable care and diligence;

         (3) The defendant knew that the plaintiff had been injured and the identity of the wrongdoer; and

         (4) The defendant concealed material information from the plaintiff by withholding information or
         making use of some device to mislead the plaintiff in order to exclude suspicion or prevent
         inquiry.

Pike v. United States, 868 F. Supp. 2d 667, 682 (M.D. Tenn. 2012). In addition, plaintiffs “must
demonstrate that they exercised reasonable care and diligence in pursuing their claim.” Redwing v.
Cath. Bishop for Diocese of Memphis, 363 S.W.3d 436, 463 (Tenn. 2012) (citations omitted). “The
statute of limitations is tolled until the plaintiff discovers or, in the exercise of reasonable diligence,
should have discovered the defendant's fraudulent concealment or sufficient facts to put the plaintiff on
actual or inquiry notice of his or her claim.” Id. (citing Fahrner v. SW Mfg., Inc., 48 S.W.3d 141, 145
(Tenn. 2001)).

As to Plaintiffs’ diligence in discovering the Alleged Defect, the CAC alleges:

         Due to the highly technical nature of the defect with the ZF TRW ACUs installed in the Class
         Vehicles, Plaintiffs and class members were unable to independently discover the defect using
         reasonable diligence. Prior to the retention of counsel and without third-party experts, Plaintiffs
         and class members lack the necessary expertise to analyze the ZF TRW ACUS for signs of
         EOS or to even identify the Class Vehicles with ZF TRW ACUs.

Dkt. 278 ¶ 544.

This conclusory allegation does not present sufficient detail as to when McMurray was on notice of the
existence of the Alleged Defect; what efforts, if any, she made to discover it; and when she did discover
it. Therefore, Plaintiffs have not discharged their burden of establishing fraudulent concealment.

Because the exception to the statute of limitation has not been pleaded sufficiently, the CAC does not
adequately state a timely claim. Therefore, Tennessee Counts 1 and 2 are DISMISSED WITHOUT
PREJUDICE, i.e., with leave to amend.

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                        x)      Texas Counts 1 and 2

                                (1)     Texas Count 1: Breach of Express Warranty

The CAC advances a claim against the FCA, Honda, Hyundai and Toyota Defendants for breach of
express warranty under Tex. Bus. & Com. Code Ann. §§ 2.313 and 2A.210. Dkt. 278 ¶¶ 2351-69
(“Texas Count 1”). 58

In support of the Joint Motion, Defendants argue that Texas Count 1 should be dismissed due to
“Plaintiffs’ failure to demonstrate compliance with the pre-suit notice requirements in” that state. Dkt.
208 at 60-61. They argue that, “[i]n many states, consumers must provide the seller with an opportunity
to cure before bringing an action for breach of warranty.” Id. at 61 (citing Tex. Bus. & Com. Code
§ 2.607(c)(1)). Similarly, the Honda Defendants argue that Plaintiffs “have failed to allege that any of
them presented their vehicles for repair at a Honda dealer, as required under the Limited Warranty.”
Dkt. 213 at 26.

To state a claim for breach of express warranty under Texas law, a plaintiff must plead the following:

         (1) an express affirmation of fact or promise by the seller relating to the goods; (2) that such
         affirmation of fact or promise became a part of the basis of the bargain; (3) that the plaintiff
         relied upon said affirmation of fact or promise; (4) that the goods failed to comply with the
         affirmations of fact or promise; (5) that the plaintiff was injured by such failure of the product to
         comply with the express warranty; and (6) that such failure was the proximate cause of plaintiff's
         injury.

Becker v. Cont'l Motors, Inc., 709 Fed. App'x 263, 266-67 (5th Cir. 2017) (citation omitted).

The CAC, like the complaint in Becker, alleges that Defendants made the “affirmation of fact or
promise” that they would “repair or replace[] [] components that are defective in materials or
workmanship” in the Class Vehicles. Dkt. 278 ¶ 2362; cf. Becker, 709 Fed. App’x at 265 (The
defendant’s warranty provided that it would “ ‘at its option repair or replace on an exchange basis any
engine, component or part manufactured or supplied by it . . . which upon examination is found to the
satisfaction of [defendant] to be defective in material or workmanship’ ”). To establish that such an
express warranty has been breached, Plaintiffs “must show not only that the product was presented to
the defendant for repair but also that the defendant failed or refused to repair the defect." Becker, 709
Fed. App’x at 267 (quoting Gen. Motors Corp. v. Garza, 179 S.W.3d 76, 82 (Tex. App. 2005)).

The CAC includes the conclusory allegation that “[t]he Texas Plaintiffs and Texas State Class Members
have provided the FCA, Honda, Hyundai and Toyota Defendants with reasonable notice and
opportunity to cure the breaches of their express warranties.” Dkt. 278 ¶ 2367. This is insufficient to
state a claim under Texas law, i.e., that Plaintiffs actually presented their Class Vehicles to Defendants
for repair and that Defendants failed or refused to repair the Alleged Defect.


58 Robinson is the only Texas Plaintiff to assert claims against the FCA Defendants. He voluntarily dismissed
those claims on August 10, 2020. Dkt. 228. Therefore, Texas Counts 1 and 2 are DISMISSED WITHOUT
PREJUDICE, i.e., with leave to amend, with respect to the FCA Defendants.
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Because the CAC does not adequately allege that Defendants were provided notice and a meaningful
opportunity to cure the Alleged Defect, it does not state a claim for breach of express warranty under
Texas law. Therefore, Texas Count 1 is DISMISSED WITHOUT PREJUDICE, i.e., with leave to amend.

                               (2)     Texas Count 2: Breach of Implied Warranty

The CAC advances a claim against the FCA, Honda, Hyundai and Toyota Defendants for breach of the
implied warranty of merchantability under Tex. Bus. & Com. Code Ann. §§ 2.314 and 2A.212. Dkt. 278
¶¶ 2370-85 (“Texas Count 2”). The Honda and Toyota Defendants argue that Texas Count 2 fails
because Plaintiffs have not alleged a defect that has manifested. Dkt. 213 at 24 (citing Rosa v. Am.
Water Heater Co., 177 F. Supp. 3d 1025, 1053-54 (S.D. Tex. 2016)); Dkt. 214 at 22 (citing Rosa, 177
F. Supp. 2d at 1053).

“To establish a breach of the implied warranty of merchantability, a plaintiff must show that the product
(1) contained a defect that renders it unfit for its ordinary purpose, (2) the defect existed when it left the
manufacturer's possession, and (3) the defect caused the plaintiff to suffer injury.” Siqueiros v. Gen.
Motors LLC, No. 16-CV-07244-EMC, 2021 WL 4061708, at *6 (N.D. Cal. Sept. 7, 2021) (citing
Gen. Motors Corp. v. Garza, 179 S.W.3d 76, 81 (Tex. App. 2005).

The CAC alleges that “ZF TRW ACUs with the DS84 ASIC have a dangerous defect,” in that they “are
much more vulnerable to bursts of electricity than are other ACUs.” Dkt. 278 ¶ 10. All Class Vehicles
have a ZF TRW ACU with a DS84 ASIC. Id. ¶ 7 n.3. This is sufficient to state the claim that the Alleged
Defect is present in all Class Vehicles, and makes all of them unfit for their ordinary purpose, which is
safe transportation. A vehicle is no longer safe for transportation if, in the event of a serious collision,
the airbags are likely not to deploy. The implied warranty claims do not fail because the CAC does not
allege that each Class Vehicle has been involved in a collision in which the airbags did not deploy due
to the Alleged Defect. Whether the Alleged Defect has caused or will cause the airbags not to deploy in
a particular Class Vehicle is a question of fact. The CAC sufficiently alleges that this is a system-wide
defect that makes driving each Class Vehicle dangerous. This is sufficient to plead a breach of the
implied warranty of merchantability.

Defendants also argue that Plaintiffs’ implied warranty claims fail because they have not pleaded
privity. Dkt. 208 at 59. However, “Texas law does not require privity and permits implied
warranty claims by a downstream purchaser directly against the remote manufacturer for economic
damages.” Integrated Marine Servs. v. Hoist Liftruck Mfg., No. H-12-1379, 2012 WL 3779308, at *2 n.2
(S.D. Tex. Aug. 30, 2012) (citing Nobility Homes of Tex., Inc. v. Shivers, 557 S.W.2d 77, 81
(Tex. 1977)).

Finally, Defendants argue Plaintiffs’ breach of warranty claims under Texas law are time-barred. Dkt.
208 at 62 & n.26-27 (citing Tex. Bus. & Com. Code § 2.725(a), (b)). Plaintiffs respond that “Defendants’
alleged concealment of the ACU defect for years tolls the statute.” Dkt. 281 at 63; see Dkt. 278
¶ 545(a).

The statute of limitations for breach of warranty claims under Texas law is four years. Tex. Bus. & Com.
Code § 2.725(a). The “cause of action accrues when the breach occurs,” and the breach “occurs when
tender of delivery is made,” unless the “warranty explicitly extends to future performance of the goods.”
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Id. § 2.725(b). The remaining Texas Plaintiffs purchased their vehicles between 2012 and 2018. Dkt.
278 ¶¶ 97, 120-23, 133. Therefore, absent a tolling of the limitations period due to fraudulent
concealment, the claims of some of the Texas Plaintiffs would be time-barred.

“Fraudulent concealment tolls the statute of limitations when a defendant knowingly conceals facts from
a plaintiff that are necessary to support a claim.” Berry v. Allstate Ins. Co., 252 F. Supp. 2d 336, 343-44
(E.D. Tex. 2003), aff’d, 84 Fed. App’x 442 (5th Cir. 2004) (citing L.C.L. Theatres v. Columbia Pictures
Indus., 566 F.2d 494, 496 (5th Cir. 1978)). “The doctrine of fraudulent concealment focuses on whether
the plaintiff has exercised due diligence in seeking to learn the facts which would disclose the fraud.” Id.
(citations omitted). Thus, to support such a claim, “a plaintiff must show 1) the defendant's wrongdoing
was concealed from the plaintiff, either through active concealment by the defendant or because the
nature of the wrongdoing was such that it was self-concealing; 2) the plaintiff acted diligently once he
had inquiry notice, i.e., once he knew of or should have known of the facts giving rise to his claim, and
3) the plaintiff did not have inquiry notice within the limitations period.” S.E.C. v. Microtune, Inc., 783 F.
Supp. 2d 867, 874 (N.D. Tex. 2011), aff'd sub nom. S.E.C. v. Bartek, 484 F. App'x 949 (5th Cir. 2012)

The CAC alleges:

         Due to the highly technical nature of the defect with the ZF TRW ACUs installed in the Class
         Vehicles, Plaintiffs and class members were unable to independently discover the defect using
         reasonable diligence. Prior to the retention of counsel and without third-party experts, Plaintiffs
         and class members lack the necessary expertise to analyze the ZF TRW ACUS for signs of
         EOS or to even identify the Class Vehicles with ZF TRW ACUs.

Dkt. 278 ¶ 544.

This conclusory allegation does not present sufficient detail as to when each of the Texas Plaintiffs was
on notice of the existence of the Alleged Defect; what efforts, if any, each made to discover it; and
when each did discover it. Therefore, Plaintiffs have not discharged their burden of establishing
fraudulent concealment.

Bowens purchased her Class Vehicle on May 17, 2015. Dkt. 278 ¶ 133. She filed her claims in this
action on May 21, 2019. See Complaint, Bell v. ZF Friedrichshafen AG, No. CV 19-00693 (C.D. Cal.).
This was outside of the four-year limitations period.

Reckles purchased his Class Vehicle on August 16, 2012. Dkt. 278 ¶ 97. He filed his claims in this
action on May 26, 2020. 59 This was outside of the four-year limitations period.

DeRouen purchased his Class Vehicle on June 7, 2016. Id. ¶ 120. He filed claims in this action on May
21, 2019. See Complaint, Bell v. ZF Friedrichshafen AG, No. CV 19-00693 (C.D. Cal.). This was within
the four-year limitations period.




59 Reckles is among the New Plaintiffs who initially filed claims in the CAC on May 26, 2020. For the reasons
already stated, the New Plaintiffs’ complaint is deemed to have been filed on May 26, 2020.
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Hunt purchased his Class Vehicle on January 1, 2018. Dkt. 278 ¶ 121. He filed claims in this action on
May 21, 2019. See Complaint, Bell v. ZF Friedrichshafen AG, No. CV 19-00693 (C.D. Cal.). This was
within the four-year limitations period.

Green purchased his Class Vehicle on September 15, 2015. Dkt. 278 ¶ 122. He filed his claims in this
action on May 21, 2019. See Complaint, Bell v. ZF Friedrichshafen AG, No. CV 19-00693 (C.D. Cal.).
This was within the four-year limitations period.

Finally, Davis purchased her Class Vehicle on May 15, 2014. Dkt. 278 ¶ 123. She filed her claims in the
Eastern District of Michigan on May 26, 2020. 60 This was outside of the four-year limitations period.

Because the exception to the statute of limitation has not been pleaded sufficiently, the CAC does not
adequately state a timely claim as to Bowens, Reckles and Davis. Their claims are brought against the
Hyundai and Honda Defendants. Therefore, Texas Count 2 is DISMISSED WITHOUT PREJUDICE,
i.e., with leave to amend, as to the Hyundai and Honda Defendants. 61

DeRouen, Hunt and Green each has have stated a claim for breach of implied warranty under Texas
law against the Toyota Defendants. Dkt. 278 ¶ 2374. These claims have been adequately pleaded.

                         y)      Washington Counts 1 and 2

                                 (1)      Washington Count 1: Breach of Express Warranty

The CAC advances a claim against the Hyundai and Toyota Defendants for breach of express warranty
under Wash. Rev. Code §§ 62A.2-313 and 62A.2A-210. Dkt. 278 ¶¶ 2485-2501 (“Washington
Count 1”). 62

The Toyota Defendants argue that their “express warranty does not cover design defects.” Dkt. 214
at 20.

It is alleged that “the Hyundai and Toyota Defendants provided the Washington Plaintiffs and
Washington State Class members with written express warranties covering the repair or replacement of
components that are defective in materials or workmanship.” Dkt. 278 ¶ 2494. District courts in
Washington have interpreted Washington law on this issue. Several have concluded that express
warranties with similar “materials or workmanship” language did not cover design defects. See Nauman

60 Davis is among the New Plaintiffs who initially filed claims in the CAC on May 26, 2020. For the reasons
already stated, the New Plaintiffs’ complaint is deemed to have been filed on May 26, 2020.
61 Because the statute of limitations is an affirmative defense that may be waived, a plaintiff is not obligated to

address it with allegations in an initial complaint. However, once it has been raised in a response to a complaint, it
is appropriate to require allegations on the issue in any amended complaint. For those reasons, Texas Count 2,
as to the Honda and Hyundai Defendants, has been dismissed without prejudice, so that the Texas Plaintiffs have
the opportunity to seek to make such allegations.
62 Jagnjic is the only Washington Plaintiff to assert claims against the Hyundai Defendants. He voluntarily

dismissed those claims on October 12, 2020. Dkt. 291. Therefore, Washington Counts 1 and 2 are DISMISSED
WITHOUT PREJUDICE, i.e., with leave to amend, with respect to the Hyundai Defendants.

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v. Gen. Motors LLC, No. C21-5150 BHS, 2021 WL 4502666, at *2 (W.D. Wash. Oct. 1, 2021) (express
warranty “ ‘cover[ed] repairs to correct any vehicle defect, not slight noise, vibrations, or other normal
characteristics of the vehicle related to materials or workmanship occurring during the warranty
period,’ ” and did not cover design defects); Harris v. Gen. Motors LLC, No. C20-257 TSZ, 2020 WL
5231198, at *3 (W.D. Wash. Sept. 2, 2020) (warranty “cover[ed] repairs to correct any vehicle defect
‘related to materials or workmanship during the warranty period,’ ” and did not cover design defects
(citing Sloan v. Gen. Motors LLC, 2017 WL 3283998, at *8 & n.5 (N.D. Cal. Aug. 1, 2017)), order
vacated in part on reconsideration, No. C20-257 TSZ, 2020 WL 10692982 (W.D. Wash. Oct. 19, 2020).
These interpretations are consistent with the Ninth Circuit decisions that have construed warranties with
this language under California law. See Troup v. Toyota Motor Corp., 545 F. App'x 668 (9th Cir. 2013).

Because the CAC has alleged a design defect, which is not covered by the limited warranties by the
Toyota Defendants, the claims for violation of breach of express warranty under Washington law fail.

Washington Count 1 is DISMISSED WITHOUT PREJUDICE, i.e., with leave to amend.

                              (2)     Washington Count 2: Breach of Implied Warranty

The CAC advances a claim against the Hyundai and Toyota Defendants for breach of the implied
warranty of merchantability under Wash. Rev. Code §§ 62A.2-314 and 62A.2A-212. Dkt. 278
¶¶ 2502-15 (“Washington Count 2”). The Toyota and Hyundai-Kia Defendants argue that privity is
required to plead this claim. Dkt. 214 at 22 & n.11 (citing Tex. Enters., Inc. v. Brockway Standard, Inc.,
66 P.3d 625, 627-28 (Wash. 2003); Touchet Valley Grain Growers, Inc. v. Opp & Seibold Gen. Cost.,
Inc., 831 P.2d 724, 729-30 (Wash. 1992); Beaty v. Ford Motor Co., No. C17-5201RBL, 2018 WL
3320854, at *4-5 (W.D. Wash. Jan. 16, 2018)); Dkt. 219 at 33 & n.19 (citing Lohr v. Nissan N. Am., Inc.,
No. C16-1023RSM, 2017 WL 1037555, at *7 (W.D. Wash. Mar. 17, 2017)).

“[T]o bring implied warranty claims” under Washington law, “plaintiffs must establish contractual privity.”
Lohr, 2017 WL 1037555, at *7 (citing Tex. Enters., 66 P.3d at 628). The CAC does not sufficiently
allege that the remaining Washington Plaintiff, Roberts, was in privity with any of the Toyota
Defendants. It is alleged that Roberts purchased her Class Vehicle from “an authorized Toyota
dealership." See Dkt. 278 ¶ 124. However, Plaintiffs have not cited any dispositive Washington
authority that alleging a plaintiff purchased a vehicle from an authorized dealership is sufficient to plead
privity as to another, allegedly related party. The CAC does not include any additional allegations as to
the relationship between Roberts and the Toyota Defendants, or between these Defendants and the
dealership from which Roberts purchased her Class Vehicle. Thus, the CAC does not adequately
allege the requisite privity of contract. For this reason, Washington 2 is DISMISSED WITHOUT
PREJUDICE, i.e., with leave to amend.

                       z)     Wisconsin Counts 1 and 2

                              (1)     Wisconsin Count 1: Breach of Express Warranty

The CAC advances a claim against the Mitsubishi Defendants for breach of express warranty under
Wis. Stat. §§ 402.313 and 411.210. Dkt. 278 ¶¶ 2549-63 (“Wisconsin Count 1”).

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In support of the Joint Motion, Defendants argue that the breach of warranty claims of the Wisconsin
Plaintiff, Sancomb, are time-barred. Dkt. 208 at 62 & n.26-27 (citing Wis. Stat. § 402.725(1), (2)).
Plaintiffs respond that “Defendants’ alleged concealment of the ACU defect for years tolls the statute.”
Dkt. 281 at 63; see Dkt. 278 ¶ 545(a).

The statute of limitations for a breach of contract action in Wisconsin is six years from when the breach
occurs. Wis. Stat. § 402.725(1). For a breach of warranty claim, the breach generally occurs “when
tender of delivery is made.” Id. § 02.725(2). Sancomb purchased his Class Vehicle on September 19,
2014. Dkt. 278 ¶ 138. He filed his claims in the CAC on May 26, 2020. 63 This was within the six-year
limitations period.

The Mitsubishi Defendants argue that Plaintiffs have failed to provide adequate pre-suit notice. Dkt. 212
at 33 (citations omitted). Under Wisconsin law, “when a buyer accepts goods, the buyer ‘must within a
reasonable time after the buyer discovers or should have discovered any breach notify the seller of
breach or be barred from any remedy.” Wilson v. Tuxen, 754 N.W.2d 220, 232 (Wis. Ct. App. 2008)
(citing Wis. Stat. § 402.607(3)(a)). “[I]f the seller is not aware that the goods are defective, the notice
can serve to inform the seller of the defect and give the seller an opportunity to remedy it.” Id. (citation
omitted). “The principal reason for requiring notice ‘is to enable the seller to make adjustments or
replacements or to suggest opportunities for cure to the end of minimizing the buyer's loss and
reducing the seller's own liability to the buyer.’ ” Paulson v. Olson Implement Co., 319 N.W.2d 855, 862
(Wis. 1982) (citation omitted).

The CAC adequately alleges that the Wisconsin Plaintiff, Sancomb, provided the requisite notice to
MMNA. It alleges that “a notice letter was sent on behalf of the Wisconsin Plaintiff and Wisconsin State
Class members to . . . Mitsubishi Motors North America, Inc . . . on April 24, 2020.” Dkt. 278 ¶ 2573.
Whether he provided notice within a reasonable time is a fact question that is not resolved on a motion
to dismiss. See Barlow v. DeVilbiss Co., 214 F. Supp. 540, 544 (E.D. Wis. 1963) (citing Schaefer v.
Weber, 60 N.W.2d 696, 699 (Wis. 1953)).

With respect to the other Mitsubishi Defendant, MMC, the CAC does not include sufficient allegations
that notice was provided. The CAC does not allege that Sancomb provided notice to MMC. See Dkt.
278 ¶ 2573. Alleging that MMC received notice through “numerous NHTSA complaints,” see id., is not
sufficient. Cf. Brame v. Gen. Motors LLC, 535 F. Supp. 3d 832, 839-840 (E.D. Wis. 2021) (pending
lawsuit filed by those other than the plaintiffs did not constitute notice).

Plaintiffs have pleaded sufficient facts to state a claim for breach of express warranty against MMNA.
Because Plaintiffs have not pleaded facts sufficient to satisfy the pre-suit notice requirement under
Wisconsin law as to MMC, Wisconsin Count 1 is DISMISSED WITHOUT PREJUDICE, i.e., with leave
to amend, as to that Defendant.

                                (2)     Wisconsin Count 2: Breach of Implied Warranty

The CAC advances a claim against the Mitsubishi Defendants for breach of the implied warranty of


63 Sancomb is among the New Plaintiffs who initially filed claims in the CAC on May 26, 2020. For the reasons
already stated, the New Plaintiffs’ complaint is deemed to have been filed on May 26, 2020.
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merchantability under Wis. Stat. §§ 402.314 and 411.212. Dkt. 278 ¶¶ 2564-75 (“Wisconsin Count 2”).
In support of the Joint Motion, Defendants argue that Wisconsin Count 2 fails because in Wisconsin, as
“[i]n many states, a plaintiff cannot recover economic losses for breach of implied warranty in the
absence of privity.” Dkt. 208 at 59-60 & n.21 (citing City of La Crosse v. Schubert, Schroeder &
Assocs., Inc., 240 N.W.2d 124, 125 (Wis. 1976), overruled on other grounds by Daanen & Janssen,
Inc. v. Cedarapids, Inc., 573 N.W.2d 842 (Wis. 1998)); Dkt. 212 at 32.

Under Wisconsin law, privity is required to establish a claim for breach of implied warranty. See
Lamont v. Winnebago Indus., Inc., 569 F. Supp. 2d 806, 815-16 (E.D. Wis. 2008); T&M Farms v. CNH
Indus. Am., LLC, No. 19-C-0085, 2020 WL 1082768, at *5 (E.D. Wis. Mar. 5, 2020) (“In Wisconsin, the
only contract claim that a buyer can pursue against a non-seller manufacturer of goods is a claim for
breach of the manufacturer's express warranty.” (citations omitted)).

The CAC does not adequately allege that Sancomb was in privity with either of the Mitsubishi
Defendants. Therefore, Plaintiffs cannot bring a claim for breach of implied warranty under Wisconsin
law. Wisconsin Count 2 is DISMISSED WITHOUT PREJUDICE, i.e., with leave to amend.

                   5.   Summary of State-Law Claim Dispositions

The rulings as to Plaintiffs’ state-law claims are summarized in the following table:


           Cause of Action                     Defendant(s)                         Disposition


 Alabama Count 1                     Honda Defendants                 Dismissed without prejudice


                                                                      Dismissed without prejudice, as to Honda
 Alabama Count 2                     Honda Defendants
                                                                      Manufacturing and Honda R&D Americas


 Alabama Count 3                     Honda Defendants                 Dismissed without prejudice


 Alabama Count 4                     ZF Defendants, STM Defendants    Dismissed without prejudice


                                                                      Dismissed without prejudice, as to FCA
 Arizona Count 1                     FCA Defendants
                                                                      NV


 Arizona Count 2                     FCA Defendants                   Dismissed without prejudice


 Arizona Count 3                     FCA Defendants                   Dismissed without prejudice


 Arizona Count 4                     ZF Defendants, STM Defendants    Dismissed without prejudice



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California Count 1                  Vehicle Manufacturer Defendants     Dismissed without prejudice


California Count 2                  Vehicle Manufacturer Defendants     Dismissed without prejudice


California Count 3                  Vehicle Manufacturer Defendants     Dismissed without prejudice

                                                                        Claims of Burns, Ecklor, Sanchez, Altier,
California Count 4                  Vehicle Manufacturer Defendants     Renteria, Rudnzio, and Dellatoree are
                                                                        dismissed without prejudice

California Count 5                  Vehicle Manufacturer Defendants     Dismissed without prejudice


California Count 6                  All Defendants                      Dismissed without prejudice


California Count 7                  All Defendants                      Dismissed without prejudice


Colorado Count 1                    Mitsubishi Defendants               Dismissed without prejudice


Colorado Count 2                    Mitsubishi Defendants               Dismissed without prejudice


Colorado Count 3                    Mitsubishi Defendants               Dismissed without prejudice


Colorado Count 4                    ZF Defendants, STM Defendants       Dismissed without prejudice


Connecticut Count 1                 Honda Defendants                    Dismissed without prejudice


Connecticut Count 2                 Honda Defendants                    Dismissed without prejudice


Connecticut Count 3                 Honda Defendants                    Dismissed wtihout prejudice


Connecticut Count 4                 ZF Defendants, STM Defendants       Dismissed wtihout prejudice

                                    FCA Defendants, Honda
Florida Count 1                     Defendants, Hyundai Defendants,     Dismissed without prejudice
                                    Kia Defendants, Toyota Defendants
                                    FCA Defendants, Honda
Florida Count 2                     Defendants, Hyundai Defendants,     Dismissed without prejudice
                                    Kia Defendants, Toyota Defendants


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                                                                          Dismissed without prejudice as to the
                                     FCA Defendants, Honda                Honda Defendants, the Toyota
                                     Defendants, Hyundai Defendants,      Defendants, Hyundai MOBIS, as well as to
Florida Count 3
                                     Kia Defendants, Toyota Defendants,   the Hyundai-Kia Defendants except KMA
                                     Hyundai MOBIS                        and HMA and the FCA Defendants except
                                                                          FCA US

Florida Count 4                      ZF Defendants, STM Defendants        Dismissed without prejudice


                                     Hyundai Defendants, Kia
Illinois Count 1                                                          Dismissed without prejudice
                                     Defendants

                                     Hyundai Defendants, Kia
Illinois Count 2                                                          Dismissed without prejudice
                                     Defendants

                                     Hyundai Defendants, Kia
Illinois Count 3                                                          Dismissed without prejudice
                                     Defendants, Hyundai MOBIS


Illinois Count 4                     ZF Defendants, STM Defendants        Dismissed without prejudice


                                     Hyundai Defendants, Kia
Illinois Count 5                                                          Dismissed without prejudice
                                     Defendants, Hyundai MOBIS


Illinois Count 6                     ZF Defendants, STM Defendants        Dismissed without prejudice


Indiana Count 1                      Kia Defendants                       Dismissed without prejudice


Indiana Count 2                      Kia Defendants                       Dismissed without prejudice


Indiana Count 3                      Kia Defendants, Hyundai MOBIS        Dismissed without prejudice


Indiana Count 4                      ZF Defendants, STM Defendants        Dismissed without prejudice


Kansas Count 1                       Hyundai Defendants                   Dismissed without prejudice


Kansas Count 2                       Hyundai Defendants                   Dismissed without prejudice


                                     Hyundai Defendants, Hyundai
Kansas Count 3                                                            Dismissed without prejudice
                                     MOBIS


Kansas Count 4                       ZF Defendants, STM Defendants        Dismissed without prejudice




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Louisiana Count 1                  Kia Defendants                   Dismissed without prejudice


Louisiana Count 2                  Kia Defendants                   Dismissed without prejudice


Louisiana Count 3                  ZF Defendants, STM Defendants    Dismissed without prejudice


                                   Hyundai Defendants, Kia
Maryland Count 1                                                    Plaintiffs have stated a claim
                                   Defendants

                                   Hyundai Defendants, Kia
Maryland Count 2                                                    Plaintiffs have stated a claim
                                   Defendants

                                                                    Dismissed without prejudice, as to all of
                                   Hyundai Defendants, Kia
Maryland Count 3                                                    the Hyundai-Kia Defendants except HMA
                                   Defendants, Hyundai MOBIS
                                                                    and KMA

Maryland Count 4                   ZF Defendants, STM Defendants    Dismissed without prejudice


Massachusetts Count 1              Kia Defendants                   Plaintiffs have stated a claim


Massachusetts Count 2              Kia Defendants                   Plaintiffs have stated a claim


Massachusetts Count 3              Kia Defendants, Hyundai MOBIS    Plaintiffs have stated a claim


Massachusetts Count 4              ZF Defendants, STM Defendants    Dismissed without prejudice


Michigan Count 1                   Kia Defendants                   Dismissed without prejudice


Michigan Count 2                   Kia Defendants                   Dismissed without prejudice


Michigan Count 3                   Kia Defendants, Hyundai MOBIS    Dismissed without prejudice


Michigan Count 4                   ZF Defendants, STM Defendants    Dismissed without prejudice


                                   FCA Defendants, Honda
Minnesota Count 1                                                   Dismissed without prejudice
                                   Defendants, Kia Defendants

                                   FCA Defendants, Honda
Minnesota Count 2                                                   Dismissed without prejudice
                                   Defendants, Kia Defendants



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                                   FCA Defendants, Honda
Minnesota Count 3                  Defendants, Kia Defendants,      Dismissed without prejudice
                                   Hyundai MOBIS
                                   FCA Defendants, Honda
Minnesota Count 4                  Defendants, Kia Defendants,      Dismissed without prejudice
                                   Hyundai Defendants

Minnesota Count 5                  ZF Defendants, STM Defendants    Dismissed without prejudice


Minnesota Count 6                  ZF Defendants, STM Defendants    Dismissed without prejudice


Missouri Count 1                   Kia Defendants                   Dismissed without prejudice


Missouri Count 2                   Kia Defendants                   Dismissed without prejudice


Missouri Count 3                   Kia Defendants, Hyundai MOBIS    Dismissed without prejudice


Missouri Count 4                   ZF Defendants, STM Defendants    Dismissed without prejudice


Montana Count 1                    FCA Defendants                   Dismissed without prejudice


Montana Count 2                    FCA Defendants                   Dismissed without prejudice


Montana Count 3                    FCA Defendants                   Dismissed without prejudice


Montana Count 4                    ZF Defendants, STM Defendants    Dismissed without prejudice


Nevada Count 1                     Toyota Defendants                Plaintiffs have stated a claim


Nevada Count 2                     Toyota Defendants                Dismissed without prejudice


Nevada Count 3                     Toyota Defendants                Dismissed without prejudice


Nevada Count 4                     ZF Defendants, STM Defendants    Dismissed without prejudice


New Jersey Count 1                 Kia Defendants                   Dismissed without prejudice



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New Jersey Count 2                  Kia Defendants                     Dismissed without prejudice


New Jersey Count 3                  Kia Defendants, Hyundai MOBIS      Dismissed without prejudice


New Jersey Count 4                  ZF Defendants, STM Defendants      Dismissed without prejudice


New York Count 1                    FCA Defendants, Honda Defendants   Dismissed without prejudice


New York Count 2                    FCA Defendants, Honda Defendants   Dismissed without prejudice


New York Count 3                    FCA Defendants, Honda Defendants   Dismissed without prejudice


New York Count 4                    ZF Defendants, STM Defendants      Dismissed without prejudice


New York Count 5                    FCA Defendants, Honda Defendants   Dismissed without prejudice


North Carolina Count 1              FCA Defendants, Honda Defendants   Plaintiffs have stated a claim


North Carolina Count 2              FCA Defendants, Honda Defendants   Dismissed without prejudice


                                                                       Dismissed without prejudice, as to FCA
North Carolina Count 3              FCA Defendants, Honda Defendants
                                                                       NV and the Honda Defendants


North Carolina Count 4              ZF Defendants, STM Defendants      Dismissed without prejudice


Oklahoma Count 1                    FCA Defendants                     Dismissed without prejudice


Oklahoma Count 2                    FCA Defendants                     Dismissed without prejudice


                                                                       Dismissed without prejudice, as to FCA
Oklahoma Count 3                    FCA Defendants
                                                                       NV


Oklahoma Count 4                    ZF Defendants, STM Defendants      Dismissed without prejudice


                                    Hyundai Defendants, Kia
Pennsylvania Count 1                                                   Dismissed without prejudice
                                    Defendants



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                                   Hyundai Defendants, Kia
Pennsylvania Count 2                                                Dismissed without prejudice
                                   Defendants

                                                                    Dismissed without prejudice, as to the
                                   Hyundai Defendants, Kia
Pennsylvania Count 3                                                Hyundai-Kia Defendants, except HMA and
                                   Defendants, Hyundai MOBIS
                                                                    KMA

Pennsylvania Count 4               ZF Defendants, STM Defendants    Dismissed without prejudice


South Carolina Count 1             Toyota Defendants                Plaintiffs have stated a claim


South Carolina Count 2             Toyota Defendants                Plaintiffs have stated a claim


South Carolina Count 3             Toyota Defendants                Dismissed without prejudice


South Carolina Count 4             ZF Defendants, STM Defendants    Dismissed without prejudice


South Carolina Count 5             Toyota Defendants                Dismissed without prejudice


South Carolina Count 6             ZF Defendants, STM Defendants    Dismissed without prejudice


South Dakota Count 1               FCA Defendants                   Dismissed without prejudice


South Dakota Count 2               FCA Defendants                   Dismissed without prejudice


South Dakota Count 3               FCA Defendants                   Dismissed without prejudice


South Dakota Count 4               ZF Defendants, STM Defendants    Dismissed without prejudice


Tennessee Count 1                  Hyundai Defendants               Dismissed without prejudice


Tennessee Count 2                  Hyundai Defendants               Dismissed without prejudice


                                   Hyundai Defendants, Hyundai
Tennessee Count 3                                                   Dismissed without prejudice
                                   MOBIS


Tennessee Count 4                  ZF Defendants, STM Defendants    Dismissed without prejudice



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                                      FCA Defendants, Honda
Texas Count 1                         Defendants, Hyundai Defendants,    Dismissed without prejudice
                                      Toyota Defendants
                                      FCA Defendants, Honda
                                                                         Dismissed without prejudice, as to the
Texas Count 2                         Defendants, Hyundai Defendants,
                                                                         Hyundai and Honda Defendants
                                      Toyota Defendants

                                      FCA Defendants, Honda
Texas Count 3                         Defendants, Hyundai Defendants,    Dismissed without prejudice
                                      Toyota Defendants, Hyundai MOBIS




Texas Count 4                         ZF Defendants, STM Defendants      Dismissed without prejudice




Virginia Count 1                      FCA Defendants                     Dismissed without prejudice


Virginia Count 2                      FCA Defendants                     Dismissed without prejudice


Virginia Count 3                      FCA Defendants                     Dismissed without prejudice


Virginia Count 4                      ZF Defendants, STM Defendants      Dismissed without prejudice


                                      Hyundai Defendants, Toyota
Washington Count 1                                                       Dismissed without prejudice
                                      Defendants

                                      Hyundai Defendants, Toyota
Washington Count 2                                                       Dismissed without prejudice
                                      Defendants

                                      Hyundai Defendants, Toyota
Washington Count 3                                                       Dismissed without prejudice
                                      Defendants, Hyundai MOBIS

                                      Hyundai Defendants, Toyota
Washington Count 4                                                       Dismissed without prejudice
                                      Defendants, Hyundai MOBIS


Wisconsin Count 1                     Mitsubishi Defendants              Dismissed without prejudice, as to MMC


Wisconsin Count 2                     Mitsubishi Defendants              Dismissed without prejudice


Wisconsin Count 3                     Mitsubishi Defendants              Dismissed without prejudice




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V.       Conclusion

For the reasons stated in this Order, the motions are decided as stated in this Order.

Plaintiffs shall file any amended complaint within 60 days of this Order. The parties shall meet and
confer on or before February 21, 2022 regarding jurisdictional discovery as to FCA NV, as discussed
above, and shall complete this discovery within 45 days of this Order; provided, however, this is without
prejudice to an application to extend the deadline for jurisdictional discovery for good cause shown. If
such an application is made and granted, a determination will be made at that time as to whether there
will be an extension for filing any amended complaint. Any disputes as to the scope or timing of
discovery shall be presented to Magistrate Judge Abrams.


IT IS SO ORDERED.


                                                                                                   :

                                                           Initials of Preparer      TJ




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